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                              Exhibit A

Detailed Description of AlixPartners’ Fees and Hours by Matter Category
                 Case 22-11068-JTD                   Doc 2274-2             Filed 08/30/23            Page 2 of 296




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/01/2023               GS                Prepare weekly workstream update tracker                                               0.1
07/01/2023              LMG                Update workflow tracker                                                                0.2
07/02/2023               GS                Prepare weekly workstream update summary                                               0.9
07/05/2023               AV                Telephone call with A. Vanderkamp, D. Schwartz (AlixPartners) re: to discuss           0.4
                                           staffing and performance update for FTX engagement
07/05/2023                  DS             Telephone call with A. Vanderkamp, D. Schwartz (AlixPartners) re: to discuss           0.4
                                           staffing and performance update for FTX engagement
07/06/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.              0.5
                                           Wessel, T. Toaso (AlixPartners) re: workplan, financial statement reconstruction,
                                           wallet balances, Stargate
07/06/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.              0.5
                                           Wessel, T. Toaso (AlixPartners) re: workplan, financial statement reconstruction,
                                           wallet balances, Stargate
07/06/2023                  DS             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.              0.5
                                           Wessel, T. Toaso (AlixPartners) re: workplan, financial statement reconstruction,
                                           wallet balances, Stargate
07/06/2023                  DS             Telephone call with D. Schwartz, J. LaBella (AlixPartners) re: to discuss              0.5
                                           upcoming priorities for financial statement reconstruction team
07/06/2023                  JCL            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.              0.5
                                           Wessel, T. Toaso (AlixPartners) re: workplan, financial statement reconstruction,
                                           wallet balances, Stargate
07/06/2023                  JCL            Telephone call with D. Schwartz, J. LaBella (AlixPartners) re: to discuss              0.5
                                           upcoming priorities for financial statement reconstruction team
07/06/2023                 KHW             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.              0.5
                                           Wessel, T. Toaso (AlixPartners) re: workplan, financial statement reconstruction,
                                           wallet balances, Stargate
07/06/2023                   TT            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.              0.5
                                           Wessel, T. Toaso (AlixPartners) re: workplan, financial statement reconstruction,
                                           wallet balances, Stargate
07/07/2023                   GS            Prepare weekly workstream update tracker                                               0.4
07/07/2023                  JCL            Develop schedule and agenda for working sessions with team next week                   0.7
07/08/2023                   GS            Prepare weekly workstream update tracker                                               0.1
07/09/2023                   GS            Prepare weekly workstream update summary                                               0.8
07/10/2023                  AS             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: list of adversary            0.1
                                           complaints and upcoming filings
07/10/2023                  AS             Prepare actuals to budget for the second half of June 2023                             0.6
07/10/2023                  AS             Prepare agenda for upcoming update call                                                0.3
07/10/2023                  AS             Prepare budget updates based on the first half of June 2023 actuals                    0.8
07/10/2023                  AS             Prepare initial review and analysis of adversary complaint against Insider             1.1
07/10/2023                  AS             Review update agenda for call based on comments received                               0.1
07/10/2023                  AS             Prepare analysis to forecast July to December 2023 fees                                0.6
07/10/2023                  AV             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: list of adversary            0.1
                                           complaints and upcoming filings
07/10/2023                  DS             Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                      0.8
                                           (AlixPartners) re: to align on agenda and goals for team meeting
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/10/2023               JCL               Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                         0.8
                                           (AlixPartners) re: to align on agenda and goals for team meeting
07/10/2023                 KHW             Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                         0.8
                                           (AlixPartners) re: to align on agenda and goals for team meeting
07/10/2023                   TT            Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                         0.8
                                           (AlixPartners) re: to align on agenda and goals for team meeting
07/11/2023                  AS             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  AS             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  AS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, T. Toaso                 0.4
                                           (AlixPartners) re: engagement staffing
07/11/2023                  AS             Prepare agenda for weekly investigation update call                                       0.3
07/11/2023                  AS             Prepare talking points for weekly investigation update call                               0.2
07/11/2023                  AS             Review draft of complaint to be filed against former FTX executives focused on            0.6
                                           the background section
07/11/2023                  AS             Review initial draft tracker of the special investigations to confirm impact and          0.8
                                           completeness of the historical financial statements being reconstructed
07/11/2023                  AS             Prepare proposed email draft to send to A&M re: updates to budget forecast                0.3
07/11/2023                  AW             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               AC                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  AV             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  AV             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  AV             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, T. Toaso                 0.4
                                           (AlixPartners) re: engagement staffing
07/11/2023                 AV              Review updated budget                                                                     0.3
07/11/2023                 BFM             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  BAR            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               CAS               Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  CX             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  DS             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  DS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, T. Toaso                 0.4
                                           (AlixPartners) re: engagement staffing
07/11/2023                  DL             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  EM             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               GS                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
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                                           Transfers to Insiders, specific Relativity search request, exchange updates related
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                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  JC             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  JRB            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  JCL            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  JCL            Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, T. Toaso                 0.4
                                           (AlixPartners) re: engagement staffing
07/11/2023                  JLS            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
                 Case 22-11068-JTD                   Doc 2274-2              Filed 08/30/23              Page 7 of 296




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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               KV                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
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                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                 KHW             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  LIM            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                   LJ            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  MC             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               MC                Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  MB             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  MB             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                  ME             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  MJ             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               QB                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                   RS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  RB             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                   ST            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               SK                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  SRH            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                  SRH            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                   TS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/11/2023                   TT            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
07/11/2023                   TT            Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, T. Toaso                 0.4
                                           (AlixPartners) re: engagement staffing
07/11/2023                   TP            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,               0.6
                                           J. Somerville, K. Wessel, M. Cervi, S. Hanzi, T. Phelan, T. Toaso, M. Birtwell
                                           (AlixPartners) re: workstream updates and resource allocation
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/11/2023               YT                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, A. Walker, B.                  0.5
                                           Robison, C. Cipione, C. Xu, E. Mostoff, F. Liang, G. Shapiro, K. Vasiliou, L.
                                           Jia, L. Morrison, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Shen, Y. Tong, J. Berg, R. Backus, J.
                                           Chin (AlixPartners) re: update on special investigations related to insider
                                           transfers, contributions, specific insider, specific entity, specific entity, Crypto
                                           Transfers to Insiders, specific Relativity search request, exchange updates related
                                           to specific entity, legal entity mapping, financial statement team data
                                           verification, and financial statement reconstruction update related to complaints
                                           mentioning insolvency
07/12/2023                  AS             Prepare for call to discuss CFO budget request                                            0.1
07/12/2023                  AS             Meeting with A. Searles, J. LaBella, M. Evans, M. Jacques (AlixPartners) re:              0.3
                                           preparing response to CFO related to request for budget support details
07/12/2023                  AS             Prepare comments based on review of draft complaint related to former FTX                 1.3
                                           insiders focused on the breach of fiduciary duties section
07/12/2023                   AS            Prepare initial budget package to send to FTX CFO based on email requests                 0.7
07/12/2023                   AS            Prepare support for forecast based on request from CFO                                    0.6
07/12/2023                   AS            Review follow-up email request from CFO re: budget                                        0.1
07/12/2023                  JCL            Meeting with A. Searles, J. LaBella, M. Evans, M. Jacques (AlixPartners) re:              0.3
                                           preparing response to CFO related to request for budget support details
07/12/2023                  ME             Meeting with A. Searles, J. LaBella, M. Evans, M. Jacques (AlixPartners) re:              0.3
                                           preparing response to CFO related to request for budget support details
07/12/2023                  MJ             Meeting with A. Searles, J. LaBella, M. Evans, M. Jacques (AlixPartners) re:              0.3
                                           preparing response to CFO related to request for budget support details
07/13/2023                  AS             Finalize budget details by workstream for July 2023                                       0.7
07/13/2023                  AS             Follow-up discussion with A. Searles, J. LaBella (AlixPartners) re: preparing             0.2
                                           materials for CFO to support the budget by workstream
07/13/2023                  AS             Meeting with A. Searles, J. LaBella (AlixPartners) re: debrief of call with CFO           0.2
                                           re: budget and supporting materials
07/13/2023                  AS             Prepare budget details by workstream for Q3 2023                                          0.8
07/13/2023                  AS             Prepare template for support package to send to CFO re: budget                            1.1
07/13/2023                  AS             Working session with A. Searles, J. LaBella (AlixPartners) re: preparing                  0.4
                                           materials for CFO to support the budget by workstream
07/13/2023                  JCL            Follow-up discussion with A. Searles, J. LaBella (AlixPartners) re: preparing             0.2
                                           materials for CFO to support the budget by workstream
07/13/2023                  JCL            Meeting with A. Searles, J. LaBella (AlixPartners) re: debrief of call with CFO           0.2
                                           re: budget and supporting materials
07/13/2023                  JCL            Review staffing and remaining open items by workstream to assist in developing            1.7
                                           budget and materials
07/13/2023                  JCL            Working session with A. Searles, J. LaBella (AlixPartners) re: preparing                  0.4
                                           materials for CFO to support the budget by workstream
07/14/2023                  AS             Continue preparing budget details by workstream and resource for August and               1.9
                                           September 2023 to support the request from the CFO
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07/14/2023               AS                Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                  AS             Meeting with A. Searles, D. White, J. LaBella (AlixPartners) re: presentation for        0.4
                                           CFO to support the updated budget forecast
07/14/2023                  AS             Prepare agenda and talking points for internal call to discuss budget and                0.4
                                           investigation updates
07/14/2023                  AS             Prepare budget details by workstream and resource for Q4 2023 to support the             1.1
                                           request from the CFO
07/14/2023                  AS             Prepare initial write-up of resource responsibilities to support the budget request      1.0
                                           from the CFO
07/14/2023                  AS             Prepare internal correspondence re: workstream write-up to support the budget            0.1
                                           request from CFO
07/14/2023                  AS             Prepare updated presentation template for CFO based on internal discussions              0.4
07/14/2023                  AS             Update initial draft of the supporting details to share with CFO re: budget request      0.6
07/14/2023                  AS             Review correspondence with counsel and other Debtor advisors re: comments to             0.3
                                           talking points for meeting with SDNY re: outstanding requests
07/14/2023                  AV             Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                 AV              Provide feedback on S&C talking points for update with John Ray                          0.4
07/14/2023                 BFM             Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                  DS             Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                         0.8
                                           (AlixPartners) re: to discuss process for reconciling 9/30/2022 historical balances
                                           to petition date financials
07/14/2023                  DJW            Meeting with A. Searles, D. White, J. LaBella (AlixPartners) re: presentation for        0.4
                                           CFO to support the updated budget forecast
07/14/2023                  DJW            Prepare materials in support of meeting with interested party re: budget                 1.1
                                           forecasting
07/14/2023                   GS            Prepare weekly workstream update tracker                                                 0.1
07/14/2023                  JCL            Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                  JCL            Meeting with A. Searles, D. White, J. LaBella (AlixPartners) re: presentation for        0.4
                                           CFO to support the updated budget forecast
07/14/2023                  JLS            Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/14/2023              KHW                Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                         0.8
                                           (AlixPartners) re: to discuss process for reconciling 9/30/2022 historical balances
                                           to petition date financials
07/14/2023                  MC             Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                  MB             Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                  SRH            Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                   TT            Meeting with A. Searles, A. Vanderkamp, B. Mackay, J. LaBella, J. Somerville,            0.6
                                           M. Birtwell, M. Cervi, S. Hanzi, T. Toaso (AlixPartners) re: workstream
                                           updates, resource allocation and presentation for CFO related to workstream
                                           budget
07/14/2023                   TT            Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                         0.8
                                           (AlixPartners) re: to discuss process for reconciling 9/30/2022 historical balances
                                           to petition date financials
07/14/2023                   TP            Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                         0.8
                                           (AlixPartners) re: to discuss process for reconciling 9/30/2022 historical balances
                                           to petition date financials
07/15/2023                  AS             Continue preparing write-up of resource responsibilities to support the budget           1.8
                                           request from the CFO
07/15/2023                  AS             Prepare for call to walkthrough budget presentation for CFO                              0.2
07/15/2023                  GS             Prepare weekly workstream update tracker                                                 0.1
07/15/2023                  MB             Update weekly tracker for progress made week of 7/10/23 on insider transfers,            0.3
                                           insider complaint, and charitable contributions
07/16/2023                  AS             Prepare for internal call to discuss support materials for CFO re: budget request        0.2
07/16/2023                  AS             Prepare response re: slack channel request related to the processing of customer         0.4
                                           withdrawals
07/16/2023                  AS             Review updates to budget support package based on comments received                      0.5
07/16/2023                  AV             Review budget summary by team member                                                     1.1
07/16/2023                  GS             Prepare weekly workstream update summary                                                 0.4
07/17/2023                  AS             Prepare additional updates to the workstream presentation package based on               0.3
                                           comments received
07/17/2023                  AS             Prepare for internal meeting re: workstream presentation package                         0.2
07/17/2023                  AS             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.                  0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/17/2023               AS                Working session with A. Searles, M. Evans (AlixPartners) re: budget planning          0.3
                                           for special investigations, financial statement reconstruction and exchange data
                                           analytics
07/17/2023                 BFM             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  CAS            Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  DS             Review updated project budget for July 2023                                           0.4
07/17/2023                  DS             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  DJW            Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  JCL            Prepare write up outlining key attributes of historical financial statement           0.5
                                           workstream in for M. Cilia (FTX)
07/17/2023                  JCL            Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                 LMG             Review budget estimate document                                                       0.3
07/17/2023                 LMG             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  MC             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  MB             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                  ME             Prepare workplan materials for John Ray & Mary Cilia                                  1.3
07/17/2023                  ME             Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/17/2023               ME                Working session with A. Searles, M. Evans (AlixPartners) re: budget planning          0.3
                                           for special investigations, financial statement reconstruction and exchange data
                                           analytics
07/17/2023                  MJ             Review special investigations/financial statement reconstruction work plan            0.2
                                           tracker for the week of 7/17/2023
07/17/2023                   TT            Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/17/2023                   TP            Working session with A. Searles, B. Mackay, C. Cipione, D. Schwartz, D.               0.4
                                           White, J. LaBella, L. Goldman, M. Birtwell, M. Cervi, M. Evans, T. Phelan, T.
                                           Toaso (AlixPartners) re: budget planning for special investigations, financial
                                           statement reconstruction and exchange data analytics
07/18/2023                  AS             Review email correspondence with A&M re: slack channels discussing customer           0.1
                                           withdrawals
07/18/2023                  AS             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: comments to the             0.1
                                           budget support package to share with CFO
07/18/2023                  AS             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: finalizing the budget       0.1
                                           support package to share with CFO
07/18/2023                  AS             Prepare email and supporting attachments to send to CFO re: budget request            0.2
07/18/2023                  AS             Prepare final read through of workstream document to share with CFO                   0.9
07/18/2023                  AS             Review latest draft of workstream support package to share with CFO                   1.1
07/18/2023                  AS             Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.             0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  AS             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                  AV             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: comments to the             0.1
                                           budget support package to share with CFO
07/18/2023                  AV             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: finalizing the budget       0.1
                                           support package to share with CFO
07/18/2023                  AV             Prepare budget materials for J. Ray                                                   2.6
07/18/2023                  AV             Update team member role descriptions for budget materials for J. Ray                  2.1
07/18/2023                  AV             Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.             0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  AV             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                 BFM             Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.             0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                   HOURS
07/18/2023               BFM               Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                  CAS            Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.            0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  DS             Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.            0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  DS             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                  DJW            Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.            0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  JCL            Draft bullet points to document details of workstreams associated with budget        2.3
                                           forecast
07/18/2023                  JCL            Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.            0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  JCL            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                  JLS            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                 KHW             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                 LMG             Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.            0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                 LMG             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                  MC             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.           0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/18/2023               MB                Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.              0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                  MB             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.             0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                  ME             Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.              0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                   TT            Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.              0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                   TT            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.             0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/18/2023                   TP            Working session with A. Searles, A. Vanderkamp, B. Mackay, C. Cipione, D.              0.4
                                           Schwartz, D. White, J. LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan,
                                           T. Toaso (AlixPartners) re: review budget details requested by the debtor
07/18/2023                   TP            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.             0.8
                                           LaBella, J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T.
                                           Phelan, T. Toaso (AlixPartners) re: financial statement reconstruction, special
                                           investigations and exchange analytics workstreams
07/19/2023                  AS             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  AS             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: approach to                  0.2
                                           communications and sharing of materials with other Debtor advisors
07/19/2023                  AS             Meeting with A. Searles, M. Birtwell (AlixPartners) re: debrief of call with CEO       0.3
                                           and CFO re: workstream support package and next steps
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               AP                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  AC             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  AV             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  AV             Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: approach to                  0.2
                                           communications and sharing of materials with other Debtor advisors
                Case 22-11068-JTD                   Doc 2274-2             Filed 08/30/23            Page 19 of 296




John J. Ray III
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               BFM               Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  BAR            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  CAS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  CX             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
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John J. Ray III
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               CC                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  DS             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  DJW            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  DL             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               EM                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  GG             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                   GS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  JC             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               JRB               Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  JCL            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  JLS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  KV             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023              KHW                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  LIM            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                   LB            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                 LMG             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               LJ                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  MC             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  MB             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  MB             Meeting with A. Searles, M. Birtwell (AlixPartners) re: debrief of call with CEO       0.3
                                           and CFO re: workstream support package and next steps
                Case 22-11068-JTD                   Doc 2274-2             Filed 08/30/23            Page 25 of 296




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               ME                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  QB             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                   RS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                   ST            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
                Case 22-11068-JTD                   Doc 2274-2             Filed 08/30/23            Page 26 of 296




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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023              SYW                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                   SK            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  SRH            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                   TT            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               TP                Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  YXS            Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/19/2023                  YT             Attend meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.               0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Beischer, L. Jia, L. Morrison, L. Goldman, M. Birtwell, M. Cervi, M. Evans,
                                           O. Braat, R. Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, Y. Tong, T.
                                           Toaso, J. Berg, G. Gopalakrishnan, J. Chin, A. Patti, C. Shen (AlixPartners) re:
                                           special investigation updates related to a specific third party exchange, PlayUp,
                                           slack chats, charitable contributions, FTX Earn and specific entity, exchange
                                           updates related to OTC pricing, New Customer Balances, NFTs, specific insider,
                                           Donnelly Polaris, Voyager, and financial statement reconstruction updates
                                           related to digital assets and a discussion on counterparties
07/20/2023                  AS             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.              0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                  AS             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,            0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                  AS             Prepare updates to the roadmap workstream presentation based on internal               1.4
                                           feedback
07/20/2023                  AS             Review correspondence with Nardello re: real estate properties                         0.1
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                    HOURS
07/20/2023               AS                Working session with A. Searles, D. Schwartz (AlixPartners) re: to prepare           0.3
                                           follow-up materials based on comments received from CEO and CFO related to
                                           the workstream support documents prepared
07/20/2023                  AS             Working session with A. Searles, D. Schwartz, F. Liang, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements

07/20/2023                  AS             Working session with A. Searles, D. Schwartz, J. LaBella, M. Evans, T. Toaso         0.5
                                           (AlixPartners) re: strategy to prepare presentation to respond to CEO and CFO
                                           request to prepare a workstream roadmap
07/20/2023                  AS             Working session with A. Searles, D. Schwartz, T. Toaso (AlixPartners) re:            1.0
                                           preparing presentation to respond to CEO and CFO request to prepare a
                                           workstream roadmap
07/20/2023                  AV             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                  AV             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                 AV              Review budget presentation for J. Ray                                                1.1
07/20/2023                 BFM             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                 BFM             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                  DS             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                  DS             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                  DS             Working session with A. Searles, D. Schwartz (AlixPartners) re: to prepare           0.3
                                           follow-up materials based on comments received from CEO and CFO related to
                                           the workstream support documents prepared
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DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                    HOURS
07/20/2023               DS                Working session with A. Searles, D. Schwartz, F. Liang, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements

07/20/2023                  DS             Working session with A. Searles, D. Schwartz, J. LaBella, M. Evans, T. Toaso         0.5
                                           (AlixPartners) re: strategy to prepare presentation to respond to CEO and CFO
                                           request to prepare a workstream roadmap
07/20/2023                  DS             Working session with A. Searles, D. Schwartz, T. Toaso (AlixPartners) re:            1.0
                                           preparing presentation to respond to CEO and CFO request to prepare a
                                           workstream roadmap
07/20/2023                  DS             Working session with D. Schwartz, F. Liang, J. LaBella, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements
07/20/2023                  DS             Working session with D. Schwartz, F. Liang, T. Toaso (AlixPartners) re: prepare      0.3
                                           summaries of AlixPartners' key objectives, challenges, and division of labor
                                           between financial advisors on creating FTX's financial statements
07/20/2023                  DL             Working session with A. Searles, D. Schwartz, F. Liang, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements

07/20/2023                  DL             Working session with D. Schwartz, F. Liang, J. LaBella, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements
07/20/2023                  DL             Working session with D. Schwartz, F. Liang, T. Toaso (AlixPartners) re: prepare      0.3
                                           summaries of AlixPartners' key objectives, challenges, and division of labor
                                           between financial advisors on creating FTX's financial statements
07/20/2023                  JCL            Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                  JCL            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                  JCL            Review materials created to facilitate discussion with J. Ray and M. Cilia in        1.5
                                           preparation for meeting
07/20/2023                  JCL            Working session with A. Searles, D. Schwartz, J. LaBella, M. Evans, T. Toaso         0.5
                                           (AlixPartners) re: strategy to prepare presentation to respond to CEO and CFO
                                           request to prepare a workstream roadmap
07/20/2023                  JCL            Working session with D. Schwartz, F. Liang, J. LaBella, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                   HOURS
07/20/2023               JLS               Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                 KHW             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                 LMG             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                 LMG             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                 LMG             Review AlixPartners/A&M workstream summary document for John Ray                     0.3
07/20/2023                 MC              Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                  MB             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                  MB             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                  ME             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                  ME             Working session with A. Searles, D. Schwartz, J. LaBella, M. Evans, T. Toaso         0.5
                                           (AlixPartners) re: strategy to prepare presentation to respond to CEO and CFO
                                           request to prepare a workstream roadmap
07/20/2023                   TT            Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details
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John J. Ray III
Chief Executive Officer
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                    HOURS
07/20/2023               TT                Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/20/2023                   TT            Working session with A. Searles, D. Schwartz, F. Liang, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements

07/20/2023                   TT            Working session with A. Searles, D. Schwartz, J. LaBella, M. Evans, T. Toaso         0.5
                                           (AlixPartners) re: strategy to prepare presentation to respond to CEO and CFO
                                           request to prepare a workstream roadmap
07/20/2023                   TT            Working session with A. Searles, D. Schwartz, T. Toaso (AlixPartners) re:            1.0
                                           preparing presentation to respond to CEO and CFO request to prepare a
                                           workstream roadmap
07/20/2023                   TT            Working session with D. Schwartz, F. Liang, J. LaBella, T. Toaso (AlixPartners)      0.5
                                           re: prepare summaries of AlixPartners' key objectives, challenges, and division
                                           of labor between financial advisors on creating FTX's financial statements
07/20/2023                   TT            Working session with D. Schwartz, F. Liang, T. Toaso (AlixPartners) re: prepare      0.3
                                           summaries of AlixPartners' key objectives, challenges, and division of labor
                                           between financial advisors on creating FTX's financial statements
07/20/2023                   TP            Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J.            0.5
                                           LaBella, L. Goldman, M. Birtwell, M. Evans, T. Phelan, T. Toaso (AlixPartners)
                                           re: prepare response to CFO and CEO request re: budget and workstream details

07/20/2023                   TP            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.3
                                           J. Somerville, K. Wessel, L. Goldman, M. Birtwell, M. Cervi, T. Phelan, T.
                                           Toaso (AlixPartners) re: status of workstreams including relativity searches to
                                           support counsel requests as well as the workstream roadmap presentation to the
                                           CEO
07/21/2023                  AS             Prepare for call to discuss workstream deliverable for CEO                           0.1
07/21/2023                  AS             Meeting with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso                0.5
                                           (AlixPartners) re: prepare response to COO and CEO request re: budget and
                                           workstream details
07/21/2023                  AS             Prepare updates to budget for the first half of July 2023 based on actuals           0.7
07/21/2023                  AS             Review workstream presentation to share with CEO                                     1.6
07/21/2023                  AS             Review weekly workstream tracker to share with counsel                               0.2
07/21/2023                  AS             Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.               0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                  AS             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, M.              0.2
                                           Evans, T. Toaso (AlixPartners) re: prepare response to COO and CEO request
                                           re: budget and workstream details
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                 HOURS
07/21/2023               AS                Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso      0.4
                                           (AlixPartners) re: prepare response to coo and CEO request re: budget and
                                           workstream details
07/21/2023                 BFM             Meeting with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso              0.5
                                           (AlixPartners) re: prepare response to COO and CEO request re: budget and
                                           workstream details
07/21/2023                 BFM             Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.             0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                 BFM             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, M.            0.2
                                           Evans, T. Toaso (AlixPartners) re: prepare response to COO and CEO request
                                           re: budget and workstream details
07/21/2023                 BFM             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso      0.4
                                           (AlixPartners) re: prepare response to coo and CEO request re: budget and
                                           workstream details
07/21/2023                   GS            Prepare weekly workstream update tracker                                           0.1
07/21/2023                  JCL            Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.             0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                 LMG             Meeting with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso              0.5
                                           (AlixPartners) re: prepare response to COO and CEO request re: budget and
                                           workstream details
07/21/2023                 LMG             Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.             0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                 LMG             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, M.            0.2
                                           Evans, T. Toaso (AlixPartners) re: prepare response to COO and CEO request
                                           re: budget and workstream details
07/21/2023                 LMG             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso      0.4
                                           (AlixPartners) re: prepare response to coo and CEO request re: budget and
                                           workstream details
07/21/2023                  MB             Meeting with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso              0.5
                                           (AlixPartners) re: prepare response to COO and CEO request re: budget and
                                           workstream details
07/21/2023                  MB             Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.             0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                  MB             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, M.            0.2
                                           Evans, T. Toaso (AlixPartners) re: prepare response to COO and CEO request
                                           re: budget and workstream details
07/21/2023                  MB             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso      0.4
                                           (AlixPartners) re: prepare response to coo and CEO request re: budget and
                                           workstream details
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07/21/2023               ME                Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.               0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                  ME             Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, M.              0.2
                                           Evans, T. Toaso (AlixPartners) re: prepare response to COO and CEO request
                                           re: budget and workstream details
07/21/2023                   TT            Meeting with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso                0.5
                                           (AlixPartners) re: prepare response to COO and CEO request re: budget and
                                           workstream details
07/21/2023                   TT            Working session with A. Searles, B. Mackay, J. LaBella, L. Goldman, M.               0.6
                                           Birtwell, M. Evans, T. Toaso (AlixPartners) re: prepare response to COO and
                                           CEO request re: budget and workstream details
07/21/2023                   TT            Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, M.              0.2
                                           Evans, T. Toaso (AlixPartners) re: prepare response to COO and CEO request
                                           re: budget and workstream details
07/21/2023                   TT            Working session with A. Searles, B. Mackay, L. Goldman, M. Birtwell, T. Toaso        0.4
                                           (AlixPartners) re: prepare response to coo and CEO request re: budget and
                                           workstream details
07/22/2023                  GS             Prepare weekly workstream update tracker                                             0.1
07/23/2023                  GS             Prepare weekly workstream update summary                                             0.9
07/24/2023                  AS             Meeting with A. Searles, M. Jacques (AlixPartners) re: providing status update       0.1
                                           on discussions with A&M and finalizing presentation to share with CEO and
                                           CFO
07/24/2023                  AS             Update draft of workstream document to share with CEO / CFO based on                 0.5
                                           updates made by A&M and others
07/24/2023                  AS             Prepare for update call with S&C re: investigation and financial statement           0.1
                                           reconstruction updates
07/24/2023                  AS             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.4
                                           T. Toaso (AlixPartners) re: preparing final materials for the workstream
                                           presentation to share with the CEO and CFO
07/24/2023                  AS             Prepare email draft to send to CEO and CFO re: workstream support document           0.2
07/24/2023                  AS             Prepare footnotes to specific investigation findings                                 0.2
07/24/2023                  AS             Working session with A. Searles, J. LaBella, T. Toaso (AlixPartners) re: update      0.5
                                           materials for the workstream presentation to share with the CEO and CFO
07/24/2023                  AV             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.4
                                           T. Toaso (AlixPartners) re: preparing final materials for the workstream
                                           presentation to share with the CEO and CFO
07/24/2023                  AV             Review materials summarizing AlixPartners scope of work per the request of J.        0.8
                                           Ray
07/24/2023                 BFM             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.4
                                           T. Toaso (AlixPartners) re: preparing final materials for the workstream
                                           presentation to share with the CEO and CFO
07/24/2023                  DS             Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,          0.4
                                           T. Toaso (AlixPartners) re: preparing final materials for the workstream
                                           presentation to share with the CEO and CFO
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/24/2023               JCL               Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,              0.4
                                           T. Toaso (AlixPartners) re: preparing final materials for the workstream
                                           presentation to share with the CEO and CFO
07/24/2023                  JCL            Working session with A. Searles, J. LaBella, T. Toaso (AlixPartners) re: update          0.5
                                           materials for the workstream presentation to share with the CEO and CFO
07/24/2023                  ME             Prepare draft work plan update for Mary Cilia and John Ray                               1.8
07/24/2023                  MJ             Meeting with A. Searles, M. Jacques (AlixPartners) re: providing status update           0.1
                                           on discussions with A&M and finalizing presentation to share with CEO and
                                           CFO
07/24/2023                   TT            Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella,              0.4
                                           T. Toaso (AlixPartners) re: preparing final materials for the workstream
                                           presentation to share with the CEO and CFO
07/24/2023                   TT            Working session with A. Searles, J. LaBella, T. Toaso (AlixPartners) re: update          0.5
                                           materials for the workstream presentation to share with the CEO and CFO
07/25/2023                  AS             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  AS             Prepare agenda for internal call to discuss weekly investigation updates                 0.2
07/25/2023                  AS             Prepare email re: US Trustee appeal for examiner                                         0.1
07/25/2023                  AS             Prepare talking points for weekly investigation update call                              0.2
07/25/2023                  AS             Review response from internal counsel re: US Trustee appeal for examiner                 0.1
07/25/2023                  AP             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  AC             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               AV                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  AV             Review summary of AlixPartners scope of work prepared at the request of J. Ray           1.4

07/25/2023                 BFM             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  BAR            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  CAS            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  CX             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               CC                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  DS             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  DS             Prepare agenda for team meeting re: update on status of engagement                       0.4
                                           workstreams
07/25/2023                 DJW             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  DL             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  EM             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Re:                 Chapter 11 Process / Case Management
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               GS                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  JC             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  JRB            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  JCL            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  JLS            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  KAS            Draft email re: appeal timing on examiner motion                                         0.2
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               KV                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                 KHW             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                 LMG             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                   LJ            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  MC             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               MB                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  ME             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  MJ             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  QB             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                   RS            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               ST                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                 SYW             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                   SK            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  SRH            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  TY             Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               TT                Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                   TP            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/25/2023                  YXS            Attend Meeting with A. Calhoun, A. Searles, A. Vanderkamp, B. Mackay, B.                 0.5
                                           Robison, C. Chen, C. Cipione, C. Wong, C. Xu, D. Schwartz, D. White, E.
                                           Mostoff, F. Liang, G. Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel,
                                           L. Jia, L. Goldman, M. Birtwell, M. Cervi, M. Evans, M. Jacques, O. Braat, R.
                                           Self, S. Hanzi, S. Thompson, T. Kang, T. Phelan, T. Yamada, T. Toaso, J. Berg,
                                           J. Chin, A. Patti, C. Shen (AlixPartners) re: special investigation updates related
                                           to FTX Earn and specific entity, and exchange updates related to NFTs and
                                           pricing data
07/27/2023                  AS             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                  AS             Prepare for meeting with John Ray re: workstreams                                        0.2
07/27/2023                  AS             Meeting with A. Searles, M. Evans (AlixPartners) re: preparing responses to              0.1
                                           CEO related to workstream questions
07/27/2023                  AS             Prepare thoughts related to workstream request from CEO                                  0.4
07/27/2023                  AC             Attend meeting with A. Calhoun, G. Shapiro (AlixPartners) re: overview of                0.4
                                           process for preparing weekly workstream update tracker
07/27/2023                  AV             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                  1.0
                                           LaBella, K. Wessel (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                 BFM             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                  1.0
                                           LaBella, K. Wessel (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/27/2023               BFM               Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  DS             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/27/2023                  DS             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                  DS             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.0
                                           LaBella, K. Wessel (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  DJW            Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                  DJW            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.0
                                           LaBella, K. Wessel (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  DJW            Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  EM             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/27/2023                   GS            Attend meeting with A. Calhoun, G. Shapiro (AlixPartners) re: overview of             0.4
                                           process for preparing weekly workstream update tracker
07/27/2023                  JC             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/27/2023                  JCL            Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                  JCL            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.0
                                           LaBella, K. Wessel (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  JCL            Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  JCL            Draft response points to FTX CEO re: tasks performed by AlixPartners                  1.1
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/27/2023               JLS               Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/27/2023                 KHW             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                 KHW             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.0
                                           LaBella, K. Wessel (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                 KHW             Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                 LMG             Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                 LMG             Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  ME             Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  ME             Meeting with A. Searles, M. Evans (AlixPartners) re: preparing responses to           0.1
                                           CEO related to workstream questions
07/27/2023                 SYW             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/27/2023                   TS            Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/27/2023                   TT            Attend meeting with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             0.5
                                           White, J. LaBella, K. Wessel, L. Goldman, T. Toaso (AlixPartners) re: prepare
                                           response to CEO request re: workstreams between debtor advisors
07/27/2023                   TT            Attend meeting with B. Mackay, D. White, J. LaBella, K. Wessel, L. Goldman,           0.2
                                           M. Evans, T. Toaso (AlixPartners) re: prepare response to CEO request re:
                                           workstreams between debtor advisors
07/27/2023                  XS             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.              0.8
                                           Shen, X. Su, J. Chin (AlixPartners) re: discuss differing stance from interested
                                           party about the significance of the Paperbird username as the FTT transferor and
                                           changes to the presentation of the FTT specific entity workpaper
07/28/2023                  AS             Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/28/2023               AS                Meeting with A. Searles, J. LaBella, M. Evans (AlixPartners) re: debrief of           0.2
                                           discussion with CEO related to workstream questions
07/28/2023                  AS             Review correspondence re: updates to the special investigation completeness           0.5
                                           tracker to support the reconstruction of financial statements
07/28/2023                  AC             Prepare weekly workstream update tracker                                              0.1
07/28/2023                  AV             Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
07/28/2023                  JCL            Meeting with A. Searles, J. LaBella, M. Evans (AlixPartners) re: debrief of           0.2
                                           discussion with CEO related to workstream questions
07/28/2023                  JCL            Meeting with J. LaBella, M. Evans (AlixPartners) re: prepare for meeting with J.      0.3
                                           Ray and M. Cilia (both FTX) to discuss AlixPartners workstreams and status
07/28/2023                  JLS            Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
07/28/2023                 LMG             Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
07/28/2023                  MC             Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
07/28/2023                  MB             Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
07/28/2023                  ME             Meeting with A. Searles, J. LaBella, M. Evans (AlixPartners) re: debrief of           0.2
                                           discussion with CEO related to workstream questions
07/28/2023                  ME             Meeting with J. LaBella, M. Evans (AlixPartners) re: prepare for meeting with J.      0.3
                                           Ray and M. Cilia (both FTX) to discuss AlixPartners workstreams and status
07/28/2023                  SRH            Meeting with A. Searles, A. Vanderkamp, J. Somerville, L. Goldman, M.                 0.6
                                           Birtwell, M. Cervi, S. Hanzi (AlixPartners) re: resource allocation, workstream
                                           updates, upcoming team travel
07/29/2023                  AC             Prepare weekly workstream update tracker                                              0.1
07/30/2023                  AS             Prepare response re: weekly workstream update tracker to share with counsel           0.1
07/30/2023                  AC             Prepare weekly workstream update summary                                              0.9
07/31/2023                  AS             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  AS             Prepare agenda for internal weekly investigation update call                          0.2
07/31/2023                  AS             Prepare agenda for weekly investigation update call with counsel                      0.2
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               AS                Prepare talking points for internal weekly investigation update call                  0.2
07/31/2023               AS                Prepare updates to budget to include first half of July 2023 actuals                  0.6
07/31/2023               AS                Meeting with A. Searles, A. Vanderkamp, M. Evans, M. Jacques (AlixPartners)           0.2
                                           re: revamping the weekly workstream tracking to share with counsel
07/31/2023                  AP             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  AC             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  AV             Meeting with A. Searles, A. Vanderkamp, M. Evans, M. Jacques (AlixPartners)           0.2
                                           re: revamping the weekly workstream tracking to share with counsel
07/31/2023                 BFM             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  BAR            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
                Case 22-11068-JTD                   Doc 2274-2            Filed 08/30/23             Page 46 of 296




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               CAS               Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  CX             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  CC             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  DS             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  DL             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
                Case 22-11068-JTD                   Doc 2274-2            Filed 08/30/23             Page 47 of 296




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               EM                Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  JC             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  JRB            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  JCL            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  JLS            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
                Case 22-11068-JTD                   Doc 2274-2            Filed 08/30/23             Page 48 of 296




John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               KV                Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                 KHW             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  LIM            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                   LB            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                   LJ            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               MC                Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  MB             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  ME             Meeting with A. Searles, A. Vanderkamp, M. Evans, M. Jacques (AlixPartners)           0.2
                                           re: revamping the weekly workstream tracking to share with counsel
07/31/2023                  MJ             Meeting with A. Searles, A. Vanderkamp, M. Evans, M. Jacques (AlixPartners)           0.2
                                           re: revamping the weekly workstream tracking to share with counsel
07/31/2023                  QB             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                   RS            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
                Case 22-11068-JTD                   Doc 2274-2            Filed 08/30/23             Page 50 of 296




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Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               RB                Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                   ST            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                   SK            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                  TY             Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
07/31/2023                   TT            Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Chapter 11 Process / Case Management
Code:               20008100P00001.1.1

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               YT                Attend Meeting with A. Calhoun, A. Searles, B. Mackay, B. Robison, C. Chen,           0.5
                                           C. Cipione, C. Xu, D. Schwartz, E. Mostoff, F. Liang, G. Shapiro, J. LaBella, J.
                                           Somerville, K. Vasiliou, K. Wessel, L. Jia, M. Birtwell, M. Cervi, M. Evans, M.
                                           Jacques, O. Braat, R. Self, S. Thompson, T. Kang, T. Yamada, T. Toaso, J.
                                           Berg, R. Backus, J. Chin, A. Patti (AlixPartners) re: special investigations
                                           updates related to conduit and insider bank statements related to contributions,
                                           lending activity, master summary database, exchange updates related to FTT
                                           trading stats, and financial statement reconstruction update on Paper Bird
                                           accounts
Total Professional Hours                                                                                                       235.1
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Re:                                    Chapter 11 Process / Case Management
Code:                                  20008100P00001.1.1


PROFESSIONAL                                                                  RATE     HOURS            FEES
Matthew Jacques                                                               $1,280      1.8   $     2,304.00
Charles Cipione                                                               $1,220      2.8         3,416.00
Matthew Evans                                                                 $1,220      8.8        10,736.00
David J White                                                                 $1,140      5.0         5,700.00
John C LaBella                                                                $1,115     21.3        23,749.50
Lilly M Goldman                                                               $1,115      7.2         8,028.00
Tao Shen                                                                      $1,070      1.3         1,391.00
Mark Cervi                                                                    $1,020      5.3         5,406.00
Adam Searles                                                                   $950      46.1        43,795.00
Anne Vanderkamp                                                                $950      19.0        18,050.00
Brent Robison                                                                  $950       2.0         1,900.00
Steven Hanzi                                                                   $950       3.3         3,135.00
Todd Toaso                                                                     $950      13.7        13,015.00
Travis Phelan                                                                  $950       4.8         4,560.00
Dana Schwartz                                                                  $880      14.5        12,760.00
Kurt H Wessel                                                                  $880       7.0         6,160.00
Leslie I Morrison                                                              $880       1.5         1,320.00
Ganesh Gopalakrishnan                                                          $860       0.5           430.00
Alexander Patti                                                                $825       1.5         1,237.50
John L Somerville                                                              $825       5.2         4,290.00
Bennett F Mackay                                                               $805       9.4         7,567.00
Matthew Birtwell                                                               $805       8.5         6,842.50
Takahiro Yamada                                                                $805       1.0           805.00
Lewis Beischer                                                                 $805       1.0           805.00
Jeffrey R Berg                                                                 $735       2.0         1,470.00
Kaitlyn A Sundt                                                                $585       0.2           117.00
Ryan Backus                                                                    $725       1.0           725.00
Chuanqi Chen                                                                   $605       1.5           907.50
Di Liang                                                                       $605       3.3         1,996.50
Seen Yung Wong                                                                 $605       1.8         1,089.00
Aidan Walker                                                                   $585       0.5           292.50
Katerina Vasiliou                                                              $585       2.0         1,170.00
Randi Self                                                                     $585       2.0         1,170.00
Yue Shen                                                                       $585       1.0           585.00
Olivia Braat                                                                   $510       2.0         1,020.00
Linna Jia                                                                      $555       2.0         1,110.00
Chenxi Xu                                                                      $510       2.0         1,020.00
Eric Mostoff                                                                   $510       2.8         1,428.00
Griffin Shapiro                                                                $510       5.9         3,009.00
Sean Thompson                                                                  $510       2.0         1,020.00
Shengjia Kang                                                                  $510       2.0         1,020.00
Yuqing Tong                                                                    $510       1.5           765.00
Allyson Calhoun                                                                $510       3.5         1,785.00
Jason Chin                                                                     $510       2.8         1,428.00
Xiaoyue Su                                                                     $415       0.8           332.00
Total Professional Hours and Fees                                                       235.1   $   210,862.00
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                 DESCRIPTION OF SERVICES                                     HOURS
07/02/2023               GS                Email to S&C re: weekly workstream updates                                           0.1
07/02/2023               MJ                Review final and published interim report and related media responses                0.3
07/05/2023               AS                Review email correspondence re: North Dimension website                              0.2

07/05/2023                  AS             Prepare email response re: May 2023 budget vs. actuals                               0.1
07/05/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.              1.0
                                           LaBella, M. Jacques (AlixPartners), K. McArthur, W. Wagener, B. Glueckstein,
                                           J. Rosenfeld (S&C), J. Ray (FTX) re: historical financial statements
07/05/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.              1.0
                                           LaBella, M. Jacques (AlixPartners), K. McArthur, W. Wagener, B. Glueckstein,
                                           J. Rosenfeld (S&C), J. Ray (FTX) re: historical financial statements
07/05/2023                 BFM             Attend meeting with B. Mackay, C. Cipione, D. Schwartz, J. LaBella                   0.2
                                           (AlixPartners), R. Gordon, K. Kearney, M. Shanahan, L. Ryan, D. Hainline
                                           (A&M) re: reconciliation between historical and petition date financials,
                                           intercompany transfers
07/05/2023                  CAS            Attend meeting with B. Mackay, C. Cipione, D. Schwartz, J. LaBella                   0.2
                                           (AlixPartners), R. Gordon, K. Kearney, M. Shanahan, L. Ryan, D. Hainline
                                           (A&M) re: reconciliation between historical and petition date financials,
                                           intercompany transfers
07/05/2023                  DS             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.              1.0
                                           LaBella, M. Jacques (AlixPartners), K. McArthur, W. Wagener, B. Glueckstein,
                                           J. Rosenfeld (S&C), J. Ray (FTX) re: historical financial statements
07/05/2023                  DS             Attend meeting with B. Mackay, C. Cipione, D. Schwartz, J. LaBella                   0.2
                                           (AlixPartners), R. Gordon, K. Kearney, M. Shanahan, L. Ryan, D. Hainline
                                           (A&M) re: reconciliation between historical and petition date financials,
                                           intercompany transfers
07/05/2023                  DJW            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.              1.0
                                           LaBella, M. Jacques (AlixPartners), K. McArthur, W. Wagener, B. Glueckstein,
                                           J. Rosenfeld (S&C), J. Ray (FTX) re: historical financial statements
07/05/2023                  DJW            Communications with K. Donnelly (Sullivan) re: aircraft purchase investigation       0.4
07/05/2023                  EM             Working session with E. Hoffer, J. Lee (A&M) re: open requests with Silvergate,      0.6
                                           Signature, BCB, and DBS banks
07/05/2023                  JCL            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.              1.0
                                           LaBella, M. Jacques (AlixPartners), K. McArthur, W. Wagener, B. Glueckstein,
                                           J. Rosenfeld (S&C), J. Ray (FTX) re: historical financial statements
07/05/2023                  JCL            Attend meeting with B. Mackay, C. Cipione, D. Schwartz, J. LaBella                   0.2
                                           (AlixPartners), R. Gordon, K. Kearney, M. Shanahan, L. Ryan, D. Hainline
                                           (A&M) re: reconciliation between historical and petition date financials,
                                           intercompany transfers
07/05/2023                  JCL            Review materials and key messaging points for meeting with interested parties        1.0

07/05/2023                  MJ             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.              1.0
                                           LaBella, M. Jacques (AlixPartners), K. McArthur, W. Wagener, B. Glueckstein,
                                           J. Rosenfeld (S&C), J. Ray (FTX) re: historical financial statements
07/06/2023                  AS             Prepare response re: follow-up on North Dimension website                            0.1
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/06/2023                AS               Review email re: Stargate token purchase                                                 0.1
07/06/2023               DJW               Communications with K. Donnelly (Sullivan) re: aircraft purchase investigation           0.9
07/06/2023                GS               Draft email re: population of charitable contributions                                   0.3
07/07/2023               AV                Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), B.            0.4
                                           Harsch, Z. Flegenheimer (S&C) re: insider transfers complaint
07/07/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro (AlixPartners), K. Donnelly,               0.4
                                           K. Mayberry, L. Ross (S&C) re: cash transfers to Insider
07/07/2023                   GS            Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), B.            0.4
                                           Harsch, Z. Flegenheimer (S&C) re: insider transfers complaint
07/07/2023                   GS            Attend meeting with A. Vanderkamp, G. Shapiro (AlixPartners), K. Donnelly,               0.4
                                           K. Mayberry, L. Ross (S&C) re: cash transfers to Insider
07/07/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), B.            0.4
                                           Harsch, Z. Flegenheimer (S&C) re: insider transfers complaint
07/09/2023                  GS             Email to S&C re: weekly workstream updates                                               0.1
07/10/2023                  AS             Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/10/2023                  AS             Meeting with E. Downing (S&C) re: priority of avoidance actions                          0.2
07/10/2023                  AS             Prepare email re: agenda for upcoming investigation update meeting                       0.1

07/10/2023                  AS             Prepare for meeting to discuss investigation updates                                     0.1
07/10/2023                  AS             Review email correspondence re: state-level political donations                          0.1
07/10/2023                  AS             Review email correspondence with counsel re: North Dimension and specific                0.1
07/10/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay (AlixPartners), L. Baer, I.                 0.5
                                           Loenaitis, B. Bromberg, M. Diadato (FTI) re: specific entity customer preference
                                           analysis
07/10/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.                0.5
                                           Wessel (AlixPartners), A. Katelas, D. Bailey, L. Lovelace, B. Mistler (EY) re:
                                           FTT treatment in historical financial statement reconstruction
07/10/2023                  AV             Participate in call with J. Massey, A. Weaver, C. Riberio, L. Barefoot (Cleary           0.4
                                           Gottlieb) and B. Beller, A. Toobin, S. Liu, S. Ehrenberg (S&C) re: specific entity
                                           document productions
07/10/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay (AlixPartners), L. Baer, I.                 0.5
                                           Loenaitis, B. Bromberg, M. Diadato (FTI) re: specific entity customer preference
                                           analysis
07/10/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.                0.5
                                           Wessel (AlixPartners), A. Katelas, D. Bailey, L. Lovelace, B. Mistler (EY) re:
                                           FTT treatment in historical financial statement reconstruction
07/10/2023                 BFM             Attend meeting with B. Mackay, M. Evans (AlixPartners) re: prepare for call              0.5
                                           with S&C
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John J. Ray III
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125 Broad Street
New York, New York 10004
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                        HOURS
07/10/2023               BFM               Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/10/2023                  DS             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.                0.5
                                           Wessel (AlixPartners), A. Katelas, D. Bailey, L. Lovelace, B. Mistler (EY) re:
                                           FTT treatment in historical financial statement reconstruction
07/10/2023                  DS             Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/10/2023                  DJW            Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/10/2023                  JCL            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.                0.5
                                           Wessel (AlixPartners), A. Katelas, D. Bailey, L. Lovelace, B. Mistler (EY) re:
                                           FTT treatment in historical financial statement reconstruction
07/10/2023                  JCL            Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/10/2023                 KHW             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, J. LaBella, K.                0.5
                                           Wessel (AlixPartners), A. Katelas, D. Bailey, L. Lovelace, B. Mistler (EY) re:
                                           FTT treatment in historical financial statement reconstruction
07/10/2023                  MJB            Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/10/2023                  ME             Attend meeting with B. Mackay, M. Evans (AlixPartners) re: prepare for call              0.5
                                           with S&C
07/10/2023                  ME             Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
                Case 22-11068-JTD                   Doc 2274-2              Filed 08/30/23             Page 56 of 296




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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                        HOURS
07/10/2023               MJ                Meeting with A. Searles, B. Mackay, D. Schwartz, D. White, J. LaBella, M.                1.1
                                           Brown, M. Evans, M. Jacques (AlixPartners), K. McArthur, J. Croke, W.
                                           Wagener, J. Rosenfeld, A. Holland, U. Eze (S&C) re: investigation updates on
                                           exchange activity, financial statement reconstruction, crypto transfers to insiders
                                           and specific entity
07/11/2023                  AS             Prepare email response to S&C re: North Dimension website                                0.1
07/11/2023                  AS             Prepare follow-up response re: North Dimension website hosting payment                   0.1

07/11/2023                  AS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: additional responses to          0.1
                                           counsel related to North Dimension website request
07/11/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell, S. Thompson                  0.3
                                           (AlixPartners), Z. Flegenheimer, B. Harsch (S&C) re: updates to insider
                                           complaint
07/11/2023                  AV             Call with L. Ryan (A&M) re: preference analysis document review search terms             0.1
07/11/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.            0.5
                                           Donnelly, L. Ross, K. Mayberry (S&C) re: insider transfers to Insider
07/11/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.            0.5
                                           Donnelly, L. Ross (S&C) re: workplan for Insider complaint support
07/11/2023                  DS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: response to counsel              0.1
                                           related to North Dimension website request
07/11/2023                   GS            Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell, S. Thompson                  0.3
                                           (AlixPartners), Z. Flegenheimer, B. Harsch (S&C) re: updates to insider
                                           complaint
07/11/2023                   GS            Draft email to L. Francis (A&M) re: political donations by Debtors                       1.0
07/11/2023                   GS            Email re: running sum analysis of insider's bank account                                 0.3

07/11/2023                  GS             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.            0.5
                                           Donnelly, L. Ross, K. Mayberry (S&C) re: insider transfers to Insider
07/11/2023                   GS            Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.            0.5
                                           Donnelly, L. Ross (S&C) re: workplan for Insider complaint support
07/11/2023                  JCL            Discussion with B. Wagoner (S&C) re: connecting quarterly balances by legal              0.3
                                           entity to petition day balance sheet presentations
07/11/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell, S. Thompson                  0.3
                                           (AlixPartners), Z. Flegenheimer, B. Harsch (S&C) re: updates to insider
                                           complaint
07/11/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.            0.5
                                           Donnelly, L. Ross, K. Mayberry (S&C) re: insider transfers to Insider
07/11/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.            0.5
                                           Donnelly, L. Ross (S&C) re: workplan for Insider complaint support
07/11/2023                   ST            Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell, S. Thompson                  0.3
                                           (AlixPartners), Z. Flegenheimer, B. Harsch (S&C) re: updates to insider
                                           complaint
07/12/2023                  AS             Review response from A&M re: North Dimension website                                     0.1
07/12/2023                  AS             Prepare email to A&M re: updated budget forecast                                         0.2
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                   HOURS
07/12/2023               AS                Review email correspondence with counsel and A&M re: North Dimension                 0.2
                                           website request
07/12/2023                  AS             Review email re: charitable donation tracking spreadsheet                            0.1
07/12/2023                  AS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: additional responses to      0.2
                                           counsel related to North Dimension website request
07/12/2023                  AV             Attend meeting with A. Vanderkamp, S. Thompson (AlixPartners), J. Rosenfeld          0.3
                                           (S&C) re: commingling of funds relating to the acquisition of specific entity
07/12/2023                  DS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: additional responses to      0.2
                                           counsel related to North Dimension website request
07/12/2023                   GS            Email re: investigation of business ventures by insider                              0.5
07/12/2023                   ST            Attend meeting with A. Vanderkamp, S. Thompson (AlixPartners), J. Rosenfeld          0.3
                                           (S&C) re: commingling of funds relating to the acquisition of specific entity
07/13/2023                  AS             Prepare response re: Alameda as a backstop liquidity provider                        0.2
07/13/2023                  AS             Prepare meeting with counsel to discuss specific account / OTC Account and           0.3
                                           impact to financial statements
07/13/2023                  AS             Review email correspondence re: specific entity                                      0.2
07/13/2023                  AS             Review request re: Alameda as a backstop liquidity provider                          0.1
07/13/2023                 AV              Call with B. Beller (S&C) re: specific entity trading activity preference claim      0.3
07/13/2023                 BFM             Attend meeting with B. Mackay, M. Evans (AlixPartners), J. Croke, U. Eze, A.         1.2
                                           Holland (S&C) re: MOB/BTMX liquidation event, update call with FTI, and
                                           Insider trading
07/13/2023                  ME             Prepare redacted presentation materials for meeting with interested party            1.4
07/13/2023                  ME             Prepare talking points for trading investigations meeting with interested party      1.1
07/13/2023                  ME             Attend meeting with B. Mackay, M. Evans (AlixPartners), J. Croke, U. Eze, A.         1.2
                                           Holland (S&C) re: MOB/BTMX liquidation event, update call with FTI, and
                                           Insider trading
07/14/2023                  AS             Follow-up correspondence with counsel to coordinate call to discuss specific         0.2
                                           Alameda account / OTC account
07/14/2023                  AS             Review email and support sent to counsel re: update to charitable contributions      0.2
                                           workstreams
07/14/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), L.        0.8
                                           Francis, R. Esposito, J. Gany, J. Faett (A&M) re: discussion items for SOFA
                                           schedules
07/14/2023                  AV             Working session with A. Vanderkamp, M. Birtwell (AlixPartners), B.                   0.5
                                           Glueckstein, Z. Flegenheimer, C. Dunne (S&C) re: review of specific entity
                                           transfers in excess of HOOD share purchase
07/14/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), Z.        0.2
                                           Flegenheimer (S&C) re: specific entity transfers
07/14/2023                  AV             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.        0.8
                                           Donnelly, K. Mayberry (S&C) re: data for Insider complaint
07/14/2023                 BFM             Attend meeting with B. Mackay, M. Evans (AlixPartners), F. Risler, S.                0.9
                                           Majkowski (FTI) re: exchange-based action and trading malfeasance update
07/14/2023                   GS            Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), L.        0.8
                                           Francis, R. Esposito, J. Gany, J. Faett (A&M) re: discussion items for SOFA
                                           schedules
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/14/2023               GS                Email re: excluded insider transfers from SOFA schedules                               0.2
07/14/2023               GS                Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), Z.          0.2
                                           Flegenheimer (S&C) re: specific entity transfers
07/14/2023                   GS            Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.          0.8
                                           Donnelly, K. Mayberry (S&C) re: data for Insider complaint
07/14/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), L.          0.8
                                           Francis, R. Esposito, J. Gany, J. Faett (A&M) re: discussion items for SOFA
                                           schedules
07/14/2023                  MB             Working session with A. Vanderkamp, M. Birtwell (AlixPartners), B.                     0.5
                                           Glueckstein, Z. Flegenheimer, C. Dunne (S&C) re: review of specific entity
                                           transfers in excess of HOOD share purchase
07/14/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), Z.          0.2
                                           Flegenheimer (S&C) re: specific entity transfers
07/14/2023                  MB             Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.          0.8
                                           Donnelly, K. Mayberry (S&C) re: data for Insider complaint
07/14/2023                  ME             Attend meeting with B. Mackay, M. Evans (AlixPartners), F. Risler, S.                  0.9
                                           Majkowski (FTI) re: exchange-based action and trading malfeasance update
07/14/2023                  ME             Prepare additional redacted charts, tables, and slides for trading investigations      1.4
                                           meeting with interested party
07/16/2023                  GS             Email to S&C re: weekly workstream updates                                             0.1
07/17/2023                  AC             Attend meeting with A. Calhoun, G. Shapiro, J. Somerville, M. Birtwell                 0.1
                                           (AlixPartners), R. Gordon, L. Ryan, D. Hainline, (A&M), J. Rosenfeld (S&C)
                                           re: slack channels related to customer exchange withdrawal support
07/17/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
07/17/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
07/17/2023                  DS             Prepare agenda items for meeting with S&C re: financial statement                      0.2
                                           reconstruction overview
07/17/2023                  DS             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
07/17/2023                  DJW            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/17/2023               GS                Attend meeting with A. Calhoun, G. Shapiro, J. Somerville, M. Birtwell                0.1
                                           (AlixPartners), R. Gordon, L. Ryan, D. Hainline, (A&M), J. Rosenfeld (S&C)
                                           re: slack channels related to customer exchange withdrawal support
07/17/2023                  JCL            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
07/17/2023                  JLS            Attend meeting with A. Calhoun, G. Shapiro, J. Somerville, M. Birtwell                0.1
                                           (AlixPartners), R. Gordon, L. Ryan, D. Hainline, (A&M), J. Rosenfeld (S&C)
                                           re: slack channels related to customer exchange withdrawal support
07/17/2023                 LMG             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
07/17/2023                  MB             Attend meeting with A. Calhoun, G. Shapiro, J. Somerville, M. Birtwell                0.1
                                           (AlixPartners), R. Gordon, L. Ryan, D. Hainline, (A&M), J. Rosenfeld (S&C)
                                           re: slack channels related to customer exchange withdrawal support
07/17/2023                  ME             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               1.1
                                           LaBella, L. Goldman, M. Evans (AlixPartners), K. McArthur, B. Glueckstein, U.
                                           Eze, J. Rosenfeld, A. Holland (S&C), G. Walia (partial attendee) (A&M) re:
                                           OTC Portal, specific entity, insider transfers, MOB/BTMX, financial statement
                                           reconstruction overview
07/18/2023                  AS             Review correspondence re: specific individual                                         0.2
07/18/2023                  AS             Review final draft of email re: chronology of activity identified with regard to      0.2
                                           specific entity donations
07/18/2023                  AS             Review request re: follow-up to Insider donations                                     0.1
07/18/2023                  AV             Call with K. Kamlani, W. Foster, M. Iannella, D. O'Connell, P. Lauser, A. Kim         0.2
                                           (M3) re: specific entity exchange account balances
07/18/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay (AlixPartners), M. Dawson, B.            0.2
                                           Bromberg, M. Gray, I. Leonaitis, K. Steven (FTI) re: specific entity
07/18/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay (AlixPartners), M. Dawson, B.            0.2
                                           Bromberg, M. Gray, I. Leonaitis, K. Steven (FTI) re: specific entity
07/18/2023                  GS             Email to J. Rosenfeld (S&C) re: population of donations by insider                    0.3
07/19/2023                  AS             Review email correspondence re: specific entity                                       0.1
07/19/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, M. Evans (AlixPartners), B.             0.5
                                           Beller, S. Liu, E. Andrews (S&C) re: specific entity dispute
07/19/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, M. Evans (AlixPartners), B.             0.5
                                           Beller, S. Liu, E. Andrews (S&C) re: specific entity dispute
07/19/2023                  ME             Attend meeting with A. Vanderkamp, B. Mackay, M. Evans (AlixPartners), B.             0.5
                                           Beller, S. Liu, E. Andrews (S&C) re: specific entity dispute
07/20/2023                  AS             Review internal correspondence re: response to counsel request associated with        0.2
                                           BDO valuation of specific entity
07/20/2023                  AV             Call with B. Beller (S&C) re: specific entity preference claim analysis               0.2
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                  HOURS
07/20/2023               AV                Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell               0.5
                                           (AlixPartners), K. Donnelly, K. Mayberry, L. Ross (S&C) re: profits on
                                           exchange trades by Insider
07/20/2023                 BFM             Attend meeting with B. Mackay (AlixPartners), B. Beller, S. Liu, A. Toobin, E.      0.5
                                           Andrews (S&C) re: dispute with specific entity
07/20/2023                 BFM             Prepare for meeting with S&C re: specific entity dispute                            0.6
07/20/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell               0.5
                                           (AlixPartners), K. Donnelly, K. Mayberry, L. Ross (S&C) re: profits on
                                           exchange trades by Insider
07/20/2023                   GS            Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell               0.5
                                           (AlixPartners), K. Donnelly, K. Mayberry, L. Ross (S&C) re: profits on
                                           exchange trades by Insider
07/20/2023                  JCL            Meeting with M. Evans, J. LaBella (AlixPartners) and J. Ray, M. Cilia (FTX) to      0.5
                                           discuss budget forecast and workstreams
07/20/2023                 LMG             Draft reply email on specific entity questions                                      0.3
07/20/2023                 LMG             Email N. Friedman (S&C) re: access to Alameda snapshot blobs code                   0.2
07/20/2023                 LMG             Review emails with Sygnia re: snapshot blobs code                                   0.2
07/20/2023                  MB             Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell               0.5
                                           (AlixPartners), K. Donnelly, K. Mayberry, L. Ross (S&C) re: profits on
                                           exchange trades by Insider
07/20/2023                  ME             Meeting with M. Evans, J. LaBella (AlixPartners) and J. Ray, M. Cilia (FTX) to      0.5
                                           discuss budget forecast and workstreams
07/21/2023                  AS             Meeting with A. Searles, J. LaBella (AlixPartners), S. Coverick (A&M) re:           0.3
                                           division of labor presentation to share with CEO
07/21/2023                  AS             Review additional correspondence with counsel re: FTX valuation of specific         0.2
                                           entity
07/21/2023                  AS             Review correspondence with counsel re: FTX Earn                                     0.2
07/21/2023                  AS             Review correspondence with counsel re: political donations                          0.1
07/21/2023                  AS             Review email correspondence re: university asset recovery                           0.1
07/21/2023                 BFM             Summarize findings re: FTX Earn                                                     0.9
07/21/2023                 EM              Attend meeting with M. Shanahan, J. Lee, E. Hoffer (A&M), M. Cilia (FTX), F.        0.4
                                           Weinberg (S&C) re: updates around open requests with banking institutions
07/21/2023                   GS            Draft email re: charitable contribution update                                      0.6
07/21/2023                  JCL            Meeting with A. Searles, J. LaBella (AlixPartners), S. Coverick (A&M) re:           0.3
                                           division of labor presentation to share with CEO
07/21/2023                 LMG             Reply to J. Croke (S&C) about specific entities' wallet activity                    0.3
07/23/2023                  GS             Email to S&C re: weekly workstream updates                                          0.2
07/24/2023                  AS             Meeting with A. Searles, J. LaBella (AlixPartners), S. Coverick (A&M), E.           0.5
                                           Mosley (A&M) re: finalizing division of labor presentation to share with CEO
07/24/2023                   GS            Draft email re: round-trip exchange transfers by insider                            0.6
07/24/2023                  JCL            Meeting with A. Searles, J. LaBella (AlixPartners), S. Coverick (A&M), E.           0.5
                                           Mosley (A&M) re: finalizing division of labor presentation to share with CEO
07/24/2023                 LMG             Reply to C. Kerin (S&C) re: capital management and inventory management             0.2
                                           examples
07/24/2023                 LMG             Reply to S. Yeargan re: FTX Earn program                                            0.2
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
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Re:                 Communication & Meetings with Interested Parties
Code:               20008100P00001.1.2

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/25/2023               AS                Review correspondence re: Nardello properties analysis                                0.1
07/25/2023               AV                Participate in call with N. Friedlander (S&C) re: preparation of upcoming             0.3
                                           interim reports
07/25/2023                 LMG             Email with N. Friedman (S&C) re: approval for AlixPartners access to Alameda          0.2
                                           snapshotblobs code
07/25/2023                 LMG             Reply to question from S&C about prior work re: specific entity                       0.3
07/25/2023                 LMG             Review bullets re: AlixPartners exchange data workstreams for John Ray                0.3
07/26/2023                  AS             Review email correspondence with counsel re: charitable donations                     0.1
07/26/2023                  GS             Draft email re: population of exchange transfer interactions between insider and      0.6
                                           third parties
07/26/2023                  MC             Draft email to A&M re: Alameda Services Inc entity financial information for          0.1
                                           Q2 and Q3 2022
07/27/2023                  AS             Review email correspondence with counsel re: charitable contributions                 0.2
07/27/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay (AlixPartners), B. Beller                0.5
                                           (S&C), L. Ryan, A. Canale (A&M) re: specific entity avoidance action
07/27/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay (AlixPartners), B. Beller                0.5
                                           (S&C), L. Ryan, A. Canale (A&M) re: specific entity avoidance action
07/28/2023                  AV             Teleconference call with A. Vanderkamp, M. Birtwell (AlixPartners), L. Ross,          0.2
                                           K. Mayberry, K. Donnelly (S&C) re: Insider complaint as it relates to transfers
                                           from non debtor bank accounts
07/28/2023                  JCL            Meeting with J. LaBella, M. Evans (AlixPartners), J. Ray (FTX), M. Cilia (FTX)        0.6
                                           re: discuss AlixPartners workstreams and status
07/28/2023                  MB             Teleconference call with A. Vanderkamp, M. Birtwell (AlixPartners), L. Ross,          0.2
                                           K. Mayberry, K. Donnelly (S&C) re: Insider complaint as it relates to transfers
                                           from non debtor bank accounts
07/28/2023                  ME             Meeting with J. LaBella, M. Evans (AlixPartners), J. Ray (FTX), M. Cilia (FTX)        0.6
                                           re: discuss AlixPartners workstreams and status
07/31/2023               ME                Review weekly tracker updates historically                                            1.2
Total Professional Hours                                                                                                        80.1
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Re:                                  Communication & Meetings with Interested Parties
Code:                                20008100P00001.1.2

PROFESSIONAL                                                             RATE           HOURS               FEES
Matthew Jacques                                                          $1,280            2.4     $     3,072.00
Charles Cipione                                                          $1,220            0.2             244.00
Marc J Brown                                                             $1,220            1.1           1,342.00
Matthew Evans                                                            $1,220           11.5          14,030.00
David J White                                                            $1,140            4.5           5,130.00
John C LaBella                                                           $1,115            7.1           7,916.50
Lilly M Goldman                                                          $1,115            3.3           3,679.50
Mark Cervi                                                               $1,020            0.1             102.00
Adam Searles                                                              $950             7.1           6,745.00
Anne Vanderkamp                                                           $950            11.2          10,640.00
Dana Schwartz                                                             $880             4.4           3,872.00
Kurt H Wessel                                                             $880             0.5             440.00
John L Somerville                                                         $825             0.1              82.50
Bennett F Mackay                                                          $805            10.7           8,613.50
Matthew Birtwell                                                          $805             4.8           3,864.00
Eric Mostoff                                                              $510             1.0             510.00
Griffin Shapiro                                                           $510             9.4           4,794.00
Sean Thompson                                                             $510             0.6             306.00
Allyson Calhoun                                                           $510             0.1              51.00
Total Professional Hours and Fees                                                         80.1     $    75,434.00
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John J. Ray III
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/02/2023               TP                Perform quarter-end ETH digital asset balance analysis in support of the               2.2
                                           historical financial reconstruction workstreams
07/02/2023                   TP            Perform quarter-end ETH-based ERC20 digital asset balance analysis in support          1.9
                                           of the historical financial reconstruction workstreams
07/02/2023                   TP            Update historical Solana digital asset analysis in support of the historical           2.2
                                           financial reconstruction workstreams
07/03/2023                  AW             Analyze FTT buys and sells on FTX.com for all accounts                                 1.7
07/03/2023                  AW             Analyze FTT buys and sells on FTX.com for the buy and burn account                     2.1
07/03/2023                  AW             Investigate Alameda sells of FTT on FTX.com                                            1.8
07/03/2023                  LB             Implement multi-threading improvements for Solana account pull scripts to              1.7
                                           increase performance
07/03/2023                   LB            Write script for deposit transaction pull from Alchemy for additional resource to      1.7
                                           run
07/03/2023                  LB             Update Solana databricks data import                                                   1.7
07/03/2023                  LB             Extract Solana deposit transaction data from FTX.com and FTX.us                        1.7
07/03/2023                  LB             Monitor Solana Transaction Data Pull progress                                          0.9
07/03/2023                  YT             Review Relativity files for information on third party exchanges for the FTT           2.9
                                           transfers investigation
07/03/2023                  YT             Run Python script in the Anaconda environment to gather Solana blockchain              2.3
07/04/2023                  AW             Analyze FTT buys and sells on FTX.com for all accounts                                 1.1
07/04/2023                  AW             Analyze FTT buys and sells on FTX.com for the buy and burn account                     1.3
07/04/2023                  AW             Investigate Alameda sells of FTT on FTX.com                                            1.5
07/04/2023                  AW             Investigate the interaction of Alameda sells and FTX buy and burn account buys         2.4
                                           of FTT on FTX.com
07/04/2023                  LB             Prepare Alchemy script instructions to support blockchain workstreams                  0.9
07/04/2023                  LB             Update account allocation process for the FTT investigation                            1.2
07/04/2023                  LB             Create script to extract Solana account data on the FTX.us exchange                    2.3
07/04/2023                  LB             Update Solana data import process on Databricks                                        1.5
07/04/2023                  LB             Import Solana insiders data                                                            1.4
07/04/2023                  LB             Monitor Solana Transaction Data Pull progress                                          0.6
07/04/2023                  YT             Review Relativity files for information on third party exchanges for the FTT           2.8
                                           transfers investigation
07/05/2023                  AW             Analyze the fiat admin account activity by transaction type on FTX.com by              1.9
                                           quarter
07/05/2023                  AW             Investigate the relationship between the cash databases and the deposits and           1.7
                                           withdrawals on FTX.com
07/05/2023                  AW             Teleconference with A. Walker, T. Hofner (AlixPartners) re: working session on         0.5
                                           Admin user balances for Fiat account
07/05/2023                  AW             Visualization of all admin accounts' activity by transaction type on FTX.com by        2.6
                                           quarters
07/05/2023                  AW             Visualization of all admin accounts' activity by transaction type on FTX.com for       2.5
                                           all time
07/05/2023                  AW             Working session with A. Walker, T. Kang, T. Hofner (AlixPartners) re:                  1.1
                                           demonstration of the cash database and how it interacts with deposits and
                                           withdrawals to the FTX.com exchange
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125 Broad Street
New York, New York 10004
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/05/2023               AC                Identify potential contributions from documents of interest to non-profit               1.5
07/05/2023               AC                Review entries in general ledger related to Donations accounts                          2.6
07/05/2023               AC                Trace source of funds through bank statements for contributions added to                2.1
                                           AlixPartners internal tracker from entries booked to Donations accounts in
                                           general ledger
07/05/2023                 BFM             Review exchange activity for additional addresses re: liquidation event                 0.4

07/05/2023                 BFM             Review exchange activity for Insider re: liquidation event                              1.7
07/05/2023                 CAS             Design analyses related to admin user balance accounts (FTX.com)                        2.3
07/05/2023                 CAS             Teleconference with C. Cipione, T. Hofner (AlixPartners) re: review analysis for        0.3
                                           Admin buy and burn account reconciliation
07/05/2023                  GS             Analyze exchange data related to Alameda's purchase of Stargate tokens                  0.6
07/05/2023                  GS             Analyze financial data to tie out contributions to educational institutions             2.6
07/05/2023                  LIM            Examine Pointer data re: OTC account information                                        0.6
07/05/2023                  LIM            Summarize OTC account information re: comparison to pointer data                        2.8
07/05/2023                   LJ            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the time               0.3
                                           coverage of the snapshotblob tables
07/05/2023                   LJ            Develop SQL scripts and logic to retrieve the closest to midnight Alameda               2.1
                                           snapshotblob data for end of day balances
07/05/2023                   LJ            Develop SQL scripts to create the centralized Alameda snapshotblob table                1.8
07/05/2023                   LJ            Develop SQL scripts to extract and hash Alameda snapshotblob quarter-end data           2.4

07/05/2023                  LJ             Perform quality check on the centralized Alameda snapshotblob table                     1.5
07/05/2023                  RB             Create USD conversion table for debtor to insider transactions on the Bitcoin           2.3
                                           network to measure transaction value at the time of occurrence
07/05/2023                  RB             Create USD conversion table for debtor to insider transactions on the Ethereum          2.8
                                           network to measure transaction value at the time of occurrence
07/05/2023                  RB             Revise debtor to insider transaction table for bitcoin transaction quality control      1.3
                                           related to transaction count
07/05/2023                  RB             Working session with S. Hanzi, R. Backus (AlixPartners) re: Cryptocurrency to           0.6
                                           USD value transaction conversion for debtor to insider off-exchange transfers
07/05/2023                   SK            Create weekly delta report for cash schema table contents for the week ended            2.6
                                           06/30/2023 to support cash analyses
07/05/2023                   SK            Update bank data combined table contents for the week ended 06/30/2023 to               2.8
                                           support cash analyses
07/05/2023                   SK            Update bank statement summary table contents for the week ended 06/30/2023              1.9
                                           to support cash analyses
07/05/2023                   SK            Working session with A. Walker, T. Kang, T. Hofner (AlixPartners) re:                   1.1
                                           demonstration of the cash database and how it interacts with deposits and
                                           withdrawals to the FTX.com exchange
07/05/2023                  SRH            Begin integration of tables to convert crypto currency into USD into debtor to          2.6
                                           insider transfer analysis
07/05/2023                  SRH            Working session with S. Hanzi, R. Backus (AlixPartners) re: Cryptocurrency to           0.6
                                           USD value transaction conversion for debtor to insider off-exchange transfers
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Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/05/2023               TJH               Analyze Alameda blob data for missing exchange data in reconciliation to              1.3
                                           pointer data
07/05/2023                  TJH            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the time             0.3
                                           coverage of the snapshotblob tables
07/05/2023                  TJH            Review specific exchange account data for reconciliation to cash database             0.7
07/05/2023                  TJH            Continue to review specific exchange account data for reconciliation to cash          0.8
07/05/2023                  TJH            Review Alameda blob data for reconciliation to pointer data                           0.6
07/05/2023                  TJH            Teleconference with A. Walker, T. Hofner (AlixPartners) re: working session on        0.5
                                           Admin user balances for Fiat account
07/05/2023                  TJH            Teleconference with C. Cipione, T. Hofner (AlixPartners) re: review analysis for      0.3
                                           Admin buy and burn account reconciliation
07/05/2023                  TJH            Teleconference with T. Phelan, T. Hofner (AlixPartners) re: develop work plan         1.1
                                           for exploding out Alameda data blobs for reconciliation to pointer data
07/05/2023                  TJH            Working session with A. Walker, T. Kang, T. Hofner (AlixPartners) re:                 1.1
                                           demonstration of the cash database and how it interacts with deposits and
                                           withdrawals to the FTX.com exchange
07/05/2023                   TP            Perform quarter-end ETH-based ERC20 digital asset balance analysis in support         1.9
                                           of the historical financial reconstruction workstreams
07/05/2023                   TP            Review historical analysis on Bitcoin based asset balance in support of the           1.6
                                           historical financial reconstruction workstreams
07/05/2023                   TP            Teleconference with T. Phelan, T. Hofner (AlixPartners) re: develop work plan         1.1
                                           for exploding out Alameda data blobs for reconciliation to pointer data
07/05/2023                   TP            Update historical Solana digital asset analysis in support of the historical          2.7
                                           financial reconstruction workstreams
07/06/2023                  AW             Create a specific exchange account matrix to track transfers and related fiat         0.8
                                           withdrawals and deposits on the FTX.com exchange
07/06/2023                  AW             Investigate fiat withdrawals made by specific exchange account from the               1.5
07/06/2023                  AW             Investigate the relationship between specific Alameda account and specific            1.9
                                           exchange account on the FTX.com exchange
07/06/2023                  AW             Trace fiat withdrawals made by fiat@ftx.com from the FTX.com exchange to              1.7
                                           the cash database
07/06/2023                  AW             Create visualization of all admin accounts' running balances in USD on                2.6
                                           FTX.com for all asset types
07/06/2023                  AW             Working session with A. Walker, C. Cipione, T. Kang, T. Hofner (AlixPartners)         1.2
                                           re: overview of the methods and preliminary results of mapping exchange
                                           records to cash database
07/06/2023                  AC             Identify new contributions to individuals from TransferWise bank statement            1.8
07/06/2023                  AC             Identify new contributions to organizations from TransferWise bank statement          1.2
07/06/2023                  AC             Tie out contributions to individual recipients from TransferWise bank statement       2.8
07/06/2023                  AC             Tie out contributions to non-profit recipients from TransferWise bank statement       2.3
07/06/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                      2.4
07/06/2023                  CAS            Review progress on the codebase review                                                0.3
07/06/2023                  CAS            Working session with A. Walker, C. Cipione, T. Kang, T. Hofner (AlixPartners)         1.2
                                           re: overview of the methods and preliminary results of mapping exchange
                                           records to cash database
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/06/2023               GS                Analyze exchange data related to Alameda's purchase of Stargate tokens                  0.3
07/06/2023               GS                Analyze financial data for payments to specific entity related to website hosting       1.1
                                           services
07/06/2023                  LIM            Summarize specific entity data re: comparison to OTC fills tables                       0.2
07/06/2023                  LIM            Summarize OTC account balances re: transfers from Alameda exchange to FTX               2.1
                                           and vice versa
07/06/2023                  LIM            Summarize OTC account information re: comparison to Pointer data                        0.9
07/06/2023                  LB             Update Solana Transaction Data Pull process                                             1.7
07/06/2023                   LJ            Attend meeting with L. Jia, T. Phelan, T. Hofner (AlixPartners) re: discuss the         0.5
                                           next steps for the alameda snapshot analysis
07/06/2023                   LJ            Update the parsed JSON file for Alameda balances and margin positions data for          1.9
                                           usability
07/06/2023                   LJ            Debug the dynamic JSON parsing issues for processing Alameda snapshotblob               2.3
                                           data
07/06/2023                  LJ             Update the Alameda snapshotblob balances roll-up logic                                  1.1
07/06/2023                  RB             Create debtor to insider crypto transfer process summary and findings summary           2.7
                                           presentation draft
07/06/2023                  RB             Create on-chain activity summary analysis for insider wallets with affiliated off-      1.5
                                           exchange transactions for debtors on the Bitcoin network to inform investigation
                                           next steps
07/06/2023                  RB             Create on-chain activity summary analysis for insider wallets with affiliated off-      2.6
                                           exchange transactions for debtors on the Ethereum network to inform
                                           investigation next steps
07/06/2023                  RB             Revise debtor to insider transfer USD amounts on insider wallets table                  0.3
07/06/2023                  SK             Create a report that shows the distribution of fiat records and cash database           2.2
                                           records by bank to support cash analyses
07/06/2023                   SK            Create weekly delta report for the statement summary tracker file for the week          2.9
                                           ended 06/30/2023 to support cash analyses
07/06/2023                   SK            Update grand bank account and statements tracker for the week ended                     2.3
                                           06/30/2023 to support cash analyses
07/06/2023                   SK            Working session with A. Walker, C. Cipione, T. Kang, T. Hofner (AlixPartners)           1.2
                                           re: overview of the methods and preliminary results of mapping exchange
                                           records to cash database
07/06/2023                  SRH            Finish integration of tables to convert crypto currency into USD into debtor to         2.8
                                           insider transfer analysis
07/06/2023                  TJH            Analyze progress of QuickBooks data scraping exercise                                   0.4
07/06/2023                  TJH            Attend meeting with L. Jia, T. Phelan, T. Hofner (AlixPartners) re: discuss the         0.5
                                           next steps for the alameda snapshot analysis
07/06/2023                  TJH            Review specific exchange account to cash database analysis by deposits                  0.6
07/06/2023                  TJH            Review specific exchange account to cash database analysis by withdrawals               0.5
07/06/2023                  TJH            Review specific exchange account by transaction type analysis                           0.5
07/06/2023                  TJH            Revise work plan for Alameda snapshot analysis                                          0.4
07/06/2023                  TJH            Working session with A. Walker, C. Cipione, T. Kang, T. Hofner (AlixPartners)           1.2
                                           re: overview of the methods and preliminary results of mapping exchange
                                           records to cash database
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/06/2023               TP                Attend meeting with L. Jia, T. Phelan, T. Hofner (AlixPartners) re: discuss the         0.5
                                           next steps for the alameda snapshot analysis
07/06/2023                   TP            Perform quarter-end ETH-based ERC20 digital asset balance analysis in support           2.1
                                           of the historical financial reconstruction workstreams
07/06/2023                   TP            Review historical analysis on Bitcoin based asset balance in support of the             2.4
                                           historical financial reconstruction workstreams
07/06/2023                   TP            Update historical Solana digital asset analysis in support of the historical            2.9
                                           financial reconstruction workstreams
07/07/2023                  AW             Continue creation of a specific exchange account matrix to track transfers and          2.5
                                           related fiat withdrawals and deposits on the FTX.com exchange
07/07/2023                  AW             Ingest specific exchange account matrix into cash database                              0.7
07/07/2023                  AW             Working session with A. Walker, T. Kang, T. Hofner (AlixPartners) re:                   1.1
                                           investigation into the population of fiat deposits and withdrawals with matching
                                           bank records in both the trade and cash data
07/07/2023                  AC             Analyze specific entity's FTT exchange activity in 2022                                 1.6
07/07/2023                  AV             Working session with A. Vanderkamp, R. Backus (AlixPartners) re: crypto                 0.3
                                           transfers to insiders identification process and presentation of initial findings
07/07/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                        2.7
07/07/2023                  CAS            Teleconference with C. Cipione, T. Kang, T. Hofner (AlixPartners) re: review            0.5
                                           analysis for exchange fiat table to bank statement to cash database reconciliation
07/07/2023                  DS             Perform relativity searches for unstructured data related to payments for North         1.6
                                           Dimension Inc website
07/07/2023                  DS             Review financial records for evidence of payment for North Dimension website            0.8
                                           hosting
07/07/2023                  DJW            Teleconference call with D. White, R. Backus (AlixPartners) re: Debtor to               0.3
                                           insider crypto transfer update and outlier transaction review
07/07/2023                   GS            Analyze blockchain data to trace funding for Alameda's purchase of Stargate             1.6
                                           tokens
07/07/2023                   GS            Analyze credit card statements for payments related to website hosting services         0.5
07/07/2023                   GS            Analyze exchange data to trace funding of Alameda's purchase of Stargate                1.4
                                           tokens
07/07/2023                   GS            Analyze financial data to tie out contributions to non-profit recipients                0.8
07/07/2023                   GS            Analyze financial data to identify payments to specific entity related to website       0.6
                                           hosting services
07/07/2023                  LIM            Summarize OTC account balances re: transfers from Alameda exchange to FTX               1.6
                                           and vice versa
07/07/2023                   LJ            Create the master spreadsheet for pointer data and alameda snapshotblob data            2.6
                                           comparison
07/07/2023                   LJ            Create the master spreadsheet for pointer data and alameda snapshotblob data            1.2
                                           comparison without USD-related coins
07/07/2023                   LJ            Develop SQL scripts to create comparison details by exchange and by coin                2.3
                                           between the snapshotblob and pointer data
07/07/2023                   LJ            Develop SQL scripts to create the summary level comparison and exchange                 2.1
                                           coverage of the Alameda snapshotblob data
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/07/2023               RB                Analyze insider wallets with off-exchange transactions for anomalies for the              2.7
                                           purpose of streamlining the investigation into debtor to insider transfers
07/07/2023                  RB             Create data queries for debtor to insider transfer historical investigation data          0.6
07/07/2023                  RB             Create updated insider wallet tables based on filtered transaction anomalies and          0.9
                                           re-run quantitative analysis of transaction value
07/07/2023                  RB             Revise debtor to insider crypto transfer process summary and findings summary             1.1
                                           presentation draft
07/07/2023                  RB             Revise on-chain transaction activity summary for insider wallets who received             1.3
                                           off-exchange transfers from debtors
07/07/2023                  RB             Teleconference call with D. White, R. Backus (AlixPartners) re: Debtor to                 0.3
                                           insider crypto transfer update and outlier transaction review
07/07/2023                  RB             Working session with A. Vanderkamp, R. Backus (AlixPartners) re: crypto                   0.3
                                           transfers to insiders identification process and presentation of initial findings
07/07/2023                  RB             Working session with S. Hanzi, R. Backus (AlixPartners) re: Debtor to insider             1.0
                                           transfer data funnel queries and transaction filtering
07/07/2023                   SK            Analyze fiat records that cannot be located in bank record table                          2.7
07/07/2023                   SK            Investigate records where the status in fiat table is cancelled but the transaction       1.9
                                           still appears in the bank statement to reconcile records
07/07/2023                   SK            Review the user balance calculation script to understand the use of filters for fiat      2.3
                                           tables to support cash analyses
07/07/2023                   SK            Teleconference with C. Cipione, T. Kang, T. Hofner (AlixPartners) re: review              0.5
                                           analysis for exchange fiat table to bank statement to cash database reconciliation
07/07/2023                   SK            Teleconference with T. Kang, T. Hofner (AlixPartners) re: review analysis for             0.8
                                           exchange fiat table to bank statement to cash database reconciliation
07/07/2023                   SK            Working session with A. Walker, T. Kang, T. Hofner (AlixPartners) re:                     1.1
                                           investigation into the population of fiat deposits and withdrawals with matching
                                           bank records in both the trade and cash data
07/07/2023                  SRH            Working session with S. Hanzi, R. Backus (AlixPartners) re: Debtor to insider             1.0
                                           transfer data funnel queries and transaction filtering
07/07/2023                  TJH            Review analysis of the population of fiat deposits and withdrawals with                   2.3
                                           matching bank records for the exchange
07/07/2023                  TJH            Teleconference with C. Cipione, T. Kang, T. Hofner (AlixPartners) re: review              0.5
                                           analysis for exchange fiat table to bank statement to cash database reconciliation
07/07/2023                  TJH            Teleconference with T. Kang, T. Hofner (AlixPartners) re: review analysis for             0.8
                                           exchange fiat table to bank statement to cash database reconciliation
07/07/2023                  TJH            Working session with A. Walker, T. Kang, T. Hofner (AlixPartners) re:                     1.1
                                           investigation into the population of fiat deposits and withdrawals with matching
                                           bank records in both the trade and cash data
07/07/2023                   TP            Perform quarter-end ETH-based ERC20 digital asset balance analysis in support             1.3
                                           of the historical financial reconstruction workstreams
07/07/2023                   TP            Review historical analysis on Bitcoin based asset balance in support of the               0.7
                                           historical financial reconstruction workstreams
07/07/2023                   TP            Update historical Solana digital asset analysis in support of the historical              2.8
                                           financial reconstruction workstreams
07/09/2023                  AC             Search for contributions to non-profit organizations in general ledger                    2.6
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/09/2023               LB                Review Solana transaction pull handover                                               1.1
07/09/2023               LB                Monitor Solana Transaction Data Pull progress                                         0.6
07/10/2023               AC                Analyze exchange activity to determine ownership of expenses@ftx.us account           0.4
07/10/2023               AC                Analyze payments made from FTX Foundation TransferWise bank account July-             0.3
                                           September 2022
07/10/2023                  AC             Analyze withdrawal status of charitable contributions made on exchange                1.5
07/10/2023                  AC             Search Relativity to determine ownership of expenses@ftx.us account                   0.6
07/10/2023                  AC             Working session with A. Calhoun, C. Wong, D. Schwartz, M. Birtwell                    0.4
                                           (AlixPartners) re: analyze intercompany transfers related to charitable
                                           contributions
07/10/2023                  AC             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: analyze               0.3
                                           intercompany transfers related to charitable contributions
07/10/2023                  AC             Working session with A. Calhoun, T. Phelan (AlixPartners) re: analyze on chain        1.4
                                           transaction data related to debtor-associated wallets
07/10/2023                 BFM             Prepare for call with S&C re: investigation updates on exchange activity              0.3
07/10/2023                 BFM             Review Insider trading activity                                                       0.3
07/10/2023                 BFM             Working session with B. Mackay, M. Birtwell, T. Phelan (AlixPartners) re:             0.5
                                           comparison of exchange data pulled for Insider against related data from A&M
                                           to confirm accuracy for insider complaint
07/10/2023                  CAS            Teleconference with C. Cipione, T. Hofner (AlixPartners) re: review analysis for      0.7
                                           exchange fiat table to bank statement to cash database reconciliation process
07/10/2023                  DS             Working session with A. Calhoun, C. Wong, D. Schwartz, M. Birtwell                    0.4
                                           (AlixPartners) re: analyze intercompany transfers related to charitable
                                           contributions
07/10/2023                  GS             Analyze financial data to tie out charitable contributions                            1.5
07/10/2023                  GS             Research bank statements for FTX Foundation bank accounts                             2.0
07/10/2023                  LIM            Summarize OTC account balances re: testing coins with mismatch                        2.8
07/10/2023                  LIM            Summarize OTC account balances re: transfers from Alameda exchange to FTX             2.9
                                           and vice versa
07/10/2023                   LJ            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the quantity         1.1
                                           mismatch and exchange coverage of the alameda snapshot analysis
07/10/2023                  LJ             Create visualizations for the Alameda snapshotblob exchange coverage analysis         2.4
07/10/2023                  LJ             Investigate the specific exchange snapshotblob data presence                          2.2
07/10/2023                  MB             Confirm salary payments to insiders in financial data                                 0.4
07/10/2023                  MB             Review flow of funds for aircraft purchase                                            0.4
07/10/2023                  MB             Review insider salary data from insider transfer schedules to facilitate insider      0.6
                                           complaint
07/10/2023                  MB             Review financial data for insider transfers with undetermined purposes from           0.7
                                           insider transfer schedules to facilitate insider complaint
07/10/2023                  MB             Working session with A. Calhoun, C. Wong, D. Schwartz, M. Birtwell                    0.4
                                           (AlixPartners) re: analyze intercompany transfers related to charitable
                                           contributions
07/10/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: analyze               0.3
                                           intercompany transfers related to charitable contributions
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07/10/2023               MB                Working session with B. Mackay, M. Birtwell, T. Phelan (AlixPartners) re:                 0.5
                                           comparison of exchange data pulled for Insider against related data from A&M
                                           to confirm accuracy for insider complaint
07/10/2023                  ME             Prepare trading update materials for investigations update call                           1.3
07/10/2023                  RB             Create an insider specific table for which debtor to insider transfer occurred off-       0.8
                                           exchange for the purpose of further forensic investigation into their personal
                                           activity
07/10/2023                  RB             Revise debtor to insider crypto transfer identification process and initial findings      2.2
                                           presentation
07/10/2023                  RB             Revise FTT historical presentation for daily and monthly exchange balances and            1.2
                                           market capitalization data
07/10/2023                  RB             Revise insider wallet on-chain analysis to identify anomalies for the purpose of          2.7
                                           increasing total transaction value accuracy
07/10/2023                 SYW             Working session with A. Calhoun, C. Wong, D. Schwartz, M. Birtwell                        0.4
                                           (AlixPartners) re: analyze intercompany transfers related to charitable
                                           contributions
07/10/2023                   SK            Create weekly delta report for cash schema table contents for the week ended              2.2
                                           07/07/2023 to support cash analyses
07/10/2023                   SK            Update bank data combined table contents for the week ended 07/07/2023 to                 2.9
                                           support cash analyses
07/10/2023                   SK            Update bank statement summary table contents for the week ended 07/07/2023                2.6
                                           to support cash analyses
07/10/2023                  TJH            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the quantity             1.1
                                           mismatch and exchange coverage of the alameda snapshot analysis
07/10/2023                  TJH            Review analysis for exchange fiat table to bank statement to cash database                0.8
                                           reconciliation process
07/10/2023                  TJH            Review analysis of Alameda snapshot blob reconciliation to pointer data                   1.8
07/10/2023                  TJH            Review work plan on Alameda snapshot blob reconciliation to pointer data                  0.4
07/10/2023                  TJH            Revise work plan for exchange fiat table to bank statement to cash database               0.4
                                           reconciliation process
07/10/2023                  TJH            Teleconference with C. Cipione, T. Hofner (AlixPartners) re: review analysis for          0.7
                                           exchange fiat table to bank statement to cash database reconciliation process
07/10/2023                   TP            Perform quarter-end ETH-based digital asset balance analysis in support of the            1.9
                                           historical financial reconstruction workstreams
07/10/2023                   TP            Working session with A. Calhoun, T. Phelan (AlixPartners) re: analyze on chain            1.4
                                           transaction data related to debtor-associated wallets
07/10/2023                   TP            Working session with B. Mackay, M. Birtwell, T. Phelan (AlixPartners) re:                 0.5
                                           comparison of exchange data pulled for Insider against related data from A&M
                                           to confirm accuracy for insider complaint
07/11/2023                  AS             Investigate North Dimension website hosting payment                                       0.4

07/11/2023                  AC             Analyze fill prices compared to market prices for fills made by insider accounts          1.9
                                           on the OTC portal
07/11/2023                  AC             Prepare summary of Insider's OTC portal account activity                                  0.2
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07/11/2023               AC                Search general ledger for transactions related to non-tied-out charitable                0.8
                                           contributions
07/11/2023                  AC             Working session with A. Calhoun, B. Mackay, M. Birtwell (AlixPartners) re:               0.3
                                           analyze fill prices compared to market prices for fills made by insider accounts
                                           on the OTC portal
07/11/2023                  AC             Analyze specific entity's FTT exchange activity                                          1.7
07/11/2023                  AC             Trace off-exchange activity related to FTT withdrawals from specific entity's            2.1
07/11/2023                  AC             Working session with A. Calhoun, B. Mackay (AlixPartners) re: trace FTT                  0.3
                                           transfers off exchange related to specific entity
07/11/2023                 BFM             Review .com and .us NFT data tables                                                      0.7
07/11/2023                 BFM             Working session with A. Calhoun, B. Mackay, M. Birtwell (AlixPartners) re:               0.3
                                           analyze fill prices compared to market prices for fills made by insider accounts
                                           on the OTC portal
07/11/2023                 BFM             Working Session with B. Mackay, R. Backus (AlixPartners) re: FTT deployer                0.2
                                           wallet and Alameda Research beneficiary wallet FTT flow of funds
07/11/2023                 BFM             Working session with A. Calhoun, B. Mackay (AlixPartners) re: trace FTT                  0.3
                                           transfers off exchange related to specific entity
07/11/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                         1.6
07/11/2023                  GG             Create a script to change account classifications for a specific set of accounts on      2.3
                                           the FTX.com exchange
07/11/2023                  GG             Create a script to change account classifications for a specific set of accounts on      1.6
                                           the FTX.us exchange
07/11/2023                  GG             Update the script for generating user balances on the FTX.com exchange for               2.4
                                           newly classified accounts
07/11/2023                  GG             Update the script for generating user balances on the FTX.us exchange for newly          1.3
                                           classified accounts
07/11/2023                   GS            Analyze exchange data to identify transfers related to properties owned by               2.2
                                           insider
07/11/2023                  GS             Analyze financial data to identify transfers related to properties owned by insider      2.0

07/11/2023                  GS             Review specific entity statements to identify transfers to specific entity               0.6
07/11/2023                  LIM            Summarize OTC account balances re: testing coins with mismatch                           1.3
07/11/2023                   LJ            Create visualizations for the top coins and top exchanges from the Alameda               1.2
                                           snapshotblob data
07/11/2023                  LJ             Investigate the specific exchange JPY currency fluctuations                              2.8
07/11/2023                  MB             Working session with A. Calhoun, B. Mackay, M. Birtwell (AlixPartners) re:               0.3
                                           analyze fill prices compared to market prices for fills made by insider accounts
                                           on the OTC portal
07/11/2023                  ME             Analyze insiders' trading profits and transfers                                          1.3
07/11/2023                  RB             Create Chainalysis graph for FTT deployer wallet and Alameda beneficiary                 0.7
                                           wallet flow of funds for FTT token
07/11/2023                  RB             Revise insider crypto transfers summary presentation for representation of initial       0.6
                                           transaction findings numerical figures
07/11/2023                  RB             Revise insider crypto transfers summary presentation for representation of wallet        0.4
                                           identification process numerical figures
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07/11/2023               RB                Working Session with B. Mackay, R. Backus (AlixPartners) re: FTT deployer              0.2
                                           wallet and Alameda Research beneficiary wallet FTT flow of funds
07/11/2023                  RB             Create summary of findings for FTT deployer wallet and Alameda beneficiary             0.4
                                           wallet flow of funds for FTT token based on chain analysis tools
07/11/2023                  RB             Revise FTT historical lifecycle presentation exchange balance and available            0.6
                                           liquidity representations
07/11/2023                   SK            Create weekly delta report for the statement summary tracker file for the week         2.8
                                           ended 07/07/2023 to support cash analyses
07/11/2023                   SK            Teleconference with T. Kang, T. Hofner (AlixPartners) re: review waterfall             0.6
                                           results for exchange fiat table to bank statement to cash database reconciliation
                                           process
07/11/2023                   SK            Update grand bank account and statements tracker for the week ended                    1.6
                                           07/07/2023 to support cash analyses
07/11/2023                   SK            Update the grand tracker query to include a new table for manually added               1.8
                                           relativity IDs to track supporting documentation
07/11/2023                  TJH            Review cash database to exchange fiat tables matching logic for waterfall              1.3
07/11/2023                  TJH            Review QuickBooks audit logs compared to specific database interface to trace          1.1
                                           changes through interface
07/11/2023                  TJH            Teleconference with T. Kang, T. Hofner (AlixPartners) re: review waterfall             0.6
                                           results for exchange fiat table to bank statement to cash database reconciliation
                                           process
07/12/2023                  AC             Analyze NFT tables on FTX.us exchange                                                  0.7
07/12/2023                  AC             Search general ledger for transactions related to non-tied-out charitable              1.2
                                           contributions
07/12/2023                  AC             Working Session with A. Calhoun, B. Mackay, T. Phelan (AlixPartners) re:               0.7
                                           analyze NFT tables on FTX.us exchange
07/12/2023                  AC             Working session with A. Calhoun, G. Shapiro, M. Birtwell, R. Backus                    0.5
                                           (AlixPartners) re: review OTC portal deposits to identify potential off exchange
                                           insider wallets
07/12/2023                  AC             Analyze FTT transfers around month-end related to specific entity                      0.8
07/12/2023                  AC             Discussion with A. Calhoun, K. Wessel (AlixPartners) re: FTT as loan collateral        0.2
                                           between Alameda and specific entity
07/12/2023                  AC             Working Session with A. Calhoun, B. Mackay (AlixPartners) re: analyze FTT              0.2
                                           transfers around month-end related to specific entity
07/12/2023                  AC             Working Session with A. Calhoun, B. Mackay, D. Schwartz (AlixPartners) re:             0.7
                                           analyze FTT transfers around month-end related to specific entity
07/12/2023                  AC             Working Session with A. Calhoun, D. Schwartz (AlixPartners) re: analyze FTT            0.2
                                           transfers around month-end related to specific entity
07/12/2023                 BFM             Working session with B. Mackay, M. Birtwell, T. Phelan (AlixPartners) re:              0.5
                                           comparison of exchange data pulled for Insider against related data from A&M
                                           to confirm accuracy for Insider complaint
07/12/2023                 BFM             Working Session with A. Calhoun, B. Mackay, T. Phelan (AlixPartners) re:               0.7
                                           analyze NFT tables on FTX.us exchange
07/12/2023                 BFM             Working Session with A. Calhoun, B. Mackay (AlixPartners) re: analyze FTT              0.2
                                           transfers around month-end related to specific entity
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/12/2023               BFM               Working Session with A. Calhoun, B. Mackay, D. Schwartz (AlixPartners) re:             0.7
                                           analyze FTT transfers around month-end related to specific entity
07/12/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                       1.1
07/12/2023                   DS            Working Session with A. Calhoun, B. Mackay, D. Schwartz (AlixPartners) re:             0.7
                                           analyze FTT transfers around month-end related to specific entity
07/12/2023                  DS             Working Session with A. Calhoun, D. Schwartz (AlixPartners) re: analyze FTT            0.2
                                           transfers around month-end related to specific entity
07/12/2023                  GG             Analyze exchange user balance data on FTX.us reflecting updated account                2.9
                                           classification
07/12/2023                  GG             Analyze FTX.com exchange user balances based on new classification                     2.9
07/12/2023                  GG             Analyze venture classification data on the FTX.com exchange                            1.3
07/12/2023                  GS             Working session with A. Calhoun, G. Shapiro, M. Birtwell, R. Backus                    0.5
                                           (AlixPartners) re: review OTC portal deposits to identify potential off exchange
                                           insider wallets
07/12/2023                   GS            Analyze exchange data to trace funding of Insider's property purchase in specific      1.0
                                           location
07/12/2023                 KHW             Discussion with A. Calhoun, K. Wessel (AlixPartners) re: FTT as loan collateral        0.2
                                           between Alameda and specific entity
07/12/2023                 KHW             Working session with K. Wessel, M. Birtwell (AlixPartners) re: review of               0.5
                                           lending activity to facilitate S&C's potential preference claims against three
                                           specific entities
07/12/2023                  LIM            Attend meeting with L. Jia, L. Morrison (AlixPartners) re: discuss the specific        0.5
                                           entity and Alameda Fills data analysis
07/12/2023                  LIM            Examine specific entity third party data re: validating pointer data                   0.6
07/12/2023                   LJ            Attend meeting with L. Jia, L. Morrison (AlixPartners) re: discuss the specific        0.5
                                           entity and Alameda Fills data analysis
07/12/2023                   LJ            Create the master spreadsheet for the comparison between the ftx.com and               2.6
                                           Alameda snapshotblob data
07/12/2023                   LJ            Create the master spreadsheet for the comparison between the ftx.com and               1.7
                                           Alameda snapshotblob data without USD-related coins
07/12/2023                   LJ            Extract the QuickBooks audit log data for the FTX accountant modifications to          1.9
                                           journal entries in November and December 2022
07/12/2023                   LJ            Summarize the count of FTX Accountant modifications of QuickBooks data by              0.9
                                           month
07/12/2023                  MB             Working session with B. Mackay, M. Birtwell, T. Phelan (AlixPartners) re:              0.5
                                           comparison of exchange data pulled for Insider against related data from A&M
                                           to confirm accuracy for Insider complaint
07/12/2023                  MB             Working session with A. Calhoun, G. Shapiro, M. Birtwell, R. Backus                    0.5
                                           (AlixPartners) re: review OTC portal deposits to identify potential off exchange
                                           insider wallets
07/12/2023                  MB             Working session with M. Birtwell, S. Hanzi (AlixPartners) re: review of OTC            0.4
                                           portal deposit data to identify additional off exchange wallets potentially owned
                                           by insiders
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/12/2023               MB                Working session with K. Wessel, M. Birtwell (AlixPartners) re: review of               0.5
                                           lending activity to facilitate S&C's potential preference claims against three
                                           specific entities
07/12/2023                  RB             Analyze data output on-exchange transfers to known insider associated                  2.2
                                           withdrawal wallets that received off-exchange transactions to determine user and
                                           coin type transactions patterns
07/12/2023                  RB             Working session with A. Calhoun, G. Shapiro, M. Birtwell, R. Backus                    0.5
                                           (AlixPartners) re: review OTC portal deposits to identify potential off exchange
                                           insider wallets
07/12/2023                  RB             Analyze over-the-counter portal insider associated wallet list to determine            1.9
                                           depositing wallet addresses for Bitcoin network wallets
07/12/2023                  RB             Analyze over-the-counter portal insider associated wallet list to determine            1.5
                                           depositing wallet addresses for Ethereum network wallets
07/12/2023                  RB             Create data queries for on-exchange transfers to known insider associated              1.3
                                           withdrawal wallets that received off-exchange transactions
07/12/2023                   SK            Create a waterfall query to map fiat records in exchange data to the cash              2.8
                                           database by finding a unique amount and date match to support cash analyses
07/12/2023                   SK            Expand the waterfall query to map fiat records in exchange data to the cash            0.9
                                           database to allow date difference of 2 days to support cash analyses
07/12/2023                   SK            Expand the waterfall query to map fiat records in exchange data to the cash            1.2
                                           database to allow date difference of one day to support cash analyses
07/12/2023                   SK            Investigate the relationship between transaction amount in cash database and the       2.7
                                           size and fee columns in the exchange fiat withdrawal table to determine fee
                                           calculations for exchange withdrawals
07/12/2023                   SK            Teleconference with T. Kang, T. Hofner (AlixPartners) re: review waterfall             0.9
                                           results for exchange fiat table to bank statement to cash database reconciliation
                                           process
07/12/2023                  SRH            Working session with M. Birtwell, S. Hanzi (AlixPartners) re: review of OTC            0.4
                                           portal deposit data to identify additional off exchange wallets potentially owned
                                           by insiders
07/12/2023                  TJH            Review analytics for waterfall of exchange fiat table to bank statement to cash        1.5
                                           database reconciliation process
07/12/2023                  TJH            Review logic for producing petition date QuickBooks journal entries modified           1.5
                                           post petition by interested party
07/12/2023                  TJH            Teleconference with T. Kang, T. Hofner (AlixPartners) re: review waterfall             0.9
                                           results for exchange fiat table to bank statement to cash database reconciliation
                                           process
07/12/2023                   TP            Working session with B. Mackay, M. Birtwell, T. Phelan (AlixPartners) re:              0.5
                                           comparison of exchange data pulled for Insider against related data from A&M
                                           to confirm accuracy for Insider complaint
07/12/2023                   TP            Update historical Ethereum based digital asset analysis in support of the              2.2
                                           historical financial reconstruction workstreams
07/12/2023                   TP            Update historical Solana digital asset analysis in support of the historical           2.8
                                           financial reconstruction workstreams
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/12/2023               TP                Working Session with A. Calhoun, B. Mackay, T. Phelan (AlixPartners) re:                0.7
                                           analyze NFT tables on FTX.us exchange
07/13/2023                  AC             Identify insider transactions on exchange interacting with wallets associated with      0.5
                                           debtor entities
07/13/2023                  AC             Identify insider transactions on the OTC portal interacting with wallets                0.9
                                           associated with debtor entities
07/13/2023                  AC             Search general ledger for transactions related to non-tied-out charitable               0.8
                                           contributions
07/13/2023                 BFM             Summarize spot trading for Insider                                                      2.2
07/13/2023                  GS             Analyze exchange deposits for transfers to insider from Debtor wallets                  0.5
07/13/2023                  GS             Analyze financial data to identify transfers to entities owned by insider               0.3
07/13/2023                  LJ             Create the SQL scripts to clean specific entity data coin mapping to reconcile          2.6
                                           balances between Alameda and specific entity
07/13/2023                   LJ            Create the SQL scripts to roll up the specific entity daily balances                    2.7
07/13/2023                   LJ            Prepare the QuickBooks audit log FTX accountant modification deliverable to             1.6
                                           assist with review of journal entries modified post-petition date
07/13/2023                  MB             Review Class B share purchase details to confirm details in insider complaint           0.3
07/13/2023                  MB             Review exchange transfers potentially made between Debtor and Insider to                1.3
                                           facilitate insider complaint
07/13/2023                  MB             Working session with M. Birtwell, S. Hanzi (AlixPartners) re: review of OTC             0.4
                                           portal deposit data to identify additional off exchange wallets potentially owned
                                           by insiders
07/13/2023                  ME             Analyze pricing and counterparties in key liquidations                                  1.5
07/13/2023                  RB             Create summary analysis of over-the-counter portal insider associated wallets           0.4
                                           transaction details
07/13/2023                  RB             Revise insider crypto transfers summary presentation for accuracy of                    0.5
                                           representation of the identification process
07/13/2023                   SK            Create report of exchange fiat deposit records mapped to the cash database based        2.4
                                           on waterfall query results
07/13/2023                   SK            Create report of exchange fiat withdrawal records mapped to the cash database           1.8
                                           based on waterfall query results
07/13/2023                   SK            Investigate records where the completed date on the exchange is different from          0.9
                                           the date in the bank statement to reconcile cash records
07/13/2023                  SRH            Working session with M. Birtwell, S. Hanzi (AlixPartners) re: review of OTC             0.4
                                           portal deposit data to identify additional off exchange wallets potentially owned
                                           by insiders
07/13/2023                  TJH            Review analytics for waterfall of exchange fiat table to bank statement to cash         0.7
                                           database reconciliation process
07/13/2023                  TJH            Review logic for producing petition date QuickBooks journal entries modified            1.6
                                           post petition by interested party
07/14/2023                  AC             Analyze OTC activity related to specific entity insiders                                0.3
07/14/2023                  AC             Aggregate list of insider exchange transactions related to on chain activity            0.9
07/14/2023                  AC             Analyze insider exchange activity for which multiple entries are associated with        0.7
                                           the same on chain transaction ID
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Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/14/2023               AC                Analyze NFT transactions on the FTX.us exchange related to charitable                  0.6
                                           contributions
07/14/2023                  AC             Working Session with A. Calhoun, S. Thompson (AlixPartners) re: search for             0.2
                                           insider on chain transactions
07/14/2023                 BFM             Attend meeting with B. Mackay, G. Gopalakrishnan (AlixPartners) re: OTC                0.3
                                           Portal, NFTs
07/14/2023                 BFM             Compile slide deck re: inventory management                                            0.7
07/14/2023                 BFM             Review exchange activity re: NFTs                                                      1.1
07/14/2023                 BFM             Review snapshot data from Alameda production                                           1.4
07/14/2023                  DS             Review talking points re: findings on North Dimension website                          0.8
07/14/2023                  GG             Attend meeting with B. Mackay, G. Gopalakrishnan (AlixPartners) re: OTC                0.3
                                           Portal, NFTs
07/14/2023                  GG             Working session with T. Kang, G. Gopalakrishnan (AlixPartners) re:                     0.4
                                           walkthrough of the waterfall script
07/14/2023                  LIM            Attend meeting with L. Jia, L. Morrison (AlixPartners) re: discuss the high level      0.5
                                           specific entity balances rollup
07/14/2023                  LIM            Examine OTC Alameda exchange data re: comparison to FTX.com OTC fills                  1.6
07/14/2023                   LJ            Attend meeting with L. Jia, L. Morrison (AlixPartners) re: discuss the high level      0.5
                                           specific entity balances rollup
07/14/2023                   LJ            Develop the SQL scripts to compare the specific entity daily balances and the          2.8
                                           Alameda snapshotblob data
07/14/2023                   LJ            Investigate the variances between the specific entity daily balances and the           2.4
                                           Alameda snapshotblob data
07/14/2023                   LJ            Update the SQL script logic for specific entity base currency and quote currency       1.9
                                           quantities
07/14/2023                  MB             Review specific entity transfers from Alameda unrelated to share purchase as           0.6
                                           identified from review of Alameda's brokerage statements

07/14/2023                  MB             Trace source of funds from FTX Trading to FTX Digital Markets related to               0.2
                                           payments made to Insider from FTX Digital Markets
07/14/2023                   ST            Working Session with A. Calhoun, S. Thompson (AlixPartners) re: search for             0.2
                                           insider on chain transactions
07/14/2023                   SK            Create a query to populate USD conversion rates for every date from 2019 to            2.6
                                           2022 to quantify exchange transactions in USD value
07/14/2023                   SK            Import exchange account and user tables to SQL Server environment in                   2.4
                                           preparation for exchange user data analysis
07/14/2023                   SK            Investigate transactions where the beneficiary name listed on the exchange is          0.9
                                           different than the name in cash database to reconcile cash records
07/14/2023                   SK            Research power query table binding error for update of exchange fiat                   1.7
                                           transactions analysis
07/14/2023                   SK            Working session with T. Kang, G. Gopalakrishnan (AlixPartners) re:                     0.4
                                           walkthrough of the waterfall script
07/14/2023                  SRH            Investigate list of deposits on Alameda OTC portal for insider wallet addresses        2.4
                                           re: debtor to insider crypto transfer analysis
07/14/2023                  SRH            Perform debtor to insider crypto transfer analysis with additional OTC wallets         2.6
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/17/2023               AC                Working session with A. Calhoun, M. Birtwell (AlixPartners) re: specific entity       0.4
                                           insiders' activity on the OTC portal
07/17/2023                  AC             Analyze exchange activity related to donations to specific entity                     0.6

07/17/2023                  AC             Search exchange for fiat transactions involving specific entity insiders              0.7
07/17/2023                  AC             Search general ledger for transactions related to non-tied-out charitable             0.5
                                           contributions
07/17/2023                  AC             Summarize accounts charitable contributions are booked to in the general ledger       0.5
07/17/2023                 BFM             Attend meeting with B. Mackay, L. Jia, M. Evans, T. Phelan (AlixPartners) re:         0.4
                                           discuss the crypto pricing data with G. Walia, A. Sivapalu, A. Canale (A&M)
07/17/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                      0.9
07/17/2023                  CAS            Review documentation for the petition date general ledger journal entry database      0.4
                                           construction
07/17/2023                  DS             Working session with D. Schwartz, M. Birtwell (AlixPartners) re: tracing source       0.9
                                           of funds for FTX Digital Markets specific bank account payments to insider

07/17/2023                  DJW            Attend meeting with D. White, L. Beischer (AlixPartners) re: Solana and DeFi          0.3
                                           update and prioritization
07/17/2023                  GG             Review script reconciling cash database data against FTX.com exchange data            2.4
07/17/2023                  GG             Verify the waterfall script that matches bank records to exchange data                1.7
07/17/2023                  GS             Analyze exchange data related to Nifty Island token purchase                          1.9
07/17/2023                  LIM            Examine OTC Alameda exchange data re: account balances                                3.0
07/17/2023                  LIM            Examine OTC Alameda exchange data re: creating automatic macro                        1.3
                                           comparisons
07/17/2023                   LB            Attend meeting with D. White, L. Beischer (AlixPartners) re: Solana and DeFi          0.3
                                           update and prioritization
07/17/2023                   LB            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana account          0.5
                                           balance update
07/17/2023                  LB             Review Solana activity database output from data engineering work                     1.8
07/17/2023                  LB             Review status of Solana account data extract process                                  2.2
07/17/2023                  LB             Create list of missing transactions from Solana data extract                          1.6
07/17/2023                 LMG             Reply to question from team re: specific entities                                     0.2
07/17/2023                  LJ             Attend meeting with B. Mackay, L. Jia, M. Evans, T. Phelan (AlixPartners) re:         0.4
                                           discuss the crypto pricing data with G. Walia, A. Sivapalu, A. Canale (A&M)
07/17/2023                  MB             Working session with D. Schwartz, M. Birtwell (AlixPartners) re: tracing source       0.9
                                           of funds for FTX Digital Markets specific bank account payments to insider

07/17/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: specific entity       0.4
                                           insiders' activity on the OTC portal
07/17/2023                  MB             Perform queries in financial data for transfers to specific entity                    0.4
07/17/2023                  MB             Perform queries in financial data for transfers to specific entity                    0.5
07/17/2023                  MB             Perform source of funds tracing on FTX Digital Markets payments to Insider            0.7

07/17/2023                  MB             Review exchange data related to specific entity investment                            0.3
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DATE                PROFESSIONAL                                DESCRIPTION OF SERVICES                                      HOURS
07/17/2023               MB                Review exchange records for $4.993 million transfer from Alameda to Insider          0.3

07/17/2023                  MB             Trace source of funds for Insider payments from FTX Digital Markets                  0.9

07/17/2023                  ME             Attend meeting with B. Mackay, L. Jia, M. Evans, T. Phelan (AlixPartners) re:        0.4
                                           discuss the crypto pricing data with G. Walia, A. Sivapalu, A. Canale (A&M)
07/17/2023                  MJ             Review correspondence and attached reporting on Alameda OTC account                  0.4
                                           trading activity
07/17/2023                   SK            Create weekly delta report for cash schema table contents for the week ended         2.5
                                           07/14/2023 to support cash analyses
07/17/2023                   SK            Update bank data combined table contents for the week ended 07/14/2023 to            2.6
                                           support cash analyses
07/17/2023                   SK            Update bank statement summary table contents for the week ended 07/14/2023           2.8
                                           to support cash analyses
07/17/2023                  TJH            Review logic for producing petition date QuickBooks journal entries modified         1.7
                                           post petition by interested party
07/17/2023                   TP            Attend meeting with B. Mackay, L. Jia, M. Evans, T. Phelan (AlixPartners) re:        0.4
                                           discuss the crypto pricing data with G. Walia, A. Sivapalu, A. Canale (A&M)
07/17/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana account         0.5
                                           balance update
07/18/2023                  AC             Analyze exchange activity related to donations to specific entity                    1.3

07/18/2023                  AC             Analyze off-exchange transfers related to donations to specific entity               1.7

07/18/2023                  AC             Analyze OTC fill prices compared to market prices                                    1.8
07/18/2023                  AC             Working session with A. Calhoun, L. Goldman (AlixPartners) re: OTC fill              0.2
                                           pricing analysis
07/18/2023                  AC             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: Analyze              0.2
                                           counterparties to on exchange transfers related to specific entity
07/18/2023                 BFM             Attend meeting with B. Mackay, L. Goldman (AlixPartners) re: outstanding             0.5
                                           exchange data tasks
07/18/2023                 BFM             Attend working session with B. Mackay, L. Morrison (AlixPartners) re: OTC            0.5
                                           Portal
07/18/2023                 BFM             Compare pointer data to specific exchange balances                                   0.6
07/18/2023                 BFM             Working Session with B. Mackay, L. Jia, L. Morrison, L. Goldman, T. Phelan           0.7
                                           (AlixPartners) re: review initial analysis of Alameda snapshot blobs data
07/18/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                     1.3
07/18/2023                  CAS            Working session with C. Cipione, T. Kang (AlixPartners) re: go over preliminary      0.8
                                           results of the fiat to cash mapping exercise
07/18/2023                  GG             Create a script to analyze market ID-based fills futures on the FTX.com              2.6
                                           exchange
07/18/2023                  GG             Working session with T. Kang, G. Gopalakrishnan (AlixPartners) re: quality           0.3
                                           control result of the waterfall script
07/18/2023                   GS            Analyze financial data to identify transfers to specific entity                      2.6
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                  HOURS
07/18/2023               GS                Working session with G. Shapiro, C. Shen (AlixPartners) re: querying cash             0.1
                                           database for charitable contributions
07/18/2023                  LIM            Attend working session with B. Mackay, L. Morrison (AlixPartners) re: OTC             0.5
                                           Portal
07/18/2023                  LIM            Examine snapshot blob data re: comparison to Pointer data                             0.9
07/18/2023                  LIM            Working Session with B. Mackay, L. Jia, L. Morrison, L. Goldman, T. Phelan            0.7
                                           (AlixPartners) re: review initial analysis of Alameda snapshot blobs data
07/18/2023                   LB            Prepare Alchemy API quality control communications to support blockchain              1.5
                                           workstreams
07/18/2023                   LB            Attend meeting with L. Beischer, S. Hanzi (AlixPartners) re: Solana account           0.5
                                           balances and Extract-Transfer-Load processes
07/18/2023                   LB            Create Solana data extraction process to extract observations at the transaction      1.7
                                           level
07/18/2023                   LB            Update Solana data extraction process to extract observations at the transaction      2.1
                                           level
07/18/2023                   LB            Organize Databricks Extract-Transfer-Load scripts for Solana data                     0.7
07/18/2023                   LB            Update Solana Extract-Transfer-Load to add SPL token mints to balance                 1.8
                                           changes
07/18/2023                  LB             Test new Solana data pull mechanic                                                    2.0
07/18/2023                 LMG             Analyze specific entity sales of FTT                                                  1.7
07/18/2023                 LMG             Attend meeting with B. Mackay, L. Goldman (AlixPartners) re: outstanding              0.5
                                           exchange data tasks
07/18/2023                 LMG             Review customer holdings data for dated futures contracts                             0.7
07/18/2023                 LMG             Review tracking of futures positions and profit and loss in exchange data             1.7
07/18/2023                 LMG             Working session with A. Calhoun, L. Goldman (AlixPartners) re: OTC fill               0.2
                                           pricing analysis
07/18/2023                 LMG             Working Session with B. Mackay, L. Jia, L. Morrison, L. Goldman, T. Phelan            0.7
                                           (AlixPartners) re: review initial analysis of Alameda snapshot blobs data
07/18/2023                   LJ            Create the manifest for the QuickBooks SDNY database                                  0.8
07/18/2023                   LJ            Perform quality check on the QuickBooks SDNY database                                 1.6
07/18/2023                   LJ            Working Session with B. Mackay, L. Jia, L. Morrison, L. Goldman, T. Phelan            0.7
                                           (AlixPartners) re: review initial analysis of Alameda snapshot blobs data
07/18/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: Analyze               0.2
                                           counterparties to on exchange transfers related to specific entity
07/18/2023                  MB             Analyze exchange activity for specific entities                                       0.5
07/18/2023                  MB             Prepare specific entity transfers made post share acquisition                         0.8
07/18/2023                  QB             Review Alameda balance sheet pointer data tie outs                                    0.5
07/18/2023                  SK             Create a mapping between fiat currency ticker name in exchange and currency in        2.3
                                           cash database to support cash analyses
07/18/2023                   SK            Create weekly delta report for the statement summary tracker file for the week        2.9
                                           ended 07/14/2023 to support cash analyses
07/18/2023                   SK            Update grand bank account and statements tracker for the week ended                   2.2
                                           07/14/2023 to support cash analyses
07/18/2023                   SK            Working session with C. Cipione, T. Kang (AlixPartners) re: go over preliminary       0.8
                                           results of the fiat to cash mapping exercise
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/18/2023               SK                Working session with T. Kang, G. Gopalakrishnan (AlixPartners) re: quality               0.3
                                           control result of the waterfall script
07/18/2023                  SRH            Attend meeting with L. Beischer, S. Hanzi (AlixPartners) re: Solana account              0.5
                                           balances and Extract-Transfer-Load processes
07/18/2023                  TJH            Review logic for producing petition date QuickBooks journal entries modified             2.6
                                           post petition by interested party
07/18/2023                   TP            Working Session with B. Mackay, L. Jia, L. Morrison, L. Goldman, T. Phelan               0.7
                                           (AlixPartners) re: review initial analysis of Alameda snapshot blobs data
07/18/2023                  YXS            Working session with G. Shapiro, C. Shen (AlixPartners) re: querying cash                0.1
                                           database for charitable contributions
07/19/2023                  AC             Analyze exchange activity related to donations to specific entity                        1.6

07/19/2023                  AC             Analyze off-exchange activity related to donations to specific entity                    0.6

07/19/2023                  AC             Analyze origins of crypto deposits to Insider accounts on exchange                       0.8
07/19/2023                  AC             Analyze OTC fill prices compared to market prices                                        2.7
07/19/2023                  AC             Join market price data to OTC fills data                                                 0.9
07/19/2023                  AC             Review potential specific entity insider accounts on the OTC portal                      0.2
07/19/2023                  AC             Search for $45 million deposit on exchange related to specific entity                    0.3
07/19/2023                  AC             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: insider off-             0.7
                                           exchange transfers
07/19/2023                  AC             Working session with A. Calhoun, S. Thompson (AlixPartners) re: OTC fill                 0.3
                                           pricing analysis
07/19/2023                 BFM             Attend meeting with B. Mackay, L. Goldman, G. Gopalakrishnan (AlixPartners)              0.3
                                           re: outstanding exchange data tasks
07/19/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                         1.2
07/19/2023                  CAS            Review progress on the codebase review                                                   0.2
07/19/2023                  GG             Analyze post-petition date NFT holdings output data                                      2.1
07/19/2023                  GG             Attend meeting with B. Mackay, L. Goldman, G. Gopalakrishnan (AlixPartners)              0.3
                                           re: outstanding exchange data tasks
07/19/2023                  GG             Compare post-petition date NFT holdings data on the FTX.us and FTX.com                   2.3
                                           exchanges
07/19/2023                  GG             Review the script for post-petition date NFT holdings                                    2.8
07/19/2023                  GS             Analyze financial data for transfers related to businesses owned by insider              0.7
07/19/2023                  GS             Analyze financial data to identify transfers to specific entity                          1.8
07/19/2023                  GS             Analyze FTX Foundation bank statements to tie out charitable contributions               2.6
07/19/2023                  GS             Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: transfers to specific      0.2
                                           entity
07/19/2023                   LB            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana data pull           1.0
                                           status update, Extract-Transfer-Load update and BTC scripts to quality control
07/19/2023                   LB            Analyze transactions by address in cryptocurrency database                               1.8
07/19/2023                   LB            Reconcile Solana deposit addresses between the FTX.com and FTX.us                        1.2
                                           exchanges
07/19/2023                   LB            Review script calculating balances of Ethereum, Bitcoin, and Solana coins                0.7
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07/19/2023               LB                Update all Solana data extract scripts to account for intermittent failures for          1.9
                                           Alchemy data API
07/19/2023                  LB             Review Ethereum, Bitcoin, and Solana balance calculation script                          1.1
07/19/2023                  LB             Monitor Solana Transaction Data Pull progress                                            0.6
07/19/2023                  LB             Update additional addresses for additional distinct FTX.us addresses not                 1.5
                                           included in original Solana address pull
07/19/2023                 LMG             Attend meeting with B. Mackay, L. Goldman, G. Gopalakrishnan (AlixPartners)              0.3
                                           re: outstanding exchange data tasks
07/19/2023                 LMG             Calculate specific entity proceeds from FTT sales                                        1.8
07/19/2023                 LMG             Research specific entity FTT transfers on exchange                                       0.6
07/19/2023                 LMG             Review initial analysis of OTC fill prices vs. benchmark prices                          0.8
07/19/2023                  LJ             Update the specific entity to Alameda balances roll-up script                            2.5
07/19/2023                  LJ             Investigate the deposits tables in the Alameda database to assess deposit balances       2.2

07/19/2023                   LJ            Investigate the withdrawals tables in the Alameda database to assess withdrawal          2.8
                                           balances
07/19/2023                  MB             Prepare asset tracing example on FTX Trading funding of FTX Digital Markets              2.1
07/19/2023                  MB             Review specific entity lending transfers per review of bank statements                   0.5
07/19/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: insider off-             0.7
                                           exchange transfers
07/19/2023                  MB             Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: transfers to specific      0.2
                                           entity
07/19/2023                   ST            Working session with A. Calhoun, S. Thompson (AlixPartners) re: OTC fill                 0.3
                                           pricing analysis
07/19/2023                   SK            Create a table to store waterfall query joining mechanisms and scripts for fiat          2.9
                                           deposit records for analysis of exchange customer fiat deposits
07/19/2023                   SK            Create a table to store waterfall query joining mechanisms and scripts for fiat          1.6
                                           withdrawals records for analysis of exchange customer fiat withdrawals
07/19/2023                   SK            Create scripts for joining mechanism of exact 1 day difference and same amount           1.2
                                           for reconciliation of exchange fiat transactions and cash database records
07/19/2023                   SK            Create scripts for joining mechanism of exact 2 day difference and same amount           1.1
                                           for reconciliation of exchange fiat transactions and cash database records
07/19/2023                   SK            Create scripts for joining mechanism of same date and amount for reconciliation          1.9
                                           of exchange fiat transactions and cash database records
07/19/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana data pull           1.0
                                           status update, Extract-Transfer-Load update and BTC scripts to quality control
07/19/2023                  YT             Create NFT balance table in Databricks using FTX.com and FTX.us exchanges                1.6
07/19/2023                  YT             Update the specific entity insiders exchange account matching query with new             2.3
07/20/2023                  AC             Analyze origins of crypto deposits to insider accounts on exchange                       1.7
07/20/2023                  AC             Analyze OTC fill prices compared to market prices                                        1.1
07/20/2023                  AC             Working session with A. Calhoun, B. Mackay (AlixPartners) re: deposits to                0.3
                                           insider wallets on exchange
07/20/2023                  AC             Working session with A. Calhoun, L. Goldman (AlixPartners) re: OTC fill                  0.2
                                           pricing analysis
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                 HOURS
07/20/2023               AC                Working session with A. Calhoun, M. Birtwell (AlixPartners) re: deposits to         0.4
                                           insider wallets on exchange
07/20/2023                  AC             Working session with A. Calhoun, S. Thompson (AlixPartners) re: OTC fill            0.3
                                           pricing analysis
07/20/2023                 BFM             Working session with A. Calhoun, B. Mackay (AlixPartners) re: deposits to           0.3
                                           insider wallets on exchange
07/20/2023                 BFM             Attend meeting with B. Mackay, D. White, G. Shapiro, L. Goldman, M.                 0.5
                                           Birtwell, S. Hanzi (AlixPartners) re: specific entity exchange activity
07/20/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                    2.1
07/20/2023                  CAS            Review progress on the codebase review                                              0.6
07/20/2023                  CAS            Working session with C. Cipione, T. Kang (AlixPartners) re: walk through            0.5
                                           waterfall query mechanisms to identify issues
07/20/2023                  DJW            Attend meeting with B. Mackay, D. White, G. Shapiro, L. Goldman, M.                 0.5
                                           Birtwell, S. Hanzi (AlixPartners) re: specific entity exchange activity
07/20/2023                  GG             Convert post-petition date script provided for NFT holdings to quarter-ends         2.9
07/20/2023                  GS             Analyze FTX Foundation bank statements to tie out charitable contributions          1.2
07/20/2023                  GS             Attend meeting with B. Mackay, D. White, G. Shapiro, L. Goldman, M.                 0.5
                                           Birtwell, S. Hanzi (AlixPartners) re: specific entity exchange activity
07/20/2023                  LIM            Examine snapshot blob data re: comparison to Pointer data                           2.7
07/20/2023                  LB             Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana data pull      1.1
                                           status update, Extract-Transfer-Load improvements around SPL tokens and SPL
                                           token metadata pull
07/20/2023                   LB            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana sub-           0.8
                                           account Extract-Transfer-Load workflow and process for quarterly balances
07/20/2023                   LB            Convert Solana data extract script to Databricks syntax                             2.1
07/20/2023                   LB            Continue to convert Solana data extract script to Databricks syntax                 1.3
07/20/2023                   LB            Review Solana data engineering script on signature vs. address allocation for       1.9
                                           SPL transfers
07/20/2023                  LB             Monitor Solana Transaction Data Pull progress                                       0.8
07/20/2023                 LMG             Calculate specific entity proceeds from FTT sales                                   0.6
07/20/2023                 LMG             Identify cost basis for specific entity FTT holdings                                0.6
07/20/2023                 LMG             Working session with A. Calhoun, L. Goldman (AlixPartners) re: OTC fill             0.2
                                           pricing analysis
07/20/2023                 LMG             Attend meeting with B. Mackay, D. White, G. Shapiro, L. Goldman, M.                 0.5
                                           Birtwell, S. Hanzi (AlixPartners) re: specific entity exchange activity
07/20/2023                   LJ            Develop SQL scripts for specific entity to Alameda balances roll-up using the       1.9
                                           snapshotblob balance as the starting point
07/20/2023                  LJ             Extract the 3/24/2021 snapshotblob balances from the Alameda database               1.8
07/20/2023                  LJ             Update the ftx.com comparison spreadsheet summary columns                           1.7
07/20/2023                  LJ             Update the pointer data comparison spreadsheet summary columns                      2.6
07/20/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: deposits to         0.4
                                           insider wallets on exchange
07/20/2023                  MB             Attend meeting with B. Mackay, D. White, G. Shapiro, L. Goldman, M.                 0.5
                                           Birtwell, S. Hanzi (AlixPartners) re: specific entity exchange activity
07/20/2023                  ME             Review draft specific entity preference materials                                   0.8
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/20/2023               ST                Working session with A. Calhoun, S. Thompson (AlixPartners) re: OTC fill                0.3
                                           pricing analysis
07/20/2023                  SK             Create a process to concatenate column names with their corresponding scripts           2.8
                                           for each query mechanism for reconciliation of exchange fiat transactions and
                                           cash database records
07/20/2023                   SK            Create scripts for use in reconciliation of exchange fiat transactions and cash         2.1
                                           database records

07/20/2023                   SK            Continue to create scripts for use in reconciliation of exchange fiat transactions      1.6
                                           and cash database records

07/20/2023                   SK            Continue to create scripts for use in reconciliation of exchange fiat transactions      2.7
                                           and cash database records

07/20/2023                   SK            Working session with C. Cipione, T. Kang (AlixPartners) re: walk through                0.5
                                           waterfall query mechanisms to identify issues
07/20/2023                  SRH            Attend meeting with B. Mackay, D. White, G. Shapiro, L. Goldman, M.                     0.5
                                           Birtwell, S. Hanzi (AlixPartners) re: specific entity exchange activity
07/20/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana data pull          1.1
                                           status update, Extract-Transfer-Load improvements around SPL tokens and SPL
                                           token metadata pull
07/20/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana sub-               0.8
                                           account Extract-Transfer-Load workflow and process for quarterly balances
07/20/2023                  YT             Update NFT balance table in Databricks using FTX.com and FTX.us exchanges               0.5
07/20/2023                  YT             Update the Access form VBA for investigation form in the master summary                 1.3
                                           database tool for purposes of supporting the financial statement reconstruction
                                           workstream
07/21/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                        1.3
07/21/2023                  LIM            Examine OTC Alameda data re: specific entity withdrawals                                0.7
07/21/2023                   LB            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana quarterly          0.7
                                           balances quality control and additional Extract-Transfer-Load for token balances
07/21/2023                  LB             Balance Extract-Transfer-Load changes for databricks import                             1.7
07/21/2023                  LB             Review Solana balance calculation script from updated data sources                      1.9
07/21/2023                  LB             Execute Solana token metadata pull script and upload into databricks                    2.1
07/21/2023                  LB             Review Solana token metadata script                                                     0.4
07/21/2023                  LB             Monitor Solana Transaction Data Pull progress                                           0.7
07/21/2023                 LMG             Research source of FTX Earn interest payments                                           2.2
07/21/2023                 LMG             Review specific entities' exchange activity                                             2.7
07/21/2023                 LMG             Review OTC fill vs. benchmark analysis output                                           0.6
07/21/2023                  LJ             Compare the deposits records between the Alameda and specific entity data to            2.9
                                           reconcile balances between Alameda and specific entity
07/21/2023                   LJ            Test the specific entity to Alameda balances roll-up approach including                 2.7
                                           aggregating the exchange names and coin types
07/21/2023                   LJ            Test the specific entity to Alameda balances roll-up approach with deposits and         2.4
                                           withdrawals
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125 Broad Street
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                        HOURS
07/21/2023               MB                Analyze bank statement data to confirm returned funds for political donations             0.9
                                           purposes
07/21/2023                  MB             Analyze Insider OTC exchange activity to profile activity                                 1.3
07/21/2023                  MB             Query specific entity exchange withdrawal data                                            0.4
07/21/2023                  MB             Review specific entity insider account identification for potential avoidance             0.4
                                           action
07/21/2023                  MB             Review specific entity insiders listing mapping to exchange accounts for                  0.9
                                           potential avoidance action
07/21/2023                  MB             Review specific entity funds tracing on exchange and in fiat for lending activity         0.4
07/21/2023                  MB             Review specific entity lending activity and interest payments via bank statements         0.4
07/21/2023                  MB             Review Insider equity compensation to facilitate complaint                                0.8
07/21/2023                  ME             Determine specific entity preference figures                                              1.0
07/21/2023                  SK             Create a process to automatically read in and run script for each query                   2.9
                                           mechanism for reconciliation of exchange fiat transactions and cash database
                                           records
07/21/2023                   SK            Create a table to store waterfall query results for fiat deposits for reconciliation      1.6
                                           of exchange fiat transactions and cash database records
07/21/2023                   SK            Create a table to store waterfall query results for fiat withdrawals for                  1.3
                                           reconciliation of exchange fiat transactions and cash database records
07/21/2023                   SK            Create new query mechanisms based on the current ones with an additional                  2.6
                                           requirement of joining on same currency for reconciliation of exchange fiat
                                           transactions and cash database records
07/21/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Solana quarterly            0.7
                                           balances quality control and additional Extract-Transfer-Load for token balances
07/24/2023                  AC             Working session with A. Calhoun, K. Wessel (AlixPartners) re: crypto loan                 0.2
                                           between Alameda and specific entity in September 2022
07/24/2023                  AC             Analyze exchange activity related to specific entity one-day loan                         0.9
07/24/2023                  AC             Analyze insider deposit wallets on exchange                                               0.3
07/24/2023                  AC             Analyze on chain transactions related to specific entity one-day loan                     2.8
07/24/2023                  AC             Search Relativity for information related to specific entity loan                         0.9
07/24/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                          2.7
07/24/2023                   GS            Analyze counterparty information from exchange data related to round-trip                 2.6
                                           transfers by insider
07/24/2023                  GS             Analyze exchange data to identify round-trip exchange transfers by insider                1.9
07/24/2023                  GS             Analyze exchange data to identify transactions related to insiders' businesses            0.9

07/24/2023                  GS             Analyze financial data related to returns of wires to insider                             1.2
07/24/2023                 KHW             Working session with A. Calhoun, K. Wessel (AlixPartners) re: crypto loan                 0.2
                                           between Alameda and specific entity in September 2022
07/24/2023                   LB            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Crypto                      0.9
                                           prioritization meeting, reward data inclusion for staking and balances.
07/24/2023                   LB            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: solana completion           0.8
                                           status and Extract-Transfer-Load update
07/24/2023                   LB            Import Solana address transaction listing import to databricks                            1.3
07/24/2023                   LB            Analyze Solana missing transactions                                                       1.2
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/24/2023               LB                Investigate Solana staking reward data                                                 1.7
07/24/2023              LMG                Analyze Alameda positions in dated futures on FTX.com exchange                         1.2
07/24/2023               LJ                Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the progress and      0.5
                                           next steps for the snapshotblob analysis
07/24/2023                   LJ            Create the documentation for snapshotblob analysis related to source data and          1.8
                                           snapshotblob roll-up high-level process
07/24/2023                   LJ            Extract quarter-end neighboring dates snapshotblob positions data to create            2.9
                                           quarter-end balance data
07/24/2023                   LJ            Update the SQL script for the specific entity to Alameda balances rollup               2.8
07/24/2023                   SK            Update specific entity signet stripe table contents for the week ended 07/21/2023      1.3
                                           to support cash analyses
07/24/2023                   SK            Create weekly delta report for cash schema table contents for the week ended           1.6
                                           07/21/2023 to support cash analyses
07/24/2023                   SK            Update bank data combined table contents for the week ended 07/21/2023 to              2.6
                                           support cash analyses
07/24/2023                   SK            Update bank statement summary table contents for the week ended 07/21/2023             2.8
                                           to support cash analyses
07/24/2023                  SRH            Analyze Alameda database tables which contain wallet addresses for ownership           2.4
                                           related information
07/24/2023                  SRH            Investigate exchange tables for data that will identify non-debtor wallet address      3.0
                                           ownership
07/24/2023                  TJH            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the progress and      0.5
                                           next steps for the snapshotblob analysis
07/24/2023                  TJH            Review comparative analysis between pointer data to blob data to FTX Dotcom            1.2
                                           data
07/24/2023                  TJH            Review work plan for cash database to bank statement reconciliation with the           1.1
                                           waterfall reporting logic
07/24/2023                  TJH            Update work plan for analysis between pointer data to blob data to FTX Dotcom          1.2
                                           data
07/24/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: Crypto                   0.9
                                           prioritization meeting, reward data inclusion for staking and balances.
07/24/2023                   TP            Attend meeting with L. Beischer, T. Phelan (AlixPartners) re: solana completion        0.8
                                           status and Extract-Transfer-Load update
07/25/2023                  AC             Add pricing data to table of exchange transfers involving Insider                      0.6
07/25/2023                  AC             Analyze on-chain transactions related to specific entity one-day loan                  2.9
07/25/2023                  AC             Analyze pricing data of crypto withdrawals from the FTX.com exchange                   1.2
07/25/2023                  AC             Compare insider deposit wallets on exchange to list of known Debtor wallets            1.1
07/25/2023                  AC             Discussion with A. Calhoun, M. Birtwell, S. Hanzi, T. Phelan (AlixPartners) re:        0.6
                                           insider deposit wallets and debtor wallets overlap
07/25/2023                  AC             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: analysis of            0.3
                                           insider deposit wallets
07/25/2023                  AV             Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re:                     0.2
                                           assumptions around identifying wallets as owned by specific entity
07/25/2023                 BFM             Working Session with B. Mackay, L. Goldman, M. Evans (AlixPartners) re:                1.0
                                           FTX Earn program
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07/25/2023               CAS               Design analyses related to admin user balance accounts (FTX.com)                         2.1
07/25/2023                DS               Internal call with D. Schwartz, G. Shapiro, M. Birtwell (AlixPartners) re: tracing       0.2
                                           funding of papered loans to Insider
07/25/2023                   GS            Analyze financial data to trace funding of papered loans to insider                      1.0
07/25/2023                   GS            Analyze specific individual's exchange account for activity involving insider            1.8

07/25/2023                  GS             Internal call with D. Schwartz, G. Shapiro, M. Birtwell (AlixPartners) re: tracing       0.2
                                           funding of papered loans to Insider
07/25/2023                   GS            Working session with G. Shapiro, M. Birtwell (AlixPartners) re: tracing funding          0.6
                                           of papered loans to Insider
07/25/2023                   GS            Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: tracing         0.3
                                           round-trip transfers of cryptocurrency by Insider
07/25/2023                  LB             Review Solana activity database output from data engineering work                        1.8
07/25/2023                  LB             Investigate Oxygen Token blockchain holdings                                             1.3
07/25/2023                  LB             Identify new FTX.us exchange addresses for Solana data extract                           0.8
07/25/2023                  LB             Update Solana insider data pull script                                                   1.5
07/25/2023                  LB             Extract Solana insider deposit transaction data                                          0.6
07/25/2023                  LB             Create Solana extract script                                                             1.3
07/25/2023                  LB             Reconcile Solana raw files for database Extract-Transfer-Load process (ensuring          2.1
                                           all Extract-Transfer-Load completed)
07/25/2023                  LB             Update Solana transaction Extract-Transfer-Load                                          0.5
07/25/2023                 LMG             Analyze Alameda perpetual contracts positions on FTX.com exchange                        1.2
07/25/2023                 LMG             Analyze Alameda positions in dated futures on FTX.com exchange                           0.4
07/25/2023                 LMG             Review list of no username accounts on FTX.com exchange                                  0.4
07/25/2023                 LMG             Working Session with B. Mackay, L. Goldman, M. Evans (AlixPartners) re:                  1.0
                                           FTX Earn program
07/25/2023                   LJ            Create the documentation for snapshotblob analysis related to specific entity roll-      0.9
                                           up high-level process
07/25/2023                   LJ            Create the documentation for snapshotblob analysis related to snapshotblob and           1.4
                                           pointer data comparison
07/25/2023                   LJ            Create the documentation for snapshotblob analysis related to snapshotblob and           2.7
                                           third party exchange comparison
07/25/2023                  MB             Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re:                       0.2
                                           assumptions around identifying wallets as owned by specific entity
07/25/2023                  MB             Discussion with A. Calhoun, M. Birtwell, S. Hanzi, T. Phelan (AlixPartners) re:          0.6
                                           insider deposit wallets and debtor wallets overlap
07/25/2023                  MB             Query exchange data for specific entity related withdrawals in US dollar                 1.8
07/25/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: analysis of              0.3
                                           insider deposit wallets
07/25/2023                  MB             Internal call with D. Schwartz, G. Shapiro, M. Birtwell (AlixPartners) re: tracing       0.2
                                           funding of papered loans to Insider
07/25/2023                  MB             Working session with G. Shapiro, M. Birtwell (AlixPartners) re: tracing funding          0.6
                                           of papered loans to Insider
07/25/2023                  MB             Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: tracing         0.3
                                           round-trip transfers of cryptocurrency by Insider
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Forensic Analysis
Code:               20008100P00001.1.5

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/25/2023               ME                Working Session with B. Mackay, L. Goldman, M. Evans (AlixPartners) re:                1.0
                                           FTX Earn program
07/25/2023                  RB             Analyze debtor off-exchange transactions not captured on current exchange              2.2
                                           database for insider crypto transfer investigation
07/25/2023                   SK            Create a serial number identification for each address and hash on the ethereum        2.7
                                           blockchain for reconciliation of blockchain and exchange transactions
07/25/2023                   SK            Create weekly delta report for the statement summary tracker file for the week         2.4
                                           ended 07/21/2023 to support cash analyses
07/25/2023                   SK            Internal meeting with S. Hanzi, T. Kang (AlixPartners) re: use of the internal         1.3
                                           bank balances changes table on the exchange
07/25/2023                   SK            Update grand bank account and statements tracker for the week ended                    1.9
                                           07/21/2023 to support cash analyses
07/25/2023                   SK            Working session with T. Kang, T. Hofner (AlixPartners) re: walkthrough new             0.6
                                           waterfall query logics
07/25/2023                  SRH            Discussion with A. Calhoun, M. Birtwell, S. Hanzi, T. Phelan (AlixPartners) re:        0.6
                                           insider deposit wallets and debtor wallets overlap
07/25/2023                  SRH            Internal meeting with S. Hanzi, T. Kang (AlixPartners) re: use of the internal         1.3
                                           bank balances changes table on the exchange
07/25/2023                  SRH            Investigate exchange tables for data that will identify non-debtor wallet address      2.9
                                           ownership
07/25/2023                  TJH            Review documentation for analysis of pointer data to blob data to FTX Dotcom           1.5
                                           data
07/25/2023                  TJH            Review Silvergate results for cash database to bank statement reconciliation           1.2
                                           waterfall
07/25/2023                  TJH            Review work plan for cash database to bank statement reconciliation with the           1.3
                                           waterfall reporting logic
07/25/2023                  TJH            Working session with T. Kang, T. Hofner (AlixPartners) re: walkthrough new             0.6
                                           waterfall query logics
07/25/2023                   TP            Discussion with A. Calhoun, M. Birtwell, S. Hanzi, T. Phelan (AlixPartners) re:        0.6
                                           insider deposit wallets and debtor wallets overlap
07/25/2023                  YXS            Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: tracing       0.3
                                           round-trip transfers of cryptocurrency by Insider
07/26/2023                  AC             Analyze fills made on the OTC portal by specific entity insiders                       0.7
07/26/2023                  AC             Analyze insider deposit wallets on exchange                                            1.2
07/26/2023                  AC             Analyze on-chain transactions related to specific entity one-day loan                  0.6
07/26/2023                  AC             Analyze OTC pricing data in comparison to daily market prices                          1.3
07/26/2023                  AC             Search exchange data for transactions related to Alameda Systems Inc                   0.8
07/26/2023                  AC             Search for exchange accounts owned by Debtor entities                                  0.4
07/26/2023                  AC             Search Relativity for information related to Alameda Systems Inc                       1.1
07/26/2023                  AC             Working session with A. Calhoun, B. Mackay (AlixPartners) re: exchange                 0.2
                                           activity related to Alameda Systems Inc
07/26/2023                  AC             Working session with A. Calhoun, L. Goldman, S. Thompson (AlixPartners) re:            0.1
                                           OTC fills analysis summary statistics
07/26/2023                 BFM             Working session with A. Calhoun, B. Mackay (AlixPartners) re: exchange                 0.2
                                           activity related to Alameda Systems Inc
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/26/2023               BFM               Working session with B. Mackay, M. Birtwell, R. Backus (AlixPartners) re: FTX          0.3
                                           exchange hot wallet off exchange activity occurrence identification process
07/26/2023                 BFM             Working session with B. Mackay, R. Backus (AlixPartners) re: FTT on exchange           0.3
                                           token types and FTT options contract utility identification
07/26/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                       2.3
07/26/2023                  CAS            Internal meeting with C. Cipione, T. Kang, T. Hofner (AlixPartners) re: waterfall      0.5
                                           query next step
07/26/2023                  GG             Attend meeting with L. Jia, G. Gopalakrishnan (AlixPartners) re: Walk through          0.2
                                           the fills tables for .com and .us
07/26/2023                   GS            Analyze financial data to trace funding of insider exchange withdrawals paid by        1.3
                                           FTX Digital Markets
07/26/2023                  LB             Prepare insider documentation to check missing elements                                1.1
07/26/2023                  LB             Reconcile Solana missing transactions                                                  2.1
07/26/2023                  LB             Review Solana quarterly balance SQL script                                             2.2
07/26/2023                  LB             Update Solana transaction Extract-Transfer-Load                                        0.4
07/26/2023                  LB             Working session with L. Beischer, S. Hanzi, R. Backus (AlixPartners) re: Insider       0.4
                                           crypto transfers investigation data source and methodology documentation
                                           process
07/26/2023                 LMG             Attend meeting with L. Jia, L. Goldman (AlixPartners) re: discuss the fills table      0.5
                                           analysis requirements
07/26/2023                 LMG             Working session with A. Calhoun, L. Goldman, S. Thompson (AlixPartners) re:            0.1
                                           OTC fills analysis summary statistics
07/26/2023                   LJ            Attend meeting with L. Jia, G. Gopalakrishnan (AlixPartners) re: Walk through          0.2
                                           the fills tables for .com and .us
07/26/2023                   LJ            Attend meeting with L. Jia, L. Goldman (AlixPartners) re: discuss the fills table      0.5
                                           analysis requirements
07/26/2023                   LJ            Build the Alameda wmouse source code master table to analyze underlying logic          2.3
                                           of Alameda exchange activity
07/26/2023                   LJ            Catalogue Alameda wmouse source codes to Databricks to analyze underlying              1.9
                                           logic of Alameda exchange activity
07/26/2023                   LJ            Extract the subset of FTT data from the ftx.com fills table                            2.1
07/26/2023                   LJ            Review the scripts in the Alameda wmouse source code files for the historical          2.4
                                           balances process to analyze underlying logic of Alameda exchange activity
07/26/2023                  MB             Working session with B. Mackay, M. Birtwell, R. Backus (AlixPartners) re: FTX          0.3
                                           exchange hot wallet off exchange activity occurrence identification process
07/26/2023                  RB             Analyze leveraged token derivatives of FTT offered by FTX exchange using               1.4
                                           blockexplorer and Chainalysis
07/26/2023                  RB             Prepare data queries for FTT token derivative type data on exchange database           1.1
07/26/2023                  RB             Revise analysis for off exchange transaction occurrence outside of current             1.9
                                           exchange data
07/26/2023                  RB             Working session with B. Mackay, M. Birtwell, R. Backus (AlixPartners) re: FTX          0.3
                                           exchange hot wallet off exchange activity occurrence identification process
07/26/2023                  RB             Working session with B. Mackay, R. Backus (AlixPartners) re: FTT on exchange           0.3
                                           token types and FTT options contract utility identification
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/26/2023               RB                Working session with L. Beischer, S. Hanzi, R. Backus (AlixPartners) re: Insider       0.4
                                           crypto transfers investigation data source and methodology documentation
                                           process
07/26/2023                  RB             Working session with S. Hanzi, R. Backus (AlixPartners) re: FTX exchange hot           1.8
                                           wallet data table and query creation for hot wallet off exchange activity
                                           investigation
07/26/2023                   ST            Working session with A. Calhoun, L. Goldman, S. Thompson (AlixPartners) re:            0.1
                                           OTC fills analysis summary statistics
07/26/2023                   ST            Working session with S. Thompson, T. Phelan (AlixPartners) re: newly                   0.3
                                           identified debtor wallets
07/26/2023                   SK            Analyze exchange record to cash database mapping waterfall results to eliminate        2.8
                                           duplications caused by column selection for reconciliation of exchange fiat
                                           transactions and cash database records
07/26/2023                   SK            Create an iterative query that identifies address interactions in an internet of       2.9
                                           things manner for reconciliation of blockchain and exchange transactions
07/26/2023                   SK            Internal meeting with C. Cipione, T. Kang, T. Hofner (AlixPartners) re: waterfall      0.5
                                           query next step
07/26/2023                   SK            Working session with S. Hanzi, T. Kang (AlixPartners) re: create an internet of        1.1
                                           things analysis for a specific eth address
07/26/2023                   SK            Working session with T. Kang, T. Hofner (AlixPartners) re: waterfall query next        0.8
                                           step
07/26/2023                  SRH            Compile tables for saved addresses, deposit addresses, and withdrawals across          2.6
                                           the exchanges
07/26/2023                  SRH            Working session with L. Beischer, S. Hanzi, R. Backus (AlixPartners) re: Insider       0.4
                                           crypto transfers investigation data source and methodology documentation
                                           process
07/26/2023                  SRH            Working session with S. Hanzi, R. Backus (AlixPartners) re: FTX exchange hot           1.8
                                           wallet data table and query creation for hot wallet off exchange activity
                                           investigation
07/26/2023                  SRH            Working session with S. Hanzi, T. Kang (AlixPartners) re: create an internet of        1.1
                                           things analysis for a specific eth address
07/26/2023                  TJH            Internal meeting with C. Cipione, T. Kang, T. Hofner (AlixPartners) re: waterfall      0.5
                                           query next step
07/26/2023                  TJH            Review comparative analysis between pointer data to blob data to FTX Dotcom            1.6
                                           data
07/26/2023                  TJH            Revise work plan for cash database to bank statement waterfall logic                   1.2
07/26/2023                  TJH            Working session with T. Kang, T. Hofner (AlixPartners) re: waterfall query next        0.8
                                           step
07/26/2023                   TP            Working session with S. Thompson, T. Phelan (AlixPartners) re: newly                   0.3
                                           identified debtor wallets
07/26/2023                  YT             Review the Source, Type, and Subtype functionality in Access master summary            2.7
                                           database tool for purposes of supporting the financial statement reconstruction
                                           workstream
07/27/2023                  AC             Analyze on-chain transactions related to specific entity one-day loan                  1.4
07/27/2023                  AC             Analyze OTC fill prices in comparison to daily market prices                           0.9
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/27/2023               AC                Working session with A. Calhoun, C. Shen (AlixPartners) re: Databricks and               0.7
                                           exchange overview
07/27/2023                  CAS            Design analyses related to admin user balance accounts (FTX.com)                         1.4
07/27/2023                  CAS            Continue to design analyses related to admin user balance accounts (FTX.com)             1.9
07/27/2023                  GG             Attend meeting with L. Jia, L. Goldman, G. Gopalakrishnan (AlixPartners) re:             0.5
                                           Walkthrough of the initial descriptive analysis around the ftx.com fills table for
                                           the FTT coin
07/27/2023                   GS            Analyze bank statements to provide support for tied out charitable contributions         1.5
                                           made by conduit entities
07/27/2023                  LB             Identify owners of Solana addresses to allocate specific addresses to Alameda            0.8
07/27/2023                  LB             Review status of Solana account data extract process                                     0.4
07/27/2023                  LB             Prepare documentation of FTT analysis technical steps                                    1.8
07/27/2023                  LB             Update script to extract Solana address signature list (transaction list)                1.4
07/27/2023                  LB             Update Solana transaction import Extract-Transfer-Load                                   0.5
07/27/2023                  LB             Review transaction import for quarterly balances changes on Solana                       1.6
07/27/2023                 LMG             Attend meeting with L. Jia, L. Goldman, G. Gopalakrishnan (AlixPartners) re:             0.5
                                           Walkthrough of the initial descriptive analysis around the ftx.com fills table for
                                           the FTT coin
07/27/2023                 LMG             Review activity in specific account on FTX.com exchange                                  1.3
07/27/2023                 LMG             Review FTT fills analysis updates                                                        0.3
07/27/2023                  LJ             Attend meeting with L. Jia, L. Goldman, G. Gopalakrishnan (AlixPartners) re:             0.5
                                           Walkthrough of the initial descriptive analysis around the ftx.com fills table for
                                           the FTT coin
07/27/2023                   LJ            Create the descriptive analysis of the ftx.com fills data re: FTT unlocked coins         1.6
07/27/2023                   LJ            Create the descriptive analysis of the ftx.com fills data re: quote currency             1.3
07/27/2023                   LJ            Create the descriptive analysis of the ftx.com fills data re: trading frequency and      2.5
                                           volume
07/27/2023                  LJ             Create the descriptive analysis of the ftx.com fills data re: trading group              2.1
07/27/2023                  MB             Review bank statements for specific entity to confirm inflows come from Debtor           0.9

07/27/2023                  MB             Review conduit bank statements for OCR process                                           0.9
07/27/2023                  MB             Review general ledger database for potential tie outs for $800k FTX Foundation           0.6
                                           donation to specific entity
07/27/2023                  RB             Analyze cluster transfers of USDC from external entity to determine flow of              0.4
                                           funds to FTX exchange
07/27/2023                  RB             Create analysis of off exchange transaction activity using on chain data for FTX         1.5
                                           exchange hot wallet 1 receiving transactions
07/27/2023                  RB             Create analysis of off exchange transaction activity using on chain data for FTX         2.1
                                           exchange hot wallet 1 sending transactions
07/27/2023                  RB             Create Chainalysis graph for USDC movements between external entity and                  0.7
                                           FTX exchange deposit wallets
07/27/2023                  RB             Create data queries for identifying off exchange transactions from FTX exchange          0.4
                                           hot wallets
07/27/2023                  RB             Working session with S. Hanzi, R. Backus (AlixPartners) re: FTX exchange hot             1.9
                                           wallet data table revisions and analysis process review
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/27/2023               SK                Analyze exchange records to cash database mapping waterfall results to see             2.7
                                           distribution by different logic families for reconciliation of exchange fiat
                                           transactions and cash database records
07/27/2023                  SK             Remove contracts address from the query that identifies address interactions in        2.6
                                           an internet of things manner for reconciliation of blockchain and exchange
                                           transactions
07/27/2023                   SK            Update the query that identifies address interactions in an internet of things         1.8
                                           manner for reconciliation of blockchain and exchange transactions to include
                                           only selected dates on the blockchain
07/27/2023                   SK            Working session with S. Hanzi, T. Kang (AlixPartners) re: results of the internet      0.7
                                           of things analysis
07/27/2023                  SRH            Create summaries of compiled wallet data tables by wallet address with                 2.8
                                           associated metrics
07/27/2023                  SRH            Working session with S. Hanzi, R. Backus (AlixPartners) re: FTX exchange hot           1.9
                                           wallet data table revisions and analysis process review
07/27/2023                  SRH            Working session with S. Hanzi, T. Kang (AlixPartners) re: results of the internet      0.7
                                           of things analysis
07/27/2023                  YXS            Working session with A. Calhoun, C. Shen (AlixPartners) re: Databricks and             0.7
                                           exchange overview
07/28/2023                  CX             Attend meeting with C. Xu, L. Jia (AlixPartners) re: Look through the bank             1.3
                                           statements OCR parsing issues
07/28/2023                   LB            Compile FTX.us exchange missing address signature lists for Solana transaction         1.4
                                           list
07/28/2023                  LB             Update import of all new Solana transaction data into Databricks                       1.3
07/28/2023                  LB             Extract SRM address transactions                                                       1.7
07/28/2023                  LB             Investigate Solana SRM Holdings                                                        2.2
07/28/2023                  LB             Update Solana data pull to minimize memory usage                                       0.7
07/28/2023                 LMG             Analyze Alameda OTC transactions for specific event in spring 2021                     1.4
07/28/2023                 LMG             Attend meeting with L. Jia, L. Goldman (AlixPartners) re: discuss the next steps       0.2
                                           for the ftx.com fills analysis
07/28/2023                 LMG             Review FTT fills analysis updates                                                      0.2
07/28/2023                 LMG             Write exchange data workstream notes for team                                          0.6
07/28/2023                 LMG             Continue to analyze Alameda OTC transactions in MOB in spring 2021                     1.9
07/28/2023                  LJ             Analyze the top counterparties for FTT transactions with Alameda                       1.6
07/28/2023                  LJ             Analyze financial data to determine the top FTT sellers and buyers                     1.9
07/28/2023                  LJ             Attend meeting with C. Xu, L. Jia (AlixPartners) re: Look through the bank             1.3
                                           statements OCR parsing issues
07/28/2023                   LJ            Attend meeting with L. Jia, L. Goldman (AlixPartners) re: discuss the next steps       0.2
                                           for the ftx.com fills analysis
07/28/2023                   LJ            Debug the conduit bank statements OCR issues to assist with tracing funds used         1.8
                                           for political donations
07/28/2023                   LJ            Develop SQL scripts to calculate the USD equivalent value for transactions in          2.1
                                           the ftx.com fills table
07/28/2023                  RB             Analyze FTX exchange operational wallet fee funding activity from exchange             1.7
                                           hot wallets using on chain tools
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                      HOURS
07/28/2023               RB                Create data queries for revised FTX off exchange transaction sourcing method            0.7
07/28/2023               RB                Create revised analysis of FTX exchange hot wallet 1 receiving transactions             1.7
                                           using on chain tools so determine transaction activity occurring off exchange
07/28/2023                  RB             Create revised analysis of FTX exchange hot wallet 1 sending transactions using         2.8
                                           on chain tools to determine transaction activity occurring off exchange
07/28/2023                   ST            Analyze OTC fills data to generate summary statistics                                   2.0
07/28/2023                  SRH            Investigate the wallet address summary tables for methods to identify associated        2.4
                                           accounts
07/28/2023                  SRH            Review the associated accounts which share the same saved wallet address with           1.4
                                           the same name
07/28/2023                  YT             Test the Relativity coding panel function in Access master summary database             0.7
                                           tool for purposes of supporting the financial statement reconstruction
07/31/2023                  AC             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: specific entity         0.3
                                           flow of funds package for SDNY per S&C request
07/31/2023                  AC             Analyze on-chain transaction data involving known specific entity wallets               0.5
07/31/2023                  AC             Create extracts of exchange data related to donations to specific entity                2.7

07/31/2023                  AC             Prepare excel file detailing flow of funds related to donations to specific entity      0.8

07/31/2023                  AC             Review bank records to confirm payments associated with exchange fiat                   1.0
                                           withdrawals related to donations to specific entity
07/31/2023                  AC             Search for exchange transactions related to specific entity                             1.1
07/31/2023                  AC             Search Relativity for information about transactions involving specific entity          0.7
07/31/2023                 BFM             Attend meeting with B. Mackay, L. Goldman (AlixPartners) re: handover of                0.3
                                           outstanding forensic data analyses
07/31/2023                 CAS             Review progress on the codebase review                                                  0.6
07/31/2023                  LB             Extract specific entity SRM transaction data                                            1.4
07/31/2023                  LB             Investigate data gaps in SRM Solana transaction data                                    1.2
07/31/2023                  LB             Extract Solana insider transaction list                                                 1.7
07/31/2023                  LB             Review Solana SRM transaction data                                                      1.8
07/31/2023                  LB             Review Solana transaction data for completeness                                         0.4
07/31/2023                  LB             Update Solana transaction import and Extract-Transfer-Load into databricks              0.6
07/31/2023                 LMG             Attend meeting with B. Mackay, L. Goldman (AlixPartners) re: handover of                0.3
                                           outstanding forensic data analyses
07/31/2023                   LJ            Review the Alameda wmouse python scripts with snapshotblob key word to                  1.3
                                           analyze underlying logic of Alameda exchange activity
07/31/2023                  MB             Working session with A. Calhoun, M. Birtwell (AlixPartners) re: specific entity         0.3
                                           flow of funds package for SDNY per S&C request
07/31/2023                  MB             Review exchange data for specific entity donation from insiders for recovery            0.6

07/31/2023                  RB             Analyze FTX exchange hot wallet 2 sender side off-exchange transaction activity         0.6
07/31/2023                  RB             Analyze FTX exchange hot wallet 2 recipient side identified off-exchange                1.7
                                           transaction activity
07/31/2023                  RB             Create cumulative overview of FTX exchange hot wallet activity that occurred            1.9
                                           off-exchange denominated in dollar converted amounts by counterparty address
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Re:                 Forensic Analysis
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/31/2023               RB                Create data queries for potential insider associated exchange deposits and             1.1
                                           withdrawals by token type and associated account registration information
07/31/2023                  RB             Revise FTX exchange hot wallet 1 sender and recipient transaction identification       1.3
                                           outcomes
07/31/2023                   SK            Create weekly delta report for cash schema table contents for the week ended           2.1
                                           07/28/2023 to support cash analyses
07/31/2023                   SK            Update bank data combined table contents for the week ended 07/28/2023 to              2.9
                                           support cash analyses
07/31/2023                   SK            Update bank statement summary table contents for the week ended 07/28/2023             2.6
                                           to support cash analyses
07/31/2023                   SK            Working session with T. Kang, T. Hofner (AlixPartners) re: refine waterfall            0.6
                                           query logic
07/31/2023                  SRH            Investigate deposit addresses associated with multiple users on the exchanges          2.8
07/31/2023                  SRH            Validate list of proposed insider wallets re: debtor to insider transfer analysis      2.6
07/31/2023                  TJH            Update bank reconciliation to cash database logic for waterfall analysis               1.5
07/31/2023                  TJH            Working session with T. Kang, T. Hofner (AlixPartners) re: refine waterfall            0.6
                                           query logic
07/31/2023               YXS               Analyze tables available in SQL database on Databricks                                 2.8
Total Professional Hours                                                                                                        966.9
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room

Re:                                  Forensic Analysis
Code:                                20008100P00001.1.5

PROFESSIONAL                                                         RATE     HOURS               FEES
Matthew Jacques                                                      $1,280      0.4     $       512.00
Charles Cipione                                                      $1,220     33.9          41,358.00
Matthew Evans                                                        $1,220      7.3           8,906.00
David J White                                                        $1,140      1.1           1,254.00
Lilly M Goldman                                                      $1,115     28.1          31,331.50
Thomas Hofner                                                        $1,115     49.0          54,635.00
Adam Searles                                                          $950       0.4             380.00
Anne Vanderkamp                                                       $950       0.5             475.00
Steven Hanzi                                                          $950      44.5          42,275.00
Travis Phelan                                                         $950      44.1          41,895.00
Dana Schwartz                                                         $880       5.6           4,928.00
Kurt H Wessel                                                         $880       0.9             792.00
Leslie I Morrison                                                     $880      28.2          24,816.00
Ganesh Gopalakrishnan                                                 $860      33.5          28,810.00
Bennett F Mackay                                                      $805      18.4          14,812.00
Matthew Birtwell                                                      $805      31.7          25,518.50
Lewis Beischer                                                        $805     103.9          83,639.50
Ryan Backus                                                           $725      70.3          50,967.50
Seen Yung Wong                                                        $605       0.4             242.00
Aidan Walker                                                          $585      36.2          21,177.00
Yue Shen                                                              $585       3.9           2,281.50
Olivia Braat                                                          $510       0.5             255.00
Linna Jia                                                             $555     121.5          67,432.50
Chenxi Xu                                                             $510       1.3             663.00
Griffin Shapiro                                                       $510      45.0          22,950.00
Sean Thompson                                                         $510       3.2           1,632.00
Shengjia Kang                                                         $510     146.9          74,919.00
Yuqing Tong                                                           $510      17.1           8,721.00
Allyson Calhoun                                                       $510      89.1          45,441.00
Total Professional Hours and Fees                                              966.9     $   703,019.00
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John J. Ray III
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125 Broad Street
New York, New York 10004
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Re:                 Document Review
Code:               20008100P00001.1.6

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                   HOURS
07/10/2023               MB                Research $5mm capital contribution from Insider to West Realm Shires Services        1.0
                                           Inc. using FTX internal documentation
07/10/2023                  MJ             Review Nardello report profiling Insider for purposes of designing potential         0.4
                                           forensic analysis to identify Insider related assets
07/11/2023                  GS             Review documents related to properties owned by insider                              1.0
07/11/2023                  MB             Research internal FTX documentation to identify acronyms associated with             0.7
                                           specific entity
07/13/2023                  AS             Review final portion of draft related to complaint re: former FTX insiders           0.6
07/13/2023                  AS             Review response to comment re: draft complaint against former FTX insiders           0.4
07/13/2023                  AS             Review talking points re: North Dimension website request                            0.2
07/17/2023                 LMG             Review OTC portal developer notes in Relativity                                      0.4
07/18/2023                  MB             Investigate purpose of transfers to specific entity using FTX internal               0.5
07/18/2023                  MB             Review customer withdrawal related slack chats in internal FTX documentation         0.6

07/18/2023                 YXS             Review FTX Chapter 11 dockets for case information                                   1.1
07/19/2023                  AS             Review support re: dispute with specific entity                                      0.6
07/20/2023                 LMG             Research FTX Earn offer and terms                                                    1.2
07/20/2023                 LMG             Review insiders complaint                                                            0.4
07/20/2023                  MB             Review 3rd party repository relativity data for political and charitable             0.3
                                           contributions workstreams
07/20/2023                 YXS             Create summary of FTX dockets posted on Kroll's website                              1.9
07/21/2023                  GS             Research communications related to regulatory inquiries re: FTX Earn                 1.2
07/21/2023                 YXS             Create summary of FTX dockets posted on Kroll's website                              1.2
07/23/2023                 YXS             Create summary of FTX dockets posted on Kroll's website                              1.4
07/24/2023                 YXS             Create summary of FTX dockets posted on Kroll's website                              0.3
07/25/2023                 LMG             Research FTX Earn program vs other programs                                          0.7
07/25/2023                  MB             Review internal FTX documentation related to Alameda withdrawal to specific          1.4
                                           entity
07/25/2023                  MB             Review internal FTX documentation related to specific individual withdrawals to      0.4
                                           similar accounts as specific entity
07/25/2023                 YXS             Create summary of FTX dockets posted on Kroll's website                              0.4
07/26/2023                 YXS             Create summary of FTX dockets posted on Kroll's website                              1.5
07/27/2023                 LMG             Review Insider documents in 3rd party production for code discussions                0.6
07/28/2023                 LMG             Review Insider documents in 3rd party production for any new materials re:           0.8
                                           Alameda
07/28/2023               YXS               Create summary of FTX dockets posted on Kroll's website                              2.7
Total Professional Hours                                                                                                       23.9
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John J. Ray III
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c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room

Re:                                  Document Review
Code:                                20008100P00001.1.6

PROFESSIONAL                                                         RATE     HOURS               FEES
Matthew Jacques                                                      $1,280      0.4     $       512.00
Lilly M Goldman                                                      $1,115      4.1           4,571.50
Adam Searles                                                          $950       1.8           1,710.00
Matthew Birtwell                                                      $805       4.9           3,944.50
Yue Shen                                                              $585      10.5           6,142.50
Griffin Shapiro                                                       $510       2.2           1,122.00
Total Professional Hours and Fees                                               23.9     $    18,002.50
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John J. Ray III
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New York, New York 10004
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Re:                 Public Data & Research
Code:               20008100P00001.1.8

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                               HOURS
07/17/2023              LMG                Research terms of specific investment futures on specific exchange               0.4
07/18/2023              LMG                Research record keeping for non-perpetual futures in FTX.com exchange data       0.6
07/24/2023              LMG                Research CZ holdings of FTT                                                      0.6
07/31/2023              KHW                Research BSA/AML and regulatory obligations relevant to crypto exchanges in      1.3
                                           preparation for discussions to develop third interim report
Total Professional Hours                                                                                                    2.9
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John J. Ray III
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New York, New York 10004
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Re:                                  Public Data & Research
Code:                                20008100P00001.1.8

PROFESSIONAL                                                         RATE     HOURS               FEES
Lilly M Goldman                                                      $1,115      1.6     $     1,784.00
Kurt H Wessel                                                         $880       1.3           1,144.00
Total Professional Hours and Fees                                                2.9     $     2,928.00
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John J. Ray III
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Re:                 eDiscovery
Code:               20008100P00001.1.10

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/12/2023               AL                Migrate external material into ESI database for use of team in forensic                0.8
                                           investigative efforts
07/12/2023                  ER             Facilitate processing of new documents for upload to Relativity                        0.2
07/12/2023                  ER             Stage new documents for upload to Relativity                                           0.4
07/12/2023                  TD             Run custom filters on an additional dataset pulled from Box for upload to              1.2
                                           Relativity
07/13/2023                  AL             Migrate external material into ESI database for use of team in forensic                1.3
                                           investigative efforts
07/13/2023                  ER             Facilitate staging of new documents for upload to Relativity for user access           0.6
07/14/2023                  ER             Facilitate user access to new data in Relativity for AlixPartners review team          0.7
07/17/2023                  ER             Facilitate user access to document repository in Relativity                            0.2
07/19/2023                  ER             Facilitate user access to new data in Relativity                                       0.8
07/19/2023                  TD             Extract additional data from BOX and prepare new files/folders for processing          0.8
07/20/2023                  AL             Migrate external material into ESI database for use of team in forensic                1.6
                                           investigative efforts
07/20/2023                  ER             Facilitate user access to FTI's Brainspace for document search                         0.4
07/20/2023                  TD             Extract additional data from BOX and prepare new files/folders for processing          1.7
07/21/2023                  ER             Release new documents in Relativity to AlixPartners review team                        0.7
07/24/2023                  ER             Facilitate user access to FTI's Brainspace for document search                         0.4
07/25/2023                  ER             Prepare for Brainspace presentation to facilitate software access for engagement       2.6
                                           team
07/26/2023                  AL             Migrate external material into ESI database for use of team in forensic                1.2
                                           investigative efforts
07/26/2023                  ER             Facilitate staging of new documents in Relativity in preparation for meeting with      1.6
                                           AlixPartners review team
07/27/2023               ER                Facilitate user access to FTI's Brainspace                                             0.7
07/31/2023               ER                Facilitate user access to FTI's Brainspace                                             0.2
Total Professional Hours                                                                                                         18.1
                      Case 22-11068-JTD                Doc 2274-2   Filed 08/30/23     Page 100 of 296




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Re:                                  eDiscovery
Code:                                20008100P00001.1.10

PROFESSIONAL                                                        RATE      HOURS                FEES
Anhtuan Le                                                           $805        4.9     $      3,944.50
Ezra Roth                                                            $735        9.5            6,982.50
Travis Dane                                                          $715        3.7            2,645.50
Total Professional Hours and Fees                                               18.1     $     13,572.50
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John J. Ray III
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New York, New York 10004
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Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/10/2023               MB                Prepare schedule on salary and bonus payments for insider complaint                   2.5
07/11/2023               MB                Prepare listing of insider transfers for coordination with A&M's production of        0.2
                                           updated SOFA schedules
07/11/2023                  MB             Update A&M bridge data to facilitate SOFA/SOAL updates                                1.8
07/11/2023                  MB             Update specific entity transfers identified in review of brokerage statements to      0.3
                                           insider transfers schedules
07/11/2023                  MB             Summarize fiat transfers from Debtor to insider to facilitate insider complaint       1.2

07/12/2023                  AS             Meeting with A. Searles, M. Birtwell (AlixPartners) re: comments to draft             0.1
                                           complaint against former FTX insiders
07/12/2023                  AS             Review draft complaint related to former FTX insiders focused on the transfers        0.7
                                           section
07/12/2023                 BFM             Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                     0.4
                                           (AlixPartners) re: to discuss FTT lifecycle presentation
07/12/2023                  DS             Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                     0.4
                                           (AlixPartners) re: to discuss FTT lifecycle presentation
07/12/2023                 KHW             Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                     0.4
                                           (AlixPartners) re: to discuss FTT lifecycle presentation
07/12/2023                  MB             Meeting with A. Searles, M. Birtwell (AlixPartners) re: comments to draft             0.1
                                           complaint against former FTX insiders
07/12/2023                  MB             Summarize Debtor transfers to and from Insider on exchange to facilitate insider      1.4
                                           complaint
07/12/2023                  MB             Summarize exchange fiat withdrawals by Insider to facilitate insider complaint        2.1

07/12/2023                   TP            Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                     0.4
                                           (AlixPartners) re: to discuss FTT lifecycle presentation
07/13/2023                  AS             Review correspondence re: potential finding of collateral for certain loans           0.2
07/13/2023                  AS             Review email re: comments related to the draft complaint of former FTX insiders       0.1

07/13/2023                  AS             Review presentation re: Alameda as a backstop liquidity provider                      0.3
07/13/2023                  MB             Prepare detailed listing of Insider fiat transfers from Debtors                       1.3
07/13/2023                  MB             Review production of Insider political and charitable donations for insider           1.5
                                           complaint
07/13/2023                  MB             Summarize bonus and salary received by Insider to facilitate insider complaint        1.6

07/14/2023                  MB             Prepare detailed listing of Insider fiat transfers from Debtors                       0.9
07/14/2023                  MB             Prepare summary of Insider data to facilitate insider complaint                       1.2
07/14/2023                  MB             Review charitable contributions tie-out deliverable for week of 7/10/23               0.3
07/16/2023                  MB             Prepare listing of Insider fiat exchange withdrawals to facilitate insider            1.5
                                           complaint
07/17/2023                 LMG             Update OTC presentation for call with S&C team                                        2.2
07/17/2023                  MB             Prepare fiat exchange withdrawals data for Insider complaint                          0.2

07/17/2023                  MB             Summarize specific entity insider work for potential avoidance action                 1.0
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/18/2023               AS                Review findings re: funds transfer and loan to Insiders for specific entity’s           0.2
                                           acquisition
07/18/2023                  AS             Review preliminary summary of findings re: specific entity request                      0.2
07/18/2023                  MB             Prepare specific entity insider summary for potential complaint                         0.4
07/18/2023                  MB             Prepare listing of slack chats that reference customer withdrawals                      0.4

07/18/2023                  MB             Prepare political donation listing made by Insider for complaint                        0.2

07/20/2023                  AS             Prepare avoidance action list to be shared with A&M                                     0.7
07/24/2023                 LMG             Review quarter end version of FTT holdings chart                                        0.4
07/24/2023                 LMG             Update FTT charts with Alameda 3rd party exchange holdings                              0.6
07/24/2023                  MB             Review specific entity data analytics for quality control to facilitate preference      2.8
                                           claims
07/24/2023                  MB             Review Insider roundtripping exchange transfer data to facilitate complaint             0.9

07/27/2023                  AC             Working session with A. Calhoun, B. Mackay, M. Birtwell, S. Thompson                    0.2
                                           (AlixPartners) re: review of workpaper on transactions between specific entity
                                           and Alameda
07/27/2023                  AC             Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:            0.3
                                           review of workpaper on transactions between specific entity and Alameda
07/27/2023                  AC             Draft email to S&C re: specific entity one-day loan                                     0.1
07/27/2023                 BFM             Working session with A. Calhoun, B. Mackay, M. Birtwell, S. Thompson                    0.2
                                           (AlixPartners) re: review of workpaper on transactions between specific entity
                                           and Alameda
07/27/2023                  MB             Working session with A. Calhoun, B. Mackay, M. Birtwell, S. Thompson                    0.2
                                           (AlixPartners) re: review of workpaper on transactions between specific entity
                                           and Alameda
07/27/2023                  MB             Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:            0.3
                                           review of workpaper on transactions between specific entity and Alameda
07/27/2023                   ST            Working session with A. Calhoun, B. Mackay, M. Birtwell, S. Thompson                    0.2
                                           (AlixPartners) re: review of workpaper on transactions between specific entity
                                           and Alameda
07/27/2023                   ST            Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:            0.3
                                           review of workpaper on transactions between specific entity and Alameda
07/28/2023                 LMG             Create summary charts of Alameda OTC counterparties in MOB in Spring 2021               1.4
07/31/2023                  AC             Draft email to S&C re: specific entity donations flow of funds details                  0.4

07/31/2023                  AV             Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: listing of           0.2
                                           entities investigated as part of political and charitable contribution workstreams
                                           to facilitate preference claim work by A&M
07/31/2023                  MB             Compile listing of charitable and political contribution recipients for assistance      1.2
                                           with preference claims work per request by A&M
07/31/2023                  MB             Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: listing of           0.2
                                           entities investigated as part of political and charitable contribution workstreams
                                           to facilitate preference claim work by A&M
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John J. Ray III
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New York, New York 10004
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Re:                 Reporting & Presentation of Findings
Code:               20008100P00001.1.11

DATE               PROFESSIONAL                             DESCRIPTION OF SERVICES                 HOURS
Total Professional Hours                                                                              36.3
                      Case 22-11068-JTD                Doc 2274-2           Filed 08/30/23     Page 104 of 296




John J. Ray III
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Re:                                  Reporting & Presentation of Findings
Code:                                20008100P00001.1.11

PROFESSIONAL                                                                RATE      HOURS                FEES
Lilly M Goldman                                                             $1,115       4.6     $      5,129.00
Adam Searles                                                                 $950        2.5            2,375.00
Anne Vanderkamp                                                              $950        0.2              190.00
Travis Phelan                                                                $950        0.4              380.00
Dana Schwartz                                                                $880        0.4              352.00
Kurt H Wessel                                                                $880        0.4              352.00
Bennett F Mackay                                                             $805        0.6              483.00
Matthew Birtwell                                                             $805       25.7           20,688.50
Sean Thompson                                                                $510        0.5              255.00
Allyson Calhoun                                                              $510        1.0              510.00
Total Professional Hours and Fees                                                       36.3     $     30,714.50
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John J. Ray III
Chief Executive Officer
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                     HOURS
07/07/2023               ESK               Email to/from K. Sundt (AlixPartners) re: fee issues                                  0.2
07/07/2023               ESK               Review internal email re: fee issues                                                  0.3
07/09/2023              LMB                Prepare professional fees for June 2023 Monthly Fee Statement                         1.8
07/10/2023               LCV               Review draft fee statement for June 2023 for appropriate matter coding                2.9
07/11/2023               KAS               Draft response to J. Cooper (A&M) re: fee reduction                                   0.9
07/11/2023               LCV               Continue to review draft fee statement for June 2023 for appropriate matter           2.9
                                           coding
07/11/2023                 LMB             Analyze expenses for caps for the June 2023 monthly fee statement                     1.5
07/12/2023                 LCV             Prepare professional fees for monthly/interim fee statement for June 2023             2.9
07/12/2023                  RS             Working session with R. Self, S. Thompson (AlixPartners) re: review of June           0.2
                                           2023 fee statement for confidentiality and privilege
07/12/2023                   ST            Working session with R. Self, S. Thompson (AlixPartners) re: review of June           0.2
                                           2023 fee statement for confidentiality and privilege
07/13/2023                  LCV            Prepare professional fees for monthly/interim fee statement for June 2023             1.4
07/13/2023                  LCV            Continue to prepare professional fees for monthly/interim fee statement for June      1.7
                                           2023
07/14/2023                 LCV             Prepare professional fees for June 2023 monthly/interim fee statements                3.0
07/14/2023                 LMB             Categorize professional fees to prepare exhibits and schedules for fee statement      2.2
                                           for June 2023
07/17/2023                   RS            Continue to review June 2023 (3rd) fee statement for confidentiality and              1.4
07/17/2023                   RS            Review June 2023 (1st to 2nd) fee statement for confidentiality and privilege         2.4
07/17/2023                   RS            Working session with R. Self, S. Thompson (AlixPartners) re: review of June           0.4
                                           2023 fee statement for confidentiality and privilege
07/17/2023                   ST            Continue to review June 2023 (6th and 7th) fee application for privilege and          2.8
                                           confidentiality
07/17/2023                   ST            Continue to review June 2023 (7th) fee application for privilege and                  2.9
                                           confidentiality
07/17/2023                   ST            Review June 2023 (4th and 5th) fee statement for confidentiality and privilege        2.9
07/17/2023                   ST            Working session with R. Self, S. Thompson (AlixPartners) re: review of June           0.4
                                           2023 fee statement for confidentiality and privilege
07/18/2023                   RS            Review June 2023 (8th and 9th) fee statement for confidentiality and privilege        2.8
07/18/2023                   RS            Continue to review June 2023 (10th and 11th) fee statement for confidentiality        2.9
                                           and privilege
07/18/2023                   ST            Review June 2023 (12th and 13th) fee statement for privilege and confidentiality      2.7
07/18/2023                   ST            Review June 2023 (14th and 15th) fee statement to ensure compliance with rules        2.8
                                           and guidelines
07/18/2023                   ST            Continue to review June 2023 (16th and 17th) fee statement for privilege and          2.9
                                           confidentiality
07/19/2023                   RS            Review June 2023 (18th and 19th) fee statement for confidentiality and privilege      2.9
07/19/2023                   RS            Continue to review June 2023 (20th) fee statement for confidentiality and             1.9
                                           privilege
07/19/2023                   RS            Working session with R. Self, S. Thompson (AlixPartners) re: review of June           0.3
                                           2023 fee statement for confidentiality and privilege
07/19/2023                   ST            Continue to review June 2023 (21st and 22nd) fee application for privilege and        2.6
                                           confidentiality
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Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                      HOURS
07/19/2023               ST                Working session with R. Self, S. Thompson (AlixPartners) re: review of June            0.3
                                           2023 fee statement for confidentiality and privilege
07/20/2023                 LMB             Analyze professional fees for June 2023 monthly fee statement                          1.8
07/20/2023                 LMB             Continue to analyze professional fees for June 2023 monthly fee statement              1.4
07/20/2023                  RS             Review June 2023 (23rd) fee statement for confidentiality and privilege                1.5
07/20/2023                  RS             Working session with R. Self, S. Thompson (AlixPartners) re: review of June            0.2
                                           2023 fee statement for confidentiality and privilege
07/20/2023                   ST            Review June 2023 (24th and 25th) fee statement for confidentiality and privilege       2.1
07/20/2023                   ST            Working session with R. Self, S. Thompson (AlixPartners) re: review of June            0.2
                                           2023 fee statement for confidentiality and privilege
07/21/2023                  AS             Review draft Certificate of No Objection for AlixPartners’ May 2023 fee                0.1
                                           statement
07/21/2023                  AS             Review fee statement updates for internal sign-off                                     0.3
07/21/2023                 KAS             Review draft Certificate of No Objection for May fee statement                         0.3
07/21/2023                 LMB             Analyze June 2023 professional fees for confidentiality and privilege information      2.8
07/21/2023                  RS             Review June 2023 (25th) fee statement for confidentiality and privilege                2.0
07/21/2023                  RS             Working session with R. Self, S. Thompson (AlixPartners) re: review of June            0.4
                                           2023 fee statement for confidentiality and privilege
07/21/2023                   ST            Review June 2023 (26th) fee statement for confidentiality and privilege                1.6
07/21/2023                   ST            Working session with R. Self, S. Thompson (AlixPartners) re: review of June            0.4
                                           2023 fee statement for confidentiality and privilege
07/24/2023                 LMB             Analyze out-of-pocket expenses for June 2023 monthly fee statement to ensure           1.5
                                           compliance with rules and guidelines
07/24/2023                   RS            Continue to analyze out-of-pocket expenses for June 2023 (5th through 9th)             2.0
                                           monthly fee statement to ensure compliance with rules and guidelines
07/24/2023                   RS            Analyze out-of-pocket expenses for June 2023 (1st through 4th) monthly fee             1.7
                                           statement to ensure compliance with rules and guidelines
07/25/2023                  ESK            Email to A. Searles (AlixPartners) re: research court docket re: examiner appeal       1.3
                                           status
07/25/2023                 LMB             Update fee statement status chart                                                      0.2
07/25/2023                  RS             Continue to analyze out-of-pocket expenses for June 2023 (12th through 13th)           1.5
                                           monthly fee statement to ensure compliance with rules and guidelines
07/25/2023                   RS            Analyze out-of-pocket expenses for June 2023 (10th through 11th) monthly fee           2.9
                                           statement to ensure compliance with rules and guidelines
07/26/2023                 LMB             Analyze out-of-pocket expenses for June 2023 monthly fee statement to ensure           1.0
                                           compliance with rules and guidelines
07/26/2023                   RS            Continue to analyze out-of-pocket expenses for June 2023 (17th through 20th)           1.8
                                           monthly fee statement to ensure compliance with rules and guidelines
07/26/2023                   RS            Analyze out-of-pocket expenses for June 2023 (14th through 16th) monthly fee           2.0
                                           statement to ensure compliance with rules and guidelines
07/27/2023                  AS             Discussion with L. Bonito and A. Searles (both AlixPartners) re: draft of June         0.2
                                           monthly fee application
07/27/2023                 LMB             Analyze out-of-pocket expenses for June 2023 monthly fee statement to ensure           1.8
                                           compliance with rules and guidelines
07/27/2023                 LMB             Prepare schedule/exhibit workbook for June 2023 monthly fee statement                  2.6
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Fee Statements & Fee Applications
Code:               20008100P00001.1.14

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/27/2023              LMB                Discussion with L. Bonito and A. Searles (both AlixPartners) re: draft of June        0.2
                                           monthly fee application
07/27/2023                 LMB             Telephone call with R. Self and L. Bonito (AlixPartners) re: June 2023 monthly        0.2
                                           fee statement
07/27/2023                 LMB             Continue to prepare schedule/exhibit workbook for June 2023 monthly fee               0.6
                                           statement
07/27/2023                   RS            Analyze out-of-pocket expenses for June 2023 (21st through 25th) monthly fee          1.0
                                           statement to ensure compliance with rules and guidelines
07/27/2023                   RS            Telephone call with R. Self and L. Bonito (AlixPartners) re: June 2023 monthly        0.2
                                           fee statement
07/27/2023                  ST             Review June 2023 (27th and 28th) fee statement for confidentiality and privilege      2.4
07/28/2023                  AS             Review monthly write-up of work performed to include in the June 2023 fee             0.2
                                           statement
07/28/2023                  AV             Review summary of work performed in draft fee statement                               0.3
07/28/2023                 KAS             Review draft June 2023 monthly fee statement                                          0.4
07/28/2023                 LMB             Prepare 7th Monthly Fee Statement, supporting schedules and exhibits (June            1.8
                                           2023)
07/28/2023                  ME             Review 7th Monthly Fee Statement Draft and Exhibits                                   2.2
07/28/2023                  RS             Review professional fees for June 2023 (29th) monthly fee statement for               1.8
                                           accuracy
07/28/2023                   RS            Analyze out-of-pocket expenses for June 2023 (26th through 30th) monthly fee          1.4
                                           statement to ensure compliance with rules and guidelines
07/28/2023                  ST             Review June 2023 (30th) fee statement for confidentiality and privilege               0.5
07/31/2023                  AS             Meeting with A. Searles, M. Evans (AlixPartners) re: expenses on the fee              0.1
                                           application
07/31/2023                 LMB             Draft email to A. Kranzley (S&C) attaching 7th Monthly Fee Statement (June            0.2
                                           2023) for filing on the Court docket
07/31/2023                 LMB             Finalize 7th Monthly Fee Statement, supporting schedules and exhibits (June           1.3
                                           2023)
07/31/2023                  ME             Meeting with A. Searles, M. Evans (AlixPartners) re: expenses on the fee              0.1
                                           application
Total Professional Hours                                                                                                       107.9
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Code:                                20008100P00001.1.14

PROFESSIONAL                                                             RATE      HOURS                FEES
Matthew Evans                                                            $1,220       2.3     $      2,806.00
Elizabeth S Kardos                                                        $800        1.8            1,440.00
Adam Searles                                                              $950        0.9              855.00
Anne Vanderkamp                                                           $950        0.3              285.00
Kaitlyn A Sundt                                                           $585        1.6              936.00
Laura Capen Verry                                                         $540       14.8            7,992.00
Randi Self                                                                $585       35.6           20,826.00
Lisa Marie Bonito                                                         $500       22.9           11,450.00
Sean Thompson                                                             $510       27.7           14,127.00
Total Professional Hours and Fees                                                   107.9     $     60,717.00
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/01/2023               EB                Prepare Alameda loans payable working paper for loans open at Q2 2022 and at             0.8
                                           Petition Date
07/01/2023                 KHW             Develop presentation materials for meeting with John Ray re: digital asset open          1.2
                                           items for financial statement reconstruction
07/02/2023                   TP            Analyze FTX provided wallet information in an effort to sync up address lists for        1.1
                                           use with the financial reconstruction efforts
07/02/2023                   TP            Perform historical review of Alameda's AWS 3rd party exchange positions in               1.1
                                           support of the historical financial statements
07/02/2023                   TP            Review quality control efforts on the daily exchange user balances based on              1.5
                                           implemented adjustments
07/03/2023                  EB             Update staffing and status on workstreams Other Investments, Alameda loan                0.9
                                           collateral, and Investments in Subsidiaries
07/03/2023                   JX            Summarize Alameda collateral balances and analysis approach                              1.6
07/03/2023                  JCL            Review current presentation of financial statement reconstruction for purposes of        0.8
                                           creating update presentation
07/03/2023                  JCL            Working session with J. LaBella, K. Wessel (AlixPartners) re: to prepare                 1.1
                                           presentation of status re: historical financial statement reconstruction for CEO of
                                           FTX
07/03/2023                 KHW             Working session with J. LaBella, K. Wessel (AlixPartners) re: to prepare                 1.1
                                           presentation of status re: historical financial statement reconstruction for CEO of
                                           FTX
07/03/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.6

07/03/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.9

07/03/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.8

07/03/2023                   SZ            Research public domain for blockchain wallet transactions relating to Alameda            0.8
                                           Other Investments workstream for specific entities

07/03/2023                   SZ            Search Relativity for investment agreements relating to Alameda Other                    0.5
                                           Investments workstream for specific entities

07/03/2023                   SZ            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to           0.8
                                           Alameda Other Investments workstream for cash database reconciliation and
                                           related-party QuickBooks records review
07/03/2023                  SYY            Search for investment agreements in Relativity relating to Alameda Other                 1.8
                                           Investments workstream for six specific entities


07/03/2023                  SYY            Search QuickBooks databases relating to Alameda Other Investments                        2.3
                                           workstream for six specific entities
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DATE                PROFESSIONAL                                 DESCRIPTION OF SERVICES                                     HOURS
07/03/2023               SYY               Verify cash payments relating to Alameda Other Investments workstream for six        2.1
                                           specific entities


07/03/2023                  SYY            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to       0.8
                                           Alameda Other Investments workstream for cash database reconciliation and
                                           related-party QuickBooks records review
07/03/2023                   TS            Review Cottonwood Grove audited financial statements and the supporting audit        1.9
                                           work papers to assist with the investment in subsidiaries workstream
07/03/2023                   TS            Review draft scoping workbook and journal entry exports of Other Asset general       1.2
                                           ledger accounts to assist with the other assets workstream
07/03/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: the export and review of      0.5
                                           the journal entries of CottonWood Grove loan receivable and interest receivable
                                           general ledger accounts re: investment in subsidiaries workstream
07/03/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) to align weekly work plan         0.4
                                           and priorities
07/03/2023                  XS             Build data quality screening scripts for QuickBooks data used in forensic            0.8
                                           investigation workstreams
07/03/2023                  XS             Prepare QuickBooks balances and reviewed balances of adjusted accounts for           1.2
                                           Alameda Research in review periods re: investment in subsidiaries
07/03/2023                  XS             Prepare QuickBooks balances and reviewed balances of adjusted accounts for           1.1
                                           Paperbird Research in review periods re: investment in subsidiaries
07/03/2023                  XS             Review bank statements of cash payments to investment in two specific entities       0.8
                                           re: investment in subsidiaries
07/03/2023                  XS             Review journal entries and agreement in investment in specific entities re:          1.5
                                           investment in subsidiaries
07/03/2023                  XS             Review journal entries and agreement of investment in FTX Canada re:                 1.4
                                           investment in subsidiaries
07/03/2023                  XS             Search for agreements and audited financial reports on Relativity for specific       1.1
                                           entity re: investment in subsidiaries
07/03/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: the export and review of      0.5
                                           the journal entries of CottonWood Grove loan receivable and interest receivable
                                           general ledger accounts re: investment in subsidiaries workstream
07/03/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) to align weekly work plan         0.4
                                           and priorities
07/04/2023                  DL             Perform research into Cottonwood Grove's option grants                               1.4
07/04/2023                  EB             Document assumptions hierarchy for Alameda loans payable analysis                    0.4
07/04/2023                  EB             Summarize analysis for Alameda loans working paper for counterparties                1.4
                                           supported by loan agreement with open maturity date
07/04/2023                  EB             Working session with E. Boyle, J. Xu (AlixPartners) re: update discussion on         1.4
                                           Alameda loan working paper documentation process
07/04/2023                   JX            Update the Alameda loan calculation                                                  0.7
07/04/2023                   JX            Perform searches in Relativity re: loan reference documents                          1.6
07/04/2023                   JX            Verify completeness of documentation for Alameda loans                               2.0
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DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                        HOURS
07/04/2023               JX                Working session with E. Boyle, J. Xu (AlixPartners) re: update discussion on             1.4
                                           Alameda loan working paper documentation process
07/04/2023                   SZ            Research blockchain records of wallet transactions for specific entities to assist       1.8
                                           with financial statement reconstruction

07/04/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.6

07/04/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.7

07/04/2023                   SZ            Search QuickBooks databases for entries relating to Alameda Other Investments            0.5
                                           workstream for specific entities
07/04/2023                   SZ            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to           0.9
                                           FTX investment tracker reconciliation for cash database review and QuickBooks
                                           records search
07/04/2023                  SYY            Search for investment agreements in Relativity relating to Alameda Other                 1.9
                                           Investments workstream for six specific entities

07/04/2023                  SYY            Search QuickBooks databases relating to Alameda Other Investments                        2.5
                                           workstream for six specific entities

07/04/2023                  SYY            Verify cash payments relating to Alameda Other Investments workstream for six            2.2
                                           specific entities

07/04/2023                  SYY            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to           0.9
                                           FTX investment tracker reconciliation for cash database review and QuickBooks
                                           records search
07/04/2023                   TS            Search Relativity to identify FTX internal correspondence and tracking                   1.8
                                           spreadsheets for the FTT loans between Paper Bird and CottonWood to assist
                                           with the investment in subsidiaries workstream
07/04/2023                   TS            Search Relativity to identify share purchase agreement and approval for change           0.8
                                           of ownership of West Realm Shires Inc's investment in RJL Capital Group to
                                           assist with the investment in subsidiaries workstream
07/04/2023                   TS            Reconcile Cottonwood Grove QuickBooks journal entry lists against financial              2.3
                                           statements audited by specific entity to assist with the investment in subsidiaries
                                           workstream
07/04/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: the review of WRS'                0.9
                                           purchase of specific entity member interests and the subsequent capital injection
                                           re: the investment in subsidiaries workstream
07/04/2023                  XS             Analyze journal entries of cryptocurrency receivables booked by Cottonwood re:           1.5
                                           investment in subsidiaries specific entity
07/04/2023                  XS             Prepare narratives of procedures and conclusion notes on work paper re:                  1.3
                                           investment in subsidiaries
07/04/2023                  XS             Prepare QuickBooks balances and reviewed balances of adjusted accounts for               1.2
                                           FTX Trading in review periods re: investment in subsidiaries
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/04/2023               XS                Review audit paper of Cottonwood for cryptocurrency and crypto                         1.5
                                           receivable/payable to immediate holding company re: investment in subsidiaries
                                           specific entity
07/04/2023                  XS             Review internal worksheet of FTT payment based on call option agreements re:           1.7
                                           investment in subsidiaries
07/04/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: the review of WRS'              0.9
                                           purchase of specific entity member interests and the subsequent capital injection
                                           re: the investment in subsidiaries workstream
07/05/2023                  AV             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
07/05/2023                  AV             Working session with A. Vanderkamp, D. Schwartz, J. LaBella, K. Wessel, M.             0.6
                                           Jacques, T. Toaso (AlixPartners) re: review of materials in preparation for
                                           meeting with John Ray and S&C
07/05/2023                 BFM             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
07/05/2023                 BFM             Attend meeting with B. Mackay, D. Schwartz, D. White (AlixPartners) re:                0.2
                                           prepare for call with John Ray and S&C
07/05/2023                 BFM             Search Relativity re: specific entity FTT payout                                       2.2
07/05/2023                 BFM             Review exchange activity re: specific entity FTT payout                                1.6
07/05/2023                 BFM             Working session with B. Mackay, F. Liang (AlixPartners) re: discuss pricing for        0.5
                                           NFT
07/05/2023                 BFM             Attend meeting with B. Mackay, D. White (AlixPartners) re: specific entity             0.2
07/05/2023                 BAR             Search Relativity document searches for balances of coin and cryptocurrency            1.9
                                           balances exchanges re: Third party exchanges investigation
07/05/2023                  BAR            Perform document search for information on assets balances and holdings on             2.3
                                           exchanges re: Third party exchanges investigation
07/05/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement              1.7
                                           reconstruction
07/05/2023                  CAS            Review documentation for the petition date general ledger journal entry database       0.4
                                           construction
07/05/2023                  CX             Update button and list box function for 'Entities' field in master summary             1.7
                                           database template for purposes of supporting the financial statement
                                           reconstruction workstream
07/05/2023                  CX             Update button and list box function for 'Key Persons' field in master summary          0.9
                                           database template for purposes of supporting the financial statement
                                           reconstruction workstream
07/05/2023                  CX             Update input forms in the master summary database template for purposes of             2.1
                                           supporting the financial statement reconstruction workstream
07/05/2023                  CC             Update leadsheet with proposed adjustments re: Cottonwood Grove Ltd's                  1.8
                                           Intercompany Receivable with Alameda Research LLC
07/05/2023                  CC             Update leadsheet with proposed adjustments re: Paper Bird Inc's Related Party          1.5
                                           Receivable with Alameda Research Ltd
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/05/2023               CC                Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                  CC             Working session with C. Chen, F. Liang (AlixPartners) re: discuss identifying          0.7
                                           certain third party exchange accounts in Alameda private balance sheet
07/05/2023                  CC             Working session with C. Chen, T. Toaso (AlixPartners) re: completeness issues          1.0
                                           related to intercompany receivable and payable adjusting journal entries
07/05/2023                  DS             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
07/05/2023                  DS             Attend meeting with B. Mackay, D. Schwartz, D. White (AlixPartners) re:                0.2
                                           prepare for call with John Ray and S&C
07/05/2023                  DS             Finalize deliverable for meeting with J. Ray re: historical financial statements       0.8
07/05/2023                  DS             Prepare for meeting re: historical financial statements                                1.1
07/05/2023                  DS             Prepare talking points on historical financial statements for meeting with J. Ray      1.7
07/05/2023                  DS             Working session with A. Vanderkamp, D. Schwartz, J. LaBella, K. Wessel, M.             0.6
                                           Jacques, T. Toaso (AlixPartners) re: review of materials in preparation for
                                           meeting with John Ray and S&C
07/05/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                  DS             Working session with C. Wong, D. Schwartz (AlixPartners) re: Preparation of            0.5
                                           meeting with M. Jacques re: general ledger detailed validation progress updates
                                           and procedures performed over debtor prepared workbooks
07/05/2023                  DS             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, T. Toaso            0.1
                                           (AlixPartners) re: discuss locked token valuation factors for balance sheet
                                           purpose
07/05/2023                  DS             Working session with D. Schwartz, K. Wessel (AlixPartners) re: to discuss              0.7
                                           talking points related to digital assets for meeting with J. Ray
07/05/2023                  DS             Working session with C. Wong, D. Schwartz, T. Shen, X. Su (AlixPartners) re:           0.6
                                           Interco meeting re: progress updates on investigation of specific entity FTT
                                           transfers and approach for 'Other Assets, Net'
07/05/2023                  DJW            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                      HOURS
07/05/2023               DJW               Attend meeting with B. Mackay, D. Schwartz, D. White (AlixPartners) re:                 0.2
                                           prepare for call with John Ray and S&C
07/05/2023                 DJW             Prepare for meeting with interested parties re: financial reconstruction                1.9

07/05/2023                 DJW             Attend meeting with B. Mackay, D. White (AlixPartners) re: specific entity              0.2
07/05/2023                  DL             Investigate CME account on Alameda private balance sheet                                2.2
07/05/2023                 DL              Prepare summary presentation on Cottonwood Grove's option grants                        1.7
07/05/2023                 DL              Review potential relevant files on third-party exchange accounts                        1.2
07/05/2023                 DL              Working session with B. Mackay, F. Liang (AlixPartners) re: discuss pricing for         0.5
                                           NFT
07/05/2023                  DL             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                  DL             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                  DL             Working session with C. Chen, F. Liang (AlixPartners) re: discuss identifying           0.7
                                           certain third party exchange accounts in Alameda private balance sheet
07/05/2023                  DL             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, T. Toaso             0.1
                                           (AlixPartners) re: discuss locked token valuation factors for balance sheet
                                           purpose
07/05/2023                  DL             Working session with F. Liang, R. Self (AlixPartners) re: discuss identifying           0.6
                                           certain third party exchange accounts in Alameda private balance sheet
07/05/2023                  DL             Working session with F. Liang, T. Toaso (AlixPartners) re: discuss 'staked digital      0.5
                                           asset' line item on the balance sheet
07/05/2023                  DL             Working session with F. Liang, L. Morrison (AlixPartners) re: discuss validating        0.4
                                           specific entity fills data against Alameda's AWS data
07/05/2023                  EB             Prepare Alameda loans working paper documenting loan level assumptions                  1.8
07/05/2023                  EM             Analyze accounting data re: Alameda Research LLC credit card transactions to            0.4
                                           scope journal entries for further analysis
07/05/2023                  EM             Analyze accounting data re: specific entity accounts payable to scope journal           0.5
                                           entries for further analysis
07/05/2023                  EM             Analyze accounting data re: specific entity charitable expenses to scope journal        0.4
                                           entries for further analysis
07/05/2023                  EM             Analyze accounting data re: Cottonwood Grove employee token options to scope            0.6
                                           journal entries for further analysis
07/05/2023                  EM             Analyze journal entries identified for further review to determine approach for         0.6
                                           balance validation
07/05/2023                  EM             Analyze supporting documentation to perform general ledger detail validation for        2.1
                                           West Realm Shires Service Inc accounts payable
07/05/2023                  EM             Perform Relativity search re: expense allocations between FTX Trading Ltd and           0.6
                                           specific entity
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/05/2023               EM                Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                  EM             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                  EM             Working session with C. Wong, E. Mostoff (AlixPartners) re: approach for              0.4
                                           analysis of Other Liability account group
07/05/2023                  EM             Analyze accounting data re: FTX Trading Ltd accounts payable to scope journal         0.5
                                           entries for further analysis
07/05/2023                  EM             Analyze accounting data re: FTX Trading Ltd specific general ledger account to        0.4
                                           scope journal entries for further analysis
07/05/2023                  EM             Working session with E. Mostoff, J. Chin (AlixPartners) re: coverage of specific      0.1
                                           general ledger account
07/05/2023                  JC             Continue drafting adjusted journal entries for Cottonwood Grove in relation to        2.7
                                           the FTT obligations to specific entity shareholders
07/05/2023                  JC             Draft adjusted journal entries for Cottonwood Grove in relation to the FTT            2.9
                                           obligations to specific entity shareholders
07/05/2023                  JC             Review Cottonwood Grove QuickBooks journal entries related to the FTT                 2.2
                                           obligations to specific entity shareholders
07/05/2023                  JC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                  JC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                  JC             Working session with E. Mostoff, J. Chin (AlixPartners) re: coverage of specific      0.1
                                           general ledger account
07/05/2023                   JX            Update comments in loan assumptions workpaper                                         1.2
07/05/2023                   JX            Review comments and rationale of Alameda loan term assumptions for loans              2.9
                                           with maturity dates
07/05/2023                   JX            Review comments and rationale of Alameda loan term assumptions for loans              2.0
                                           without maturity dates
07/05/2023                   JX            Verify open dates and maturity dates of Alameda loan contracts                        1.4
07/05/2023                  JCL            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.               0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
07/05/2023                  JCL            Compile additional questions re: support for historical QuickBooks accounting         0.4
                                           entries based on previous responses provided by interested party
07/05/2023                  JCL            Review coverage of intercompany cash transaction pairings relative to recorded        0.4
                                           intercompany transactions
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/05/2023               JCL               Review intercompany workpapers tracking cash transactions between entities             1.2
                                           and criteria used to identify transaction pairings
07/05/2023                  JCL            Review other investments tracker schedule and identify open items for follow up        1.2
07/05/2023                  JCL            Working session with A. Vanderkamp, D. Schwartz, J. LaBella, K. Wessel, M.             0.6
                                           Jacques, T. Toaso (AlixPartners) re: review of materials in preparation for
                                           meeting with John Ray and S&C
07/05/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                  JCL            Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, T. Toaso            0.1
                                           (AlixPartners) re: discuss locked token valuation factors for balance sheet
                                           purpose
07/05/2023                 KHW             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
07/05/2023                 KHW             Develop approach to ensuring identification of significant unrecorded assets /         1.2
                                           liabilities for financial statement reconstruction process
07/05/2023                 KHW             Working session with A. Vanderkamp, D. Schwartz, J. LaBella, K. Wessel, M.             0.6
                                           Jacques, T. Toaso (AlixPartners) re: review of materials in preparation for
                                           meeting with John Ray and S&C
07/05/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                 KHW             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, T. Toaso            0.1
                                           (AlixPartners) re: discuss locked token valuation factors for balance sheet
                                           purpose
07/05/2023                 KHW             Working session with D. Schwartz, K. Wessel (AlixPartners) re: to discuss              0.7
                                           talking points related to digital assets for meeting with J. Ray
07/05/2023                  LIM            Working session with F. Liang, L. Morrison (AlixPartners) re: discuss validating       0.4
                                           specific entity fills data against Alameda's AWS data
07/05/2023                  MJ             Analyze all four silo balance sheets for the periods Q4 2020 through Q3 2022,          2.1
                                           including analytics and documented observations related to digital asset holdings
07/05/2023                  MJ             Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
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07/05/2023               MJ                Working session with A. Vanderkamp, D. Schwartz, J. LaBella, K. Wessel, M.            0.6
                                           Jacques, T. Toaso (AlixPartners) re: review of materials in preparation for
                                           meeting with John Ray and S&C
07/05/2023                  QB             Investigate investments into digital assets for one account                           1.7
07/05/2023                  QB             Investigate investments into digital assets for specific coin type                    2.3
07/05/2023                  QB             Review investigations into digital assets investments for accuracy                    1.9
07/05/2023                  RS             Search Relativity for exchange account names included in the private balance          1.3
                                           sheets
07/05/2023                   RS            Continue to search Relativity to determine third party exchange account names in      2.6
                                           the private balance sheets
07/05/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX            1.7
                                           accountant adjusting journal entry'
07/05/2023                   RS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                   RS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                   RS            Working session with F. Liang, R. Self (AlixPartners) re: discuss identifying         0.6
                                           certain third party exchange accounts in Alameda private balance sheet
07/05/2023                 SYW             Investigate in-scope 'Other Liabilities' general ledger accounts to determine         2.8
                                           whether proposed adjustments are necessary
07/05/2023                 SYW             Perform scoping procedures over 'Other Liabilities' general ledger accounts to        2.7
                                           determine which balances require further investigation
07/05/2023                 SYW             Prepare for meeting re: progress updates and follow-ups on general ledger             2.0
                                           detailed analysis
07/05/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.5
                                           LaBella, K. Wessel, R. Self, J. Chin (AlixPartners) re: discussion on proposed
                                           plan for unrecorded liabilities/claims, BCB 2004 request, Sam cryptocurrency
                                           token naming update, digital assets pricing and cash database update
07/05/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.          0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                 SYW             Working session with C. Wong, D. Schwartz (AlixPartners) re: Preparation of           0.5
                                           meeting with M. Jacques re: general ledger detailed validation progress updates
                                           and procedures performed over debtor prepared workbooks
07/05/2023                 SYW             Working session with C. Wong, E. Mostoff (AlixPartners) re: approach for              0.4
                                           analysis of Other Liability account group
07/05/2023                 SYW             Working session with C. Wong, D. Schwartz, T. Shen, X. Su (AlixPartners) re:          0.6
                                           Interco meeting re: progress updates on investigation of specific entity FTT
                                           transfers and approach for 'Other Assets, Net'
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DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                    HOURS
07/05/2023               SZ                Prepare adjusting journal entries relating to Alameda Other Investments              1.2
                                           workstream for specific entities

07/05/2023                   SZ            Prepare adjusting journal entries relating to Alameda Other Investments              1.9
                                           workstream for specific entities

07/05/2023                   SZ            Search QuickBooks database for entries relating to Alameda Other Investments         1.8
                                           workstream for specific entities

07/05/2023                   SZ            Search QuickBooks databases for entries relating to Alameda Other Investments        1.8
                                           workstream for specific entities

07/05/2023                  SYY            Update loan agreement open and maturity dates relating to Alameda loan               2.1
                                           workstream for fifteen specific entities




07/05/2023                  SYY            Update loan agreement open and maturity dates relating to Alameda loan               2.2
                                           workstream for sixteen specific entities




07/05/2023                  SYY            Update loan agreement open and maturity dates relating to Alameda loan               2.6
                                           workstream for eighteen specific entities




07/05/2023                  SYY            Update loan agreement open and maturity dates relating to Alameda loan               0.5
                                           workstream for five specific entities

07/05/2023                   TS            Reconcile advance payments and insiders' employee loans to the real estate           0.8
                                           properties work paper to assist with the other assets workstream
07/05/2023                   TS            Review audited financial statements of West Realm Shires Inc. for disclosure of      0.6
                                           deferred tax assets to assist with the other assets workstream
07/05/2023                   TS            Review QuickBooks journal entries of specific account of Alameda Research            0.3
                                           Ltd to assist with the scoping of the other assets workstream
07/05/2023                   TS            Review QuickBooks journal entries of specific account of FTX Property                0.6
                                           Holdings Ltd to assist with the scoping of the other assets workstream
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/05/2023               TS                Review QuickBooks journal entries of specific account of FTX Trading Ltd and            1.3
                                           West Realm Shires Services to assist with the scoping of the other assets
                                           workstream
07/05/2023                   TS            Review QuickBooks journal entries of specific account of Alameda Research               0.7
                                           Ltd to assist with the scoping of the other assets workstream
07/05/2023                   TS            Review QuickBooks journal entries of specific account of West Realm Shires              0.4
                                           Inc. to assist with the scoping of the other assets workstream
07/05/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) to review the recording of           0.5
                                           the loan receivables at CottonWood re. the investment in subsidiaries
                                           workstream
07/05/2023                   TS            Working session with C. Wong, D. Schwartz, T. Shen, X. Su (AlixPartners) re:            0.6
                                           Interco meeting re: progress updates on investigation of specific entity FTT
                                           transfers and approach for 'Other Assets, Net'
07/05/2023                   TT            Attend meeting with A. Vanderkamp, B. Mackay, D. Schwartz, D. White, J.                 0.4
                                           LaBella, K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: historical financial
                                           statements
07/05/2023                   TT            Review cash transaction activity between exchange and other FTX entities to             1.1
                                           support intercompany cash analysis
07/05/2023                   TT            Review updated version of chart of accounts for historical financial statement          0.3
                                           reconstruction
07/05/2023                   TT            Working session with A. Vanderkamp, D. Schwartz, J. LaBella, K. Wessel, M.              0.6
                                           Jacques, T. Toaso (AlixPartners) re: review of materials in preparation for
                                           meeting with John Ray and S&C
07/05/2023                   TT            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.3
                                           LaBella, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           treatment of the Other Investments: Collateral Receivable account, deferred tax
                                           assets, documentation of the token investment verification process
07/05/2023                   TT            Working session with C. Chen, T. Toaso (AlixPartners) re: completeness issues           1.0
                                           related to intercompany receivable and payable adjusting journal entries
07/05/2023                   TT            Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, T. Toaso             0.1
                                           (AlixPartners) re: discuss locked token valuation factors for balance sheet
                                           purpose
07/05/2023                   TT            Working session with F. Liang, T. Toaso (AlixPartners) re: discuss 'staked digital      0.5
                                           asset' line item on the balance sheet
07/05/2023                   TP            Analyze FTX provided wallet information in an effort to sync up address lists for       1.1
                                           use with the financial reconstruction efforts
07/05/2023                  XS             Analyze journal entries of FTX Trading for equity shares in exchange of FTT             1.5
                                           tokens re: investment in subsidiaries specific entity
07/05/2023                  XS             Calculate review coverage of investment in subsidiaries and update account              0.4
                                           balance accordingly re: investment in subsidiaries
07/05/2023                  XS             Analyze coverage of capital injections and purchase consideration payments for          1.1
                                           all accounts of investment in subsidiaries to review scope of payments re:
                                           investment in subsidiaries
07/05/2023                  XS             Draft journal entry summaries of CottonWood in workpaper re: investment in              1.4
                                           subsidiaries
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/05/2023               XS                Review documents related to equity exchange of FTT token and loans on                 1.8
                                           Relativity re: investment in subsidiaries specific entity
07/05/2023                  XS             Update the adjusted account balances on workpapers and reconcile with test            0.9
                                           balance sheet re: investment in subsidiaries
07/05/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) to review the recording of         0.5
                                           the loan receivables at CottonWood re. the investment in subsidiaries
                                           workstream
07/05/2023                  XS             Working session with C. Wong, D. Schwartz, T. Shen, X. Su (AlixPartners) re:          0.6
                                           Interco meeting re: progress updates on investigation of specific entity FTT
                                           transfers and approach for 'Other Assets, Net'
07/06/2023                 BFM             Attend meeting with B. Mackay, G. Gopalakrishnan (AlixPartners) re: updated           0.2
                                           customer balances, OTC Portal
07/06/2023                 BFM             Summarize exchange activity re: specific entity FTT payout                            2.4
07/06/2023                 BFM             Summarize FTT balance for each Alameda exchange account                               0.5
07/06/2023                 BFM             Summarize unstructured data search re: specific entity FTT payout                     1.1
07/06/2023                 BFM             Update comparison of customer liabilities to wallet balances                          0.8
07/06/2023                 BFM             Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,         0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                 BFM             Attend meeting with B. Mackay, L. Beischer, R. Backus (AlixPartners) re:              0.6
                                           specific entity payouts
07/06/2023                  BAR            Review updated functionality for uploading QuickBooks research files for              0.8
                                           master summary database for purposes of supporting the financial statement
                                           reconstruction workstream
07/06/2023                  BAR            Search Relativity for statements, confirmations, or verifications of balance on       2.6
                                           exchanges re: Third party exchanges investigation
07/06/2023                  BAR            Update screenshots in user documentation related to Relativity searches for           0.7
                                           master summary database for purposes of supporting the financial statement
                                           reconstruction workstream
07/06/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement             1.9
                                           reconstruction
07/06/2023                  CAS            Review documentation for the petition date general ledger journal entry database      0.3
                                           construction.
07/06/2023                  CX             Update adding record functionality in the master summary database template for        1.6
                                           purposes of supporting the financial statement reconstruction workstream
07/06/2023                  CC             Analyze issues related to intercompany receivable and payable adjusting journal       1.4
                                           entries caused by Alameda Research Ltd depositing fiat on FTX exchanges as a
                                           customer
07/06/2023                  CC             Analyze issues related to intercompany receivable and payable adjusting journal       1.8
                                           entries caused by investment activities
07/06/2023                  CC             Investigate cryptocurrency derivatives held in specific future accounts               1.4
07/06/2023                  CC             Review new cash database records added since June 25, 2023                            0.8
07/06/2023                  CC             Working session with C. Chen, T. Kang (AlixPartners) re: issues related to            0.8
                                           queries for matching exchange data and cash database data for Silvergate bank
                                           accounts
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DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                         HOURS
07/06/2023               CC                Working session with C. Chen, T. Toaso (AlixPartners) re: matching exchange               0.8
                                           data and cash database data for transactions in Silvergate bank accounts
07/06/2023                  CC             Working session with C. Chen, J. Chin (AlixPartners) re: review the convertible           0.3
                                           promissory note agreement between Alameda Ventures Ltd. And specific entity

07/06/2023                  CC             Attend meeting with C. Chen, R. Self (AlixPartners) re: discuss relationship              0.9
                                           between specific Alameda account and specific entity
07/06/2023                  CC             Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,              0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                  DS             Develop workplan to ensure completeness of reconstructed financial statements             1.1
07/06/2023                  DS             Review intercompany analyses in advance of meeting on reconstructed financial             0.8
                                           statements
07/06/2023                  DS             Review workpapers for efforts to reconstruct financial statements related to fixed        1.6
                                           assets
07/06/2023                  DS             Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,             0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                  DS             Working session with C. Wong, D. Schwartz (AlixPartners) re: progress updates             1.0
                                           and follow-ups re: general ledger detailed analysis
07/06/2023                  DS             Working session with C. Wong, D. Schwartz, M. Jacques (AlixPartners) re:                  0.5
                                           progress updates and follow-ups re: general ledger detailed analysis
07/06/2023                  DS             Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,              0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                  DJW            Plan crypto asset data analysis for financial statement reconstruction                    2.8
07/06/2023                  DL             Attend meeting with F. Liang, J. LaBella, K. Wessel, R. Self (AlixPartners) re:           0.8
                                           discuss status and next steps for digital assets categorization/pricing database and
                                           third-party accounts identification approach
07/06/2023                  DL             Research relationship between specific Alameda account and specific entity                1.6
07/06/2023                  DL             Update Alameda silo digital assets workpapers to incorporate additional pricing           2.8
                                           information and update formulas
07/06/2023                  DL             Update Cottonwood Grove Option Grant calculation model                                    2.4
07/06/2023                  DL             Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,             0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                  DL             Working session with F. Liang, R. Self (AlixPartners) re: discuss relationship            0.4
                                           between specific Alameda account and specific entity
07/06/2023                  DL             Build data quality screening scripts for QuickBooks data used in forensic                 0.5
                                           investigation workstreams
07/06/2023                  EB             Prepare Alameda loans working paper documenting loan level assumptions                    2.1
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07/06/2023               EB                Working session with E. Boyle, S. Yao (AlixPartners) re: discussion relating to       0.3
                                           adjusting journal entries for Other Investment Workstream of historical
                                           reconstruction
07/06/2023                  EM             Analyze general ledger data re: BCB bank accounts held by FTX Digital Markets         0.2
                                           Ltd to support banking data requests
07/06/2023                  EM             Analyze Signature bank statement availability to support reconstruction of            0.3
                                           historical cash balances
07/06/2023                  EM             Perform general ledger detail validation for Cottonwood Grove specific general        0.4
                                           ledger account
07/06/2023                  EM             Perform general ledger detail validation for specific FTX Trading Ltd general         0.8
                                           ledger account
07/06/2023                  EM             Continue to perform general ledger detail validation for West Realm Shires            2.4
                                           Services Inc general ledger account 30010 Accounts Payable
07/06/2023                  EM             Perform general ledger detail validation for specific West Realm Shires Services      2.7
                                           Inc general ledger account
07/06/2023                  EM             Working session with E. Mostoff, J. LaBella (AlixPartners), M. Shanahan, J.           0.4
                                           Lee (A&M), F. Weinberg, A. Toobin (S&C), M. Cilia (FTX) re: update on open
                                           requests with banking institutions
07/06/2023                  EM             Working session with E. Mostoff, T. Toaso (AlixPartners) re: process flow for         0.9
                                           Other Liability account group
07/06/2023                  EM             Working session with C. Wong, E. Mostoff (AlixPartners) re: general ledger            0.4
                                           detail validation of West Realm Shires Services Inc accounts payable
07/06/2023                  EM             Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,          0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                  GG             Analyze Ether coin data from the OTC portal database user balances                    2.1
07/06/2023                  GG             Attend meeting with B. Mackay, G. Gopalakrishnan (AlixPartners) re: updated           0.2
                                           customer balances, OTC Portal
07/06/2023                  GG             Create a sample fills dataset using the OTC portal database                           2.9
07/06/2023                  GG             Create a sample dataset using the OTC portal database for Ether coin user             2.9
                                           balances
07/06/2023                  JC             Review QuickBooks information related to specific investment                          0.8
07/06/2023                  JC             Search Relativity for cash payment information in Relativity around specific          1.8
                                           investment
07/06/2023                  JC             Search Relativity for cash payment information related to specific investment         1.4

07/06/2023                  JC             Search Relativity for QuickBooks information around the convertible promissory        0.9
                                           note related to specific investment
07/06/2023                  JC             Search Relativity for QuickBooks information around specific investment               0.6

07/06/2023                  JC             Search Relativity for cash payment information in Relativity around the               2.3
                                           convertible promissory note related to specific investment
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DATE                PROFESSIONAL                                 DESCRIPTION OF SERVICES                                          HOURS
07/06/2023               JC                Working session with C. Chen, J. Chin (AlixPartners) re: review the convertible           0.3
                                           promissory note agreement between Alameda Ventures Ltd. And specific entity

07/06/2023                  JC             Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,              0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                   JX            Review comments and rationale of Alameda loan term assumptions for loans                  2.3
                                           without maturity dates
07/06/2023                   JX            Verify open dates and maturity dates of Alameda loan contracts                            0.7
07/06/2023                  JCL            Review digital asset workpapers re: carrying of NFT's                                     0.8
07/06/2023                  JCL            Attend meeting with F. Liang, J. LaBella, K. Wessel, R. Self (AlixPartners) re:           0.8
                                           discuss status and next steps for digital assets categorization/pricing database and
                                           third-party accounts identification approach
07/06/2023                  JCL            Review completion timeline of open items by workstream                                    0.6
07/06/2023                  JCL            Review mapping of non-QuickBooks entities through model to produce stand                  1.4
                                           alone financial statements at legal entity levels
07/06/2023                  JCL            Review status of non-QuickBooks entities for support of balances                          0.7
07/06/2023                  JCL            Review workpaper files and supporting schedules for purposes of streamlining              0.5
                                           analysis by major account class
07/06/2023                  JCL            Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,             0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                  JCL            Working session with E. Mostoff, J. LaBella (AlixPartners), M. Shanahan, J.               0.4
                                           Lee (A&M), F. Weinberg, A. Toobin (S&C), M. Cilia (FTX) re: update on open
                                           requests with banking institutions
07/06/2023                  JCL            Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,              0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                  KV             Perform unstructured searches                                                             0.8
07/06/2023                  KV             Perform unstructured searches                                                             1.2
07/06/2023                  KV             Perform unstructured searches                                                             0.7
07/06/2023                  KV             Perform unstructured searches                                                             0.6
07/06/2023                  KV             Perform unstructured searches                                                             2.2
07/06/2023                  KV             Perform unstructured searches                                                             0.9
07/06/2023                  KV             Perform unstructured searches                                                             1.3
07/06/2023                  KV             Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,              0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/06/2023              KHW                Attend meeting with F. Liang, J. LaBella, K. Wessel, R. Self (AlixPartners) re:           0.8
                                           discuss status and next steps for digital assets categorization/pricing database and
                                           third-party accounts identification approach
07/06/2023                 KHW             Review AlixPartners investigative observations re: identification of relevant             1.8
                                           items impacting balance sheet adjustments
07/06/2023                 KHW             Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,             0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                 KHW             Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,              0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                  LB             Review FTT on-chain transaction data                                                      0.6
07/06/2023                  LB             Update script to extract cryptocurrency transaction data                                  0.5
07/06/2023                  LB             Update Solana data extract process to remove blank account files                          2.0
07/06/2023                  LB             Review master cryptocurrency wallet address list                                          0.4
07/06/2023                  LB             Review master address list in relation to specific entity master address list             0.7
07/06/2023                  LB             Update transaction pull script                                                            0.8
07/06/2023                  LB             Attend meeting with B. Mackay, L. Beischer, R. Backus (AlixPartners) re:                  0.6
                                           specific entity payouts
07/06/2023                  MJ             Review summary schedules for expenses allocations related to inter-company                1.2
                                           balances for stock compensation, sponsorships and other expenses
07/06/2023                  MJ             Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,             0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                  MJ             Working session with C. Wong, D. Schwartz, M. Jacques (AlixPartners) re:                  0.5
                                           progress updates and follow-ups re: general ledger detailed analysis
07/06/2023                  QB             Call with C. Wong, O. Braat (AlixPartners) re: investigating investments into             0.4
                                           Digital Assets for general ledger detail validation/purposes of verifying
                                           intercompany and related party balances
07/06/2023                  QB             Find investments into digital assets made on exchange                                     0.5
07/06/2023                  QB             Organize investigation of investments into digital assets                                 1.5
07/06/2023                  RS             Attend meeting with F. Liang, J. LaBella, K. Wessel, R. Self (AlixPartners) re:           0.8
                                           discuss status and next steps for digital assets categorization/pricing database and
                                           third-party accounts identification approach
07/06/2023                   RS            Search Relativity to determine the exchange account name 'bittrex' and                    1.7
                                           'bittrexloc'
07/06/2023                   RS            Search Relativity to determine the exchange account name 'cme'                            1.6
07/06/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX                1.3
                                           accountant adjusting journal entry'
07/06/2023                   RS            Attend meeting with C. Chen, R. Self (AlixPartners) re: discuss relationship              0.9
                                           between specific Alameda account and specific entity
07/06/2023                   RS            Working session with F. Liang, R. Self (AlixPartners) re: discuss relationship            0.4
                                           between specific Alameda account and specific entity
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07/06/2023               RS                Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,           0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                  RB             Analyze Chainalysis graph of Alameda Research for large FTT transfers                  0.6
07/06/2023                  RB             Attend meeting with B. Mackay, L. Beischer, R. Backus (AlixPartners) re:               0.6
                                           specific entity payouts
07/06/2023                 SYW             Call with C. Wong, O. Braat (AlixPartners) re: investigating investments into          0.4
                                           Digital Assets for general ledger detail validation/purposes of verifying
                                           intercompany and related party balances
07/06/2023                 SYW             Perform general ledger detailed validation to prepare leadsheet adjusting journal      0.8
                                           entry for specific account
07/06/2023                 SYW             Perform general ledger detailed validation to prepare leadsheet adjusting journal      0.8
                                           entry for specific account
07/06/2023                 SYW             Perform general ledger detailed validation to prepare leadsheet adjusting journal      0.8
                                           entry for specific account

07/06/2023                 SYW             Perform general ledger detailed validation for specific account                        0.5

07/06/2023                 SYW             Perform general ledger detailed validation for specific account                        0.5

07/06/2023                 SYW             Perform general ledger detailed validation for specific account                        0.4

07/06/2023                 SYW             Perform general ledger detailed validation for specific account                        0.3

07/06/2023                 SYW             Update process and procedures excel file re: intercompany and related party            2.0
                                           workstream
07/06/2023                 SYW             Working session with C. Wong, D. Schwartz (AlixPartners) re: progress updates          1.0
                                           and follow-ups re: general ledger detailed analysis
07/06/2023                 SYW             Working session with C. Wong, D. Schwartz, M. Jacques (AlixPartners) re:               0.5
                                           progress updates and follow-ups re: general ledger detailed analysis
07/06/2023                 SYW             Working session with C. Wong, E. Mostoff (AlixPartners) re: general ledger             0.4
                                           detail validation of West Realm Shires Services Inc accounts payable
07/06/2023                   SK            Working session with C. Chen, T. Kang (AlixPartners) re: issues related to             0.8
                                           queries for matching exchange data and cash database data for Silvergate bank
                                           accounts
07/06/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Alameda        0.9
                                           Other Investments workstream for specific entity
07/06/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Alameda        0.9
                                           Other Investments workstream for specific entity
07/06/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Alameda        1.0
                                           Other Investments workstream for specific entity
07/06/2023                   SZ            Reconcile the FTX investment trackers for specific entities                            1.8
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07/06/2023               SZ                Reconcile the FTX investment trackers for specific entities                           1.9

07/06/2023                  SYY            Perform cash payment verification relating to Alameda Other Investments               0.9
                                           workstream for two specific entities
07/06/2023                  SYY            Reconcile the FTX investment trackers relating to Alameda Other Investments           1.5
                                           workstream with QuickBooks records, bank data and investment agreements for
                                           five specific entities

07/06/2023                  SYY            Search Relativity re: FTX investment trackers for Alameda Other Investments           2.9
                                           workstream for eight specific entities



07/06/2023                  SYY            Search for investment agreements relating to Alameda Other Investments                1.2
                                           workstream for two specific entities

07/06/2023                  SYY            Working session with E. Boyle, S. Yao (AlixPartners) re: discussion relating to       0.3
                                           adjusting journal entries for Other Investment Workstream of historical
                                           reconstruction
07/06/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: review FTX Trading's           0.6
                                           issuance of equity shares in exchange for FTT tokens re. the investment in
                                           subsidiaries workstream
07/06/2023                  TJH            Review documentation for QuickBooks petition date recreation                          0.3
07/06/2023                  TT             Review updated version of chart of accounts for historical financial statement        0.7
                                           reconstruction
07/06/2023                   TT            Review supporting documentation for reconstruction of financial statements            1.2
                                           related to other liabilities accounts
07/06/2023                   TT            Working session with C. Chen, T. Toaso (AlixPartners) re: matching exchange           0.8
                                           data and cash database data for transactions in Silvergate bank accounts
07/06/2023                   TT            Working session with E. Mostoff, T. Toaso (AlixPartners) re: process flow for         0.9
                                           Other Liability account group
07/06/2023                   TT            Working session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J. LaBella,          0.5
                                           K. Vasiliou, K. Wessel, R. Self, T. Toaso, J. Chin (AlixPartners) re: discussion
                                           on updates to the processes and procedures excel file, additional follow-ups to
                                           FTX Accountant, and review of special investigations findings that may impact
                                           financial statement reconstruction
07/06/2023                   TP            Working session with B. Mackay, D. Schwartz, F. Liang, J. LaBella, K. Wessel,         0.8
                                           M. Jacques, T. Phelan (AlixPartners) re: discuss status on the recreation of
                                           debtors' historical digital assets balances
07/06/2023                  XS             Review group structure charts prepared by FTX in 2021 and 2022 to reconcile           0.8
                                           with investment accounts in review periods re: investment in subsidiaries
07/06/2023                  XS             Review resolutions of Board of Directors and shareholders on Relativity for FTX       1.8
                                           Trading re: investment in subsidiaries
07/06/2023                  XS             Search for documents of equity issuance by FTX Trading on Relativity re:              1.8
                                           investment in subsidiaries
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07/06/2023               XS                Working session with T. Shen, X. Su (AlixPartners) re: review FTX Trading's            0.6
                                           issuance of equity shares in exchange for FTT tokens re. the investment in
                                           subsidiaries workstream
07/07/2023                 BFM             Prepare for working session re: specific entity FTT payout                             0.6
07/07/2023                 BFM             Working session with B. Mackay, C. Wong, D. Schwartz, J. LaBella, M. Cervi,            1.0
                                           J. Chin (AlixPartners) re: review the exchange data related to FTT transfers to
                                           specific entity shareholders related tR VSHFLILF acquisition
07/07/2023                  BAR            Search Relativity for discussions and emails related to information on assets          2.4
                                           balances and holdings on exchanges re: Third party exchanges investigation
07/07/2023                  BAR            Record any error messages from testing workflow for master summary database            1.8
                                           for purposes of supporting the financial statement reconstruction workstream
07/07/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement              2.3
                                           reconstruction
07/07/2023                  CAS            Review documentation for the petition date general ledger journal entry database       0.2
                                           construction
07/07/2023                  CX             Run Macro and VBA to test updated text boxes in the master summary database            2.1
                                           template for purposes of supporting the financial statement reconstruction
                                           workstream
07/07/2023                  CC             Analyze issues related to intercompany receivable and payable adjusting journal        2.1
                                           entries caused by commingling of cash
07/07/2023                  CC             Analyze matches between exchange and cash database for cash activities in              2.7
                                           Silvergate bank accounts
07/07/2023                  CC             Review Silvergate bank accounts' records in cash database to identify OCR              1.2
                                           errors
07/07/2023                  CC             Working session with C. Chen, T. Kang, T. Toaso (AlixPartners) re: review              1.3
                                           queries for matching exchange data and cash database data for Silvergate bank
                                           accounts
07/07/2023                  DS             Working session with D. Schwartz, F. Liang, K. Wessel, T. Phelan                       0.7
                                           (AlixPartners) re: discuss status on Solana wallets transactions download for
                                           debtor entities and timing on preparing quarterly balances
07/07/2023                  DS             Working session with D. Schwartz, J. LaBella, M. Cervi, J. Chin (AlixPartners)         0.8
                                           re: current status and additional information from Europe entities and next steps
                                           for the non-QuickBooks workstream
07/07/2023                  DS             Working session with B. Mackay, C. Wong, D. Schwartz, J. LaBella, M. Cervi,            1.0
                                           J. Chin (AlixPartners) re: review the exchange data related to FTT transfers to
                                           specific entity shareholders related to VSHFLILF acquisition
07/07/2023                  DL             Check Solana wallets population for Alameda silo                                       1.8
07/07/2023                  DL             Prepare summaries re: Solana wallets balances in advance of call                       1.0

07/07/2023                  DL             Update Cottonwood Grove Option Grant calculation model                                 2.9
07/07/2023                  DL             Working session with D. Schwartz, F. Liang, K. Wessel, T. Phelan                       0.7
                                           (AlixPartners) re: discuss status on Solana wallets transactions download for
                                           debtor entities and timing on preparing quarterly balances
07/07/2023                  DL             Working session with E. Mostoff, F. Liang, T. Toaso (AlixPartners) re: approach        0.7
                                           for Cottonwood Grove tokenized options liability valuation
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07/07/2023               DL                Working session with F. Liang, L. Beischer (AlixPartners) re: discuss status on        0.9
                                           Solana wallets transactions download for debtor entities
07/07/2023                  EB             Meeting with E. Boyle, J. Xu, T. Shen (AlixPartners) re: to discuss workplan for       0.3
                                           financial statement reconstruction workstreams
07/07/2023                  EB             Working session with E. Boyle, J. Xu, K. Wessel (AlixPartners) re: review              1.3
                                           working paper and documentation of methodology for Alameda loan payable and
                                           collateral balances
07/07/2023                  EM             Analyze non-QuickBooks general ledger cash accounts to determine percentage            0.4
                                           that can be mapped to a bank account
07/07/2023                  EM             Analyze supporting schedules re: recalculation of tokenized employee stock             0.4
                                           option liability
07/07/2023                  EM             Perform general ledger detail validation for FTX Trading specific account              0.9
07/07/2023                  EM             Perform general ledger detail validation for FTX Trading specific account              2.9

07/07/2023                  EM             Continue to perform general ledger detail validation for FTX Trading                   1.2
                                           Acquisition Consideration Payable
07/07/2023                  EM             Working session with E. Mostoff, F. Liang, T. Toaso (AlixPartners) re: approach        0.7
                                           for Cottonwood Grove tokenized options liability valuation
07/07/2023                  GG             Analyze the data in the OTC portal database for a specific set of users                2.9
07/07/2023                  GG             Analyze pointer data for quarter-end balances                                          2.9
07/07/2023                  GG             Create a script to compare OTC portal data to a specific set of pointer data           2.9
07/07/2023                  GG             Working session with L. Morrison, G. Gopalakrishnan (AlixPartners) re:                 0.3
                                           comparing OTC portal data to pointer data
07/07/2023                  JC             Working session with D. Schwartz, J. LaBella, M. Cervi, J. Chin (AlixPartners)         0.8
                                           re: current status and additional information from Europe entities and next steps
                                           for the non-QuickBooks workstream
07/07/2023                  JC             Working session with B. Mackay, C. Wong, D. Schwartz, J. LaBella, M. Cervi,            1.0
                                           J. Chin (AlixPartners) re: review the exchange data related to FTT transfers to
                                           specific entity shareholders related to VSHFLILF acquisition
07/07/2023                  JC             Review latest Q3 2022 consolidated financial information for specific entity           2.6
07/07/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: continue review of           1.1
                                           new financial data from specific entities and potential effects on the adjusted
                                           balance sheet.
07/07/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: review new financial         2.7
                                           data from specific entities and potential effects on the adjusted balance sheet

07/07/2023                   JX            Meeting with E. Boyle, J. Xu, T. Shen (AlixPartners) re: to discuss workplan for       0.3
                                           financial statement reconstruction workstreams
07/07/2023                   JX            Consolidate Alameda collateral calculation into the master file                        1.7
07/07/2023                   JX            Working session with E. Boyle, J. Xu, K. Wessel (AlixPartners) re: review              1.3
                                           working paper and documentation of methodology for Alameda loan payable and
                                           collateral balances
07/07/2023                  JCL            Review current balance sheet at silo and consolidated level to identify potential      0.8
                                           accounts and legal entities requiring eliminations
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07/07/2023               JCL               Review intercompany workpapers related to non-cash transactions for purposes           1.4
                                           of evaluating scope of coverage and level of transactional support documentation
07/07/2023                  JCL            Review workpapers related to intercompany cash transactions for purposes of            1.1
                                           evaluating scope of coverage and methodology for identifying pairing between
                                           entities
07/07/2023                  JCL            Working session with D. Schwartz, J. LaBella, M. Cervi, J. Chin (AlixPartners)         0.8
                                           re: current status and additional information from Europe entities and next steps
                                           for the non-QuickBooks workstream
07/07/2023                  JCL            Working session with B. Mackay, C. Wong, D. Schwartz, J. LaBella, M. Cervi,            1.0
                                           J. Chin (AlixPartners) re: review the exchange data related to FTT transfers to
                                           specific entity shareholders related to VSHFLILF acquisition
07/07/2023                  KV             Create workstream processes and procedures sheet for 23010 account                     1.3
07/07/2023                  KV             Investigate particular loan receivable                                                 1.8
07/07/2023                  KV             Prepare adjusting journal entry for specific loan receivable based on promissory       1.9
                                           note identified as part of unstructured searches
07/07/2023                  KV             Update the workstream processes and procedures sheet for the loans receivable          1.9
                                           workstream
07/07/2023                 KHW             Review updated working files supporting adjusting journal entries for Alameda          1.6
                                           Research Ltd third party loan balances
07/07/2023                 KHW             Working session with D. Schwartz, F. Liang, K. Wessel, T. Phelan                       0.7
                                           (AlixPartners) re: discuss status on Solana wallets transactions download for
                                           debtor entities and timing on preparing quarterly balances
07/07/2023                 KHW             Working session with E. Boyle, J. Xu, K. Wessel (AlixPartners) re: review              1.3
                                           working paper and documentation of methodology for Alameda loan payable and
                                           collateral balances
07/07/2023                  LIM            Working session with L. Morrison, G. Gopalakrishnan (AlixPartners) re:                 0.3
                                           comparing OTC portal data to pointer data
07/07/2023                   LB            Extract large on-chain FTT transactions for FTT transfer tracing exercise              2.2
07/07/2023                   LB            Reconcile Solana accounts between FTX.us and FTX.com exchanges                         1.4
07/07/2023                   LB            Update Solana Alameda address pull                                                     1.1
07/07/2023                   LB            Review Solana parquet account data issues                                              1.7
07/07/2023                   LB            Working session with F. Liang, L. Beischer (AlixPartners) re: discuss status on        0.9
                                           Solana wallets transactions download for debtor entities
07/07/2023                  MC             Review data related to specific entity shareholder FTT movement from FTX               0.5
                                           Trading Ltd
07/07/2023                  MC             Review latest balance sheet information provided for FTX Certificates                  0.2
07/07/2023                  MC             Review latest balance sheet information provided for FTX Crypto Services               0.3
07/07/2023                  MC             Review latest balance sheet information provided for FTX Derivatives GmbH              0.2
07/07/2023                  MC             Review latest balance sheet information provided for FTX EMEA                          0.2
07/07/2023                  MC             Review latest balance sheet information provided for FTX General Partners              0.3
07/07/2023                  MC             Review latest balance sheet information provided for FTX Trading GmbH                  0.5
07/07/2023                  MC             Review latest information provided for specific investment                             0.2
07/07/2023                  MC             Update workstream tracker for balance sheet reconstruction                             0.3
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/07/2023               MC                Working session with D. Schwartz, J. LaBella, M. Cervi, J. Chin (AlixPartners)         0.8
                                           re: current status and additional information from Europe entities and next steps
                                           for the non-QuickBooks workstream
07/07/2023                  MC             Working session with B. Mackay, C. Wong, D. Schwartz, J. LaBella, M. Cervi,            1.0
                                           J. Chin (AlixPartners) re: review the exchange data related to FTT transfers to
                                           specific entity shareholders related to VSHFLILF acquisition
07/07/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: continue review of           1.1
                                           new financial data from specific entities and potential effects on the adjusted
                                           balance sheet.
07/07/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: review new financial         2.7
                                           data from specific entities and potential effects on the adjusted balance sheet

07/07/2023                  QB             Create new list of investments into digital assets for investigation                   1.5
07/07/2023                  QB             Find investments into digital assets made on exchange                                  1.1
07/07/2023                  RS             Analyze private balance sheet data and other interested party coin report              1.2
07/07/2023                  RS             Investigate general ledger detailed validation entries categorized as 'FTX             1.6
                                           accountant adjusting journal entry'
07/07/2023                   RS            Working session with C. Wong, R. Self (AlixPartners) re: status and next steps         0.4
                                           for investigation of general ledger detailed validation entries categorized as
                                           'reclass'
07/07/2023                  RS             Analyze private balance sheet data and specific entity bank account statements         1.8
07/07/2023                  RS             Search Relativity for specific exchange account and specific entity                    2.0
07/07/2023                 SYW             Ensure proposed adjusting journal entries for general ledger detailed validation       1.2
                                           roll over from quarter to quarter
07/07/2023                 SYW             Review proposed adjusting journal entries and leadsheets for completed general         2.5
                                           ledger accounts re: general ledger detailed validation
07/07/2023                 SYW             Working session with C. Wong, R. Self (AlixPartners) re: status and next steps         0.4
                                           for investigation of general ledger detailed validation entries categorized as
                                           'reclass'
07/07/2023                 SYW             Working session with B. Mackay, C. Wong, D. Schwartz, J. LaBella, M. Cervi,            1.0
                                           J. Chin (AlixPartners) re: review the exchange data related to FTT transfers to
                                           specific entity shareholders related to VSHFLILF acquisition
07/07/2023                   SK            Working session with C. Chen, T. Kang, T. Toaso (AlixPartners) re: review              1.3
                                           queries for matching exchange data and cash database data for Silvergate bank
                                           accounts
07/07/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Alameda        1.2
                                           Other Investments workstream for specific entity
07/07/2023                   SZ            Continue preparing adjusting journal entries with supports and reasons relating        1.2
                                           to Alameda Other Investments workstream for specific entity
07/07/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Alameda        1.5
                                           Other Investments workstream for specific entity
07/07/2023                   SZ            Reconcile the FTX investment trackers for specific entity                              0.7
07/07/2023                   SZ            Search QuickBooks database for entries relating to Alameda Other Investments           0.7
                                           workstream for specific entities
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/07/2023               SZ                Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to        0.6
                                           adjusting journal entries for Other Investment Workstream of historical
                                           reconstruction in terms of QuickBooks identification and records
07/07/2023                  SYY            Search for investment agreements relating to Alameda Other Investments                0.7
                                           workstream for two specific entities

07/07/2023                  SYY            Search Relativity re: FTX investment trackers for fifteen specific entities           2.9




07/07/2023                  SYY            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to        0.6
                                           adjusting journal entries for Other Investment Workstream of historical
                                           reconstruction in terms of QuickBooks identification and records
07/07/2023                   TS            Meeting with E. Boyle, J. Xu, T. Shen (AlixPartners) re: to discuss workplan for      0.3
                                           financial statement reconstruction workstreams
07/07/2023                  TJH            Review analysis of the Alameda database reconciliation to pointer data through        0.6
                                           time by exchange
07/07/2023                   TT            Review cash transaction activity between exchange and other FTX entities to           1.1
                                           support intercompany cash analysis
07/07/2023                   TT            Working session with C. Chen, T. Kang, T. Toaso (AlixPartners) re: review             1.3
                                           queries for matching exchange data and cash database data for Silvergate bank
                                           accounts
07/07/2023                   TT            Working session with E. Mostoff, F. Liang, T. Toaso (AlixPartners) re: approach       0.7
                                           for Cottonwood Grove tokenized options liability valuation
07/07/2023                   TP            Working session with D. Schwartz, F. Liang, K. Wessel, T. Phelan                      0.7
                                           (AlixPartners) re: discuss status on Solana wallets transactions download for
                                           debtor entities and timing on preparing quarterly balances
07/07/2023                  XS             Analyze journal entries of specific accounts booked by Cottonwood re:                 1.6
                                           investment in subsidiaries specific entity
07/07/2023                  XS             Analyze journal entries of specific accounts booked by Cottonwood re:                 1.4
                                           investment in subsidiaries specific entity
07/07/2023                  XS             Analyze journal entries of accounts booked by Cottonwood re: investment in            1.5
                                           subsidiaries specific entity
07/07/2023                  XS             Research on chain transactions re: investment in subsidiaries                         0.8
07/07/2023                  XS             Review equity accounts booked by FTX Trading in review periods re: investment         1.5
                                           in subsidiaries
07/07/2023                  XS             Search for documents related to unlocked cryptocurrencies on Relativity re:           1.3
                                           investment in subsidiaries
07/08/2023                  DS             Prepare agendas for team working sessions on financial statement reconstruction       1.2
07/08/2023                  DL             Prepare option pricing model re: Cottonwood Grove option grants                       2.6
07/08/2023                  EB             Prepare workplan for transaction tracing for validation of payment of Alameda         0.3
                                           loan balances
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/08/2023               EB                Update Alameda loan analysis for loan from company employee                            0.2
07/08/2023               EM                Analyze non-QuickBooks general ledger accounts for indications of bank                 0.7
                                           accounts not reflected in adjusted balance sheet
07/08/2023                  EM             Analyze cash database transactions re: Nuvei bank against source documentation         0.7
                                           produced by specific entity to support reconstruction of historical cash balances
                                           for FTX Digital Markets Ltd
07/09/2023                  CC             Update leadsheet with proposed adjustments re: specific entity's Related Party         1.1
                                           Receivable with North Dimension Inc
07/09/2023                  DS             Update workstream tracker for outstanding items related to financial statement         0.5
                                           reconstruction
07/09/2023                  EM             Analyze correspondence from specific entity re: Alameda Research Ltd balance           0.3
                                           confirmation against balances recalculated using transactional activity
07/09/2023                  EM             Analyze correspondence from specific entity re: FTX Trading Ltd balance                0.5
                                           confirmation against balances recalculated using transactional activity
07/09/2023                  EM             Analyze correspondence from specific entity re: West Realm Shires Services Inc         0.6
                                           balance confirmation against balances recalculated using transactional activity
07/09/2023                  EM             Update cash workstream procedures and process documentation with additional            0.5
                                           commentary re: in-scope general ledger accounts
07/09/2023                  EM             Update cash workstream procedures and process documentation with additional            0.6
                                           commentary re: validation of completeness of adjusted cash balances
07/09/2023                  JCL            Update agenda for meetings with the financial reconstruction team for the week         0.7
07/09/2023                  JCL            Review current balance sheet at silo and consolidated level to identify potential      0.8
                                           accounts and legal entities requiring eliminations
07/10/2023                  AS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: strategy for end               0.3
                                           deliverable for the financial statement reconstruction workstream
07/10/2023                  AS             Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: updated            0.2
                                           budget based on the financial statement reconstruction workstreams
07/10/2023                  AS             Meeting with A. Searles, D. Schwartz, J. LaBella, M. Jacques (AlixPartners) re:        0.5
                                           preparing for financial statement reconstruction update as part of the weekly
                                           update call with counsel
07/10/2023                  AC             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  AV             Working session with A. Vanderkamp, C. Chen, D. Schwartz, M. Birtwell                  0.5
                                           (AlixPartners) re: loan receivable related to transfers from Alameda Research Ltd
                                           to specific entity
07/10/2023                 BFM             Search Relativity re: specific entity                                                  0.9
07/10/2023                 BFM             Review exchange activity re: specific entity                                           0.7
07/10/2023                 BFM             Review exchange activity re: specific entity collateral                                1.5
07/10/2023                 BFM             Review exchange activity re: specific entity                                           0.2
07/10/2023                 BFM             Review exchange activity re: specific entity                                           0.6
07/10/2023                 BAR             Attend call with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to             0.4
                                           review updates for next version of database for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/10/2023               BAR               Search Relativity for communications related to assets balances and holdings on        1.8
                                           exchanges re: Third party exchanges investigation
07/10/2023                 BAR             Review issues on multi-entity and key person select functionality for master           0.7
                                           summary database for purposes of supporting the financial statement
                                           reconstruction workstream
07/10/2023                  BAR            Update user documentation for master summary database for purposes of                  1.2
                                           supporting the financial statement reconstruction workstream
07/10/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement              0.4
                                           reconstruction
07/10/2023                  CAS            Review documentation for the petition date general ledger journal entry database       0.4
                                           construction
07/10/2023                  CX             Attend call with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to             0.4
                                           review updates for next version of database for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/10/2023                  CX             Implement process for updating summary data in the master summary database             0.6
                                           for purposes of supporting the financial statement reconstruction workstream
07/10/2023                  CX             Identify the transactions inserted into master summary database from Access for        1.6
                                           purposes of supporting the financial statement reconstruction workstream
07/10/2023                  CX             Update data syncing functionality in the master summary database template for          1.3
                                           purposes of supporting the financial statement reconstruction workstream
07/10/2023                  CC             Analyze FTX.com exchange activities to identify debtors' exchange accounts             1.8
07/10/2023                  CC             Review cash transfers from Alameda Research Ltd to specific entity                     0.9

07/10/2023                  CC             Review errors in exchange bank records table related to Alameda Research Ltd's         1.6
                                           exchange fiat deposits and withdrawals
07/10/2023                  CC             Summarize the procedures for matching exchange fiat deposits and withdrawal            1.9
                                           activities against cash database for Silvergate and SEN bank accounts
07/10/2023                  CC             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  CC             Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re: review        1.0
                                           intercompany cash transfer transactions that are matching exchange deposits or
                                           withdrawals
07/10/2023                  CC             Working session with C. Chen, T. Kang (AlixPartners) re: review queries for            0.6
                                           matching cash transfer transactions against exchange deposits or withdrawals
07/10/2023                  CC             Working session with A. Vanderkamp, C. Chen, D. Schwartz, M. Birtwell                  0.5
                                           (AlixPartners) re: loan receivable related to transfers from Alameda Research Ltd
                                           to specific entity
07/10/2023                  DS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: strategy for end               0.3
                                           deliverable for the financial statement reconstruction workstream
07/10/2023                  DS             Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: updated            0.2
                                           budget based on the financial statement reconstruction workstreams
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/10/2023               DS                Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  DS             Working session with D. Schwartz, E. Mostoff, J. LaBella (AlixPartners) re:            0.9
                                           categorization of adjustments to historical cash balances
07/10/2023                  DS             Working session with D. Schwartz, E. Mostoff, J. LaBella, T. Toaso                     0.9
                                           (AlixPartners) re: processes and procedures for reconstruction of historical cash
                                           balances
07/10/2023                  DS             Working session with D. Schwartz, E. Mostoff, T. Toaso (AlixPartners) re:              0.8
                                           accounting for contingent consideration re: specific entity acquisition
07/10/2023                  DS             Working session with A. Vanderkamp, C. Chen, D. Schwartz, M. Birtwell                  0.5
                                           (AlixPartners) re: loan receivable related to transfers from Alameda Research Ltd
                                           to specific entity
07/10/2023                  DS             Meeting with A. Searles, D. Schwartz, J. LaBella, M. Jacques (AlixPartners) re:        0.5
                                           preparing for financial statement reconstruction update as part of the weekly
                                           update call with counsel
07/10/2023                  DJW            Plan forensic investigations of crypto assets and investments for financial            2.1
                                           balance reconstruction
07/10/2023                  DL             Update Cottonwood Grove Option Grant calculation model                                 2.1
07/10/2023                  DL             Update digital assets workpapers to address comments re: process and                   2.2
                                           procedures
07/10/2023                  DL             Update digital assets workpapers to incorporate latest pricing information             2.8
07/10/2023                  DL             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  DL             Working session with F. Liang, K. Vasiliou (AlixPartners) re: run through of the       0.3
                                           Alameda Transfer Adjustments spreadsheets
07/10/2023                  DL             Working session with F. Liang, R. Self (AlixPartners) re: digital assets third-        0.9
                                           party exchange process and procedures
07/10/2023                  DL             Working session with F. Liang, R. Self (AlixPartners) re: status and next steps        0.5
                                           for digital assets workpapers for Alameda, Dotcom, and WRS
07/10/2023                  EB             Working session with E. Boyle, J. LaBella, J. Xu, K. Wessel, T. Shen                   0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in specific entity workstreams
07/10/2023                  EB             Working session with E. Boyle, J. Xu (AlixPartners) re: workplan for                   0.8
                                           completeness checks on third party loans workstream balances
07/10/2023                  EM             Analyze general ledger data re: specific general ledger account to reconstruct         0.6
                                           historical cash balances of specific entity
07/10/2023                  EM             Analyze non-QuickBooks general ledger data re: historical cash balances to             0.6
                                           identify bank accounts for further analysis
07/10/2023                  EM             Perform Relativity search for data re: FTX Trading Ltd Signet account                  0.6
07/10/2023                  EM             Working session with D. Schwartz, E. Mostoff, J. LaBella (AlixPartners) re:            0.9
                                           categorization of adjustments to historical cash balances
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07/10/2023               EM                Working session with D. Schwartz, E. Mostoff, J. LaBella, T. Toaso                     0.9
                                           (AlixPartners) re: processes and procedures for reconstruction of historical cash
                                           balances
07/10/2023                  EM             Working session with D. Schwartz, E. Mostoff, T. Toaso (AlixPartners) re:              0.8
                                           accounting for contingent consideration re: specific entity acquisition
07/10/2023                  EM             Working session with E. Mostoff, J. LaBella, K. Wessel (AlixPartners) re: flow         0.3
                                           of funds into FTX Trading Ltd specific account
07/10/2023                  EM             Working session with E. Mostoff, M. Cervi (AlixPartners) re: FTX Trading Ltd           0.3
                                           acquisition consideration liability for specific acquisition
07/10/2023                  GG             Analyze OTC portal quarter-end coin size data for a specific set of coins              2.9
07/10/2023                  GG             Analyze pointer data for the quarter-end balances                                      2.4
07/10/2023                  GS             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  JC             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: review Non-                  1.1
                                           QuickBooks journal entries input into the Adjusted Balance Sheet from the latest
                                           specific entity Q3 2022 financial data inputs
07/10/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on impact         0.8
                                           of new exchange data for FTT transactions to specific entity shareholders on
                                           drafted Adjusted journal entries
07/10/2023                  JC             Continue update of existing specific entity Non-QuickBooks entries within the          1.8
                                           adjusted balance sheet with new data
07/10/2023                  JC             Update the existing specific entity Non-QuickBooks entries within the adjusted         2.7
                                           balance sheet with new data
07/10/2023                  JRB            Attend call with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to             0.4
                                           review updates for next version of database for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/10/2023                  JRB            Update staging audit tables using the master summary database for purposes of          1.6
                                           supporting the financial statement reconstruction workstream
07/10/2023                   JX            Define searches in Relativity for non-Alameda loans                                    1.0
07/10/2023                   JX            Reconcile changes made to Alameda loan collateral details                              1.0
07/10/2023                   JX            Reconcile changes made to Alameda loan details                                         2.2
07/10/2023                   JX            Search for loan transactions in a blockchain explorer to verify the actual             0.9
                                           occurrence of loans
07/10/2023                   JX            Update loan collaterals calculation                                                    2.5
07/10/2023                   JX            Working session with E. Boyle, J. LaBella, J. Xu, K. Wessel, T. Shen                   0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in specific entity workstreams
07/10/2023                   JX            Working session with E. Boyle, J. Xu (AlixPartners) re: workplan for                   0.8
                                           completeness checks on third party loans workstream balances
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/10/2023               JX                Working session with J. Xu, S. Yao (AlixPartners) re: search for loan                  0.4
                                           transactions in a block chain explorer
07/10/2023                  JCL            Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: updated            0.2
                                           budget based on the financial statement reconstruction workstreams
07/10/2023                  JCL            Review methodology and analysis supporting cash transactions between legal             1.3
                                           entities giving rise to intercompany balances
07/10/2023                  JCL            Review schedule of other investments to identify level of review for transactions      1.1
                                           completed and remaining open items
07/10/2023                  JCL            Review schedules supporting historical cash balances and adjustments recorded          0.6
                                           to date
07/10/2023                  JCL            Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  JCL            Working session with D. Schwartz, E. Mostoff, J. LaBella (AlixPartners) re:            0.9
                                           categorization of adjustments to historical cash balances
07/10/2023                  JCL            Working session with D. Schwartz, E. Mostoff, J. LaBella, T. Toaso                     0.9
                                           (AlixPartners) re: processes and procedures for reconstruction of historical cash
                                           balances
07/10/2023                  JCL            Working session with E. Boyle, J. LaBella, J. Xu, K. Wessel, T. Shen                   0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in specific entity workstreams
07/10/2023                  JCL            Working session with E. Mostoff, J. LaBella, K. Wessel (AlixPartners) re: flow         0.3
                                           of funds into FTX Trading Ltd specific account
07/10/2023                  JCL            Meeting with A. Searles, D. Schwartz, J. LaBella, M. Jacques (AlixPartners) re:        0.5
                                           preparing for financial statement reconstruction update as part of the weekly
                                           update call with counsel
07/10/2023                  JLS            Prepare agenda in advance of call re: finalization of investment in subsidiary         0.4
                                           balances
07/10/2023                  JLS            Prepare schematic of value flows to verify investment in subsidiary balance for        0.8
                                           FTX Trading Ltd
07/10/2023                  JLS            Prepare SQL queries to verify investment in subsidiary balance for FTX Trading         1.4
                                           Ltd
07/10/2023                  JLS            Prepare SQL queries to verify Investment in Subsidiary balance for West Realm          1.3
                                           Shires Inc
07/10/2023                  JLS            Prepare summary of journal entries extracted from SQL database with regards to         1.2
                                           Investment in Subsidiary balance on FTX Trading Ltd.
07/10/2023                  JLS            Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  JLS            Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re: review        1.0
                                           intercompany cash transfer transactions that are matching exchange deposits or
                                           withdrawals
07/10/2023                  KV             Consolidating Alameda Loan Tables schedules                                            2.7
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                  HOURS
07/10/2023               KV                Discussion with K. Vasiliou, K. Wessel (AlixPartners) re: process to book              0.6
                                           remaining adjusting journal entries for the Loans Receivable workstream to
                                           ensure the complete population is being captured
07/10/2023                  KV             Reconcile Alameda Loan Tables schedules to Alameda Loan and Collateral                 2.3
                                           schedules
07/10/2023                  KV             Review the loan entries on the Transfer Adjustments schedule prepared by               2.2
                                           Alameda
07/10/2023                  KV             Summarizing Alameda Loan Tables schedules using unique identifiers to build            0.9
                                           up loan activity
07/10/2023                  KV             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  KV             Working session with F. Liang, K. Vasiliou (AlixPartners) re: run through of the       0.3
                                           Alameda Transfer Adjustments spreadsheets
07/10/2023                 KHW             Analyze approach to identifying population of relevant digital addresses for           1.6
                                           financial statement recreation purposes
07/10/2023                 KHW             Develop approach to ensuring/documenting identification of unrecorded                  1.4
                                           assets/liabilities for financial statement reconstruction efforts
07/10/2023                 KHW             Discussion with K. Vasiliou, K. Wessel (AlixPartners) re: process to book              0.6
                                           remaining adjusting journal entries for the Loans Receivable workstream to
                                           ensure the complete population is being captured
07/10/2023                 KHW             Review updated working files supporting evaluation of third party loan collateral      1.8
                                           balances by quarter for Alameda Research Ltd
07/10/2023                 KHW             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                 KHW             Working session with E. Boyle, J. LaBella, J. Xu, K. Wessel, T. Shen                   0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in specific entity workstreams
07/10/2023                 KHW             Working session with E. Mostoff, J. LaBella, K. Wessel (AlixPartners) re: flow         0.3
                                           of funds into FTX Trading Ltd specific account
07/10/2023                  MC             Create adjusting journal entry for specific investment by Clifton Bay Investments      2.2
07/10/2023                  MC             Create adjusting journal entries for specific investment                               0.9
07/10/2023                  MC             Create adjusting journal entries for specific investment                               1.2
07/10/2023                  MC             Finalize analysis of accounting records related to specific investment                 0.5
07/10/2023                  MC             Research FTX Trading Ltd capitalization table for shares owed to Alameda and           1.2
                                           Paper Bird
07/10/2023                  MC             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  MC             Working session with E. Mostoff, M. Cervi (AlixPartners) re: FTX Trading Ltd           0.3
                                           acquisition consideration liability for specific acquisition
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07/10/2023               MC                Working session with M. Cervi, J. Chin (AlixPartners) re: review Non-                  1.1
                                           QuickBooks journal entries input into the Adjusted Balance Sheet from the latest
                                           specific entity Q3 2022 financial data inputs
07/10/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on impact         0.8
                                           of new exchange data for FTT transactions to specific entity shareholders on
                                           drafted Adjusted journal entries
07/10/2023                  MC             Analyze financial records related to investment in specific entity                     0.8
07/10/2023                  MC             Analyze revised financial data for specific entity for Q3'22                           0.3
07/10/2023                  MB             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                  MB             Working session with A. Vanderkamp, C. Chen, D. Schwartz, M. Birtwell                  0.5
                                           (AlixPartners) re: loan receivable related to transfers from Alameda Research Ltd
                                           to specific entity
07/10/2023                  MJ             Meeting with A. Searles, D. Schwartz, J. LaBella, M. Jacques (AlixPartners) re:        0.5
                                           preparing for financial statement reconstruction update as part of the weekly
                                           update call with counsel
07/10/2023                  QB             Write memo describing methodology used in investigating investments into               0.6
                                           digital assets
07/10/2023                  QB             Investigate new investments into digital assets on exchange and blockchain             2.4
07/10/2023                  QB             Review investigations into digital assets investments for accuracy                     1.0
07/10/2023                  QB             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                   RS            Draft Alameda's third-party exchange process and procedures for digital assets         1.7
                                           workstream
07/10/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX             2.9
                                           accountant adjusting journal entry' and 'reclass'
07/10/2023                   RS            Update Alameda's third-party exchange process flow of workpapers and source            1.6
                                           files
07/10/2023                   RS            Working session with F. Liang, R. Self (AlixPartners) re: digital assets third-        0.9
                                           party exchange process and procedures
07/10/2023                   RS            Working session with F. Liang, R. Self (AlixPartners) re: status and next steps        0.5
                                           for digital assets workpapers for Alameda, Dotcom, and WRS
07/10/2023                   ST            Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                 SYW             Categorize general ledger activity for additional in-scope accounts for general        2.2
                                           ledger detailed validation
07/10/2023                 SYW             Extract general ledger detail from environment for additional in-scope accounts        2.5
                                           for general ledger detailed validation
07/10/2023                 SYW             Document flow chart for the intangible assets workstream                               0.7
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07/10/2023              SYW                Document process and procedures for the intangible assets workstream                  1.3
07/10/2023              SYW                Perform general ledger detailed analysis to understand the out-of-scope general       2.8
                                           ledger accounts
07/10/2023                 SYW             Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.          0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                   SK            Working session with C. Chen, T. Kang (AlixPartners) re: review queries for           0.6
                                           matching cash transfer transactions against exchange deposits or withdrawals
07/10/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other         1.9
                                           Investments workstream for specific entities

07/10/2023                   SZ            Research blockchain wallet transactions relating to Other Investments                 1.8
                                           workstream for specific entities


07/10/2023                   SZ            Reconcile the FTX investment trackers for specific entities                           1.8

07/10/2023                   SZ            Search QuickBooks database for entries relating to Other Investments                  1.4
                                           workstream for specific entities
07/10/2023                   SZ            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to        0.3
                                           public domain research of e-wallet transactions for Other Investment and Loan
                                           Workstream
07/10/2023                  SYY            Search cryptocurrency transactions on blockchain explorers for Alameda loan           1.9
                                           workstream for specific entity
07/10/2023                  SYY            Search cryptocurrency transactions on blockchain explorers for Alameda loan           1.7
                                           workstream for specific entity
07/10/2023                  SYY            Search cryptocurrency transactions on blockchain explorers for Alameda loan           2.3
                                           workstream for specific entity
07/10/2023                  SYY            Working session with J. Xu, S. Yao (AlixPartners) re: search for loan                 0.4
                                           transactions in a block chain explorer
07/10/2023                  SYY            Working session with S. Yao, S. Zhou (AlixPartners) re: discussion relating to        0.3
                                           public domain research of e-wallet transactions for Other Investment and Loan
                                           Workstream
07/10/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into       2.8
                                           searchable dataset re: Historical Reconstruction
07/10/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction          2.9
07/10/2023                   TS            Review QuickBooks journal entries made by Cottonwood Grove recording the              0.9
                                           FTT loan receivables to assist with the investment in subsidiaries workstream
07/10/2023                   TS            Working session with E. Boyle, J. LaBella, J. Xu, K. Wessel, T. Shen                  0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in specific entity workstreams
07/10/2023                   TT            Analyze cash database activity to support intercompany cash balance analysis          0.8
07/10/2023                   TT            Review intercompany accounts with cash transactions to support intercompany           0.9
                                           cash balance analysis
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07/10/2023               TT                Working session with A. Calhoun, C. Chen, C. Wong, D. Schwartz, F. Liang, G.           0.3
                                           Shapiro, J. LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Birtwell, M.
                                           Cervi, O. Braat, S. Thompson, T. Toaso, J. Chin (AlixPartners) re: discussion on
                                           scoping guidelines for all workstreams and uniform workpaper formats
07/10/2023                   TT            Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re: review        1.0
                                           intercompany cash transfer transactions that are matching exchange deposits or
                                           withdrawals
07/10/2023                   TT            Working session with D. Schwartz, E. Mostoff, J. LaBella, T. Toaso                     0.9
                                           (AlixPartners) re: processes and procedures for reconstruction of historical cash
                                           balances
07/10/2023                   TT            Working session with D. Schwartz, E. Mostoff, T. Toaso (AlixPartners) re:              0.8
                                           accounting for contingent consideration re: specific entity acquisition
07/10/2023                  XS             Analyze journal entries of share deliveries to Alameda and PaperBird booked by         0.8
                                           FTX Trading re: investment in subsidiaries
07/10/2023                  XS             Analyze journal entries of share receivables and share deliveries booked by            1.1
                                           Alameda re: investment in subsidiaries
07/10/2023                  XS             Continue to analyze journal entries of share receivables and share deliveries          1.2
                                           booked by Paper Bird re: investment in subsidiaries
07/10/2023                  XS             Export attachments of sampled entries of specific general ledger account booked        1.0
                                           by WRSS and specific general ledger account booked by WRSI re: other assets
                                           workstream
07/10/2023                  XS             Export attachments of sampled entries of specific general ledger account booked        0.9
                                           by specific entity re: other assets workstream
07/10/2023                  XS             Export attachments of sampled entries of specific general ledger account booked        0.5
                                           by FTX Trading re: other assets workstream
07/10/2023                  XS             Research supporting documents of other assets on Relativity re: other assets           1.8
                                           workstream
07/10/2023                  XS             Summarize journal entries of specific general ledger account booked by                 1.2
                                           CottonWood to reconcile with entries booked to specific general ledger account
                                           by Alameda and Paper Bird re: investment in subsidiaries
07/10/2023                  YT             Attend call with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to             0.4
                                           review updates for next version of database for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/11/2023                  AS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                        0.1
                                           (AlixPartners) re: preparation for next meeting on updated iteration of the
                                           balance sheet
07/11/2023                  AS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, M. Evans,             0.3
                                           M. Jacques (AlixPartners) re: budget and timing for completion of financial
                                           statement reconstruction work
07/11/2023                  AS             Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: preparation        0.2
                                           for next meeting on updated iteration of the balance sheet
07/11/2023                  AS             Meeting with A. Searles, D. Schwartz, K. Wessel, T. Toaso (AlixPartners) re:           0.5
                                           process to incorporate relevant special investigation work into the balance sheet
                                           reconstruction
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/11/2023               AS                Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  AW             Test updates to web-scraping code to handle changes to the QuickBooks website             2.8

07/11/2023                  AW             Update web-scraping code to handle changes to the QuickBooks website                      2.2
07/11/2023                  AV             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                           0.1
                                           (AlixPartners) re: preparation for next meeting on updated iteration of the
                                           balance sheet
07/11/2023                  AV             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, M. Evans,                0.3
                                           M. Jacques (AlixPartners) re: budget and timing for completion of financial
                                           statement reconstruction work
07/11/2023                  AV             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                 BFM             Information sharing session with R. Gordon, et al (A&M) and with B. Mackay,               1.0
                                           D. Schwartz, J. LaBella, J. Somerville (AlixPartners) re: A&M intercompany
                                           balance analysis
07/11/2023                 BFM             Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.                  2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                 BFM             Attend working session with B. Mackay, D. Schwartz, D. White, J. LaBella, K.              0.9
                                           Wessel, T. Phelan (AlixPartners) re: discuss priorities and next steps for
                                           historical recreation of debtors' historical digital assets balances
07/11/2023                 BFM             Update summary of admin accounts on .com exchange                                         1.1
07/11/2023                 BFM             Update summary of wallet balances vs. exchange balances re: FTT                           1.4
07/11/2023                 BFM             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                 BFM             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                 BFM             Working session with B. Mackay, C. Wong, J. Somerville, T. Shen, X. Su                    0.5
                                           (AlixPartners) re: Interco Asia touch point re: investigation of specific entity FTT
                                           transfers on the exchange and Other Assets
07/11/2023                  BAR            Prepare data for updating source tables for master summary database for                   1.3
                                           purposes of supporting the financial statement reconstruction workstream
07/11/2023                  BAR            Review consolidated data file and standardization of select fields for master             1.6
                                           summary database for purposes of supporting the financial statement
                                           reconstruction workstream
07/11/2023                  CC             Analyze FTX.us exchange activities to identify debtors' exchange accounts                 2.1
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07/11/2023               CC                Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.               2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                  CC             Review Alameda Research Ltd's investments in specific entity shares                    0.4
07/11/2023                  CC             Summarize the procedures taken to match exchange fiat deposits and withdrawal          1.8
                                           activities against cash database for SEN bank accounts
07/11/2023                  CC             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,             1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                  CC             Working session with C. Chen, T. Kang (AlixPartners) re: procedures for                0.9
                                           matching records in the cash database against exchange for Silvergate bank
                                           accounts
07/11/2023                  DS             Information sharing session with R. Gordon, et al (A&M) and with B. Mackay,            1.0
                                           D. Schwartz, J. LaBella, J. Somerville (AlixPartners) re: A&M intercompany
                                           balance analysis
07/11/2023                  DS             Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.               2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                  DS             Attend working session with B. Mackay, D. Schwartz, D. White, J. LaBella, K.           0.9
                                           Wessel, T. Phelan (AlixPartners) re: discuss priorities and next steps for
                                           historical recreation of debtors' historical digital assets balances
07/11/2023                  DS             Discussion with D. Schwartz, J. LaBella, K. Vasiliou, K. Wessel (AlixPartners)         0.5
                                           re: aligning on the process to book remaining adjusting journal entries for the
                                           Loans Receivable workstream and documents to rely on
07/11/2023                  DS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                        0.1
                                           (AlixPartners) re: preparation for next meeting on updated iteration of the
                                           balance sheet
07/11/2023                  DS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, M. Evans,             0.3
                                           M. Jacques (AlixPartners) re: budget and timing for completion of financial
                                           statement reconstruction work
07/11/2023                  DS             Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: preparation        0.2
                                           for next meeting on updated iteration of the balance sheet
07/11/2023                  DS             Meeting with A. Searles, D. Schwartz, K. Wessel, T. Toaso (AlixPartners) re:           0.5
                                           process to incorporate relevant special investigation work into the balance sheet
                                           reconstruction
07/11/2023                  DS             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  DS             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,             1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                  DS             Working session with D. Schwartz, J. Somerville, T. Shen, X. Su, T. Toaso              0.7
                                           (AlixPartners) re: Investment in Subsidiary workpapers and analysis assumptions
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07/11/2023               DJW               Attend working session with B. Mackay, D. Schwartz, D. White, J. LaBella, K.           0.9
                                           Wessel, T. Phelan (AlixPartners) re: discuss priorities and next steps for
                                           historical recreation of debtors' historical digital assets balances
07/11/2023                 DJW             Plan forensic investigation of company digital assets in support of the financial      2.4
                                           balance statement reconstruction
07/11/2023                  DJW            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  DL             Search Relativity re: Cottonwood Grove Token option grant (January 2021                2.8
                                           version)
07/11/2023                  DL             Update Cottonwood Grove Option Grant summary deck                                      1.9
07/11/2023                  DL             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  DL             Working session with E. Mostoff, F. Liang, S. Thompson (AlixPartners) re:              0.4
                                           Cottonwood Grove tokenized option liability
07/11/2023                  DL             Working session with F. Liang, T. Phelan (AlixPartners) re: discuss status on the      1.1
                                           inputs and recreation of debtors' historical digital assets balances, and wallet
                                           attribution methodology
07/11/2023                  DL             Working session with F. Liang, L. Morrison (AlixPartners) re: discuss of using         0.4
                                           specific entity data to cross check Alameda third-party accounts balances
07/11/2023                  EB             Review status update on Alameda Other Investments workstream                           0.3
07/11/2023                  EB             Review sample tracing analysis for transfer of token loan balances to/from             0.4
                                           Alameda
07/11/2023                  EB             Update Alameda loan payable balances for specific entities                             0.3
07/11/2023                  EB             Working session with E. Boyle, S. Zhou (AlixPartners) re: status update for            0.2
                                           Other Investment Workstream of historical reconstruction
07/11/2023                  EM             Analyze available data re: Alameda Research LLC Signet transaction activity to         0.5
                                           reconstruct historical cash balances
07/11/2023                  EM             Compare unconfirmed cash general ledger accounts against updated bank                  0.6
                                           account listing
07/11/2023                  EM             Perform audit history search on specific Alameda Research LLC database re:             0.6
                                           reclassification of loans to investments
07/11/2023                  EM             Perform Relativity search for account opening data re: Alameda Research LLC            0.6
                                           Signet accounts
07/11/2023                  EM             Perform Relativity search re: FTX Digital Markets Fidelity bank account to             0.7
                                           support financial statement reconstruction
07/11/2023                  EM             Perform Relativity search re: unverified cash general ledger accounts                  0.7
07/11/2023                  EM             Recalculate historical cash balances of Alameda Research LLC Signet account            0.4
07/11/2023                  EM             Update analyses re: recalculation of Signet bank account balances with                 0.4
                                           comments related to source of transactional data
07/11/2023                  EM             Update cash balance processes and procedures summary with limitations re: non-         0.5
                                           Debtor BCB bank accounts
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                     HOURS
07/11/2023               EM                Update cash balance processes and procedures summary with procedures re:                 0.4
                                           general ledger accounts not mapped to bank accounts
07/11/2023                  EM             Update cash balance processes and procedures summary with procedures re:                 0.4
                                           identification and validation of potential bank accounts
07/11/2023                  EM             Update historical cash balance reconstruction summary with adjustments re:               0.7
                                           Alameda Research LLC Signet account
07/11/2023                  EM             Update historical cash balances with adjustments re: general ledger accounts not         1.3
                                           mapped to bank accounts
07/11/2023                  EM             Working session with E. Mostoff, F. Liang, S. Thompson (AlixPartners) re:                0.4
                                           Cottonwood Grove tokenized option liability
07/11/2023                  EM             Attend meeting with E. Mostoff, L. Jia, M. Cervi, T. Hofner (AlixPartners) re:           0.2
                                           discuss the specific database application and logs for the journal entries
07/11/2023                  JC             Working session with M. Cervi, T. Shen, J. Chin (AlixPartners) re: discussion on         0.8
                                           impact of new exchange data for FTT transactions to specific entity shareholders
                                           on drafted adjusted journal entries
07/11/2023                  JC             Add new accounts for specific entity within the adjusted balance sheet from the          1.5
                                           latest source data
07/11/2023                  JC             Edit journal entries for specific entity within the adjusted balance sheet to match      2.3
                                           the latest financial data
07/11/2023                  JC             Reconcile differences between the specific entity Non-QuickBooks entries                 0.9
                                           within the adjusted balance sheet and the latest data received
07/11/2023                  JC             Review the individual account differences between specific entity accounts               2.1
                                           within the adjusted balance sheet and the latest source data
07/11/2023                   JX            Analyze potential new Alameda loans opened in 2022                                       0.4
07/11/2023                   JX            Document evidence re: reliability check of Alameda Loan & Collateral Schedule            1.4
07/11/2023                   JX            Reconstruct details of newly identified loans                                            1.0
07/11/2023                   JX            Summarize procedures re: reliability check of Alameda Loan & Collateral                  2.9
                                           Schedule
07/11/2023                   JX            Verify completeness of loan reconstruction via balance sheet data                        2.2
07/11/2023                   JX            Working session with J. Xu, S. Yao (AlixPartners) re: search for loan                    0.6
                                           agreements with FTX entities except for Alameda Research
07/11/2023                  JCL            Information sharing session with R. Gordon, et al (A&M) and with B. Mackay,              1.0
                                           D. Schwartz, J. LaBella, J. Somerville (AlixPartners) re: A&M intercompany
                                           balance analysis
07/11/2023                  JCL            Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.                 2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                  JCL            Attend working session with B. Mackay, D. Schwartz, D. White, J. LaBella, K.             0.9
                                           Wessel, T. Phelan (AlixPartners) re: discuss priorities and next steps for
                                           historical recreation of debtors' historical digital assets balances
07/11/2023                  JCL            Discussion with D. Schwartz, J. LaBella, K. Vasiliou, K. Wessel (AlixPartners)           0.5
                                           re: aligning on the process to book remaining adjusting journal entries for the
                                           Loans Receivable workstream and documents to rely on
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/11/2023               JCL               Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                           0.1
                                           (AlixPartners) re: preparation for next meeting on updated iteration of the
                                           balance sheet
07/11/2023                  JCL            Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, M. Evans,                0.3
                                           M. Jacques (AlixPartners) re: budget and timing for completion of financial
                                           statement reconstruction work
07/11/2023                  JCL            Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: preparation           0.2
                                           for next meeting on updated iteration of the balance sheet
07/11/2023                  JCL            Review schedules supporting intercompany cash transactions between legal                  0.7
                                           entities
07/11/2023                  JCL            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  JCL            Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                  JLS            Information sharing session with R. Gordon, et al (A&M) and with B. Mackay,               1.0
                                           D. Schwartz, J. LaBella, J. Somerville (AlixPartners) re: A&M intercompany
                                           balance analysis
07/11/2023                  JLS            Draft correspondence to A&M comparing intercompany methodologies                          0.2
07/11/2023                  JLS            Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.                  2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                  JLS            Prepare notes on contract between specific entity and West Realm Shires Inc to            0.7
                                           verify Investment in Subsidiary balance on West Realm Shires Inc
07/11/2023                  JLS            Prepare notes on sales purchase agreement associated with Investment in                   1.4
                                           Subsidiary balance on FTX Trading Ltd
07/11/2023                  JLS            Prepare workpaper summarizing approach to properties investment balance                   0.3
                                           verification
07/11/2023                  JLS            Prepare workpaper to record Investment in Subsidiary workstream approach                  0.9
07/11/2023                  JLS            Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                  JLS            Working session with D. Schwartz, J. Somerville, T. Shen, X. Su, T. Toaso                 0.7
                                           (AlixPartners) re: Investment in Subsidiary workpapers and analysis assumptions
07/11/2023                  JLS            Working session with J. Somerville, S. Thompson (AlixPartners) re: stock                  0.5
                                           purchase agreements associated with FTX Trading Investment in Subsidiary
                                           journal entries
07/11/2023                  JLS            Working session with J. Somerville, T. Toaso (AlixPartners) re: formalization of          0.7
                                           workpapers for Investment in Subsidiary workstream
07/11/2023                  JLS            Working session with B. Mackay, C. Wong, J. Somerville, T. Shen, X. Su                    0.5
                                           (AlixPartners) re: Interco Asia touch point re: investigation of specific entity FTT
                                           transfers on the exchange and Other Assets
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/11/2023               KV                Discussion with D. Schwartz, J. LaBella, K. Vasiliou, K. Wessel (AlixPartners)         0.5
                                           re: aligning on the process to book remaining adjusting journal entries for the
                                           Loans Receivable workstream and documents to rely on
07/11/2023                  KV             Reconcile Alameda Loan Tables schedules to Alameda Loan and Collateral                 2.7
                                           schedules for loans 100-200
07/11/2023                  KV             Reconcile Alameda Loan Tables schedules to Alameda Loan and Collateral                 2.9
                                           schedules for loans 200-300
07/11/2023                  KV             Review analysis performed for Loans Receivable for each counterparty in                0.9
                                           preparation for creating the restating adjusting journal entries
07/11/2023                  KV             Update the FTX Investments Tracker tab within Loans Receivable workbook                1.7
07/11/2023                 KHW             Analyze Sam coin collateral pledged for Alameda Research Ltd third party loan          1.2
                                           payables to support investigation of Sam coin circulation
07/11/2023                 KHW             Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.               2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                 KHW             Attend working session with B. Mackay, D. Schwartz, D. White, J. LaBella, K.           0.9
                                           Wessel, T. Phelan (AlixPartners) re: discuss priorities and next steps for
                                           historical recreation of debtors' historical digital assets balances
07/11/2023                 KHW             Discussion with D. Schwartz, J. LaBella, K. Vasiliou, K. Wessel (AlixPartners)         0.5
                                           re: aligning on the process to book remaining adjusting journal entries for the
                                           Loans Receivable workstream and documents to rely on
07/11/2023                 KHW             Meeting with A. Searles, D. Schwartz, K. Wessel, T. Toaso (AlixPartners) re:           0.5
                                           process to incorporate relevant special investigation work into the balance sheet
                                           reconstruction
07/11/2023                 KHW             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                 KHW             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,             1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                  LIM            Working session with F. Liang, L. Morrison (AlixPartners) re: discuss of using         0.4
                                           specific entity data to cross check Alameda third-party accounts balances
07/11/2023                   LJ            Working Session with L. Jia, T. Hofner (AlixPartners) re: review QuickBooks            0.8
                                           audit logs for examples of transactions that have account changes
07/11/2023                   LJ            Attend meeting with E. Mostoff, L. Jia, M. Cervi, T. Hofner (AlixPartners) re:         0.2
                                           discuss the specific database application and logs for the journal entries
07/11/2023                  MC             Analyze specific entity shareholder FTT movement to understand proper                  1.3
                                           accounting treatment
07/11/2023                  MC             Research transactions related to 2020 investment tracker used to make year-end         0.6
                                           investment accounting adjustments
07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.2
07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.4
07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.4
07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.4
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07/11/2023               MC                Research specific investment to understand proper accounting treatment                 0.7

07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.4
07/11/2023                  MC             Research specific entity history to understand proper accounting treatment             0.4

07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.2
07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.5

07/11/2023                  MC             Research specific investment to understand proper accounting treatment                 0.1
07/11/2023                  MC             Review status of specific investment adjusting journal entries to reconstruct          0.2
                                           financial statements
07/11/2023                  MC             Attend meeting with E. Mostoff, L. Jia, M. Cervi, T. Hofner (AlixPartners) re:         0.2
                                           discuss the specific database application and logs for the journal entries
07/11/2023                  MC             Working session with M. Cervi, T. Shen, J. Chin (AlixPartners) re: discussion on       0.8
                                           impact of new exchange data for FTT transactions to specific entity shareholders
                                           on drafted adjusted journal entries
07/11/2023                  MC             Integrate revised specific entity accounting data into model                           0.3
07/11/2023                  ME             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, M. Evans,             0.3
                                           M. Jacques (AlixPartners) re: budget and timing for completion of financial
                                           statement reconstruction work
07/11/2023                  ME             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  MJ             Review specific database and QuickBooks reporting for changes to accounts,             0.4
                                           specifically focused on loans and receivables
07/11/2023                  MJ             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella, M. Evans,             0.3
                                           M. Jacques (AlixPartners) re: budget and timing for completion of financial
                                           statement reconstruction work
07/11/2023                  MJ             Review detailed historical wallet time series data with a focus on discrepancies       0.3
                                           in coin balances
07/11/2023                  MJ             Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.             1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                  QB             Incorporate new general ledger accounts into general ledger data validation            1.3
07/11/2023                  QB             Investigate investments into digital assets made on exchange                           1.8
07/11/2023                  QB             Meeting with C. Wong, O. Braat (AlixPartners) re: investigating investments            0.4
                                           into Digital Assets for general ledger detail validation/purposes of verifying
                                           intercompany and related party balances
07/11/2023                  QB             Review blockchain/exchange verifications for investments into digital assets for       2.2
                                           accuracy
07/11/2023                   RS            Draft Alameda's third-party exchange assumptions, limitations, and key                 1.5
07/11/2023                   RS            Draft Alameda's third-party exchange process and procedures for digital assets         2.9
                                           workstream
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07/11/2023               RS                Investigate general ledger detailed validation entries categorized as 'FTX                1.5
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/11/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX                1.6
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/11/2023                   RS            Working session with C. Wong, R. Self (AlixPartners) re: investigation of                 1.0
                                           general ledger detailed validation entries categorized as 'reclass' for particular
                                           account
07/11/2023                  RB             Analyze on-chain data for blockchain confirmation of token investments made               2.3
                                           by debtor entities
07/11/2023                  RB             Create summary of Relativity search findings for investigation into potential             0.4
                                           payments with specific entity
07/11/2023                  RB             Review Relativity documents for specific entity for potential payments that               0.5
                                           occurred
07/11/2023                  RB             Review Relativity documents to deduce on-chain confirmation of the occurrence             1.6
                                           of token investments by debtor entities
07/11/2023                   ST            Analyze .COM exchange date to verify the exercise of any Cottonwood Grove                 0.9
                                           tokenized options
07/11/2023                   ST            Working session with E. Mostoff, F. Liang, S. Thompson (AlixPartners) re:                 0.4
                                           Cottonwood Grove tokenized option liability
07/11/2023                   ST            Working session with J. Somerville, S. Thompson (AlixPartners) re: stock                  0.5
                                           purchase agreements associated with FTX Trading Investment in Subsidiary
                                           journal entries
07/11/2023                 SYW             Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.                  2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                 SYW             Draft email re: next steps for investigation of specific entity FTT, Investments in       0.3
                                           Subs, and Other Assets
07/11/2023                 SYW             Investigate Intangible Asset balances re: specific entity goodwill balance                3.0
07/11/2023                 SYW             Meeting with C. Wong, O. Braat (AlixPartners) re: investigating investments               0.4
                                           into Digital Assets for general ledger detail validation/purposes of verifying
                                           intercompany and related party balances
07/11/2023                 SYW             Update general ledger detailed valuation based on new scoping of additional               2.0
                                           accounts
07/11/2023                 SYW             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                 SYW             Working session with C. Wong, R. Self (AlixPartners) re: investigation of                 1.0
                                           general ledger detailed validation entries categorized as 'reclass' for particular
                                           account
07/11/2023                 SYW             Working session with B. Mackay, C. Wong, J. Somerville, T. Shen, X. Su                    0.5
                                           (AlixPartners) re: Interco Asia touch point re: investigation of specific entity FTT
                                           transfers on the exchange and Other Assets
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07/11/2023               SK                Working session with C. Chen, T. Kang (AlixPartners) re: procedures for                     0.9
                                           matching records in the cash database against exchange for Silvergate bank
                                           accounts
07/11/2023                   SZ            Consolidate current status and findings relating to equity investments for Other            0.2
                                           Investments workstream
07/11/2023                   SZ            Research blockchain data for wallet transactions relating to Other Investments              0.4
                                           workstream for specific entities
07/11/2023                   SZ            Research blockchain data for wallet transactions relating to Other Investments              0.3
                                           workstream for specific entities
07/11/2023                   SZ            Research blockchain data for wallet transactions relating to Other Investments              0.8
                                           workstream for specific entities

07/11/2023                   SZ            Reconcile the FTX investment trackers for specific entities                                 1.9

07/11/2023                   SZ            Reconcile the FTX investment trackers for specific entities                                 1.8

07/11/2023                   SZ            Search QuickBooks database for entries relating to Other Investments                        0.9
                                           workstream for specific entities
07/11/2023                   SZ            Working session with E. Boyle, S. Zhou (AlixPartners) re: status update for                 0.2
                                           Other Investment Workstream of historical reconstruction
07/11/2023                  SYY            Review corporate communications on Relativity for support for Alameda loan                  1.9
                                           agreements other than Alameda Research related documents
07/11/2023                  SYY            Continue to review corporate communications on Relativity for support for                   2.1
                                           Alameda loan agreements other than Alameda Research related documents
07/11/2023                  SYY            Review internal FTX documents on Relativity for support for Alameda loan                    1.9
                                           agreements other than Alameda Research related documents
07/11/2023                  SYY            Continue to review internal FTX documents on Relativity for support for                     0.3
                                           Alameda loan agreements other than Alameda Research related documents
07/11/2023                  SYY            Working session with J. Xu, S. Yao (AlixPartners) re: search for loan                       0.6
                                           agreements with FTX entities except for Alameda Research
07/11/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into             2.7
                                           searchable dataset re: Historical Reconstruction
07/11/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction                2.8
07/11/2023                   TS            Review exchange payout transactions of FTT tokens for the acquisition of                    1.2
                                           specific entity shares to assist with the investment in subsidiaries workstream
07/11/2023                   TS            Summarize flow chart presenting the actual FTT payments and the intended                    1.1
                                           contractual relationships for the acquisition of specific entity shares to assist with
                                           the investment in subsidiaries workstream
07/11/2023                   TS            Working session with D. Schwartz, J. Somerville, T. Shen, X. Su, T. Toaso                   0.7
                                           (AlixPartners) re: Investment in Subsidiary workpapers and analysis assumptions
07/11/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: discussion on journal                0.5
                                           entries of shares delivery from FTX Trading to Alameda and Paper Bird re:
                                           investment in specific entity
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07/11/2023               TS                Working session with B. Mackay, C. Wong, J. Somerville, T. Shen, X. Su                    0.5
                                           (AlixPartners) re: Interco Asia touch point re: investigation of specific entity FTT
                                           transfers on the exchange and Other Assets
07/11/2023                   TS            Working session with M. Cervi, T. Shen, J. Chin (AlixPartners) re: discussion on          0.8
                                           impact of new exchange data for FTT transactions to specific entity shareholders
                                           on drafted adjusted journal entries
07/11/2023                  TJH            Attend meeting with E. Mostoff, L. Jia, M. Cervi, T. Hofner (AlixPartners) re:            0.2
                                           discuss the specific database application and logs for the journal entries
07/11/2023                  TJH            Working Session with L. Jia, T. Hofner (AlixPartners) re: review QuickBooks               0.8
                                           audit logs for examples of transactions that have account changes
07/11/2023                   TT            Analyze cash database activity to support intercompany cash balance analysis              1.9
07/11/2023                   TT            Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.                  2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                   TT            Meeting with A. Searles, D. Schwartz, K. Wessel, T. Toaso (AlixPartners) re:              0.5
                                           process to incorporate relevant special investigation work into the balance sheet
                                           reconstruction
07/11/2023                   TT            Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.5
                                           J. Somerville, K. Wessel, T. Toaso (AlixPartners) re: review intercompany and
                                           related party workstream approach
07/11/2023                   TT            Working session with D. Schwartz, J. Somerville, T. Shen, X. Su, T. Toaso                 0.7
                                           (AlixPartners) re: Investment in Subsidiary workpapers and analysis assumptions
07/11/2023                   TT            Working session with J. Somerville, T. Toaso (AlixPartners) re: formalization of          0.7
                                           workpapers for Investment in Subsidiary workstream
07/11/2023                   TP            Working session with F. Liang, T. Phelan (AlixPartners) re: discuss status on the         1.1
07/11/2023                   TP            Attend working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J.                  2.0
                                           LaBella, J. Somerville, K. Wessel, T. Phelan, T. Toaso (AlixPartners) re:
                                           historical financial statement intercompany transfers
07/11/2023                   TP            Attend working session with B. Mackay, D. Schwartz, D. White, J. LaBella, K.              0.9
                                           Wessel, T. Phelan (AlixPartners) re: discuss priorities and next steps for
                                           historical recreation of debtors' historical digital assets balances
07/11/2023                   TP            Perform historical review of Alameda's AWS 3rd party exchange positions in                2.7
                                           support of the historical financial statements
07/11/2023                   TP            Working session with A. Searles, A. Vanderkamp, B. Mackay, D. Schwartz, D.                1.0
                                           White, F. Liang, J. LaBella, K. Wessel, M. Evans, M. Jacques, T. Phelan
                                           (AlixPartners) re: discuss priorities and next steps for historical recreation of
                                           debtors' historical digital assets balances
07/11/2023                   TP            Working session with F. Liang, T. Phelan (AlixPartners) re: discuss status on the         1.1
                                           inputs and recreation of debtors' historical digital assets balances, and wallet
                                           attribution methodology
07/11/2023                  XS             Analyze booking, reversal and re-recognition records of sampled journal entries           0.4
                                           re: other assets workstream
07/11/2023                  XS             Analyze recognition and de-recognition of promotion services expenses re: other           1.6
                                           assets workstream
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/11/2023               XS                Analyze specific supporting documents of prepaid sponsorship payments re:                 1.5
                                           other assets
07/11/2023                  XS             Review supporting documentation booked by FTX Property Holdings re: other                 1.7
                                           assets workstream
07/11/2023                  XS             Review documents of specific general ledger account booked by Alameda re:                 1.8
                                           other assets workstream
07/11/2023                  XS             Working session with D. Schwartz, J. Somerville, T. Shen, X. Su, T. Toaso                 0.7
                                           (AlixPartners) re: Investment in Subsidiary workpapers and analysis assumptions
07/11/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: discussion on journal              0.5
                                           entries of shares delivery from FTX Trading to Alameda and Paper Bird re:
                                           investment in specific entity
07/11/2023                  XS             Working session with B. Mackay, C. Wong, J. Somerville, T. Shen, X. Su                    0.5
                                           (AlixPartners) re: Interco Asia touch point re: investigation of specific entity FTT
                                           transfers on the exchange and Other Assets
07/12/2023                  AS             Prepare for call to discuss solvency analysis                                             0.1
07/12/2023                  AS             Prepare for call to discuss legal theories provided by counsel re: financial              0.2
                                           statement impacts
07/12/2023                  AS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, M. Jacques                           0.6
                                           (AlixPartners) re: scenario planning to prepare and support the financial
                                           statement reconstruction work
07/12/2023                  AS             Meeting with A. Searles, D. Schwartz, M. Cervi (AlixPartners) re: digital tools           0.7
                                           to help support the presentation and analysis of the historical financial statement
                                           reconstruction process
07/12/2023                  AW             Extract raw accounting data from the QuickBooks backend database for all                  1.9
                                           entities in scope
07/12/2023                  AW             Extract front-end reports from QuickBooks using updated web-scraper                       2.1
07/12/2023                  AW             Test updates to web-scraping code for transaction list extract to handle changes          2.5
                                           to the QuickBooks website
07/12/2023                  AW             Update web-scraping code for the transaction list (with TxnID) extract to handle          2.8
                                           changes to the QuickBooks website
07/12/2023                  AV             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, M. Jacques                           0.6
                                           (AlixPartners) re: scenario planning to prepare and support the financial
                                           statement reconstruction work
07/12/2023                 BFM             Review exchange activity re: specific entity collateral                                   0.5
07/12/2023                 BFM             Review exchange activity re: FTT                                                          1.7
07/12/2023                 BFM             Review exchange activity re: specific entity                                              1.2
07/12/2023                 BFM             Review exchange activity re: specific entity                                              0.8
07/12/2023                 BFM             Update summary of wallet balances vs. exchange balances re: FTT                           1.6
07/12/2023                 BFM             Working session with B. Mackay, F. Liang, T. Phelan (AlixPartners) re: discuss            0.9
                                           debtors wallets attribution and database
07/12/2023                  BAR            Update user documentation for navigation changes for master summary database              1.4
                                           for purposes of supporting the financial statement reconstruction workstream
07/12/2023                  BAR            Attend call with B. Robison, C. Xu, J. Berg (AlixPartners) re: to discuss                 0.5
                                           remaining open items from initial user testing for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/12/2023               BAR               Review updated user navigation form buttons for master summary database for              0.8
                                           purposes of supporting the financial statement reconstruction workstream
07/12/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement                1.1
                                           reconstruction
07/12/2023                  CX             Attend call with B. Robison, C. Xu, J. Berg (AlixPartners) re: to discuss                0.5
                                           remaining open items from initial user testing for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/12/2023                  CX             Create master summary database template with data validations for purposes of            0.7
                                           supporting the financial statement reconstruction workstream
07/12/2023                  CX             Update VBA for importing the master summary database template for purposes               2.4
                                           of supporting the financial statement reconstruction workstream
07/12/2023                  CX             Update file import functionality in the master summary database template for             1.2
                                           purposes of supporting the financial statement reconstruction workstream
07/12/2023                  CC             Prepare work programs to categorize cash database transactions based on the              1.2
                                           nature of counterparties
07/12/2023                  CC             Review general ledger expense details to identify vendors                                1.8
07/12/2023                  CC             Review Silvergate bank reconciliations to identify customers and vendors                 2.5
07/12/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,           2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                  DS             Working session with D. Schwartz, J. Somerville, K. Wessel (AlixPartners) re: to         0.3
                                           review presentation on updated intercompany approach
07/12/2023                  DS             Working session with D. Schwartz, J. LaBella, K. Wessel, M. Cervi, T. Toaso, J.          0.9
                                           Chin (AlixPartners) re: discussion on status of Non-QuickBooks and Other
                                           Investments workstream progress and priorities
07/12/2023                  DS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, M. Jacques                          0.6
                                           (AlixPartners) re: scenario planning to prepare and support the financial
                                           statement reconstruction work
07/12/2023                  DS             Meeting with A. Searles, D. Schwartz, M. Cervi (AlixPartners) re: digital tools          0.7
                                           to help support the presentation and analysis of the historical financial statement
                                           reconstruction process
07/12/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,           2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                  DS             Working session with D. Schwartz, E. Mostoff, F. Liang (AlixPartners) re:                0.4
                                           approach for recalculation of Cottonwood Grove token option liabilities
07/12/2023                  DS             Working session with D. Schwartz, E. Mostoff, K. Wessel (AlixPartners), M.               0.5
                                           Shanahan, J. Lee, K. Kearney, S. Witherspoon, D. Hainline, J. Cooper, C.
                                           Broskay (A&M) re: roll forward of Q3 2022 financials to petition date financials
07/12/2023                  DL             Working session with F. Liang, L. Morrison (AlixPartners) re: discuss viability          0.4
                                           of using specific entity data to spot check Alameda third-party accounts balances
07/12/2023                  DL             Search Relativity to identify relevant documents re: January 2021 version of             2.5
                                           Cottonwood Grove Options Grants
07/12/2023                  DL             Review specific entity's wallets attribution list (to silos)                             1.3
07/12/2023                  DL             Update Cottonwood Grove Token Options grant calculation workpaper                        2.6
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                  HOURS
07/12/2023               DL                Working session with B. Mackay, F. Liang, T. Phelan (AlixPartners) re: discuss        0.9
                                           debtors wallets attribution and database
07/12/2023                  DL             Working session with D. Schwartz, E. Mostoff, F. Liang (AlixPartners) re:             0.4
                                           approach for recalculation of Cottonwood Grove token option liabilities
07/12/2023                  DL             Working session with F. Liang, K. Wessel, M. Birtwell (AlixPartners) re: review       0.5
                                           employee bonuses issued by Cottonwood in Sam coin token options
07/12/2023                  EB             Working session with E. Boyle, J. Xu (AlixPartners) re: update on completeness        1.3
                                           checks on loans payable balance
07/12/2023                  EB             Working session with E. Boyle, S. Yao, T. Shen, S. Zhou (AlixPartners) re:            0.3
                                           status update for Other Investment Workstream of historical reconstruction
07/12/2023                  EM             Analyze cash database to identify payments made in connection with specific           1.2
                                           entity acquisition to support financial statement reconstruction
07/12/2023                  EM             Analyze general ledger data within specific account against payments identified       1.1
                                           in connection with specific entity acquisition to support financial statement
                                           reconstruction
07/12/2023                  EM             Analyze specific entity acquisition Share Purchase Agreement to identify              0.8
                                           liabilities associated with share purchase
07/12/2023                  EM             Analyze Share Purchase Agreement for FTX Trading Ltd acquisition of specific          1.6
                                           entity to identify all liabilities associated with share purchase
07/12/2023                  EM             Perform Relativity search for information re: specific entity bank accounts to        0.8
                                           support financial statement reconstruction

07/12/2023                  EM             Perform Relativity search for information re: satisfaction of bonus requirements      0.4
                                           stipulated in acquisition of specific entity
07/12/2023                  EM             Perform Relativity search for invoices related to specific West Realm Shires          0.8
                                           Services Inc general ledger account
07/12/2023                  EM             Working session with D. Schwartz, E. Mostoff, F. Liang (AlixPartners) re:             0.4
                                           approach for recalculation of Cottonwood Grove token option liabilities
07/12/2023                  EM             Working session with D. Schwartz, E. Mostoff, K. Wessel (AlixPartners), M.            0.5
                                           Shanahan, J. Lee, K. Kearney, S. Witherspoon, D. Hainline, J. Cooper, C.
                                           Broskay (A&M) re: roll forward of Q3 2022 financials to petition date financials
07/12/2023                  EM             Working session with E. Mostoff, M. Cervi (AlixPartners) re: historical               0.3
                                           accounting for FTX Trading Ltd investment in specific entity
07/12/2023                  EM             Working session with E. Mostoff, S. Thompson (AlixPartners) re: payments              0.5
                                           associated with FTX Trading Ltd acquisition of specific entity for purposes of
                                           reconstructing historical liability balances
07/12/2023                  JC             Working session with D. Schwartz, J. LaBella, K. Wessel, M. Cervi, T. Toaso, J.       0.9
                                           Chin (AlixPartners) re: discussion on status of Non-QuickBooks and Other
                                           Investments workstream progress and priorities
07/12/2023                  JC             Compile links to supporting evidence of funded amount differences to be sent to       1.2
                                           A&M
07/12/2023                  JC             Draft memo to A&M containing all funded amount differences with supporting            1.4
                                           evidence and questions on investments without sufficient related documentation
07/12/2023                  JC             Continue review of noted differences between the funded amounts recorded in           2.1
                                           the FTX Investments tracker and findings based on available supporting
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/12/2023               JC                Review noted differences between the funded amounts recorded in the FTX                2.8
                                           Investments tracker and findings based on available supporting evidence
07/12/2023                  JRB            Attend call with B. Robison, C. Xu, J. Berg (AlixPartners) re: to discuss              0.5
                                           remaining open items from initial user testing for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/12/2023                   JX            Search for additional non-Alameda loans in Relativity                                  1.4
07/12/2023                   JX            Search Relativity re: specific loans that are missing in Alameda Loan &                2.0
                                           Collateral Schedule
07/12/2023                   JX            Identify liability balance sheet accounts potentially containing third party loan      0.8
                                           payables
07/12/2023                   JX            Working session with E. Boyle, J. Xu (AlixPartners) re: update on completeness         1.3
                                           checks on loans payable balance
07/12/2023                   JX            Continue to search for additional non-Alameda loans in Relativity                      1.8
07/12/2023                  JCL            Working session with D. Schwartz, J. LaBella, K. Wessel, M. Cervi, T. Toaso, J.        0.9
                                           Chin (AlixPartners) re: discussion on status of Non-QuickBooks and Other
                                           Investments workstream progress and priorities
07/12/2023                  JCL            Review schedules supporting operational accounts payable portion of other              1.3
                                           liabilities analysis
07/12/2023                  JCL            Review projected budget and staffing for historical financial statement                0.5
                                           reconstruction team
07/12/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,         2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                  JLS            Working session with D. Schwartz, J. Somerville, K. Wessel (AlixPartners) re: to       0.3
                                           review presentation on updated intercompany approach
07/12/2023                  JLS            Calculate offsetting intercompany balances between West Realm Shires Inc and           1.2
                                           West Realm Shires Services Inc to verify net West Realm Shires Services Inc
                                           intercompany balance
07/12/2023                  JLS            Prepare presentation summarizing AlixPartners approach to intercompany                 2.3
                                           analysis for final balance reporting
07/12/2023                  JLS            Prepare unstructured data searches to verify Investment in Subsidiary balance on       0.6
                                           FTX Trading Ltd
07/12/2023                  JLS            Prepare workpaper summarizing method and assumptions for adjustment of                 0.6
                                           Cottonwood Grove intercompany loan balance
07/12/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,         2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                  JLS            Working session with J. Somerville, T. Shen, X. Su (AlixPartners) re: discussion       0.5
                                           on review coverage of scope-in accounts and FTT payments re: investment in
                                           subsidiaries
07/12/2023                  JKL            Perform QuickBooks backend data extraction using the QODBC and                         1.0
                                           Encabulator tools to update the data
07/12/2023                  KV             Create adjusting journal entry for Folkvang loan (loan portion incorrectly             1.2
                                           reclassified into Other Investments)
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07/12/2023               KV                Update analysis performed for Loans Receivable for each counterparty in                  1.3
                                           preparation for creating the final restating adjusting journal entries for the
                                           workstream (Loan 9)
07/12/2023                  KV             Update analysis performed for Loans Receivable for each counterparty in                  2.9
                                           preparation for creating the final restating adjusting journal entries for the
                                           workstream (Loans 2-6)
07/12/2023                  KV             Update analysis performed for Loans Receivable for each counterparty in                  2.8
                                           preparation for creating the final restating adjusting journal entries for the
                                           workstream (Loans 7-8)
07/12/2023                 KHW             Working session with D. Schwartz, J. Somerville, K. Wessel (AlixPartners) re: to         0.3
                                           review presentation on updated intercompany approach
07/12/2023                 KHW             Working session with D. Schwartz, J. LaBella, K. Wessel, M. Cervi, T. Toaso, J.          0.9
                                           Chin (AlixPartners) re: discussion on status of Non-QuickBooks and Other
                                           Investments workstream progress and priorities
07/12/2023                 KHW             Compile historical Sam-coin collateral pledged for third party loan borrowings           0.5
                                           by Alameda Research Ltd to support further investigation into Sam-coin
07/12/2023                 KHW             Develop summary of process to identify population of digital asset addresses             2.2
                                           including allocation of addresses to applicable entities
07/12/2023                 KHW             Review updated supporting work papers re: determination of adjusting entries to          1.1
                                           record Alameda Research Ltd historical collateral receivable balances
07/12/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,           2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                 KHW             Working session with D. Schwartz, E. Mostoff, K. Wessel (AlixPartners), M.               0.5
                                           Shanahan, J. Lee, K. Kearney, S. Witherspoon, D. Hainline, J. Cooper, C.
                                           Broskay (A&M) re: roll forward of Q3 2022 financials to petition date financials
07/12/2023                 KHW             Working session with F. Liang, K. Wessel, M. Birtwell (AlixPartners) re: review          0.5
                                           employee bonuses issued by Cottonwood in Sam coin token options
07/12/2023                   LS            Download QuickBooks backend data                                                         0.6
07/12/2023                  LIM            Working session with F. Liang, L. Morrison (AlixPartners) re: discuss viability          0.4
                                           of using specific entity data to spot check Alameda third-party accounts balances
07/12/2023                   LJ            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the QuickBooks          0.3
                                           modified transaction audit history by FTX accountant
07/12/2023                  MC             Working session with D. Schwartz, J. LaBella, K. Wessel, M. Cervi, T. Toaso, J.          0.9
                                           Chin (AlixPartners) re: discussion on status of Non-QuickBooks and Other
                                           Investments workstream progress and priorities
07/12/2023                  MC             Edit issue summary in tracker for other investments for A&M update                       1.1
07/12/2023                  MC             Assist with research related to specific loan to understand proper accounting            0.5
                                           treatment
07/12/2023                  MC             Create revised model template for recording progress on incorporating                    2.3
                                           investments into proper accounting
07/12/2023                  MC             Meeting with A. Searles, D. Schwartz, M. Cervi (AlixPartners) re: digital tools          0.7
                                           to help support the presentation and analysis of the historical financial statement
                                           reconstruction process
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07/12/2023               MC                Research specific payment using USDC to understand proper accounting                     1.8
                                           treatment
07/12/2023                  MC             Research specific entity QuickBooks history and acquisition to understand                0.8
                                           proper accounting treatment
07/12/2023                  MC             Review status of specific investment adjustment                                          1.2
07/12/2023                  MC             Review status of specific investment adjustment                                          0.3
07/12/2023                  MC             Working session with E. Mostoff, M. Cervi (AlixPartners) re: historical                  0.3
                                           accounting for FTX Trading Ltd investment in specific entity
07/12/2023                  MB             Working session with F. Liang, K. Wessel, M. Birtwell (AlixPartners) re: review          0.5
                                           employee bonuses issued by Cottonwood in Sam coin token options
07/12/2023                  MJ             Detail review of results of historical cryptocurrency positions and corresponding        1.1
                                           discrepancies across databases
07/12/2023                  MJ             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, M. Jacques                          0.6
                                           (AlixPartners) re: scenario planning to prepare and support the financial
                                           statement reconstruction work
07/12/2023                  QB             Add new investments to investigation of investments in digital assets                    0.4
07/12/2023                  QB             Write memo describing methodology used in investigating investments into                 0.8
                                           digital assets
07/12/2023                  QB             Investigate a specific investment into a digital asset on Relativity and exchange        1.0
07/12/2023                  QB             Investigate additional investments in digital assets                                     0.3
07/12/2023                  QB             Investigate investments into specific entity                                             0.6
07/12/2023                  QB             Prepare findings for investigation into digital assets                                   0.8
07/12/2023                  QB             Update organization of general ledger data validation                                    0.2
07/12/2023                  RS             Search Relativity for third-party exchange account names 'farming', 'investment',        2.5
                                           and 'bridge'
07/12/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX               2.8
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/12/2023                   ST            Working session with E. Mostoff, S. Thompson (AlixPartners) re: payments                 0.5
                                           associated with FTX Trading Ltd acquisition of specific entity for purposes of
                                           reconstructing historical liability balances
07/12/2023                 SYW             Investigate Intangible Asset balances re: specific entity goodwill balance               0.5
07/12/2023                 SYW             Investigate Intangible Asset balances re: specific entity other intangibles balance      2.5

07/12/2023                 SYW             Review general ledger detailed validation analysis leadsheet re: specific account        0.3

07/12/2023                 SYW             Review general ledger detailed validation analysis leadsheet re: specific account        0.3


07/12/2023                 SYW             Review general ledger detailed validation to determine outstanding items and             2.3
                                           allocate to historical financial statement reconstruction workstream team
                                           members to complete
07/12/2023                 SYW             Review sponsorship workbook 'Equity Vesting' schedule for specific party                 0.7
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07/12/2023              SYW                Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,        2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                   SZ            Consolidate current status and findings relating to equity investments for Other      0.7
                                           Investments workstream
07/12/2023                   SZ            Prepare adjusting journal entries relating to Other Investments workstream for        1.1
                                           specific entity
07/12/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other         1.9
                                           Investments workstream for specific entities

07/12/2023                   SZ            Reconcile the FTX investment trackers for specific entities                           1.3
07/12/2023                   SZ            Search QuickBooks database for entries relating to Other Investments                  0.8
                                           workstream for specific entities
07/12/2023                   SZ            Search QuickBooks database for journal entries of accounts relating to loans          1.5
                                           workstream
07/12/2023                   SZ            Working session with E. Boyle, S. Yao, T. Shen, S. Zhou (AlixPartners) re:            0.3
                                           status update for Other Investment Workstream of historical reconstruction
07/12/2023                   SZ            Working session with S. Yao, S. Zhou (AlixPartners) re: QuickBooks search and         0.4
                                           crypto transaction verification for Other Investment Workstream of historical
                                           reconstruction
07/12/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                 1.1
                                           details for specific entity
07/12/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                 1.2
                                           details for specific entity
07/12/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                 1.1
                                           details for specific entity
07/12/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                 0.6
                                           details for specific entity
07/12/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                 0.9
                                           details for specific entity
07/12/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                 1.2
                                           details for specific entity
07/12/2023                  SYY            Working session with E. Boyle, S. Yao, T. Shen, S. Zhou (AlixPartners) re:            0.3
                                           status update for Other Investment Workstream of historical reconstruction
07/12/2023                  SYY            Working session with S. Yao, S. Zhou (AlixPartners) re: QuickBooks search and         0.4
                                           crypto transaction verification for Other Investment Workstream of historical
                                           reconstruction
07/12/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into       1.8
                                           searchable dataset re: Historical Reconstruction
07/12/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction          2.2
07/12/2023                   TS            Draft updated adjusting journal entries of FTT borrowings on the exchange to          1.6
                                           assist with the investment in subsidiaries workstream
07/12/2023                   TS            Prepare process flow chart for the Other Assets workstream to assist with the         1.4
                                           reconstruction of financial statements
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John J. Ray III
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/12/2023               TS                Review FTX internal correspondence and attached documents on Relativity                   1.9
                                           relating to Insider's instructions on FTT payouts to specific entity shareholders to
                                           assist with the investment in subsidiaries workstream
07/12/2023                   TS            Review status update and workbook of the Other Investments workstream to                  1.1
                                           assist with the reconstruction of financial statements
07/12/2023                   TS            Update summary deck of the acquisition of specific entity based on the actual             0.8
                                           flow of FTT tokens to assist with the investment in subsidiaries workstream
07/12/2023                   TS            Working session with E. Boyle, S. Yao, T. Shen, S. Zhou (AlixPartners) re:                0.3
                                           status update for Other Investment Workstream of historical reconstruction
07/12/2023                   TS            Working session with J. Somerville, T. Shen, X. Su (AlixPartners) re: discussion          0.5
                                           on review coverage of scope-in accounts and FTT payments re: investment in
                                           subsidiaries
07/12/2023                  TJH            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: discuss the QuickBooks           0.3
                                           modified transaction audit history by FTX accountant
07/12/2023                   TT            Working session with D. Schwartz, J. LaBella, K. Wessel, M. Cervi, T. Toaso, J.           0.9
                                           Chin (AlixPartners) re: discussion on status of Non-QuickBooks and Other
                                           Investments workstream progress and priorities
07/12/2023                   TT            Analyze cash database activity to support intercompany cash balance analysis              1.6
07/12/2023                   TT            Review adjusting journal entries related to intercompany cash transactions                1.5
07/12/2023                   TT            Review intercompany accounts with cash transactions to support intercompany               0.6
                                           cash balance analysis
07/12/2023                   TT            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            2.5
                                           K. Wessel, T. Toaso (AlixPartners) re: methodology and assumptions related to
                                           adjusting journal entries for intercompany accounts
07/12/2023                   TT            Continue analysis of cash database activity to support intercompany cash balance          1.5
                                           analysis
07/12/2023                   TP            Perform historical review of Alameda's AWS 3rd party exchange positions in                1.3
                                           support of the historical financial statements
07/12/2023                   TP            Working session with B. Mackay, F. Liang, T. Phelan (AlixPartners) re: discuss            0.9
                                           debtors wallets attribution and database
07/12/2023                  XS             Create summary table of investments to calculate coverage rate and show                   1.3
                                           acquisition dates re: investment in subsidiaries
07/12/2023                  XS             Analyze initial deposit for share purchase of specific entity to propose                  1.3
                                           adjustments re: investment in subsidiaries
07/12/2023                  XS             Analyze payments for share purchase of specific entity to propose adjustments             1.5
                                           re: investment in subsidiaries
07/12/2023                  XS             Analyze subsequent measurement of investments pursuant to ASC 323 and 835                 1.6
                                           re: investment in subsidiaries
07/12/2023                  XS             Prepare account balances and review coverage for review of other assets re: other         0.8
                                           assets workstream
07/12/2023                  XS             Update analysis to address comments on properties work paper re: properties               1.4
                                           workstream
07/12/2023                  XS             Working session with J. Somerville, T. Shen, X. Su (AlixPartners) re: discussion          0.5
                                           on review coverage of scope-in accounts and FTT payments re: investment in
                                           subsidiaries
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/13/2023               AS                Meeting with A. Searles, B. Mackay (AlixPartners) re: presentation for counsel            0.1
                                           related to specific Alameda exchange account / OTC Account and its impact on
07/13/2023                  AS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: upcoming presentation             0.2
                                           for counsel related to specific Alameda / OTC Account and its impact on the
                                           financial statements
07/13/2023                  AW             Update process of extracting raw accounting data from the QuickBooks backend              2.4
                                           database
07/13/2023                  AW             Update web-scraping code for extracting the entire audit history from the                 0.8
                                           QuickBooks website
07/13/2023                  AW             Working session with A. Walker, L. Jia (AlixPartners) re: QuickBooks audit                1.0
                                           history scraping debugging
07/13/2023                 BFM             Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                         1.5
                                           (AlixPartners) re: to review specific entity transaction and determine treatment
                                           on the exchange
07/13/2023                 BFM             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                 BFM             Meeting with A. Searles, B. Mackay (AlixPartners) re: presentation for counsel            0.1
                                           related to specific Alameda exchange account / OTC Account and its impact on
07/13/2023                 BFM             Update customer balances summaries by category                                            1.3
07/13/2023                 BFM             Working session with B. Mackay, C. Chen (AlixPartners) re: newly identified               0.5
                                           exchange accounts controlled by FTX
07/13/2023                 BFM             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                 BFM             Working session with B. Mackay, K. Vasiliou, K. Wessel (AlixPartners) re:                 0.5
                                           Findings from Investigations on specific loans
07/13/2023                  CAS            Review documentation for the petition date general ledger journal entry database          1.6
                                           construction
07/13/2023                  CX             Compare structure and workflow for 'Import QuickBooks data' and 'Import                   0.6
                                           Master Template Data' processes for purposes of supporting the financial
                                           statement reconstruction workstream
07/13/2023                  CX             Create staging tables for master summary database template in Access to match             1.1
                                           the previously created VBA code for purposes of supporting the financial
                                           statement reconstruction workstream
07/13/2023                  CX             Update VBA for master summary database template in Access for purposes of                 0.8
                                           supporting the financial statement reconstruction workstream
07/13/2023                  CX             Update append record functionality in the master summary database template for            1.2
                                           purposes of supporting the financial statement reconstruction workstream
07/13/2023                  CC             Analyze counterparties related to expenses in the QuickBooks general ledger               1.4
07/13/2023                  CC             Review fiat deposit activities in Alameda Research Ltd's exchange accounts on             1.9
                                           FTX.us exchange
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/13/2023               CC                Review fiat withdrawal activities in Alameda Research Ltd's exchange accounts             1.7
                                           on FTX.us exchange
07/13/2023                  CC             Working session with B. Mackay, C. Chen (AlixPartners) re: newly identified               0.5
                                           exchange accounts controlled by FTX
07/13/2023                  CC             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                  CC             Working session with C. Chen, C. Wong (AlixPartners) re: queries to analyze               0.5
                                           non-cash activities in intercompany receivable and payable accounts
07/13/2023                  CC             Working session with C. Chen, L. Jia (AlixPartners) re: identifying vendor and            0.4
                                           cash disbursement information in QuickBooks SQL database
07/13/2023                  CC             Working session with C. Chen, T. Kang (AlixPartners) re: joining exchange fiat            0.8
                                           tables with account user tables and foreign exchange rates table
07/13/2023                  DS             Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                         1.5
                                           (AlixPartners) re: to review specific entity transaction and determine treatment
                                           on the exchange
07/13/2023                  DS             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                  DS             Document plan to ensure completeness of digital assets in financial statements            1.0
                                           reconstruction
07/13/2023                  DS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: upcoming presentation             0.2
                                           for counsel related to specific Alameda / OTC Account and its impact on the
                                           financial statements
07/13/2023                  DS             Meeting with C. Wong, D. Schwartz, O. Braat (AlixPartners) re: investigating              0.7
                                           investments into Digital Assets for general ledger detail validation/purposes of
                                           verifying intercompany and related party balances.
07/13/2023                  DS             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:            0.4
                                           debrief on action items following weekly update with M. Cilia
07/13/2023                  DS             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:            1.3
                                           staffing, resource planning and resource allocation re: remaining financial
                                           statement recreation remaining efforts
07/13/2023                  DS             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners), M.            0.7
                                           Cilia (FTX) re: update on progress and workplan for financial statement
                                           recreation
07/13/2023                  DS             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                  DL             Cross check wallet population for Alameda entities between master address list            1.9
                                           and known Solana addresses
07/13/2023                  DL             Update Cottonwood Grove options liabilities calculation workpaper to include              2.2
                                           Jan 2, 2021 version considerations
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                        HOURS
07/13/2023               DL                Working session with E. Mostoff, F. Liang (AlixPartners) re: adjusting journal            0.4
                                           entries for Cottonwood Grove accrued expenses account
07/13/2023                  DL             Working session with F. Liang, L. Jia, R. Self (AlixPartners) re: exchange                0.6
                                           coverage of Alameda database snapshot blob
07/13/2023                  DL             Working session with F. Liang, M. Birtwell (AlixPartners) re: discuss                     0.4
                                           Cottonwood Grove options grants (Jan 2021 version v. Sept 2021 version)
07/13/2023                  DL             Working session with F. Liang, R. Self (AlixPartners) re: status and next steps           0.6
                                           for Alameda's third party exchange accounts
07/13/2023                  EB             Working session with E. Boyle, J. Xu, K. Vasiliou, K. Wessel (AlixPartners) re:           0.6
                                           update on completeness checks on loans payable and receivable balances
07/13/2023                  EM             Analyze bank account tracker for additional sources of AlixPartners-identified            0.6
                                           customer accounts
07/13/2023                  EM             Perform Relativity search re: FTX Capital Markets LLC affiliation with specific           0.4
                                           entity to support financial statement reconstruction
07/13/2023                  EM             Perform Relativity search re: specific entity trading account at other specific           1.1
07/13/2023                  EM             Research general ledger data re: journal entries within specific account to support       0.7
                                           financial statement reconstruction
07/13/2023                  EM             Research general ledger data re: specific entity trading account with other               0.4
                                           specific entity
07/13/2023                  EM             Update bank account tracker with data re: new bank accounts identified to                 0.5
                                           support financial statement reconstruction
07/13/2023                  EM             Update specific general ledger account detail validation analysis with list of            0.3
                                           unique journal entry categorizations to support development of workplan for
                                           further analysis
07/13/2023                  EM             Update processes and procedures summary for specific account group                        0.3
07/13/2023                  EM             Working session with E. Mostoff, F. Liang (AlixPartners) re: adjusting journal            0.4
                                           entries for Cottonwood Grove accrued expenses account
07/13/2023                  GG             Analyze FTX.com exchange user balance data for the new tags created                       2.4
07/13/2023                  GG             Analyze FTX.com exchange user balances for accounts without a user ID                     2.7
07/13/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: review updates and              0.8
                                           requests for A&M re: the FTX investments schedule
07/13/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on                   1.7
                                           proposed model to support all entries that make up the adjusted Other
                                           Investments general ledger account
07/13/2023                  JC             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                  JC             Update Other Investments master file with all related journal entries from Non-           0.4
                                           QuickBooks sources
07/13/2023                  JC             Update Other Investments master file with all related journal entries from                1.4
                                           QuickBooks data
07/13/2023                  JC             Update Other Investments master file with all related journal entries from the            1.6
                                           FTX Investments tracker
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/13/2023               JRB               Update Devops workplan tracker using the master summary database for                      1.1
                                           purposes of supporting the financial statement reconstruction workstream
07/13/2023                   JX            Review liability balance sheet accounts potentially containing third party loan           0.9
                                           payables
07/13/2023                   JX            Search for additional non-Alameda loans in Relativity                                     0.8
07/13/2023                   JX            Search for loan transactions in a blockchain explorer to verify the actual                2.2
                                           occurrence of loans
07/13/2023                   JX            Working session with E. Boyle, J. Xu, K. Vasiliou, K. Wessel (AlixPartners) re:           0.6
                                           update on completeness checks on loans payable and receivable balances
07/13/2023                  JCL            Review investments tracker supporting other investment balance sheet accounts             0.8
                                           to identify crypto based transactions needing validation
07/13/2023                  JCL            Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:            0.4
                                           debrief on action items following weekly update with M. Cilia
07/13/2023                  JCL            Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:            1.3
                                           staffing, resource planning and resource allocation re: remaining financial
                                           statement recreation remaining efforts
07/13/2023                  JCL            Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners), M.            0.7
                                           Cilia (FTX) re: update on progress and workplan for financial statement
                                           recreation
07/13/2023                  JCL            Teleconference call with J. LaBella, K. Wessel (AlixPartners) re: preparation for         0.4
                                           meeting with M. Cilia (FTX) re: financial statement recreation progress and
                                           topics for discussion
07/13/2023                  JCL            Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                  JLS            Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                  JLS            Draft correspondence re: A&M analysis on intercompany pairings                            0.3
07/13/2023                  JLS            Draft correspondence to A&M re: comparing intercompany customer cash                      0.3
                                           approach
07/13/2023                  JLS            Analyze purchase price allocation for transaction on FTX Trading Ltd to verify            0.7
                                           Investment in Subsidiary balance
07/13/2023                  JLS            Prepare workpaper summarizing analysis of Investment in Subsidiary balance on             0.6
                                           West Realm Shires Inc
07/13/2023                  JLS            Update documentation re: verification of Investment in Subsidiary balance on              0.3
                                           FTX Trading
07/13/2023                  JLS            Update intercompany documentation to reflect intercompany customer cash                   1.8
                                           identification approach
07/13/2023                  JLS            Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                  KV             Calculate loan interest receivable balances for the restated loans receivable             0.8
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/13/2023               KV                Create adjusting journal entries for the restatement of the principal amounts of          1.4
                                           Loans Receivable
07/13/2023                  KV             Update analysis performed for Loans Receivable for each counterparty in                   2.1
                                           preparation for creating the final restating adjusting journal entries for the
                                           workstream (specific entity loan and collateral balances)
07/13/2023                  KV             Update analysis performed for Loans Receivable for each counterparty in                   2.4
                                           preparation for creating the final restating adjusting journal entries for the
                                           workstream (Loans 10-)
07/13/2023                  KV             Working session with E. Boyle, J. Xu, K. Vasiliou, K. Wessel (AlixPartners) re:           0.6
                                           update on completeness checks on loans payable and receivable balances
07/13/2023                  KV             Working session with B. Mackay, K. Vasiliou, K. Wessel (AlixPartners) re:                 0.5
                                           Findings from Investigations on specific loans
07/13/2023                 KHW             Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                         1.5
                                           (AlixPartners) re: to review specific entity transaction and determine treatment
                                           on the exchange
07/13/2023                 KHW             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                 KHW             Review procedures to ensure completeness of historical third party loan                   0.8
                                           population for FTX Group entities beyond Alameda Research Ltd
07/13/2023                 KHW             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:            0.4
                                           debrief on action items following weekly update with M. Cilia
07/13/2023                 KHW             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:            1.3
                                           staffing, resource planning and resource allocation re: remaining financial
                                           statement recreation remaining efforts
07/13/2023                 KHW             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners), M.            0.7
                                           Cilia (FTX) re: update on progress and workplan for financial statement
                                           recreation
07/13/2023                 KHW             Teleconference call with J. LaBella, K. Wessel (AlixPartners) re: preparation for         0.4
                                           meeting with M. Cilia (FTX) re: financial statement recreation progress and
                                           topics for discussion
07/13/2023                 KHW             Update documentation of digital wallet identification / allocation approach to            0.3
                                           incorporate attribution logic
07/13/2023                 KHW             Working session with E. Boyle, J. Xu, K. Vasiliou, K. Wessel (AlixPartners) re:           0.6
                                           update on completeness checks on loans payable and receivable balances
07/13/2023                 KHW             Working session with B. Mackay, K. Vasiliou, K. Wessel (AlixPartners) re:                 0.5
                                           Findings from Investigations on specific loans
07/13/2023                   LS            Download QuickBooks backend data                                                          0.5
07/13/2023                   LS            Update widget for downloading QuickBooks backend data                                     1.8
07/13/2023                   LJ            Working session with A. Walker, L. Jia (AlixPartners) re: QuickBooks audit                1.0
                                           history scraping debugging
07/13/2023                   LJ            Working session with C. Chen, L. Jia (AlixPartners) re: identifying vendor and            0.4
                                           cash disbursement information in QuickBooks SQL database
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07/13/2023               LJ                Working session with F. Liang, L. Jia, R. Self (AlixPartners) re: exchange                0.6
                                           coverage of Alameda database snapshot blob
07/13/2023                   LJ            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: QuickBooks modified              0.8
                                           transaction audit history FTX Accountant extraction
07/13/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: review updates and              0.8
                                           requests for A&M re: the FTX investments schedule
07/13/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on                   1.7
                                           proposed model to support all entries that make up the adjusted Other
                                           Investments general ledger account
07/13/2023                  MC             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                  MC             Research specific entity cash movements to understand proper accounting                   0.4
07/13/2023                  MC             Research specific investment to determine ownership                                       0.5
07/13/2023                  MC             Review adjusting journal entries related to specific investment                           0.3
07/13/2023                  MC             Review adjusting journal entries related to specific investment                           0.3
07/13/2023                  MC             Review adjusting journal entries related to specific investment                           0.3
07/13/2023                  MC             Review adjusting journal entries related to specific investment                           0.3
07/13/2023                  MC             Review status of specific investment adjusting journal entries                            0.4
07/13/2023                  MC             Review updates to specific investment adjustment                                          0.2
07/13/2023                  MB             Working session with F. Liang, M. Birtwell (AlixPartners) re: discuss                     0.4
                                           Cottonwood Grove options grants (Jan 2021 version v. Sept 2021 version)
07/13/2023                  MJ             Review QuickBooks data changes related to historical financial statements for             0.8
                                           purposes of production to government regulator
07/13/2023                  QB             Investigate investments without known wallet addresses to provide background              1.1
                                           on journal entries for related exchange searches
07/13/2023                  QB             Meeting with C. Wong, D. Schwartz, O. Braat (AlixPartners) re: investigating              0.7
                                           investments into Digital Assets for general ledger detail validation/purposes of
                                           verifying intercompany and related party balances.
07/13/2023                  QB             Review support for investments into digital assets in preparation for internal            0.7
                                           meeting
07/13/2023                  QB             Update organization of general ledger data validation                                     0.5
07/13/2023                  RS             Investigate general ledger detailed validation entries categorized as 'FTX                1.4
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/13/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX                1.4
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/13/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX                1.5
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/13/2023                   RS            Update account mapping in Alameda's third-party exchange data workpaper to                0.4
                                           include all quarter end balances
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Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/13/2023               RS                Working session with C. Wong, R. Self (AlixPartners) re: investigation of                 0.5
                                           general ledger detailed validation entries categorized as 'reclass' for particular
                                           account
07/13/2023                   RS            Working session with F. Liang, L. Jia, R. Self (AlixPartners) re: exchange                0.6
                                           coverage of Alameda database snapshot blob
07/13/2023                   RS            Working session with F. Liang, R. Self (AlixPartners) re: status and next steps           0.6
                                           for Alameda's third party exchange accounts
07/13/2023                  RB             Analyze on-chain data for blockchain confirmation of token investments made               1.8
                                           by debtor entities
07/13/2023                  RB             Create data query for identified debtor wallets on exchange accounts for insider          1.2
                                           crypto transfer investigation
07/13/2023                  RB             Review Relativity documents to deduce on-chain confirmation of the occurrence             1.3
                                           of token investments by debtor entities
07/13/2023                 SYW             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                 SYW             Meeting with C. Wong, D. Schwartz, O. Braat (AlixPartners) re: investigating              0.7
                                           investments into Digital Assets for general ledger detail validation/purposes of
                                           verifying intercompany and related party balances.
07/13/2023                 SYW             Review categorization of 'Other Liabilities' re: general ledger detailed validation       2.0
                                           analysis
07/13/2023                 SYW             Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                 SYW             Working session with C. Chen, C. Wong (AlixPartners) re: queries to analyze               0.5
                                           non-cash activities in intercompany receivable and payable accounts
07/13/2023                 SYW             Working session with C. Wong, R. Self (AlixPartners) re: investigation of                 0.5
                                           general ledger detailed validation entries categorized as 'reclass' for particular
                                           account
07/13/2023                   SK            Working session with C. Chen, T. Kang (AlixPartners) re: joining exchange fiat            0.8
                                           tables with account user tables and foreign exchange rates table
07/13/2023                   SZ            Consolidate current status and findings relating to equity investments for Other          0.2
                                           Investments workstream
07/13/2023                   SZ            Prepare adjusting journal entries relating to Other Investments workstream for            1.2
                                           specific entity
07/13/2023                   SZ            Research blockchain data for wallet transactions relating to Other Investments            0.2
                                           workstream for specific entity
07/13/2023                   SZ            Reconcile the FTX investment trackers for specific entities                               1.7


07/13/2023                   SZ            Search Relativity for investment agreements and relevant documents relating to            1.3
                                           Other Investments workstream for specific entities
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                        HOURS
07/13/2023               SZ                Search Relativity for investment agreements relating to Other Investments                 1.2
                                           workstream for specific entity
07/13/2023                   SZ            Search QuickBooks database for entries relating to Other Investments                      0.9
                                           workstream for specific entities

07/13/2023                  SYY            Reconcile FTX investment tracker for Alameda other investments workstream                 2.6
                                           for nine specific entities


07/13/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                     0.5
                                           details for specific entity
07/13/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                     0.2
                                           details for specific entity
07/13/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                     0.2
                                           details for specific entity
07/13/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                     1.8
                                           details for specific entity
07/13/2023                  SYY            Update Alameda loan workstream workbook with FTX loan agreements loan                     0.6
                                           details for specific entity
07/13/2023                  SYY            Update FTX investment tracker for Alameda other investment workstream for                 2.6
                                           nine specific entities


07/13/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into           2.1
                                           searchable dataset re: Historical Reconstruction
07/13/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction              1.9
07/13/2023                  SRH            Teleconference call with S. Hanzi, T. Phelan (AlixPartners) re: discussion /              2.3
                                           review of solana blockchain files and the data transformations that the files
                                           require
07/13/2023                   TS            Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                  TJH            Attend meeting with L. Jia, T. Hofner (AlixPartners) re: QuickBooks modified              0.8
                                           transaction audit history FTX Accountant extraction
07/13/2023                   TT            Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                   TT            Analyze cash database activity to support intercompany cash balance analysis              2.8
07/13/2023                   TT            Review adjusting journal entries related to intercompany cash transactions                2.0
07/13/2023                   TT            Review supporting documentation for reconstruction of financial statements                0.8
                                           related to other liabilities accounts
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07/13/2023               TT                Working session with B. Mackay, C. Chen, C. Wong, D. Schwartz, J. LaBella,                1.0
                                           J. Somerville, T. Toaso (AlixPartners) re: review intercompany approach re:
                                           general ledger detail validation analysis
07/13/2023                   TP            Working session with B. Mackay, D. Schwartz, K. Wessel, T. Phelan                         1.5
                                           (AlixPartners) re: to review specific entity transaction and determine treatment
                                           on the exchange
07/13/2023                   TP            Perform review of revised daily exchange user balances based on implemented               2.2
                                           adjustments for use in the financial statement reconstruction
07/13/2023                   TP            Review debtor wallet data to validation association with debtor entities for use in       2.6
                                           the recreation of the historical financial statements
07/13/2023                   TP            Teleconference call with S. Hanzi, T. Phelan (AlixPartners) re: discussion /              2.3
                                           review of solana blockchain files and the data transformations that the files
                                           require
07/13/2023                  XS             Working session with B. Mackay, C. Wong, D. Schwartz, J. Somerville, K.                   1.0
                                           Wessel, M. Cervi, T. Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re:
                                           discussion on possible adjusted journal entries that will need to be drafted for the
                                           FTT transfers to specific entity Shareholders which will reflect the contractual
                                           agreements or the actual movement of FTT
07/13/2023                  XS             Prepare review procedures and assumptions for other assets workstream                     1.8
07/13/2023                  XS             Search for documents containing information on specific general ledger account            1.6
                                           booked by Alameda on Relativity re: other assets workstream

07/13/2023                  XS             Search for documents for specific general ledger account by WRSS on Relativity            1.8
                                           re: other assets workstream
07/13/2023                  XS             Search for documents for specific general ledger account by FTX Trading on                1.5
                                           Relativity re: other assets workstream
07/13/2023                  XS             Update review coverage and investee entities on work paper re: investment in              0.8
                                           subsidiaries
07/14/2023                 BFM             Update summary of wallet balances vs. exchange balances re: FTT                           1.2
07/14/2023                 BAR             Review functionality for auto assigning identification numbers for master                 0.6
                                           summary database for purposes of supporting the financial statement
                                           reconstruction workstream
07/14/2023                  BAR            Review user audit tracking work flow for master summary database for purposes             1.6
                                           of supporting the financial statement reconstruction workstream
07/14/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement                 0.3
                                           reconstruction
07/14/2023                  CAS            Review documentation for the petition date general ledger journal entry database          0.8
                                           construction
07/14/2023                  CAS            Review documentation for the petition date general ledger journal entry database          2.7
                                           construction
07/14/2023                  CX             Compare stored procedure for master summary database Template Import and                  0.7
                                           QuickBooks Import to find structures that should be the same for purposes of
                                           supporting the financial statement reconstruction workstream
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07/14/2023               CX                Update stored procedure for importing the master summary database template in          1.1
                                           SQL for purposes of supporting the financial statement reconstruction
                                           workstream
07/14/2023                  CX             Update stored procedure functionality in the master summary database for               1.3
                                           purposes of supporting the financial statement reconstruction workstream
07/14/2023                  CC             Prepare standardized counterparty IDs for QuickBooks general ledger                    2.2
                                           intercompany accounts
07/14/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research Ltd's                  1.4
                                           Intercompany Payable with specific entity
07/14/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research Ltd's                  1.1
                                           Intercompany Receivable with specific entity
07/14/2023                  CC             Update leadsheet with proposed adjustments re: specific entity's Related Party         0.8
                                           Receivable with North Dimension Inc
07/14/2023                  CC             Update leadsheet with proposed adjustments re: Clifton Bay Investments LLC's           0.9
                                           Related Party Payable with Alameda Research Ltd
07/14/2023                  DS             Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                       0.2
                                           (AlixPartners) re: potential accounting for FTT

07/14/2023                  DS             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.8
                                           (AlixPartners) re: approach for accounts payable balance validation
07/14/2023                  DS             Update plan to ensure completeness of digital assets in financial statements           0.7
                                           reconstruction
07/14/2023                  DS             Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, T.        0.6
                                           Phelan (AlixPartners) re: discuss timing on producing historical Solana wallets
                                           balances and next steps of identifying NFTs and valuation guidance
07/14/2023                  DS             Working session with D. Schwartz, E. Mostoff, T. Toaso (AlixPartners) re:              0.3
                                           progress on other liability general ledger detail validation
07/14/2023                  DJW            Investigate company digital asset investments on Solana decentralized finance          2.2
                                           platforms
07/14/2023                  DJW            Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, T.        0.6
                                           Phelan (AlixPartners) re: discuss timing on producing historical Solana wallets
                                           balances and next steps of identifying NFTs and valuation guidance
07/14/2023                  DJW            Working session with D. White, E. Mostoff (AlixPartners) re: historical USDC           0.1
                                           balances captured in ETH wallet analysis
07/14/2023                  DL             Compare snapshotblob table against Alameda balance sheet data                          2.9
07/14/2023                  DL             Search Relativity to identify Alameda's accounts on third-party exchanges              2.4
07/14/2023                  DL             Review updated Alameda third-party exchange balances workpaper                         1.0
07/14/2023                  DL             Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, T.        0.6
                                           Phelan (AlixPartners) re: discuss timing on producing historical Solana wallets
                                           balances and next steps of identifying NFTs and valuation guidance
07/14/2023                  DL             Working session with E. Mostoff, F. Liang (AlixPartners) re: pointer data related      0.6
                                           to open futures positions, Cottonwood Grove token option liabilities, and USDC
                                           holdings captured in adjusted balance sheet
07/14/2023                  DL             Working session with F. Liang, L. Jia, L. Morrison (AlixPartners) re: discuss          0.6
                                           reconciliation of Snapshotblob data to Alameda Balance Sheet (pointer data)
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/14/2023               DL                Working session with E. Mostoff, F. Liang (AlixPartners) re: specific entity           0.1
                                           wallet addresses captured in ETH wallet analysis
07/14/2023                  EB             Documentation of approach, assumptions and limitations in adjusting journal            1.0
                                           entries master loans payable file
07/14/2023                  EM             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.8
                                           (AlixPartners) re: approach for accounts payable balance validation
07/14/2023                  EM             Analyze completion status of Silvergate bank accounts for Alameda Research             0.2
                                           Ltd to support financial statement reconstruction
07/14/2023                  EM             Analyze data re: bank accounts identified as incomplete to identify potential          0.8
                                           follow up items for bankruptcy advisors
07/14/2023                  EM             Analyze historical cash balance reconstruction workpapers for bank accounts            0.7
                                           needing source documentation updates
07/14/2023                  EM             Analyze wallets included in restated Digital Asset balances to support financial       0.3
                                           statement reconstruction
07/14/2023                  EM             Perform Relativity search for data re: FTX Capital Markets LLC Silvergate              0.7
                                           accounts to support historical cash balance reconstruction
07/14/2023                  EM             Research agreement between FTX Trading Ltd and specific entity to identify             0.4
                                           information re: custodial USDC wallet addresses
07/14/2023                  EM             Update workplan for bank account completion analysis to support financial              0.8
                                           statement reconstruction
07/14/2023                  EM             Working session with C. Wong, E. Mostoff (AlixPartners) re: approach for               0.5
                                           Other Liabilities general ledger detail validation
07/14/2023                  EM             Working session with D. Schwartz, E. Mostoff, T. Toaso (AlixPartners) re:              0.3
                                           progress on other liability general ledger detail validation
07/14/2023                  EM             Working session with D. White, E. Mostoff (AlixPartners) re: historical USDC           0.1
                                           balances captured in ETH wallet analysis
07/14/2023                  EM             Working session with E. Mostoff, F. Liang (AlixPartners) re: pointer data related      0.6
                                           to open futures positions, Cottonwood Grove token option liabilities, and USDC
                                           holdings captured in adjusted balance sheet
07/14/2023                  EM             Working session with E. Mostoff, J. LaBella, T. Toaso (AlixPartners) re:               0.8
                                           approach for Other Liabilities general ledger detail validation
07/14/2023                  EM             Working session with E. Mostoff, F. Liang (AlixPartners) re: specific entity           0.1
                                           wallet addresses captured in ETH wallet analysis
07/14/2023                  GG             Create a coin grouping script to generate FTX.com exchange user balances for           2.6
                                           accounts without a user ID
07/14/2023                  GG             Create an individual components script to generate FTX.com exchange user               2.9
                                           balances for accounts without a user ID
07/14/2023                  GG             Create a user conversion script to generate FTX.com exchange user balances for         2.9
                                           accounts without a user ID
07/14/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on the            0.6
                                           process to transfer data from the FTX investments tracker to the new Other
                                           Investments Master File
07/14/2023                  JC             Continue review of Other Investments master file for duplicate accounts between        2.2
                                           QuickBooks and the FTX Investments tracker
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/14/2023               JC                Review Other Investments master file for duplicate accounts between                   2.8
                                           QuickBooks and the FTX Investments tracker
07/14/2023                  JC             Update Other Investments master file with matching account numbers to account         2.6
                                           names
07/14/2023                  JRB            Update associated entity forms using the master summary database for purposes         1.7
                                           of supporting the financial statement reconstruction workstream
07/14/2023                   JX            Reconstruct details of newly identified loans                                         1.9
07/14/2023                   JX            Review detailed QuickBooks records to verify loan balances of Alameda entities        2.5
07/14/2023                   JX            Review detailed QuickBooks records to verify loan balances of FTX Group               3.0
                                           entities excluding Alameda entities
07/14/2023                   JX            Search for additional loan agreements using key words obtained from                   0.8
                                           QuickBooks comments
07/14/2023                  JCL            Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso           0.8
                                           (AlixPartners) re: approach for accounts payable balance validation
07/14/2023                  JCL            Analyze major account balances within non-QuickBooks entities for purposes of         0.8
                                           evaluating remaining open items
07/14/2023                  JCL            Review current legal entity balance sheets and roll up into consolidated balance      0.8
                                           sheet for purposes of identifying elimination methodology
07/14/2023                  JCL            Review methodology and analysis prepared for other liabilities to assess nature       1.2
                                           of transactions recorded in accounts and balances over quarters
07/14/2023                  JCL            Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, T.       0.6
                                           Phelan (AlixPartners) re: discuss timing on producing historical Solana wallets
                                           balances and next steps of identifying NFTs and valuation guidance
07/14/2023                  JCL            Working session with E. Mostoff, J. LaBella, T. Toaso (AlixPartners) re:              0.8
                                           approach for Other Liabilities general ledger detail validation
07/14/2023                  JLS            Prepare correspondence re: required conditions for preference recovery                0.2
07/14/2023                  JLS            Prepare notes on docket #1866 (Adversary Complaint re: specific entity) for           1.6
                                           context re: verification of related Investment in Subsidiary balance on FTX
07/14/2023                  JLS            Prepare slide summarizing AlixPartners approach to customer cash intercompany         0.3
                                           balances
07/14/2023                  JKL            Update the backend QuickBooks data for the 19 instances that were successfully        1.5
                                           downloaded by populating the master tables in the database with the data from
                                           the parsed JSON file
07/14/2023                  KV             Calculate loan interest receivable balances for the restated loans receivable         2.6
07/14/2023                 KHW             Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                      0.2
                                           (AlixPartners) re: potential accounting for FTT

07/14/2023                 KHW             Develop procedures to validate completeness of potential unrecorded historical        1.7
                                           balances for financial statement recreation
07/14/2023                 KHW             Develop sources for additional reference to incorporate into financial statement      1.1
                                           recreation completeness checks to mitigate risk of unrecorded assets/liabilities
07/14/2023                 KHW             Update documentation to detail allocation of digital address population to            0.7
                                           appropriate FTX Group entity
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07/14/2023              KHW                Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, T.       0.6
                                           Phelan (AlixPartners) re: discuss timing on producing historical Solana wallets
                                           balances and next steps of identifying NFTs and valuation guidance
07/14/2023                   LS            Update QuickBooks backend downloading procedures                                      2.0
07/14/2023                  LIM            Working session with F. Liang, L. Jia, L. Morrison (AlixPartners) re: discuss         0.6
                                           reconciliation of Snapshotblob data to Alameda Balance Sheet (pointer data)
07/14/2023                   LJ            Working session with F. Liang, L. Jia, L. Morrison (AlixPartners) re: discuss         0.6
                                           reconciliation of Snapshotblob data to Alameda Balance Sheet (pointer data)
07/14/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on the           0.6
                                           process to transfer data from the FTX investments tracker to the new Other
                                           Investments Master File
07/14/2023                  MC             Review latest update for specific investment adjustment                               0.3
07/14/2023                  MC             Review latest update for specific investment adjustment                               0.2
07/14/2023                  MC             Review latest update for specific investment adjustment                               0.2
07/14/2023                  MC             Review latest update for specific investment adjustment                               0.4
07/14/2023                  MC             Review status of revised master investment model                                      1.1
07/14/2023                  QB             Call with C. Wong, O. Braat (AlixPartners) re: investigating investments into         0.6
                                           digital assets for purposes of reconstructing historical financial statements
07/14/2023                  QB             Investigate outstanding investments into digital assets                               2.2
07/14/2023                  QB             Organize support for investments into digital assets                                  1.4
07/14/2023                  RS             Update account mapping in Alameda's third-party exchange data workpaper to            1.5
                                           include all quarter end balances
07/14/2023                   RS            Update Alameda's third-party exchange data workpapers and source files for            1.9
                                           digital assets workstream
07/14/2023                 SYW             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso           0.8
                                           (AlixPartners) re: approach for accounts payable balance validation
07/14/2023                 SYW             Update approach to breaking out intercompany general ledger account balances          1.6
                                           not in scope for general ledger detailed validation between cash and non-cash
                                           activity
07/14/2023                 SYW             Call with C. Wong, O. Braat (AlixPartners) re: investigating investments into         0.6
                                           digital assets for purposes of reconstructing historical financial statements
07/14/2023                 SYW             Draft email re: breakout of cash and non-cash transactions for out of scope           0.5
                                           general ledger detailed validation analysis for intercompany accounts
07/14/2023                 SYW             Perform general ledger detailed validation re: specific individual charitable         2.5
                                           giving donation
07/14/2023                 SYW             Perform general ledger detailed validation re: share-based compensation               1.5
07/14/2023                 SYW             Working session with C. Wong, E. Mostoff (AlixPartners) re: approach for              0.5
                                           Other Liabilities general ledger detail validation
07/14/2023                   SZ            Consolidate current status and findings relating to equity investments for Other      0.2
                                           Investments workstream
07/14/2023                   SZ            Prepare adjusting journal entries relating to Other Investments workstream for        0.3
                                           specific entity
07/14/2023                   SZ            Prepare adjusting journal entries relating to Other Investments workstream for        0.9
                                           specific entity
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07/14/2023               SZ                Research blockchain data for wallet transactions relating to Other Investments       0.2
                                           workstream for specific entity
07/14/2023                   SZ            Reconcile the FTX investment trackers for specific entities                          1.4

07/14/2023                   SZ            Reconcile the FTX investment trackers for specific entities                          1.0

07/14/2023                   SZ            Reconcile the FTX investment trackers for specific entities                          1.7

07/14/2023                   SZ            Search QuickBooks database for entries relating to Other Investments                 1.1
                                           workstream for specific entities
07/14/2023                   SZ            Working session with S. Yao, S. Zhou (AlixPartners) re: QuickBooks search and        0.4
                                           crypto transaction verification for Other Investment Workstream of historical
                                           reconstruction
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.1
                                           explorers for specific entity
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.1
                                           explorers for specific entity
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.1
                                           explorers for specific entity
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.2
                                           explorers for specific entity
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.1
                                           explorers for specific entity
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.1
                                           explorers for specific entity
07/14/2023                  SYY            Search transaction details for Alameda loan counterparties on blockchain             1.1
                                           explorers for specific entity
07/14/2023                  SYY            Working session with S. Yao, S. Zhou (AlixPartners) re: QuickBooks search and        0.4
                                           crypto transaction verification for Other Investment Workstream of historical
                                           reconstruction
07/14/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into      1.3
                                           searchable dataset re: Historical Reconstruction
07/14/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction         1.1
07/14/2023                   TT            Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                     0.2
                                           (AlixPartners) re: potential accounting for FTT

07/14/2023                   TT            Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso          0.8
                                           (AlixPartners) re: approach for accounts payable balance validation
07/14/2023                   TT            Working session with D. Schwartz, E. Mostoff, T. Toaso (AlixPartners) re:            0.3
                                           progress on other liability general ledger detail validation
07/14/2023                   TT            Working session with E. Mostoff, J. LaBella, T. Toaso (AlixPartners) re:             0.8
                                           approach for Other Liabilities general ledger detail validation
07/14/2023                   TP            Working session with D. Schwartz, K. Wessel, T. Phelan, T. Toaso                     0.2
                                           (AlixPartners) re: potential accounting for FTT
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/14/2023               TP                Analyze Solana block chain signature data related to debtor accounts for use in       2.3
                                           the recreation of the historical financial statements
07/14/2023                   TP            Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, T.       0.6
                                           Phelan (AlixPartners) re: discuss timing on producing historical Solana wallets
                                           balances and next steps of identifying NFTs and valuation guidance
07/14/2023                  XS             Analyze supporting documents of specific general ledger account booked by             1.7
                                           FTX Trading re: other assets workstream
07/14/2023                  XS             Analyze supporting documents of specific general ledger account booked by             1.2
                                           specific entity re: other assets workstream
07/14/2023                  XS             Analyze supporting documents of specific general ledger account re: other assets      1.9
                                           workstream
07/14/2023                  XS             Prepare process and source flow chart re: other asset workstream                      1.8
07/14/2023                  XS             Update workpaper after review of newly identified documents on Relativity re:         1.8
                                           investment in subsidiaries
07/16/2023                  DL             Research Alameda Ventures LTD's investment in future tokens (SAFTs)                   1.7
07/16/2023                  JC             Working session with M. Cervi, T. Yamada, J. Chin (AlixPartners) re: review           0.5
                                           new journal entries input into the adjusted balance sheet for specific entity
07/16/2023                  MC             Working session with M. Cervi, T. Yamada, J. Chin (AlixPartners) re: review           0.5
                                           new journal entries input into the adjusted balance sheet for specific entity
07/17/2023                  AP             Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.        0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                  AP             Attend meeting with J. LaBella, A. Patti re: identifying sources of NFT               1.0
                                           accounting records for purposes of developing a workplan for NFTs
07/17/2023                  AP             Review historical financial statement documentation and workplan                      2.5
07/17/2023                  AC             Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.        0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                 BFM             Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.        0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                 BFM             Attend working session with B. Mackay, D. White, L. Beischer, T. Phelan               0.5
                                           (AlixPartners) re: FTT
07/17/2023                 BFM             Attend working session with B. Mackay, L. Goldman (AlixPartners) re: FTT              0.5
                                           supply
07/17/2023                 BFM             Attend working session with B. Mackay, L. Goldman (AlixPartners) re: OTC              0.4
                                           Portal
07/17/2023                 BFM             Review historical customer exchange balances re: locked FTT                           0.9
07/17/2023                 BFM             Update demonstratives re: FTT customer balances vs. wallet balances                   2.2
07/17/2023                 BAR             Review data upload for bulk information records for master summary database           1.6
                                           for purposes of supporting the financial statement reconstruction workstream
07/17/2023                  BAR            Develop item issue resolution for master summary database for purposes of             1.7
                                           supporting the financial statement reconstruction workstream
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/17/2023               BAR               Review database functions related to adding individual records for master                1.1
                                           summary database for purposes of supporting the financial statement
                                           reconstruction workstream
07/17/2023                  CAS            Attend meeting with C. Cipione, L. Jia, T. Hofner (AlixPartners) re: discuss the         0.3
                                           QuickBooks deliverables
07/17/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement                1.9
                                           reconstruction
07/17/2023                  CX             Create append query and 'Call' function in Access to append records from Excel           1.3
                                           and link Access with SQL for purposes of supporting the financial statement
                                           reconstruction workstream
07/17/2023                  CX             Update importing records process for master summary database for purposes of             0.4
                                           supporting the financial statement reconstruction workstream
07/17/2023                  CX             Update VBA to add test box for importing process in the master summary                   0.7
                                           database template for purposes of supporting the financial statement
                                           reconstruction workstream
07/17/2023                  CX             Update VBA to import Excel records and link into SQL via Access in the master            1.1
                                           summary database template for purposes of supporting the financial statement
                                           reconstruction workstream
07/17/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  CC             Prepare queries to identify new adjusting journal entries for intercompany               1.9
                                           receivable and payable accounts
07/17/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research LLC's                    0.9
                                           Related Party Payable with Clifton Bay Investments LLC
07/17/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research LLC's                    2.1
                                           Related Party Payable with FTX Trading Ltd
07/17/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research LLC's                    0.7
                                           Related Party Receivable with Clifton Bay Investments LLC
07/17/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research LLC's                    1.6
                                           Related Party Receivable with FTX Trading Ltd
07/17/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  DS             Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.           0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/17/2023               DS                Call with C. Wong, D. Schwartz, F. Liang, M. Cervi, O. Braat, J. Chin                    0.5
                                           (AlixPartners) re: investments in Digital Assets
07/17/2023                  DS             Review emails re: investment tracker for reconstruction of financial statements          1.4
07/17/2023                  DS             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso              0.7
                                           (AlixPartners) re: status update on Other Liabilities general ledger detail
                                           validation
07/17/2023                  DS             Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.5
                                           Toaso (AlixPartners) re: intercompany approach - hierarchy of sources
07/17/2023                  DS             Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.2
                                           Toaso (AlixPartners) re: intercompany approach - treatment of customer cash
07/17/2023                  DS             Working session with D. Schwartz, J. LaBella, K. Wessel, T. Shen                         0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in Subsidiaries workstreams
07/17/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                  DJW            Attend working session with B. Mackay, D. White, L. Beischer, T. Phelan                  0.5
                                           (AlixPartners) re: FTT
07/17/2023                  DJW            Plan forensic investigation of decentralized finance investments on multiple             1.6
                                           blockchains in support of the reconstruction of financial balances
07/17/2023                  DL             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  DL             Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.           0.4
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                  DL             Call with C. Wong, D. Schwartz, F. Liang, M. Cervi, O. Braat, J. Chin                    0.5
                                           (AlixPartners) re: investments in Digital Assets
07/17/2023                  DL             Document process for analyzing Cottonwood Grove Token Option Grants                      1.9
07/17/2023                  DL             Prepare talking points and summary re: Debtors' historical investments in Simple         0.6
                                           Agreement in Future Tokens
07/17/2023                  DL             Research Alameda Ventures LTD's investment in future tokens (SAFTs) -                    2.3
                                           HOLE Tokens and NEAR Tokens investments
07/17/2023                  DL             Review FTX Group's investment tracker and compare against balances in                    1.3
                                           QuickBooks
07/17/2023                  DL             Working session with F. Liang, J. Chin (AlixPartners) re: potential accounting           0.4
                                           treatment of certain token investments

07/17/2023                  DL             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/17/2023               EM                Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  EM             Analyze QuickBooks invoicing and payment data tables against journal entries             2.8
                                           recorded in WRSS accounts payable general ledger account to support
                                           reconstruction of historical liabilities
07/17/2023                  EM             Perform general ledger detail validation for specific West Realm Shires Services         2.7
07/17/2023                  EM             Update bank account balance listing for specific entity based on newly available         0.2
                                           bank statements
07/17/2023                  EM             Update bank account listing for specific entity to support financial statement           0.2
                                           reconstruction
07/17/2023                  EM             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso              0.7
                                           (AlixPartners) re: status update on Other Liabilities general ledger detail
                                           validation
07/17/2023                  EM             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                  JC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  JC             Call with C. Wong, D. Schwartz, F. Liang, M. Cervi, O. Braat, J. Chin                    0.5
                                           (AlixPartners) re: investments in Digital Assets
07/17/2023                  JC             Search Relativity within Relativity for payment information around specific              2.7
                                           acquisitions
07/17/2023                  JC             Review the investment agreement and QuickBooks journal entries related to                2.4
                                           specific acquisitions
07/17/2023                  JC             Update Other Investments master file with investments from the FTX                       0.9
                                           investments tracker
07/17/2023                  JC             Working session with F. Liang, J. Chin (AlixPartners) re: potential accounting           0.4
                                           treatment of certain token investments

07/17/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on                  0.7
                                           supporting documents related to specific acquisitions
07/17/2023                  JRB            Update Devops workplan tracker using the master summary database for                     1.4
                                           purposes of supporting the financial statement reconstruction workstream
07/17/2023                  JRB            Update historical report standardization template using the master summary               2.8
                                           database to facilitate migration of legacy reports for purposes of supporting the
                                           financial statement reconstruction workstream
07/17/2023                  JRB            Update QuickBooks Import processes using the master summary database for                 2.1
                                           purposes of supporting the financial statement reconstruction workstream
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/17/2023               JX                Identify invoices for specific entities' loans with other specific entity                0.5
07/17/2023               JX                Identify invoices for specific entity's loans with other specific entity                 1.3
07/17/2023               JX                Reconstruct DCS loan balances based on invoices identified in Relativity                 1.4
07/17/2023               JX                Reconstruct specific entity loan balances based on invoices                              2.1
07/17/2023               JX                Reconstruct specific entity loan balances based on invoices for other specific           2.6
                                           entities
07/17/2023                   JX            Reconstruct specific entity loan balances based on loan agreements with maturity         0.7
                                           dates
07/17/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  JCL            Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.           0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                  JCL            Attend meeting with J. LaBella, A. Patti re: identifying sources of NFT                  1.0
                                           accounting records for purposes of developing a workplan for NFTs
07/17/2023                  JCL            Review cash transaction analysis of intercompany pairings derived from cash              1.2
                                           database to identify out of balance intercompany balances
07/17/2023                  JCL            Review initial coding of cash transactions from cash database to identify residual       0.6
                                           customer cash residing with Alameda
07/17/2023                  JCL            Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso              0.7
                                           (AlixPartners) re: status update on Other Liabilities general ledger detail
                                           validation
07/17/2023                  JCL            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.5
                                           Toaso (AlixPartners) re: intercompany approach - hierarchy of sources
07/17/2023                  JCL            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.2
                                           Toaso (AlixPartners) re: intercompany approach - treatment of customer cash
07/17/2023                  JCL            Working session with D. Schwartz, J. LaBella, K. Wessel, T. Shen                         0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in Subsidiaries workstreams
07/17/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  JLS            Draft correspondence to A&M re: queries on A&M intercompany analysis                     0.3
07/17/2023                  JLS            Analyze consolidated QuickBooks and cash database to prepare intercompany                0.7
                                           matrix for Alameda Research LLC and West Realm Shires Services Inc
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                     HOURS
07/17/2023               JLS               Analyze consolidated QuickBooks and cash database to prepare intercompany                0.7
                                           matrix for FTX Trading and North Dimension Inc
07/17/2023                  JLS            Draft correspondence to R. Gordon at A&M re: go-forward meeting schedule                 0.3
                                           and outstanding items
07/17/2023                  JLS            Prepare workpaper summarizing Investment in Subsidiary finding on West                   0.3
                                           Realm Shires Inc
07/17/2023                  JLS            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.5
                                           Toaso (AlixPartners) re: intercompany approach - hierarchy of sources
07/17/2023                  JLS            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.2
                                           Toaso (AlixPartners) re: intercompany approach - treatment of customer cash
07/17/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                  KV             Prepare adjusting journal entries for Collateral Payable on Loans Receivable             2.9
07/17/2023                  KV             Review Loan Receivable Agreements for Collateral Payable amounts                         2.4
07/17/2023                  KV             Review workpapers for restatement adjusting journal entries for Loans                    2.3
                                           Receivable (principal, interest and collateral)
07/17/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                 KHW             Analyze procedures employed to identify relevant digital addresses interacting           0.6
                                           with FTX.com exchange for evaluation of historical digital asset balances
07/17/2023                 KHW             Assess completeness of third party loan population for non-Alameda Research              1.4
                                           legal entities to ensure identification of unrecorded historical loan payables for
                                           financial statement reconstruction efforts
07/17/2023                 KHW             Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.           0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                 KHW             Evaluate additional sources of independent information to utilize in identification      1.6
                                           of unrecorded historical liabilities for financial statement reconstruction
07/17/2023                 KHW             Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.5
                                           Toaso (AlixPartners) re: intercompany approach - hierarchy of sources
07/17/2023                 KHW             Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.2
                                           Toaso (AlixPartners) re: intercompany approach - treatment of customer cash
07/17/2023                 KHW             Working session with D. Schwartz, J. LaBella, K. Wessel, T. Shen                         0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in Subsidiaries workstreams
07/17/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
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07/17/2023               LB                Attend working session with B. Mackay, D. White, L. Beischer, T. Phelan                  0.5
                                           (AlixPartners) re: FTT
07/17/2023                 LMG             Attend working session with B. Mackay, L. Goldman (AlixPartners) re: FTT                 0.5
                                           supply
07/17/2023                 LMG             Attend working session with B. Mackay, L. Goldman (AlixPartners) re: OTC                 0.4
                                           Portal
07/17/2023                 LMG             Compare pointer and snapshot blobs data for specific investment futures                  0.4

07/17/2023                 LMG             Review Alameda pointer data for futures positions on specific exchange                   0.8
07/17/2023                  LJ             Attend meeting with C. Cipione, L. Jia, T. Hofner (AlixPartners) re: discuss the         0.3
                                           QuickBooks deliverables
07/17/2023                   LJ            Create the table and column details for the petition date reconstruction of              1.6
                                           QuickBooks data
07/17/2023                  LJ             Migrate the data tables to the QuickBooks SDNY database                                  2.9
07/17/2023                  LJ             Finalize the QuickBooks deliverable database for SDNY                                    1.7
07/17/2023                  MC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                  MC             Call with C. Wong, D. Schwartz, F. Liang, M. Cervi, O. Braat, J. Chin                    0.5
                                           (AlixPartners) re: investments in Digital Assets
07/17/2023                  MC             Respond to open issue related to specific investment to develop adjustment               0.4
07/17/2023                  MC             Respond to comments from review of adjustments related to specific investment            0.2
07/17/2023                  MC             Respond to comments from review of adjustments related to specific investment            0.2

07/17/2023                  MC             Respond to comments from review of adjustments related to specific investment            0.3
07/17/2023                  MC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on                  0.7
                                           supporting documents related to specific acquisitions
07/17/2023                  MB             Call with M. Birtwell, O. Braat (AlixPartners) re: specific entity Insiders              0.8
07/17/2023                  QB             Call with M. Birtwell, O. Braat (AlixPartners) re: specific entity Insiders              0.8
07/17/2023                  QB             Call with O. Braat, Y. Tong (AlixPartners) re: specific entity Insiders                  0.4
07/17/2023                  QB             Call with C. Wong, D. Schwartz, F. Liang, M. Cervi, O. Braat, J. Chin                    0.5
                                           (AlixPartners) re: investments in Digital Assets
07/17/2023                  QB             Create extract of general ledger account data from QuickBooks                            1.2
07/17/2023                  RS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/17/2023               RS                Analyze Alameda third party exchange account names and transfer adjustments              1.7
                                           summary
07/17/2023                   RS            Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.           0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                   RS            Search Relativity for particular third-party exchange account names                      2.0

07/17/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX               1.0
                                           accountant adjusting journal entry' and 'reclass' in particular account

07/17/2023                   RS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/17/2023                 SYW             Develop approach for validating 'Other Liabilities' general ledger accounts              0.8
07/17/2023                 SYW             Call with C. Wong, D. Schwartz, F. Liang, M. Cervi, O. Braat, J. Chin                    0.5
                                           (AlixPartners) re: investments in Digital Assets
07/17/2023                 SYW             Perform general ledger detailed validation re: FTX Trading Ltd share-based               1.8
                                           compensation
07/17/2023                 SYW             Perform general ledger detailed validation re: West Realm Shires Inc share-based         1.2
                                           compensation
07/17/2023                 SYW             Perform validation of intangible asset re: specific acquisition                          2.2
07/17/2023                 SYW             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso              0.7
                                           (AlixPartners) re: status update on Other Liabilities general ledger detail
                                           validation
07/17/2023                 SYW             Working session with C. Wong, T. Toaso (AlixPartners) re: Progress updates re:           0.4
                                           general ledger detailed validation leadsheets
07/17/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self (AlixPartners) re: discussion
                                           on documents related to specific entity, status of adjusted journal entries for the
                                           July adjusted balance sheet, and follow-ups for interested party
07/17/2023                   SZ            Working session with S. Zhou, Z. Chen (AlixPartners) re: Introduction and                0.9
                                           Onboarding for Other Investment Workstream of historical reconstruction
07/17/2023                   SZ            Reconcile the FTX investment trackers for specific entity                                1.9
07/17/2023                   SZ            Reconcile the FTX investment trackers for specific entity                                1.5
07/17/2023                   SZ            Reconcile the FTX investment trackers for specific entity                                1.9

07/17/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into          3.0
                                           searchable dataset re: Historical Reconstruction
07/17/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction             3.0
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/17/2023               SRH               Teleconference to discuss solana blockchain data parsing next steps with S.           0.9
                                           Hanzi, T. Phelan (AlixPartners) re: Historical Reconstruction
07/17/2023                  TY             Analyze financial data for specific entities provided by A&M                          1.2
07/17/2023                  TY             Update specific entity's financial data in the master balance sheet model             2.8
07/17/2023                  TY             Update FTX General Partners AG's financial data in the master balance sheet           1.8
                                           model
07/17/2023                  TY             Working session with M. Cervi, T. Yamada, J. Chin (AlixPartners) re: review           0.5
                                           new journal entries input into the adjusted balance sheet for specific entity
07/17/2023                   TS            Draft email status update to assist with the investment in subsidiaries               0.3
07/17/2023                   TS            Edit the draft process flow to assist with the Other Assets workstream                0.9
07/17/2023                   TS            Prepare the historical reconstruction procedures and process to assist with the       1.4
                                           Other Assets workstream
07/17/2023                   TS            Working session with D. Schwartz, J. LaBella, K. Wessel, T. Shen                      0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, Other
                                           Investments and Investment in Subsidiaries workstreams
07/17/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: discussion on other            0.9
                                           investments and adjustments in investment in subsidiaries
07/17/2023                  TJH            Attend meeting with C. Cipione, L. Jia, T. Hofner (AlixPartners) re: discuss the      0.3
                                           QuickBooks deliverables
07/17/2023                   TT            Analyze intercompany balances between Debtor entities                                 0.8
07/17/2023                   TT            Summarize process of analyzing intercompany balances for review                       1.1
07/17/2023                   TT            Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso           0.7
                                           (AlixPartners) re: status update on Other Liabilities general ledger detail
                                           validation
07/17/2023                   TT            Working session with C. Wong, T. Toaso (AlixPartners) re: Progress updates re:        0.4
                                           general ledger detailed validation leadsheets
07/17/2023                   TT            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.            1.5
                                           Toaso (AlixPartners) re: intercompany approach - hierarchy of sources
07/17/2023                   TT            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.            1.2
                                           Toaso (AlixPartners) re: intercompany approach - treatment of customer cash
07/17/2023                   TP            Analyze Solana block chain account relationship data related to debtor accounts       1.1
                                           for use in the recreation of the historical financial statements
07/17/2023                   TP            Analyze Solana block chain signature data related to debtor accounts for use in       2.2
                                           the recreation of the historical financial statements
07/17/2023                   TP            Analyze Solana block chain transactional data related to debtor accounts for use      2.2
                                           in the recreation of the historical financial statements
07/17/2023                   TP            Attend meeting with A. Calhoun, B. Mackay, D. Schwartz, F. Liang (partial), J.        0.6
                                           LaBella, K. Wessel, R. Self, T. Phelan, A. Patti (AlixPartners) re: workplan for
                                           NFTs
07/17/2023                   TP            Attend working session with B. Mackay, D. White, L. Beischer, T. Phelan               0.5
                                           (AlixPartners) re: FTT
07/17/2023                   TP            Teleconference to discuss solana blockchain data parsing next steps with S.           0.9
                                           Hanzi, T. Phelan (AlixPartners) re: Historical Reconstruction
07/17/2023                  XS             Prepare flowcharts in deck of sources and processes re: other assets                  1.9
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07/17/2023               XS                Review supporting documents related to specific assets re: other assets                1.5
                                           workstream
07/17/2023                  XS             Search for supporting documents for specific categories of assets on Relativity        0.9
                                           re: other assets workstream
07/17/2023                  XS             Update key assumptions and limitations of historical reconstruction re: other          1.2
                                           asset workstream
07/17/2023                  XS             Update work procedures and in-scope accounts of historical reconstruction re:          1.8
                                           other assets workstream
07/17/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: discussion on other             0.9
                                           investments and adjustments in investment in subsidiaries
07/17/2023                  YT             Call with O. Braat, Y. Tong (AlixPartners) re: specific entity Insiders                0.4
07/17/2023                  YT             Update the query for the specific entity insiders account matching on exchange         1.2
07/17/2023                  ZC             Working session with S. Zhou, Z. Chen (AlixPartners) re: Introduction and              0.9
                                           Onboarding for Other Investment Workstream of historical reconstruction
07/18/2023                  AS             Review support re: specific entity investigation for purposes of completeness          0.3
                                           analysis to support the reconstruction of financial statements
07/18/2023                  AW             Investigate previously deleted accounts from the Chart of Accounts now                 0.9
                                           appearing in the latest QuickBooks extraction
07/18/2023                  AW             Reconstruct the journals for all entities in scope using the QuickBooks backend        2.7
                                           data
07/18/2023                  AW             Recreate the balance sheet for all entities in scope using the QuickBooks              1.9
                                           backend data
07/18/2023                  AW             Test code to web-scrape transaction list reports from the QuickBooks front end         1.7
07/18/2023                  AW             Update code to web-scrape transaction list reports from the QuickBooks front           2.6
                                           end
07/18/2023                  AP             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  AP             Attend meeting with B. Mackay, A. Patti re: discussing exchange data and               0.6
                                           customer accounts for NFTs
07/18/2023                  AP             Create plan to obtain data from list of possible NFT related data sources              1.2
07/18/2023                  AP             Compile unstructured data in Relativity related to NFT activity                        2.2
07/18/2023                  AP             Analyze third party balances in pointer data for balances related to NFTs              1.8
07/18/2023                  AP             Analyze QuickBooks general ledger entries and balances for balances related to         1.5
                                           NFTs
07/18/2023                  AP             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  AP             Working session with R. Self, A. Patti (AlixPartners) re: NFT workplan and data        1.2
                                           sources
07/18/2023                 BFM             Attend meeting with B. Mackay, A. Patti re: discussing exchange data and               0.6
                                           customer accounts for NFTs
07/18/2023                 BFM             Prepare chart comparing OTC .com account balance to Alameda by coin                    0.8
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07/18/2023               BFM               Review exchange activity re: Admin account                                             1.3
07/18/2023               BFM               Review historical balances in OTC .com account by coin                                 1.3
07/18/2023               BAR               Refresh records process review for master summary database for purposes of             1.2
                                           supporting the financial statement reconstruction workstream
07/18/2023                  BAR            Meeting with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: master             0.8
                                           summary status sync and discuss next steps and workflow for purposes of
                                           supporting the financial statement reconstruction workstream
07/18/2023                  BAR            Review updates to administrative functions for master summary database for             1.6
                                           purposes of supporting the financial statement reconstruction workstream
07/18/2023                  CAS            Attend meeting with C. Cipione, L. Jia, T. Hofner (AlixPartners) re: discuss the       0.4
                                           QuickBooks database deliverables
07/18/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement              2.3
                                           reconstruction
07/18/2023                  CX             Create live staging table, form, and procedures based on current database with         2.4
                                           updates to underlying subform data source so that the main form is pointing at
                                           the updated data for purposes of supporting the financial statement
                                           reconstruction workstream
07/18/2023                  CX             Reconcile investigation list in SQL against updated summary tracker in SQL to          0.7
                                           identify active investigations for purposes of supporting the financial statement
                                           reconstruction workstream
07/18/2023                  CX             Update 'Add Investigation' functionality in master summary database template           2.3
                                           for purposes of supporting the financial statement reconstruction workstream
07/18/2023                  CX             Meeting with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: master             0.8
                                           summary status sync and discuss next steps and workflow for purposes of
                                           supporting the financial statement reconstruction workstream
07/18/2023                  CX             Meeting with C. Xu, Y. Tong (AlixPartners) re: master summary debug for 'Add           1.2
                                           Keypersons' function and 'Add Investigation' function error for purposes of
                                           supporting the financial statement reconstruction workstream
07/18/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research LLC's                  0.6
                                           Intercompany Payable with specific entity
07/18/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research Ltd's Related          0.8
                                           Party Payable with FTX Vault Trust Company
07/18/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research Ltd's Related          1.8
                                           Party Payable with specific entity
07/18/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research Ltd's Related          0.8
                                           Party Receivable with FTX Vault Trust Company
07/18/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/18/2023               CC                Working session with C. Chen, M. Birtwell (AlixPartners) re: cash transfers            0.3
                                           between Alameda Research Ltd and specific entity
07/18/2023                  DS             Working session with D. Schwartz, J. LaBella (AlixPartners) re: to review other        0.7
                                           investments workplan and next steps
07/18/2023                  DS             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:         0.7
                                           work planning and resourcing related to coordination with A&M and
                                           engagement team staffing for ongoing efforts re: historical financial statement
                                           reconstruction
07/18/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  DS             Working session with C. Wong, D. Schwartz, J. Somerville, T. Shen, X. Su               0.5
                                           (AlixPartners) re: Progress updates and next steps on investments in sub
                                           adjusting journal entries and specific entity FTT
07/18/2023                  DS             Working session with C. Wong, D. Schwartz, J. Somerville (AlixPartners) re:            0.5
                                           General ledger detailed validation follow ups re: Investments in Subsidiaries two
                                           specific entities
07/18/2023                  DS             Review transactions historically recorded in other liabilities accounts to             1.6
                                           determine appropriate procedures to test historical balances
07/18/2023                  DS             Teleconference call with D. Schwartz, K. Wessel (AlixPartners) re: work                0.5
                                           planning and resourcing related to evaluation of other investments balance sheet
                                           category for historical financial statement reconstruction
07/18/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  DS             Working session with C. Wong, D. Schwartz (AlixPartners) re: Progress update           0.5
                                           re: validation of Intangible Assets balances
07/18/2023                  DS             Working session with C. Wong, D. Schwartz, J. Somerville, R. Self                      0.5
                                           (AlixPartners) re: General ledger detailed validation follow ups re: Gisele
                                           Charitable Donations and Reclass journal entries
07/18/2023                  DS             Working session with D. Schwartz, M. Cervi, J. LaBella, T. Yamada, J. Chin             0.7
                                           (AlixPartners) re: update on status of other Investments workstream
07/18/2023                  DJW            Plan forensic investigation of decentralized finance investments on multiple           1.3
                                           blockchains in support of the reconstruction of financial balances
07/18/2023                  DL             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  DL             Call with F. Liang, O. Braat (AlixPartners) re: investigating investments in           0.7
                                           digital assets
07/18/2023                  DL             Create template workpaper re: Debtors' investments in Simple Agreement in              2.2
                                           Future Tokens and Token Purchase Agreements
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07/18/2023               DL                Prepare visuals (decision tree) for approaches/work steps re: digital assets           2.6
                                           investments (SAFT/TPA)
07/18/2023                  DL             Review Alameda's third party exchange accounts mapping for historical digital          2.0
                                           assets balances
07/18/2023                  DL             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  DL             Working session with F. Liang, R. Self (AlixPartners) re: Alameda's third party        0.7
                                           exchange account mapping
07/18/2023                  EM             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  EM             Working session with C. Wong, E. Mostoff (AlixPartners) re: accounts payable           0.6
                                           subsidiary ledger search and validation
07/18/2023                  EM             Analyze bank account tracker against financial statement reconstruction                1.3
                                           workpapers to identify bank accounts with outstanding statements
07/18/2023                  EM             Analyze general ledger data for specific entity to identify source of brokerage        1.1
                                           cash balances recorded in financial statements

07/18/2023                  EM             Document analysis, process, and assumptions re: recalculation of historical            1.3
                                           USDC balances in specific FTX Trading Ltd account
07/18/2023                  EM             Document analysis, process, and assumptions re: recalculation of historical            1.2
                                           USDC balances in two specific Alameda Research Ltd accounts
07/18/2023                  EM             Document assumptions re: bank account completeness to support financial                1.2
                                           statement reconstruction
07/18/2023                  EM             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  GG             Analyze the scripts in specific provided database                                      1.1
07/18/2023                  JC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: Other Investments            1.8
                                           Master file QuickBooks, Non-QuickBooks, and adjustment journal entry
                                           information
07/18/2023                  JC             Prepare the scoping analysis for the remaining review in progress investments          2.8
                                           within the FTX Investments tracker for several balance thresholds
07/18/2023                  JC             Update Other Investments master file with a scoping value for all investments          2.7
                                           from the FTX Investments tracker
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/18/2023               JC                Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  JC             Working session with C. Wong, M. Cervi, T. Toaso, J. Chin (AlixPartners) re:           0.4
                                           review of validation for intercompany accounts with Other Investments overlap
07/18/2023                  JC             Working session with D. Schwartz, M. Cervi, J. LaBella, T. Yamada, J. Chin             0.7
                                           (AlixPartners) re: update on status of other Investments workstream
07/18/2023                  JC             Working session with T. Toaso, J. Chin (AlixPartners) re: data integration of          0.3
                                           FTX investments tracker and Other Investments Master File
07/18/2023                  JRB            Update reporting functionality using the master summary database for purposes          2.9
                                           of supporting the financial statement reconstruction workstream
07/18/2023                  JRB            Meeting with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: master             0.8
                                           summary status sync and discuss next steps and workflow for purposes of
                                           supporting the financial statement reconstruction workstream
07/18/2023                   JX            Reconstruct specific entities' loan balances based on evidence identified in           1.4
                                           Relativity
07/18/2023                   JX            Reconstruct PPP loan balances                                                          1.3
07/18/2023                   JX            Reconstruct specific entity loan balances based on evidence identified in              0.7
07/18/2023                   JX            Verify assignment of loan agreements from Alameda Research LLC to Alameda              1.3
                                           Research LTD
07/18/2023                   JX            Verify completeness of specific entity loan balance as of 9/30/2022                    1.2
07/18/2023                   JX            Verify classification of specific loan                                                 2.1
07/18/2023                  JCL            Working session with D. Schwartz, J. LaBella (AlixPartners) re: to review other        0.7
                                           investments workplan and next steps
07/18/2023                  JCL            Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:         0.7
                                           work planning and resourcing related to coordination with A&M and
                                           engagement team staffing for ongoing efforts re: historical financial statement
                                           reconstruction
07/18/2023                  JCL            Phone conversation with R. Gordon (A&M) re: intercompany balances                      0.2
07/18/2023                  JCL            Review analysis of cash transfers identified in cash database but not recorded in      0.7
                                           QuickBooks for purposes of adding new intercompany adjusting entries in
                                           historical financial statements
07/18/2023                  JCL            Review transactions associated with specific entity share purchases to identify        1.1
                                           substance of acquisition relative to recorded transactions in QuickBooks
07/18/2023                  JCL            Review updated schedules of digital asset holdings in wallets from ETH chain           0.6
                                           relative to customer liabilities on exchange for periods Q4 2020 through Q3
                                           2022
07/18/2023                  JCL            Working session with D. Schwartz, M. Cervi, J. LaBella, T. Yamada, J. Chin             0.7
                                           (AlixPartners) re: update on status of other Investments workstream
07/18/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
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John J. Ray III
Chief Executive Officer
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125 Broad Street
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Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/18/2023               JLS               Working session with C. Wong, D. Schwartz, J. Somerville, T. Shen, X. Su               0.5
                                           (AlixPartners) re: Progress updates and next steps on investments in sub
                                           adjusting journal entries and specific entity FTT
07/18/2023                  JLS            Working session with C. Wong, D. Schwartz, J. Somerville (AlixPartners) re:            0.5
                                           General ledger detailed validation follow ups re: Investments in Subsidiaries two
                                           specific entities
07/18/2023                  JLS            Search Relativity to verify Investment in Subsidiary balance for FTX Trading           2.3
07/18/2023                  JLS            Search Relativity to verify Investment in Subsidiary balance for West Realm            1.3
                                           Shires Inc
07/18/2023                  JLS            Prepare presentation summarizing hierarchy of sources in final intercompany            0.9
                                           matrix reporting
07/18/2023                  JLS            Review process map for verification of "Other Assets"                                  0.2
07/18/2023                  JLS            Review proposed adjusting journal entries for specific entity transaction              0.2
07/18/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  JLS            Working session with C. Wong, D. Schwartz, J. Somerville, R. Self                      0.5
                                           (AlixPartners) re: General ledger detailed validation follow ups re: Gisele
                                           Charitable Donations and Reclass journal entries
07/18/2023                  KV             Working session with K. Vasiliou, M. Birtwell (AlixPartners) re: review                0.3
                                           transfers to two specific entities
07/18/2023                  KV             Prepare Collateral Payable on Loans Receivable restatement adjusting journal           1.6
                                           entries for transferring into the consolidated master balance sheet model
07/18/2023                  KV             Prepare Loan Interest Receivable restatement adjusting journal entries for             2.5
                                           transferring into the consolidated master balance sheet model
07/18/2023                  KV             Prepare Principal Loan Receivable restatement adjusting journal entries for            1.7
                                           transferring into the consolidated master balance sheet model
07/18/2023                  KV             Responding to queries on specific entity and other specific entity Loans               1.9
07/18/2023                  KV             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                 KHW             Teleconference call with D. Schwartz, J. LaBella, K. Wessel (AlixPartners) re:         0.7
                                           work planning and resourcing related to coordination with A&M and
                                           engagement team staffing for ongoing efforts re: historical financial statement
                                           reconstruction
07/18/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                 KHW             Refine work plan steps for evaluation of remaining historical other investments        0.5
                                           balances for financial statement recreation
07/18/2023                 KHW             Review updated analysis of historical third party loan obligations reflecting          1.3
                                           newly identified crypto loans payable for financial statement recreation purposes
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07/18/2023              KHW                Teleconference call with D. Schwartz, K. Wessel (AlixPartners) re: work                0.5
                                           planning and resourcing related to evaluation of other investments balance sheet
                                           category for historical financial statement reconstruction
07/18/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  LS             Update QuickBooks backend downloading procedures                                       0.4
07/18/2023                 LMG             Review Alameda pointer data for specific investment futures positions on               0.5
                                           specific exchange
07/18/2023                   LJ            Attend meeting with C. Cipione, L. Jia, T. Hofner (AlixPartners) re: discuss the       0.4
                                           QuickBooks database deliverables
07/18/2023                  LJ             Migrate the SQL scripts to the QuickBooks SDNY database                                2.8
07/18/2023                  MC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                  MC             Extract vendor details from QuickBooks to reconcile to cash activity                   0.5
07/18/2023                  MC             Review latest claims register extract provided by Kroll                                0.5
07/18/2023                  MC             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                  MC             Working session with D. Schwartz, M. Cervi, J. LaBella, T. Yamada, J. Chin             0.7
                                           (AlixPartners) re: update on status of other Investments workstream
07/18/2023                  MC             Working session with C. Wong, M. Cervi, T. Toaso, J. Chin (AlixPartners) re:           0.4
                                           review of validation for intercompany accounts with Other Investments overlap
07/18/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: Other Investments            1.8
                                           Master file QuickBooks, Non-QuickBooks, and adjustment journal entry
                                           information
07/18/2023                  MB             Working session with K. Vasiliou, M. Birtwell (AlixPartners) re: review                0.3
                                           transfers to two specific entities
07/18/2023                  MB             Working session with C. Chen, M. Birtwell (AlixPartners) re: cash transfers            0.3
                                           between Alameda Research Ltd and specific entity
07/18/2023                  MB             Prepare insider transfer adjusting journal entries for July balance sheet update       1.7
07/18/2023                  QB             Call with C. Wong, O. Braat (AlixPartners) re: investigating investments in            0.5
                                           digital assets
07/18/2023                  QB             Call with F. Liang, O. Braat (AlixPartners) re: investigating investments in           0.7
                                           digital assets
07/18/2023                  QB             Investigate investments in digital assets                                              0.3
07/18/2023                  QB             Create extract of general ledger account data from QuickBooks                          2.3
07/18/2023                  QB             Working session with C. Wong, O. Braat (AlixPartners) re: investigating                0.5
                                           investments in digital assets
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07/18/2023               RS                Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                   RS            Search Relativity for Alameda owned NFTs                                               1.5
07/18/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX             0.5
                                           accountant adjusting journal entry' and 'reclass'
07/18/2023                   RS            Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                   RS            Working session with C. Wong, D. Schwartz, J. Somerville, R. Self                      0.5
                                           (AlixPartners) re: General ledger detailed validation follow ups re: Gisele
                                           Charitable Donations and Reclass journal entries
07/18/2023                   RS            Working session with F. Liang, R. Self (AlixPartners) re: Alameda's third party        0.7
                                           exchange account mapping
07/18/2023                   RS            Working session with R. Self, A. Patti (AlixPartners) re: NFT workplan and data        1.2
                                           sources
07/18/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss A&M information sharing, specific entity adjusted
                                           journal entries, and questions for interested party
07/18/2023                 SYW             Working session with C. Wong, E. Mostoff (AlixPartners) re: accounts payable           0.6
                                           subsidiary ledger search and validation
07/18/2023                 SYW             Working session with C. Wong, D. Schwartz, J. Somerville, T. Shen, X. Su               0.5
                                           (AlixPartners) re: Progress updates and next steps on investments in sub
                                           adjusting journal entries and specific entity FTT
07/18/2023                 SYW             Working session with C. Wong, D. Schwartz, J. Somerville (AlixPartners) re:            0.5
                                           General ledger detailed validation follow ups re: Investments in Subsidiaries two
                                           specific entities
07/18/2023                 SYW             Call with C. Wong, O. Braat (AlixPartners) re: investigating investments in            0.5
                                           digital assets
07/18/2023                 SYW             Draft email re: investigation of specific loans                                        0.4
07/18/2023                 SYW             Perform general ledger detailed validation re: specific individual charitable          1.8
                                           giving donation
07/18/2023                 SYW             Perform general ledger detailed validation re: West Realm Shires Inc share-based       0.5
                                           compensation
07/18/2023                 SYW             Review process flow chart and process and procedures re: 'Other Assets'                0.5
                                           workstream
07/18/2023                 SYW             Perform validation of intangible asset re: specific acquisition                        1.0
07/18/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
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07/18/2023              SYW                Working session with C. Wong, D. Schwartz (AlixPartners) re: Progress update           0.5
                                           re: validation of Intangible Assets balances
07/18/2023                 SYW             Working session with C. Wong, D. Schwartz, J. Somerville, R. Self                      0.5
                                           (AlixPartners) re: General ledger detailed validation follow ups re: Gisele
                                           Charitable Donations and Reclass journal entries
07/18/2023                 SYW             Working session with C. Wong, M. Cervi, T. Toaso, J. Chin (AlixPartners) re:           0.4
                                           review of validation for intercompany accounts with Other Investments overlap
07/18/2023                 SYW             Working session with C. Wong, O. Braat (AlixPartners) re: investigating                0.5
                                           investments in digital assets
07/18/2023                   SZ            Consolidate status update relating to Other Investment workstream                      0.4
07/18/2023                   SZ            Reconcile the FTX investment trackers for specific entity                              0.7
07/18/2023                   SZ            Reconcile the FTX investment trackers for specific entity                              1.7
07/18/2023                   SZ            Reconcile the FTX investment trackers for specific entity                              1.8

07/18/2023                   SZ            Reconcile the FTX investment trackers for specific entity                              1.9
07/18/2023                  SRH            Develop Solana JSON file parsing script to convert blockchain transactions into        1.1
                                           searchable dataset re: Historical Reconstruction
07/18/2023                  TY             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.5
                                           LaBella, J. Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, J. Chin
                                           (AlixPartners) re: discussion on documents related to specific entity, status of
                                           adjusted journal entries for the July adjusted balance sheet, and follow-ups for
                                           A&M
07/18/2023                  TY             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.3
                                           Somerville, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J. Chin
                                           (AlixPartners) re: discuss interested party information sharing, specific entity
                                           adjusted journal entries, and questions for interested party
07/18/2023                  TY             Review incorporation/acquisition date of FTX entities (Alameda silo)                   2.3
07/18/2023                  TY             Review incorporation/acquisition date of FTX entities (Dotcom silo)                    2.7
07/18/2023                  TY             Review incorporation/acquisition date of FTX entities (WRS silo)                       2.6
07/18/2023                  TY             Working session with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.2
                                           Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, A. Patti, J.
                                           Chin (AlixPartners) re: discuss wallet allocations related to financial statement
                                           reconstruction
07/18/2023                   TS            Working session with C. Wong, D. Schwartz, J. Somerville, T. Shen, X. Su               0.5
                                           (AlixPartners) re: Progress updates and next steps on investments in sub
                                           adjusting journal entries and specific entity FTT
07/18/2023                   TS            Perform public domain research on the completion status of FTX Trading Ltd             0.4
                                           equity investments to assist with the investment in subsidiaries workstream
07/18/2023                   TS            Review ASC 805 and ASC 323 for the presentation of investments at the parent           0.9
                                           company level to assist with the investment in subsidiaries workstream
07/18/2023                   TS            Review binding term sheet, share purchase agreement, and other supporting              1.3
                                           documents of FTX Trading Ltd's investment in specific entity to assist with the
                                           investment in subsidiaries workstream
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07/18/2023               TS                Review share purchase agreement and other supporting documents of FTX                      0.9
                                           Trading Ltd's investment to specific entity to assist with the investment in
                                           subsidiaries workstream
07/18/2023                   TS            Review the adjusting journal entries relating to specific entities to assist with the      0.6
                                           investment in subsidiaries workstream
07/18/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: review of adjusting                 0.8
                                           journal entries for the acquisitions of specific entities re: investment in
                                           subsidiaries workstream
07/18/2023                  TJH            Attend meeting with C. Cipione, L. Jia, T. Hofner (AlixPartners) re: discuss the           0.4
                                           QuickBooks database deliverables
07/18/2023                   TT            Analyze intercompany balances between Debtor entities                                      1.7
07/18/2023                   TT            Construct intercompany elimination mechanics in model for financial statement              1.5
                                           reconstruction
07/18/2023                   TT            Review cash database analysis to support intercompany cash balance analysis                1.1
07/18/2023                   TT            Summarize process of analyzing intercompany balances for review                            0.6
07/18/2023                   TT            Working session with C. Wong, M. Cervi, T. Toaso, J. Chin (AlixPartners) re:               0.4
                                           review of validation for intercompany accounts with Other Investments overlap
07/18/2023                   TT            Working session with T. Toaso, J. Chin (AlixPartners) re: data integration of              0.3
                                           FTX investments tracker and Other Investments Master File
07/18/2023                   TP            Analyze Solana block chain account relationship data related to debtor accounts            2.2
                                           for use in the recreation of the historical financial statements
07/18/2023                   TP            Analyze Solana block chain signature data related to debtor accounts for use in            2.5
                                           the recreation of the historical financial statements
07/18/2023                   TP            Analyze Solana block chain transactional data related to debtor accounts for use           2.1
                                           in the recreation of the historical financial statements
07/18/2023                  XS             Working session with C. Wong, D. Schwartz, J. Somerville, T. Shen, X. Su                   0.5
                                           (AlixPartners) re: Progress updates and next steps on investments in sub
                                           adjusting journal entries and specific entity FTT
07/18/2023                  XS             Analyze acquisition date and control date of acquisition of specific entity and            1.4
                                           FTX Turkey re: investment in subsidiaries
07/18/2023                  XS             Analyze share purchase agreement of specific entity re: investment in                      1.6
07/18/2023                  XS             Calculate proportion of specific entity's effective shares held by FTX and                 0.5
                                           reconcile with public information re: investment in subsidiaries
07/18/2023                  XS             Prepare summary deck for proposed adjustments re: investment in subsidiaries               1.8
07/18/2023                  XS             Research public media about specific share purchase transaction re: investment             0.8
                                           in subsidiaries
07/18/2023                  XS             Research press release and media inquiry of specific entity re: investment in              0.6
                                           subsidiaries
07/18/2023                  XS             Review share purchase agreement of specific entity and FTX Turkey re:                      1.8
                                           investment in subsidiaries
07/18/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: review of adjusting                 0.8
                                           journal entries for the acquisitions of specific entities re: investment in
                                           subsidiaries workstream
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/18/2023               YT                Meeting with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: master              0.8
                                           summary status sync and discuss next steps and workflow for purposes of
                                           supporting the financial statement reconstruction workstream
07/18/2023                  YT             Meeting with C. Xu, Y. Tong (AlixPartners) re: master summary debug for 'Add            1.2
                                           Keypersons' function and 'Add Investigation' function error for purposes of
                                           supporting the financial statement reconstruction workstream
07/18/2023                  ZC             Search Relativity to identify agreements relating to Alameda Other Investments          1.3
                                           workstream for two specific entities
07/19/2023                  AS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: status update of                0.4
                                           workstreams to support the financial statement reconstruction including
                                           investments and non-QuickBooks accounts
07/19/2023                  AS             Meeting with A. Searles, M. Birtwell (AlixPartners) re: approach to                     0.2
                                           communications and sharing of materials with other Debtor advisors
07/19/2023                  AS             Prepare additional updates to special investigation tracker to develop analysis to      1.6
                                           support completeness check for the reconstruction of the financial statements
07/19/2023                  AS             Prepare initial updates to special investigation tracker to develop analysis to         2.3
                                           support completeness check for the reconstruction of the financial statements
07/19/2023                  AW             Review the delta report comparing the QuickBooks backend tables between                 1.5
                                           batches 5 and 6
07/19/2023                  AW             Review the delta report comparing the reconstructed journals based on the               2.1
                                           QuickBooks backend tables between batches 5 and 6
07/19/2023                  AW             Reconcile the recreated balance sheet of QuickBooks backend data against the            2.3
                                           web-scraped frontend reports
07/19/2023                  AP             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.             0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  AP             Develop initial workplan and timeline for NFT workstream                                2.0
07/19/2023                  AP             Create initial NFT workpaper structure including data sources and analysis              2.8
07/19/2023                  AP             Working session with F. Liang, A. Patti (AlixPartners) re: discuss workplan for         0.7
                                           identifying NFTs held by debtor entities
07/19/2023                  AP             Working session with J. Chin, A. Patti (AlixPartners) re: update on current             0.3
                                           documentation of the investments review process within the Other Investments
                                           Master File
07/19/2023                  AP             Working session with K. Wessel, A. Patti (AlixPartners) re: NFT workplan                0.6
                                           discussion
07/19/2023                  AP             Working session with M. Cervi, A. Patti (AlixPartners) re: Other investment             1.7
                                           journal entry process
07/19/2023                  AP             Working session with R. Self, A. Patti, T. Toaso (AlixPartners) re: NFT                 0.5
                                           workplan and historical financial statement impact
07/19/2023                 BFM             Working session with B. Mackay, D. Schwartz, F. Liang, K. Wessel, T. Phelan             0.5
                                           (AlixPartners) re: discuss path for switching from silo to entity level for
                                           establishing historical financial statements (digital assets)
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/19/2023               BAR               Update to key persons and entity selection data for master summary database for       0.9
                                           purposes of supporting the financial statement reconstruction workstream
07/19/2023                 BAR             Working session with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to        1.4
                                           update user forms and process workflow for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/19/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement             1.7
                                           reconstruction
07/19/2023                  CX             Update Key Persons and Entities functionality in master summary database              2.3
                                           template for purposes of supporting the financial statement reconstruction
                                           workstream
07/19/2023                  CX             Update Key Persons table in the master summary database template for purposes         1.3
                                           of supporting the financial statement reconstruction workstream
07/19/2023                  CX             Meeting with C. Xu, Y. Tong (AlixPartners) re: Consolidate the updates of the         0.3
                                           master summary Access tool for purposes of supporting the financial statement
                                           reconstruction workstream
07/19/2023                  CX             Update internal tagging process in master summary database template in Access         1.2
                                           for purposes of supporting the financial statement reconstruction workstream
07/19/2023                  CX             Update table connections for records refresh process in the master summary            1.1
                                           database for purposes of supporting the financial statement reconstruction
                                           workstream
07/19/2023                  CX             Working session with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to        1.4
                                           update user forms and process workflow for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/19/2023                  CC             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  CC             Review cash transfers between Alameda Research Ltd and specific entity                1.6

07/19/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research LLC's                 0.8
                                           Intercompany Payable with specific entity
07/19/2023                  CC             Update leadsheet with proposed adjustments re: Alameda Research Ltd's Related         1.8
                                           Party Receivable with specific entity
07/19/2023                  CC             Update leadsheet with proposed adjustments re: specific entity's Intercompany         0.5
                                           Payable with FTX Trading Ltd
07/19/2023                  CC             Update leadsheet with proposed adjustments re: specific entity's Intercompany         0.7
                                           Receivable with FTX Trading Ltd
07/19/2023                  CC             Update leadsheet with proposed adjustments re: Clifton Bay Investments LLC's          0.4
                                           Related Party Receivable with Alameda Research LLC
07/19/2023                  CC             Working session with C. Chen, J. Somerville (AlixPartners) re: cash transfers         0.3
                                           between FTX Trading and FTX Digital Markets
07/19/2023                  CC             Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re:              0.9
                                           intercompany receivable and payable adjustment matrix
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/19/2023               DS                Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.7
                                           (AlixPartners) re: approach for accounts payable general ledger detail validation
07/19/2023                  DS             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  DS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: status update of               0.4
                                           workstreams to support the financial statement reconstruction including
                                           investments and non-QuickBooks accounts
07/19/2023                  DS             Review specific acquisition documentation to determine proper accounting for           0.6
                                           historical financial statements
07/19/2023                  DS             Review workpapers related to intercompany balances for purposes of                     0.8
                                           determining historical balances
07/19/2023                  DS             Working session with B. Mackay, D. Schwartz, F. Liang, K. Wessel, T. Phelan            0.5
                                           (AlixPartners) re: discuss path for switching from silo to entity level for
                                           establishing historical financial statements (digital assets)
07/19/2023                  DS             Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.        1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
07/19/2023                  DS             Working session with D. Schwartz, J. Somerville (AlixPartners) re:                     1.0
                                           intercompany approach re: customer cash treatment
07/19/2023                  DS             Working session with D. Schwartz, K. Vasiliou, K. Wessel (AlixPartners) re:            0.9
                                           Walkthrough of the final loans receivable workbook and discussion on the
                                           approach for testing Other Asset balances
07/19/2023                  DJW            Plan forensic investigation of decentralized finance investments on multiple           2.6
                                           blockchains in support of the reconstruction of financial balances
07/19/2023                  DJW            Investigate movements of FTT between multiple smart contracts in support of            1.3
                                           financial balance reconstruction
07/19/2023                  DJW            Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.        1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
07/19/2023                  DL             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  DL             Compare updated historical wallet balances by silo to June version                     1.0
07/19/2023                  DL             Prepare workpaper re: Alameda's investment in SAFTs (simple agreements for             2.5
                                           future tokens) and TPAs
07/19/2023                  DL             Research Alameda Ventures LTD's investment in future tokens (SAFTs) -                  2.1
                                           1INCH Tokens investments
07/19/2023                  DL             Working session with B. Mackay, D. Schwartz, F. Liang, K. Wessel, T. Phelan            0.5
                                           (AlixPartners) re: discuss path for switching from silo to entity level for
                                           establishing historical financial statements (digital assets)
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07/19/2023               DL                Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.        1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
07/19/2023                  DL             Working session with F. Liang, A. Patti (AlixPartners) re: discuss workplan for        0.7
                                           identifying NFTs held by debtor entities
07/19/2023                  EM             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.7
                                           (AlixPartners) re: approach for accounts payable general ledger detail validation
07/19/2023                  EM             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  EM             Analyze bank accounts provided to A&M for validation against current bank              0.5
                                           account listing to identify items for follow up
07/19/2023                  EM             Analyze completion status of specific entity bank accounts to support                  1.5
                                           reconstruction of historical cash balances
07/19/2023                  EM             Analyze Signature bank accounts identified as not complete against available           0.9
                                           documentation related to account opening and account activity
07/19/2023                  EM             Compile listing of potentially incomplete debtor bank accounts to support              0.4
                                           outgoing requests to A&M
07/19/2023                  EM             Perform Relativity search against FTX Digital Markets bank accounts identified         0.6
                                           as not complete to support reconstruction of historical cash balances
07/19/2023                  EM             Perform Relativity search for specific entity bank statements to support               0.9
                                           reconstruction of historical cash balances
07/19/2023                  EM             Prepare questions for A&M re: account opening documentation                            0.5
07/19/2023                  EM             Prepare questions for A&M re: bank statement availability                              0.4
07/19/2023                  EM             Prepare questions for A&M re: previous bank accounts identified for validation         0.5
07/19/2023                  JC             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  JC             Reconcile specific account balances from the Other Investments master file to          2.7
                                           the balances within the adjusted balance sheet
07/19/2023                  JC             Update the Other Investments master file with all previous adjustments that            2.8
                                           affect the Other Investments general ledger account
07/19/2023                  JC             Working session with J. Chin, A. Patti (AlixPartners) re: update on current            0.3
                                           documentation of the investments review process within the Other Investments
                                           Master File
07/19/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on adding         1.9
                                           adjusted journal entries into the Other Investments Master file and reconciling
                                           total balances to the amount recorded in the adjusted balance sheet
07/19/2023                  JC             Working session with M. Cervi, T. Toaso, J. Chin (AlixPartners) re: discussion         0.5
                                           on organization and presentation of the Other Investments Master File
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/19/2023               JC                Working session with T. Yamada, J. Chin (AlixPartners) re: review Non-                 0.5
                                           QuickBooks entries that affect the 235XX account which is captured in the
                                           Other Investments Master File
07/19/2023                  JRB            Update Azure Devops workstream planner using the master summary database               2.4
                                           for purposes of supporting the financial statement reconstruction workstream
07/19/2023                  JRB            Update reporting user interfaces using the master summary database for purposes        1.8
                                           of supporting the financial statement reconstruction workstream
07/19/2023                  JRB            Working session with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to         1.4
                                           update user forms and process workflow for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/19/2023                   JX            Update specific entity loan balances as of 9/30/2022 in workpaper                      2.3
07/19/2023                   JX            Reconstruct specific entity loan balances for other specific entities                  2.8

07/19/2023                   JX            Review QuickBooks records to identify potential missing third party loans              1.5
07/19/2023                   JX            Working session with J. Xu, T. Shen (AlixPartners) re: the accounting of loans         0.2
                                           and financial derivatives
07/19/2023                  JCL            Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.7
                                           (AlixPartners) re: approach for accounts payable general ledger detail validation
07/19/2023                  JCL            Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  JCL            Review analysis performed of non-QuickBooks ledgers and resulting non-                 1.5
                                           QuickBooks balance sheets
07/19/2023                  JCL            Review balance sheets at legal entity level to identify where elimination entries      1.3
                                           need to occur and process for preparing consolidated FTX Group balance sheet
07/19/2023                  JCL            Review lead sheet and proposed adjustments from 'other investment' workstream          1.4
                                           to determine if overlap exists between accounts used and legal entities

07/19/2023                  JCL            Review process applied to evaluate 'other liability' accounts to determine             1.2
                                           completeness and supporting documentation identified
07/19/2023                  JCL            Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.        1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
07/19/2023                  JLS            Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  JLS            Prepare draft intercompany matrix for FTX Digital Markets and FTX Trading              1.8
                                           Ltd incorporating cash transfers between Debtor entities
07/19/2023                  JLS            Prepare draft intercompany matrix for FTX Digital Markets and FTX Trading              0.7
                                           Ltd incorporating customer cash transfer analysis
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/19/2023               JLS               Prepare draft intercompany matrix for FTX Digital Markets and FTX Trading             2.3
                                           Ltd incorporating verified QuickBooks analysis
07/19/2023                  JLS            Provide guidance re: insider intercompany reconciliation workpaper structure          0.2
07/19/2023                  JLS            Update Investment in Subsidiary workpaper for verified balance for FTX                0.3
                                           Trading Ltd
07/19/2023                  JLS            Working session with C. Chen, J. Somerville (AlixPartners) re: cash transfers         0.3
                                           between FTX Trading and FTX Digital Markets
07/19/2023                  JLS            Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re:              0.9
                                           intercompany receivable and payable adjustment matrix
07/19/2023                  JLS            Working session with D. Schwartz, J. Somerville (AlixPartners) re:                    1.0
                                           intercompany approach re: customer cash treatment
07/19/2023                  JKL            Create the delta reports for the Batch 6 QuickBooks backend source data and           1.8
                                           reconstructed journals
07/19/2023                  KV             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  KV             Finalize the Third Party Loans Receivable workpaper                                   2.2
07/19/2023                  KV             Investigate and responding to team queries on specific entity and other specific      2.4
                                           entity loans from FTX
07/19/2023                  KV             Prepare meeting notes on approach for testing Other Assets                            0.6
07/19/2023                  KV             Update Collateral Payable adjusting journal entries to roll up into Other             0.9
                                           Liabilities instead of Crypto Loans Payable
07/19/2023                  KV             Working session with D. Schwartz, K. Vasiliou, K. Wessel (AlixPartners) re:           0.9
                                           Walkthrough of the final loans receivable workbook and discussion on the
                                           approach for testing Other Asset balances
07/19/2023                 KHW             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                 KHW             Analyze updated digital address population to evaluate silo attribution for           1.2
                                           allocation of historical digital asset balances for balance sheet recreation
07/19/2023                 KHW             Update procedures for workstream-specific completeness checks to ensure               1.7
                                           identification of historical unrecorded assets for financial statement
                                           reconstruction efforts
07/19/2023                 KHW             Working session with B. Mackay, D. Schwartz, F. Liang, K. Wessel, T. Phelan           0.5
                                           (AlixPartners) re: discuss path for switching from silo to entity level for
                                           establishing historical financial statements (digital assets)
07/19/2023                 KHW             Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.       1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
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07/19/2023              KHW                Working session with D. Schwartz, K. Vasiliou, K. Wessel (AlixPartners) re:           0.9
                                           Walkthrough of the final loans receivable workbook and discussion on the
                                           approach for testing Other Asset balances
07/19/2023                 KHW             Working session with K. Wessel, A. Patti (AlixPartners) re: NFT workplan              0.6
                                           discussion
07/19/2023                 LMG             Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.       1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
07/19/2023                  MC             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.           0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                  MC             Research specific investment to understand proper accounting treatment                1.2
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.2
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.1
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3

07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.2
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.4
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.4
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.3
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.1
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.4
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.2
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.2
07/19/2023                  MC             Respond to open issue with specific investment to develop adjustment                  0.1
07/19/2023                  MC             Prepare revised leadsheet for investment tracker to support reconstruction of         1.0
                                           financial statements
07/19/2023                  MC             Working session with M. Cervi, A. Patti (AlixPartners) re: Other investment           1.7
                                           journal entry process
07/19/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: discussion on adding        1.9
                                           adjusted journal entries into the Other Investments Master file and reconciling
                                           total balances to the amount recorded in the adjusted balance sheet
07/19/2023                  MC             Working session with M. Cervi, T. Toaso, J. Chin (AlixPartners) re: discussion        0.5
                                           on organization and presentation of the Other Investments Master File
07/19/2023                  MC             Working session with M. Cervi, T. Yamada (AlixPartners) re: review status of          0.3
                                           non-QuickBooks workstream and start dates of certain entities within the entity
                                           matrix
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07/19/2023               MB                Meeting with A. Searles, M. Birtwell (AlixPartners) re: approach to                    0.2
                                           communications and sharing of materials with other Debtor advisors
07/19/2023                  MJ             Review production of historical QuickBooks files for purposes of production to         0.2
                                           government regulator
07/19/2023                  MJ             Review results from Solana chain data extraction process for multiple coins with       1.2
                                           a specific focus on FTT historical activity and end of quarter balances from Q4
                                           2020 to the petition date
07/19/2023                  QB             Review formatting of general ledger account data                                       1.0
07/19/2023                  QB             Investigate investments in digital assets                                              1.0
07/19/2023                  QB             Update draft memo of methodology used in investigation of investments in               0.5
                                           digital assets
07/19/2023                   RS            Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX             0.6
                                           accountant adjusting journal entry' and 'reclass'
07/19/2023                   RS            Working session with R. Self, A. Patti, T. Toaso (AlixPartners) re: NFT                0.5
                                           workplan and historical financial statement impact
07/19/2023                 SYW             Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.7
                                           (AlixPartners) re: approach for accounts payable general ledger detail validation
07/19/2023                 SYW             Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                 SYW             Investigate specific loan for general ledger detailed validation                       1.5
07/19/2023                 SYW             Investigate specific loan for general ledger detailed validation                       1.5
07/19/2023                 SYW             Investigate sponsorships recorded in the intercompany accounts for general             1.0
                                           ledger detailed validation
07/19/2023                 SYW             Validate in-scope intangible asset general ledger account balances re: specific        1.2
                                           entity goodwill
07/19/2023                 SYW             Validate in-scope intangible asset general ledger account balances re: specific        1.2
                                           entity intangible assets
07/19/2023                   SZ            Extract QuickBooks records to reconcile with balance sheet details for specific        0.6
                                           account
07/19/2023                   SZ            Reconcile the FTX investment trackers for specific entities                            1.7


07/19/2023                   SZ            Reconcile the FTX investment trackers for specific entities                            1.9

07/19/2023                   SZ            Continue reconciliation of the FTX investment trackers for specific entities           1.9
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/19/2023               SRH               Develop Solana JSON file parsing script to convert blockchain transactions into        2.3
                                           searchable dataset re: Historical Reconstruction
07/19/2023                  SRH            Update Solana JSON file parsing script results re: Historical Reconstruction           1.2
07/19/2023                   TY            Analyze coverage of non-QuickBooks accounts verification process                       1.3
07/19/2023                   TY            Review incorporation/acquisition date of FTX entities (Ventures silo)                  2.0
07/19/2023                   TY            Update mapping of non-QuickBooks accounts in the master balance sheet model            0.6

07/19/2023                  TY             Working session with D. Schwartz, M. Cervi, J. LaBella, T. Yamada, J. Chin             0.7
                                           (AlixPartners) re: update on status of other Investments workstream
07/19/2023                  TY             Working session with M. Cervi, T. Yamada (AlixPartners) re: review status of           0.3
                                           non-QuickBooks workstream and start dates of certain entities within the entity
                                           matrix
07/19/2023                  TY             Working session with T. Yamada, J. Chin (AlixPartners) re: review Non-                 0.5
                                           QuickBooks entries that affect the 235XX account which is captured in the
                                           Other Investments Master File
07/19/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: discussion on document          0.3
                                           search for employee loans related to acquisition of specific entity on Relativity
07/19/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: the review of                   0.5
                                           CottonWood QuickBooks journal entries relating to the specific entity FTT loans
07/19/2023                   TS            Prepare adjusting journal entries for Alameda Research according to the actual         1.7
                                           flow of FTT payments to assist with the investment in subsidiaries workstream
07/19/2023                   TS            Prepare adjusting journal entries for FTX Trading Ltd according to the actual          2.1
                                           flow of FTT payments to assist with the investment in subsidiaries workstream
07/19/2023                   TS            Prepare adjusting journal entries for Paper Bird Inc according to the actual flow      1.9
                                           of FTT payments to assist with the investment in subsidiaries workstream
07/19/2023                   TS            Working session with J. Xu, T. Shen (AlixPartners) re: the accounting of loans         0.2
                                           and financial derivatives
07/19/2023                   TT            Working session with C. Wong, D. Schwartz, E. Mostoff, J. LaBella, T. Toaso            0.7
                                           (AlixPartners) re: approach for accounts payable general ledger detail validation
07/19/2023                   TT            Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.            0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/19/2023                   TT            Construct intercompany elimination mechanics in model for financial statement          1.3
                                           reconstruction
07/19/2023                   TT            Review workpapers for reconstruction of financial statements related to other          1.5
                                           liabilities accounts
07/19/2023                   TT            Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re:               0.9
                                           intercompany receivable and payable adjustment matrix
07/19/2023                   TT            Working session with M. Cervi, T. Toaso, J. Chin (AlixPartners) re: discussion         0.5
                                           on organization and presentation of the Other Investments Master File
07/19/2023                   TT            Working session with R. Self, A. Patti, T. Toaso (AlixPartners) re: NFT                0.5
                                           workplan and historical financial statement impact
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07/19/2023               TP                Analyze Solana block chain signature data related to debtor accounts for use in         2.5
                                           the recreation of the historical financial statements
07/19/2023                   TP            Incorporate supplemental Solana transactional data related to debtor accounts for       2.7
                                           use in the recreation of the historical financial statements
07/19/2023                   TP            Working session with B. Mackay, D. Schwartz, F. Liang, K. Wessel, T. Phelan             0.5
                                           (AlixPartners) re: discuss path for switching from silo to entity level for
                                           establishing historical financial statements (digital assets)
07/19/2023                   TP            Working session with D. Schwartz, D. White, F. Liang, J. LaBella, K. Wessel, L.         1.0
                                           Goldman, T. Phelan (AlixPartners) re: discuss sources for Alameda's third-party
                                           exchange balances and updates on Solana wallets balances
07/19/2023                  XS             Research promissory notes of specific entity insiders on Relativity re: investment      0.8
                                           in subsidiaries
07/19/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: discussion on document           0.3
                                           search for employee loans related to acquisition of specific entity on Relativity
07/19/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: the review of                    0.5
                                           CottonWood QuickBooks journal entries relating to the specific entity FTT loans
07/19/2023                  XS             Analyze FTT loans entered between specific entity insiders and FTX Trading re:          0.8
                                           investment in subsidiaries
07/19/2023                  XS             Analyze subsequent measurement of investments (voting model) in compliance              0.8
                                           of US GAAP re: investment in subsidiaries
07/19/2023                  XS             Reconcile journal entries booked by Cotton Wood with those of Alameda,                  1.5
                                           PaperBird, and FTX Trading re: investment in subsidiaries
07/19/2023                  XS             Research FTT loans entered between specific individuals and Alameda re:                 1.4
                                           investment in subsidiaries
07/19/2023                  XS             Research FTT loans entered between specific individuals and Alameda re:                 0.8
                                           investment in subsidiaries
07/19/2023                  XS             Research supporting documents including audited financial statement, share              1.4
                                           purchase agreement, and payments of acquisition re: investment in subsidiaries
07/19/2023                  XS             Summarize journal entries of CottonWood related to FTT payments and loans re:           1.9
                                           investment in subsidiaries
07/19/2023                  YT             Meeting with C. Xu, Y. Tong (AlixPartners) re: Consolidate the updates of the           0.3
                                           master summary Access tool for purposes of supporting the financial statement
                                           reconstruction workstream
07/19/2023                  YT             Update the Add new investigation function in the Access master summary                  1.8
                                           database tool for purposes of supporting the financial statement reconstruction
                                           workstream
07/19/2023                  YT             Update the data source tables for views in SQL server for purposes of supporting        0.5
                                           the financial statement reconstruction workstream
07/19/2023                  YT             Working session with B. Robison, C. Xu, Y. Tong, J. Berg (AlixPartners) re: to          1.4
                                           update user forms and process workflow for master summary for purposes of
                                           supporting the financial statement reconstruction workstream
07/19/2023                  ZC             Search QuickBooks database for entries relating to Alameda Other Investments            1.8
                                           workstream for two specific entities
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/20/2023               AS                Continue editing the special investigation tracker for purposes of developing             1.7
                                           analysis to support a completeness check for the reconstruction of the financial
                                           statements
07/20/2023                  AS             Meeting with A. Searles, J. Somerville (AlixPartners) re: lookback period for             0.5
                                           historical f/s recreation with reference to avoidance actions
07/20/2023                  AS             Meeting with A. Searles, J. Somerville (AlixPartners) re: status and timing of            0.4
                                           deliverables related to the financial statement reconstruction workstream
07/20/2023                  AS             Working session with A. Searles, D. Schwartz (AlixPartners) re: to review                 0.2
                                           locked vs unlocked FTT held in exchange wallets
07/20/2023                  AP             Research Relativity for unstructured data related to NFT holdings and                     2.0
                                           transactions
07/20/2023                  AP             Create Other Investments completeness tracker to track all open and in-scope              2.5
                                           venture investments and procedures to close
07/20/2023                  AP             Create Other Investments tracking dashboard to review all remaining open items            1.2
07/20/2023                  AP             Working session with A. Patti, R. Self (AlixPartners) re: preliminary NFT                 1.0
                                           findings and next steps
07/20/2023                  AP             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, R. Self, A.            1.1
                                           Patti (AlixPartners) re: discuss timeline on next round of adjusting journal entries
                                           for digital assets and customer liabilities; treatment on SAFTs (simple agreement
                                           for future tokens)
07/20/2023                  AP             Working session with K. Wessel, A. Patti (AlixPartners) re: Other Investments             0.5
                                           documentation and assumptions
07/20/2023                  BAR            Review data upload process for QuickBooks for master summary database for                 1.0
                                           purposes of supporting the financial statement reconstruction workstream
07/20/2023                  BAR            Working session with B. Robison, C. Xu, J. Berg (AlixPartners) re: to fix items           1.8
                                           related to selection menus and uploading data for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/20/2023                  BAR            Review data upload process for Relativity for master summary database for                 1.1
                                           purposes of supporting the financial statement reconstruction workstream
07/20/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement                 1.2
                                           reconstruction
07/20/2023                  CX             Update Add Key Person functionality in master summary database template for               1.6
                                           purposes of supporting the financial statement reconstruction workstream
07/20/2023                  CX             Update stored procedure processes for master summary database for purposes of             0.8
                                           supporting the financial statement reconstruction workstream
07/20/2023                  CX             Update master summary database VBA connections for purposes of supporting                 1.2
                                           the financial statement reconstruction workstream
07/20/2023                  CX             Working session with B. Robison, C. Xu, J. Berg (AlixPartners) re: to fix items           1.8
                                           related to selection menus and uploading data for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/20/2023                  CC             Prepare adjusting journal entries for cash transfers between Alameda Research             1.8
                                           Ltd and specific entity
07/20/2023                  CC             Update leadsheet with proposed adjustments re: Clifton Bay Investments LLC's              0.8
                                           Related Party Payable with Alameda Research LLC
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/20/2023               CC                Update leadsheet with proposed adjustments re: FTX Trading Ltd's                          0.7
                                           Intercompany Payable with specific entity
07/20/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party            2.1
                                           Payable with Alameda Research LLC
07/20/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party            0.9
                                           Receivable with Alameda Research LLC
07/20/2023                  CC             Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re:                  0.9
                                           intercompany receivable and payable adjustment matrix
07/20/2023                  DS             Working session with C. Wong, D. Schwartz, J. Somerville, K. Vasiliou                     0.4
                                           (AlixPartners) re: Investigate specific loan
07/20/2023                  DS             Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,            0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                  DS             Working session with A. Searles, D. Schwartz (AlixPartners) re: to review                 0.2
                                           locked vs unlocked FTT held in exchange wallets
07/20/2023                  DS             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M.                  0.5
                                           Cervi, T. Toaso (AlixPartners) re: Approach for validation of intercompany and
                                           related party general ledger accounts
07/20/2023                  DS             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, R. Self, A.            1.1
                                           Patti (AlixPartners) re: discuss timeline on next round of adjusting journal entries
                                           for digital assets and customer liabilities; treatment on SAFTs (simple agreement
                                           for future tokens)
07/20/2023                  DS             Working session with D. Schwartz, T. Toaso (AlixPartners) re: preparing                   1.0
                                           presentation to respond to CEO and CFO request to prepare a workstream
                                           roadmap
07/20/2023                  DJW            Analyze Solana blockchain transactions and related Debtor decentralized finance           1.8
                                           activities on same for historic balance recreation
07/20/2023                  DJW            Plan forensic investigation of decentralized finance investments on multiple              2.2
                                           blockchains in support of the reconstruction of financial balances
07/20/2023                  DJW            Continue to analyze Solana blockchain transactions and related Debtor                     1.4
                                           decentralized finance activities on same for historic balance recreation
07/20/2023                  DL             Document and prepare proposed adjusting journal entries re: investment in                 1.2
                                           NEAR Token through Contribution Agreement
07/20/2023                  DL             Prepare summaries in advance of call re: recreation of historical digital                 1.0
                                           assets/customer liabilities balances
07/20/2023                  DL             Update Alameda's third-party exchange balances using latest mapping                       1.8
07/20/2023                  DL             Research debtor's investment in NEAR Token through 'Contribution Agreement'               2.1
                                           and accounting treatment for historical financial statement
07/20/2023                  DL             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, R. Self, A.            1.1
                                           Patti (AlixPartners) re: discuss timeline on next round of adjusting journal entries
                                           for digital assets and customer liabilities; treatment on SAFTs (simple agreement
                                           for future tokens)
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                   HOURS
07/20/2023               EM                Analyze accounts payable sub ledger downloaded from QuickBooks front end              0.9
                                           against WRSS accounts payable general ledger activity to support general ledger
                                           detail validation
07/20/2023                  EM             Perform cash database query search against debits recorded to WRSS accounts           0.3
                                           payable account
07/20/2023                  EM             Analyze completeness of bank accounts for Alameda Research Ltd to support             0.8
                                           financial statement reconstruction
07/20/2023                  EM             Analyze source data for non-QuickBooks general ledger accounts of specific            0.5
                                           entity to identify sources of recorded cash
07/20/2023                  EM             Search Relativity for account opening documentation re: Signature bank                0.6
                                           accounts held by Debtors
07/20/2023                  EM             Document assumptions re: completeness of Alameda Research Ltd bank                    0.3
                                           accounts to support financial statement reconstruction
07/20/2023                  EM             Prepare questions for A&M re: confirmation of account activity for several            0.3
                                           Prime Trust accounts
07/20/2023                  EM             Prepare questions to A&M re: account opening information of several specific          0.4
                                           bank accounts
07/20/2023                  EM             Review bank account tracker for bank accounts and statement availability re:          0.3
                                           specific entity to support financial statement reconstruction
07/20/2023                  EM             Review bank accounts previously identified in exchange data tables for potential      0.3
                                           follow ups
07/20/2023                  EM             Review completion status of Prime Trust bank accounts based on current                0.6
                                           documentation available
07/20/2023                  EM             Update bank account balance listing for FTX Crypto Services Ltd to support            0.6
                                           financial statement reconstruction
07/20/2023                  EM             Update bank account balance listing for specific entity based on newly available      1.2
                                           bank statements
07/20/2023                  EM             Update bank account completion tracker with updated status of specific entity         0.5
                                           accounts based on new statements available
07/20/2023                  EM             Working session with E. Mostoff, K. Vasiliou (AlixPartners) re: Aligning on           0.4
                                           testing approach for Other Assets and Other Liabilities
07/20/2023                  GG             Create a script to update customer balances on the FTX.com exchange                   2.9
07/20/2023                  GG             Create a script to update customer balances on the FTX.us exchange                    2.3
07/20/2023                  JC             Attend meeting with M. Cervi, J. Chin (AlixPartners) re: discussion of open           1.5
                                           accounts that are in the Other Investments Master File and a part of a specific
                                           general ledger account
07/20/2023                  JC             Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,        0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                  JC             Continue updating the Other Investments master file with an AlixPartners ID           2.4
                                           that matches investments between QuickBooks and the FTX Investments tracker
07/20/2023                  JC             Update pivot tables referring to the leadsheets within the Other Investments          0.4
                                           master file
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07/20/2023               JC                Update the Other Investments master file with an AlixPartners ID that matches             2.8
                                           investments between QuickBooks and the FTX Investments tracker
07/20/2023                  JC             Working session with T. Yamada, J. Chin (AlixPartners) re: review Non-                    0.5
                                           QuickBooks entries that affect the 235XX account which is captured in the
                                           Other Investments Master File
07/20/2023                  JRB            Update historical report standardization template using the master summary                2.2
                                           database to facilitate migration of legacy reports for purposes of supporting the
                                           financial statement reconstruction workstream
07/20/2023                  JRB            Working session with B. Robison, C. Xu, J. Berg (AlixPartners) re: to fix items           1.8
                                           related to selection menus and uploading data for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/20/2023                   JX            Check completeness of loan lenders by reviewing claim data                                0.6
07/20/2023                   JX            Identify claims that are potentially related to loans                                     0.8
07/20/2023                   JX            Review claim filings from unknown third parties for Alameda entities                      3.0
07/20/2023                   JX            Review claim filings from unknown third parties for non-Alameda entities                  2.3
07/20/2023                  JCL            Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,            0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                  JCL            Review latest draft of legal entity balance sheets to identify process and                1.3
                                           hierarchy by which balance eliminations will result at silo and FTX group levels
07/20/2023                  JCL            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M.                  0.5
                                           Cervi, T. Toaso (AlixPartners) re: Approach for validation of intercompany and
                                           related party general ledger accounts
07/20/2023                  JCL            Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, R. Self, A.            1.1
                                           Patti (AlixPartners) re: discuss timeline on next round of adjusting journal entries
                                           for digital assets and customer liabilities; treatment on SAFTs (simple agreement
                                           for future tokens)
07/20/2023                  JCL            Working session with J. LaBella, M. Cervi, T. Yamada, T. Toaso (AlixPartners)             0.7
                                           re: status of non-QuickBooks workstream and significant non-QuickBooks
                                           entities
07/20/2023                  JLS            Working session with C. Wong, D. Schwartz, J. Somerville, K. Vasiliou                     0.4
                                           (AlixPartners) re: Investigate specific loan
07/20/2023                  JLS            Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,            0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                  JLS            Meeting with A. Searles, J. Somerville (AlixPartners) re: lookback period for             0.5
                                           historical f/s recreation with reference to avoidance actions
07/20/2023                  JLS            Meeting with A. Searles, J. Somerville (AlixPartners) re: status and timing of            0.4
                                           deliverables related to the financial statement reconstruction workstream
07/20/2023                  JLS            Prepare draft intercompany matrix for Alameda Research LLC to Alameda                     1.1
                                           Research Ltd
07/20/2023                  JLS            Prepare workpaper summarizing Investment in Subsidiary verification process               0.4
                                           for West Realm Shires Inc
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07/20/2023               JLS               Review memo re: specific entity valuation                                                  0.8

07/20/2023                  JLS            Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re:                   0.9
                                           intercompany receivable and payable adjustment matrix
07/20/2023                  JLS            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M.                   0.5
                                           Cervi, T. Toaso (AlixPartners) re: Approach for validation of intercompany and
                                           related party general ledger accounts
07/20/2023                  KV             Working session with C. Wong, D. Schwartz, J. Somerville, K. Vasiliou                      0.4
                                           (AlixPartners) re: Investigate specific loan
07/20/2023                  KV             Compare the balances in the Collateral Detail schedule to the Collateral Payable           0.8
                                           Balances identified on loan agreements
07/20/2023                  KV             Create adjusting journal entries for the loan to Seung Gun Lee from Alameda                2.6
                                           Ventures Ltd
07/20/2023                  KV             Investigate Loan from FTX Trading Ltd to specific entity                                   1.6
07/20/2023                  KV             Investigate the loan to specific person from Alameda Ventures Ltd                          1.2
07/20/2023                  KV             Review Other Assets processes, procedures, and flow charts                                 1.0
07/20/2023                  KV             Working session with E. Mostoff, K. Vasiliou (AlixPartners) re: Aligning on                0.4
                                           testing approach for Other Assets and Other Liabilities
07/20/2023                  KV             Working session with K. Vasiliou, T. Shen (AlixPartners) re: Scoping approach              0.6
                                           for testing of Other Assets workstream and other considerations (completeness,
                                           insufficient evidence etc.)
07/20/2023                 KHW             Analyze updated adjusted historical liability balances for liabilities to be recorded      0.9
                                           on specific entity for loans payable to third parties

07/20/2023                 KHW             Develop leadsheet for recalculated historical adjusted balances for third party            2.1
                                           liabilities incorporating additional lender statements/agreements
07/20/2023                 KHW             Review recalculated historical third party liability balances for unrecorded loans         1.7
                                           with West Realm Shires Services Inc for balance sheet recreation efforts
07/20/2023                 KHW             Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, R. Self, A.             1.1
                                           Patti (AlixPartners) re: discuss timeline on next round of adjusting journal entries
                                           for digital assets and customer liabilities; treatment on SAFTs (simple agreement
                                           for future tokens)
07/20/2023                 KHW             Working session with K. Wessel, A. Patti (AlixPartners) re: Other Investments              0.5
                                           documentation and assumptions
07/20/2023                  LS             Update QuickBooks backend download with increased RAM                                      0.3
07/20/2023                  MC             Attend meeting with M. Cervi, J. Chin (AlixPartners) re: discussion of open                1.5
                                           accounts that are in the Other Investments Master File and a part of a specific
                                           general ledger account
07/20/2023                  MC             Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,             0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                  MC             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M.                   0.5
                                           Cervi, T. Toaso (AlixPartners) re: Approach for validation of intercompany and
                                           related party general ledger accounts
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07/20/2023               MC                Working session with J. LaBella, M. Cervi, T. Yamada, T. Toaso (AlixPartners)             0.7
                                           re: status of non-QuickBooks workstream and significant non-QuickBooks
                                           entities
07/20/2023                  MB             Prepare insider transfer adjusting journal entries for July balance sheet update          2.3
07/20/2023                  QB             Review formatting of general ledger account data                                          0.6
07/20/2023                  QB             Investigate investments in digital assets                                                 2.2
07/20/2023                  RS             Prepare NFT summary for Alameda held NFTs                                                 2.0
07/20/2023                  RS             Working session with A. Patti, R. Self (AlixPartners) re: preliminary NFT                 1.0
                                           findings and next steps
07/20/2023                   RS            Working session with D. Schwartz, F. Liang, J. LaBella, K. Wessel, R. Self, A.            1.1
                                           Patti (AlixPartners) re: discuss timeline on next round of adjusting journal entries
                                           for digital assets and customer liabilities; treatment on SAFTs (simple agreement
                                           for future tokens)
07/20/2023                 SYW             Working session with C. Wong, D. Schwartz, J. Somerville, K. Vasiliou                     0.4
                                           (AlixPartners) re: Investigate specific loan
07/20/2023                 SYW             Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,            0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                 SYW             Categorize out of scope accounts for general ledger detailed analysis                     1.2
07/20/2023                 SYW             Review specific accounts for general ledger detailed validation                           1.3
07/20/2023                 SYW             Review proposed adjusting journal entries related to specific acquisition to              2.0
                                           determine whether it covers all of the GL accounts
07/20/2023                 SYW             Update general ledger detailed validation for new category 'Verified - Exchange'          0.8
                                           for transactions validated using exchange data
07/20/2023                 SYW             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M.                  0.5
                                           Cervi, T. Toaso (AlixPartners) re: Approach for validation of intercompany and
                                           related party general ledger accounts
07/20/2023                 SYW             Working session with C. Wong, T. Toaso (AlixPartners) re: General ledger                  0.5
                                           detailed validation leadsheet review
07/20/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other             1.9
                                           Investments workstream for specific entity
07/20/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other             1.8
                                           Investments workstream for specific entity
07/20/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other             1.8
                                           Investments workstream for specific entity
07/20/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other             1.8
                                           Investments workstream for specific entity

07/20/2023                  SRH            Teleconference with S. Hanzi, T. Phelan (AlixPartners) re: to develop                     1.5
                                           methodology to identify main account for non-solana token accounts from
                                           blockchain files re: Historical Reconstruction
07/20/2023                  SRH            Teleconference call with S. Hanzi, T. Phelan (AlixPartners) re: review solana             2.0
                                           blockchain data files, variety of data structures within the JSON, and how they
                                           differ for specific blockchain actions re: historical reconstruction
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John J. Ray III
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125 Broad Street
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Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/20/2023               TY                Attend meeting with C. Chen, C. Wong, D. Schwartz, E. Mostoff, F. Liang, J.              0.8
                                           LaBella, J. Somerville, K. Vasiliou, K. Wessel, M. Cervi, R. Self, T. Yamada, T.
                                           Toaso, J. Chin, A. Patti (AlixPartners) re: discussion on scoping of Other
                                           Investments, status of Other Assets, and loan to specific entity from other
                                           specific entity
07/20/2023                  TY             Review incorporation/acquisition date of FTX entities not included in a specific         2.5
                                           silo
07/20/2023                  TY             Review non-QuickBooks verification process in preparation for internal                   1.4
                                           discussion
07/20/2023                  TY             Working session with T. Yamada, J. Chin (AlixPartners) re: review Non-                   0.5
                                           QuickBooks entries that affect the 235XX account which is captured in the
                                           Other Investments Master File
07/20/2023                   TS            Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,           0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                   TS            Prepare adjusting journal entries for Alameda Research Ltd to account for the            2.1
                                           acquisition of specific entity based on the actual FTT payouts validated on the
                                           exchange to assist with the investment in subsidiaries workstream
07/20/2023                   TS            Prepare adjusting journal entries for Cottonwood Grove Ltd to account for the            2.3
                                           acquisition of specific entity based on the actual FTT payouts validated on the
                                           exchange to assist with the investment in subsidiaries workstream
07/20/2023                   TS            Prepare adjusting journal entries for FTX Trading Ltd to account for the                 2.2
                                           acquisition of specific entity based on the actual FTT payouts validated on the
                                           Exchange to assist with the investment in subsidiaries workstream
07/20/2023                   TS            Prepare adjusting journal entries for Paper Bird Inc to account for the acquisition      1.8
                                           of specific entity based on the actual FTT payouts validated on the Exchange to
                                           assist with the investment in subsidiaries workstream
07/20/2023                   TS            Working session with K. Vasiliou, T. Shen (AlixPartners) re: Scoping approach            0.6
                                           for testing of Other Assets workstream and other considerations (completeness,
                                           insufficient evidence etc.)
07/20/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: discussion on original            0.7
                                           entries booked by Cotton Wood for loans receivable from Alameda and
                                           PaperBird
07/20/2023                   TT            Review cash database analysis to support intercompany cash balance analysis              0.9
07/20/2023                   TT            Working session with C. Chen, J. Somerville, T. Toaso (AlixPartners) re:                 0.9
                                           intercompany receivable and payable adjustment matrix
07/20/2023                   TT            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M.                 0.5
                                           Cervi, T. Toaso (AlixPartners) re: Approach for validation of intercompany and
                                           related party general ledger accounts
07/20/2023                   TT            Working session with C. Wong, T. Toaso (AlixPartners) re: General ledger                 0.5
                                           detailed validation leadsheet review
07/20/2023                   TT            Working session with J. LaBella, M. Cervi, T. Yamada, T. Toaso (AlixPartners)            0.7
                                           re: status of non-QuickBooks workstream and significant non-QuickBooks
                                           entities
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07/20/2023               TT                Working session with D. Schwartz, T. Toaso (AlixPartners) re: preparing               1.0
                                           presentation to respond to CEO and CFO request to prepare a workstream
                                           roadmap
07/20/2023                   TP            Analyze Solana block chain signature data related to debtor accounts for use in       2.5
                                           the recreation of the historical financial statements
07/20/2023                   TP            Teleconference with S. Hanzi, T. Phelan (AlixPartners) re: to develop                 1.5
                                           methodology to identify main account for non-solana token accounts from
                                           blockchain files re: Historical Reconstruction
07/20/2023                   TP            Teleconference call with S. Hanzi, T. Phelan (AlixPartners) re: review solana         2.0
                                           blockchain data files, variety of data structures within the JSON, and how they
                                           differ for specific blockchain actions re: historical reconstruction
07/20/2023                  XS             Prepare working paper of adjustments to specific intercompany balance re:             1.2
                                           investment in subsidiaries
07/20/2023                  XS             Attend meeting with C. Wong, D. Schwartz, J. LaBella, J. Somerville, M. Cervi,        0.5
                                           T. Shen, X. Su, J. Chin (AlixPartners) re: discussion of new proposed journal
                                           entries for payments to specific entity shareholders based on actual movement of
                                           FTT and cash rather than contractual agreements
07/20/2023                  XS             Analyze audit working paper of CottonWood for FTT liabilities to reconcile with       1.2
                                           journal entries re: investment in subsidiaries
07/20/2023                  XS             Analyze digital asset monthly report to identify payments recorded in journal         0.9
                                           entries re: investment in subsidiaries
07/20/2023                  XS             Analyze original journal entries booked by CottonWood to prepare for reversal         1.2
                                           adjustments re: investment in subsidiaries
07/20/2023                  XS             Review adjustment of specific entity re: investment in subsidiaries                   0.5
07/20/2023                  XS             Update exchange request tracker for digital payments records with receiver            1.5
                                           account name re: investment in subsidiaries
07/20/2023                  XS             Validate bank statement of loan outflows re: investment in subsidiaries               0.5
07/20/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: discussion on original         0.7
                                           entries booked by Cotton Wood for loans receivable from Alameda and
                                           PaperBird
07/20/2023                  YT             Update the key person table in SQL server for the master summary database tool        1.4
                                           for purposes of supporting the financial statement reconstruction workstream
07/20/2023                  YT             Update the Access form VBA for Key person form in the master summary                  1.4
                                           database tool for purposes of supporting the financial statement reconstruction
                                           workstream
07/20/2023                  ZC             Summarize loan claims from claim report for Alameda, West Realm Shires, and           0.8
                                           two other specific entities relating to loans workstream
07/20/2023                  ZC             Update adjusting entries relating to other investment workstream for four             1.3
                                           specific entities

07/20/2023                  ZC             Update the adjustments identified relating to Alameda Other Investments               1.5
                                           workstream for five specific entities
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DATE                PROFESSIONAL                                 DESCRIPTION OF SERVICES                                       HOURS
07/20/2023               ZC                Update the adjustments identified relating to Alameda Other Investments                1.8
                                           workstream for six specific entities


07/21/2023                  AP             Attend meeting with D. Schwartz, M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti         0.8
                                           (AlixPartners) re: review new status reporting format for Other Investments
                                           adjusted journal entries for the July adjusted balance sheet
07/21/2023                  AP             Attend meeting with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti (AlixPartners)       0.2
                                           re: Continue review of Other Investments adjusted journal entries for the July
                                           Adjusted Balance sheet
07/21/2023                  AP             Develop list of all Alameda owned NFTs from unstructured data sources                  2.2
07/21/2023                  AP             Refine list of all Alameda owned NFTs to link unique identifier to unstructured        1.5
                                           data source
07/21/2023                  AP             Research Relativity for unstructured data related to NFT holdings and                  0.7
                                           transactions
07/21/2023                  AP             Update other investments completeness tracker for all remaining open venture           0.9
                                           investments requiring further research
07/21/2023                  AP             Working session with A. Patti, R. Self (AlixPartners) re: analyzing general            0.8
                                           ledger data that includes 'NFT'
07/21/2023                 BFM             Review exchange tables re: NFTs                                                        0.4
07/21/2023                 BFM             Update .com and .US customer balances by silo                                          1.1
07/21/2023                 BFM             Working session with B. Mackay, F. Liang (AlixPartners) re: discuss latest             0.2
                                           exchange (FTX.COM and FTX.US) balances
07/21/2023                  BAR            Meeting with B. Robison, J. Berg (AlixPartners) re: Sync on master summary's           1.0
                                           current status, test functions, debug, and discuss the next steps for purposes of
                                           supporting the financial statement reconstruction workstream
07/21/2023                  BAR            Review code for adding entries for selection look ups for master summary               0.9
                                           database for purposes of supporting the financial statement reconstruction
                                           workstream
07/21/2023                  BAR            Working session with B. Robison, C. Xu, J. Berg (AlixPartners) re: to debug            1.0
                                           user functionality related to investigation data for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/21/2023                  CAS            Review cash reconciliations to FTX.com to support the financial statement              2.7
                                           reconstruction
07/21/2023                  CX             Analyze specific output reports related to the master summary database template        0.7
                                           for purposes of supporting the financial statement reconstruction workstream
07/21/2023                  CX             Update Access reporting functionality for master summary database template for         0.6
                                           purposes of supporting the financial statement reconstruction workstream
07/21/2023                  CX             Working session with B. Robison, C. Xu, J. Berg (AlixPartners) re: to debug            1.0
                                           user functionality related to investigation data for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/21/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       1.5
                                           Intercompany Payable with FTX Digital Markets Ltd
07/21/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       0.4
                                           Intercompany Receivable with specific entity
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/21/2023               CC                Update leadsheet with proposed adjustments re: FTX Trading Ltd's                        1.8
                                           Intercompany Receivable with FTX Digital Markets Ltd
07/21/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          0.8
                                           Payable with West Realm Shires Services Inc
07/21/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          0.7
                                           Receivable with West Realm Shires Services Inc
07/21/2023                  DS             Attend meeting with D. Schwartz, M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti          0.8
                                           (AlixPartners) re: review new status reporting format for Other Investments
                                           adjusted journal entries for the July adjusted balance sheet
07/21/2023                  DS             Review preliminary historical Solana balances to communicate questions and              0.9
                                           next steps to data team for purposes of rebuilding historical financial statements
07/21/2023                  DS             Working session with D. Schwartz, J. LaBella (AlixPartners) re: to discuss              0.3
                                           modification of historical balance sheet model to separate and include valuation
                                           of Sam coins
07/21/2023                  DJW            Working session with D. White, F. Liang, J. LaBella, K. Wessel, L. Goldman, T.          1.0
                                           Phelan (AlixPartners) re: discuss FTT deployer wallet and FTT - 3 Year
                                           Contract; next steps on Solana wallets balances calculation
07/21/2023                  DL             Compare latest FTX exchange balances for DOTCOM and Alameda against                     1.6
                                           previous version
07/21/2023                  DL             Update Alameda's historical digital assets balances workpaper to incorporate            2.4
                                           latest FTX exchange output
07/21/2023                  DL             Update DOTCOM's historical customer liabilities balances workpaper to                   1.7
                                           incorporate latest FTX exchange output
07/21/2023                  DL             Update WRS historical customer liabilities balances workpaper to incorporate            1.4
                                           latest FTX exchange output
07/21/2023                  DL             Working session with B. Mackay, F. Liang (AlixPartners) re: discuss latest              0.2
                                           exchange (FTX.COM and FTX.US) balances
07/21/2023                  DL             Working session with D. White, F. Liang, J. LaBella, K. Wessel, L. Goldman, T.          1.0
                                           Phelan (AlixPartners) re: discuss FTT deployer wallet and FTT - 3 Year
                                           Contract; next steps on Solana wallets balances calculation
07/21/2023                  EM             Analyze bank statement availability of FTX Australia to support financial               1.9
                                           statement reconstruction
07/21/2023                  EM             Compare FTX Japan KK general ledger data against known bank accounts to                 1.1
                                           identify gaps in banking data
07/21/2023                  EM             Compare specific entity general ledger data against known bank accounts to              0.7
                                           identify gaps in banking data
07/21/2023                  EM             Recalculate historical cash balances for FTX Japan KK based on excel                    2.9
                                           transaction listings provided by bank
07/21/2023                  EM             Continue recalculating historical cash balances for FTX Japan KK based on               1.4
                                           excel transaction listings provided by bank
07/21/2023                  EM             Update bank account tracker with data re: account opening information of Deltec         0.4
                                           bank accounts
07/21/2023                  EM             Update weekly bank account tracker with latest bank statement availability              0.6
                                           information
07/21/2023                  GG             Analyze the NFT data in the FTX.com exchange database                                   2.9
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                        HOURS
07/21/2023               GG                Create a script for the NFT fills component of FTX.com exchange user balances              2.9
07/21/2023               GG                Create a script for the NFT transfers component of FTX.com exchange user                   2.9
                                           balances
07/21/2023                  JC             Attend meeting with D. Schwartz, M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti             0.8
                                           (AlixPartners) re: review new status reporting format for Other Investments
                                           adjusted journal entries for the July adjusted balance sheet
07/21/2023                  JC             Attend meeting with M. Cervi, J. Chin (AlixPartners) re: review the Q1'22                  0.8
                                           balance for Alameda Research LTD Non-current Investments: Equity Securities
07/21/2023                  JC             Attend meeting with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti (AlixPartners)           0.2
                                           re: Continue review of Other Investments adjusted journal entries for the July
                                           Adjusted Balance sheet
07/21/2023                  JC             Draft the adjusted journal entries for specific fund                                       1.6
07/21/2023                  JC             Prepare Other Investments master file for July adjusted journal entry input                0.9
07/21/2023                  JC             Review prior Other Investments adjusted journal entries for discrepancies in               2.6
                                           legal entity and account number
07/21/2023                   JC            Review the draft adjusted journal entries for specific investment                          1.2
07/21/2023                  JRB            Update Azure Devops workstream planner using the master summary database                   1.3
                                           for purposes of supporting the financial statement reconstruction workstream
07/21/2023                  JRB            Update data extraction functions using the master summary database for                     1.7
                                           purposes of supporting the financial statement reconstruction workstream
07/21/2023                  JRB            Meeting with B. Robison, J. Berg (AlixPartners) re: Sync on master summary's               1.0
                                           current status, test functions, debug, and discuss the next steps for purposes of
                                           supporting the financial statement reconstruction workstream
07/21/2023                  JRB            Working session with B. Robison, C. Xu, J. Berg (AlixPartners) re: to debug                1.0
                                           user functionality related to investigation data for master summary for purposes
                                           of supporting the financial statement reconstruction workstream
07/21/2023                   JX            Update West Realm Shires loans in workpaper                                                1.2
07/21/2023                   JX            Document the reconstruction procedures for loan & collateral balances                      1.5
07/21/2023                   JX            Reconstruct the non-Alameda loan collateral balances                                       3.0
07/21/2023                   JX            Search for non-Alameda invoices and loan agreements in Relativity                          2.7
07/21/2023                  JCL            Analyze all non-QuickBooks account balances at quarter end to identify                     0.9
                                           threshold of account balances requiring review
07/21/2023                  JCL            Develop agenda for in-person meetings of financial statement reconstruction next           0.4
                                           week
07/21/2023                  JCL            Review latest draft of identified digital assets in wallets relative to Sam coins and      0.8
                                           non-Sam coin holdings on FTX exchange over quarters
07/21/2023                  JCL            Review modeling of eliminations applied to allow for consolidation of legal                0.5
                                           entities up to FTX group level
07/21/2023                  JCL            Working session with D. Schwartz, J. LaBella (AlixPartners) re: to discuss                 0.3
                                           modification of historical balance sheet model to separate and include valuation
                                           of Sam coins
07/21/2023                  JCL            Working session with D. White, F. Liang, J. LaBella, K. Wessel, L. Goldman, T.             1.0
                                           Phelan (AlixPartners) re: discuss FTT deployer wallet and FTT - 3 Year
                                           Contract; next steps on Solana wallets balances calculation
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07/21/2023               JCL               Working session with J. LaBella, M. Cervi, T. Toaso (AlixPartners) re: Model           1.0
                                           design to create elimination entries upon consolidation
07/21/2023                  JCL            Working session with J. LaBella, T. Toaso (AlixPartners) re: potential treatment       0.8
                                           of locked coins in historical financial statement model

07/21/2023                  JLS            Prepare supporting presentation re: verification of Investment in Subsidiary           1.4
                                           balance for FTX Trading Ltd
07/21/2023                  KV             Investigate specific loan to FTXUS                                                     1.1
07/21/2023                  KV             Perform unstructured searches to identify invoices supporting the recording of         1.6
                                           prepaid expenses and verifying the prepayment (Glushon Sports)
07/21/2023                  KV             Researching procedures to test Other Assets for prepaid expenses                       1.5
07/21/2023                  KV             Update adjusting journal entries in working papers and consolidated master             2.3
                                           balance sheet upon changes in Chart of Accounts
07/21/2023                 KHW             Evaluate outstanding historical digital asset balances remaining to be identified      0.6
                                           in blockchain analysis
07/21/2023                 KHW             Update adjusting journal entry workbook to incorporate updated historical              0.8
                                           liability balances for newly identified third party loans in non-Alameda entities
07/21/2023                 KHW             Working session with D. White, F. Liang, J. LaBella, K. Wessel, L. Goldman, T.         1.0
                                           Phelan (AlixPartners) re: discuss FTT deployer wallet and FTT - 3 Year
                                           Contract; next steps on Solana wallets balances calculation
07/21/2023                 LMG             Working session with D. White, F. Liang, J. LaBella, K. Wessel, L. Goldman, T.         1.0
                                           Phelan (AlixPartners) re: discuss FTT deployer wallet and FTT - 3 Year
                                           Contract; next steps on Solana wallets balances calculation
07/21/2023                  MC             Attend meeting with D. Schwartz, M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti         0.8
                                           (AlixPartners) re: review new status reporting format for Other Investments
                                           adjusted journal entries for the July adjusted balance sheet
07/21/2023                  MC             Attend meeting with M. Cervi, J. Chin (AlixPartners) re: review the Q1'22              0.8
                                           balance for Alameda Research LTD Non-current Investments: Equity Securities
07/21/2023                  MC             Attend meeting with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti (AlixPartners)       0.2
                                           re: Continue review of Other Investments adjusted journal entries for the July
                                           Adjusted Balance sheet
07/21/2023                  MC             Update tracker of adjustments related to investments workstream                        0.3
07/21/2023                  MC             Update legal entity organization chart mapping for balance sheet model purposes        0.8
07/21/2023                  MC             Working session with J. LaBella, M. Cervi, T. Toaso (AlixPartners) re: Model           1.0
                                           design to create elimination entries upon consolidation
07/21/2023                  MC             Working session with M. Cervi, T. Yamada (AlixPartners) re: non-QuickBooks             0.5
                                           workstream and start date of FTX Ventures Partnership
07/21/2023                  MC             Working session with M. Cervi, T. Yamada (AlixPartners) re: review status of           0.4
                                           non-QuickBooks workstream and start dates of certain entities within the entity
                                           matrix
07/21/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX             2.1
                                           accountant adjusting journal entry' and 'reclass'
07/21/2023                   RS            Prepare NFT summary for Alameda held NFTs                                              2.2
07/21/2023                   RS            Working session with A. Patti, R. Self (AlixPartners) re: analyzing general            0.8
                                           ledger data that includes 'NFT'
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                       HOURS
07/21/2023               ST                Analyze .COM exchange data to identify payments by third parties to FTX                  1.7
                                           relating to loans
07/21/2023                   SZ            Attend meeting with D. Schwartz, M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti           0.8
                                           (AlixPartners) re: review new status reporting format for Other Investments
                                           adjusted journal entries for the July adjusted balance sheet
07/21/2023                   SZ            Attend meeting with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti (AlixPartners)         0.2
                                           re: Continue review of Other Investments adjusted journal entries for the July
                                           Adjusted Balance sheet
07/21/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.8

07/21/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.9

07/21/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.2

07/21/2023                   SZ            Reconcile the FTX investment trackers for specific entities                              1.1

07/21/2023                  TY             Review incorporation/acquisition date of FTX entities not included in a specific         1.0
                                           silo
07/21/2023                  TY             Working session with J. LaBella, M. Cervi, T. Yamada, T. Toaso (AlixPartners)            0.7
                                           re: status of non-QuickBooks workstream and significant non-QuickBooks
                                           entities
07/21/2023                  TY             Working session with M. Cervi, T. Yamada (AlixPartners) re: non-QuickBooks               0.5
                                           workstream and start date of FTX Ventures Partnership
07/21/2023                  TY             Working session with M. Cervi, T. Yamada (AlixPartners) re: review status of             0.4
                                           non-QuickBooks workstream and start dates of certain entities within the entity
                                           matrix
07/21/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: discussion on digital             0.8
                                           payment records on exchange related to investment in FTX Turkey and specific
07/21/2023                   TS            Attend meeting with D. Schwartz, M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti           0.8
                                           (AlixPartners) re: review new status reporting format for Other Investments
                                           adjusted journal entries for the July adjusted balance sheet
07/21/2023                   TS            Attend meeting with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti (AlixPartners)         0.2
                                           re: Continue review of Other Investments adjusted journal entries for the July
                                           Adjusted Balance sheet
07/21/2023                   TS            Perform key word searches in Relativity to validate payments of digital assets in        1.3
                                           relation to the acquisition of specific entity to assist with the investment in
                                           subsidiaries workstream
07/21/2023                   TS            Perform key word searches in Relativity to validate payments of digital assets in        0.9
                                           relation to the capital contribution to FTX Turkey to assist with the investment in
                                           subsidiaries workstream
07/21/2023                   TS            Prepare summary of observation and supporting evidence of the specific                   1.8
                                           acquisition to assist with the review of specific general ledger account

07/21/2023                   TS            Update draft adjustment journal entries to reconcile debiting entries to crediting       0.7
                                           entries to assist with the investment in subsidiaries workstream
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/21/2023               TT                Construct intercompany elimination mechanics in model for financial statement         0.8
                                           reconstruction
07/21/2023                   TT            Review workpapers for reconstruction of financial statements related to other         1.0
                                           liabilities accounts
07/21/2023                   TT            Working session with J. LaBella, M. Cervi, T. Toaso (AlixPartners) re: Model          1.0
                                           design to create elimination entries upon consolidation
07/21/2023                   TT            Working session with J. LaBella, T. Toaso (AlixPartners) re: potential treatment      0.8
                                           of locked coins in historical financial statement model

07/21/2023                   TP            Analyze Solana block chain account relationship data related to debtor accounts       0.5
                                           for use in the recreation of the historical financial statements
07/21/2023                   TP            Analyze Solana block chain signature data related to debtor accounts for use in       1.6
                                           the recreation of the historical financial statements
07/21/2023                   TP            Analyze Solana block chain transactional data related to debtor accounts for use      1.2
                                           in the recreation of the historical financial statements
07/21/2023                   TP            Working session with D. White, F. Liang, J. LaBella, K. Wessel, L. Goldman, T.        1.0
                                           Phelan (AlixPartners) re: discuss FTT deployer wallet and FTT - 3 Year
                                           Contract; next steps on Solana wallets balances calculation
07/21/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: discussion on digital          0.8
                                           payment records on exchange related to investment in FTX Turkey and specific
07/21/2023                  XS             Analyze investment payments by digital assets to reconcile with journal entries       1.4
                                           of FTX Turkey and specific entity re: investment in subsidiaries
07/21/2023                  XS             Prepare account information in request list for cryptocurrency team to validate       0.5
                                           payments re: investment in subsidiaries
07/21/2023                  XS             Prepare working paper of adjustments to specific intercompany balance re:             1.3
                                           investment in subsidiaries
07/21/2023                  XS             Prepare working paper of adjustments to specific intercompany balance re:             1.6
                                           investment in subsidiaries
07/21/2023                  XS             Research exchange records of digital assets in capital injection dates on             1.8
                                           Relativity re: investment in subsidiaries
07/21/2023                  ZC             Search QuickBooks database for entries relating to Alameda Other Investments          1.5
                                           workstream for two specific entities

07/21/2023                  ZC             Search QuickBooks database for entries relating to Alameda Other Investments          1.2
                                           workstream for two specific entities
07/21/2023                  ZC             Update the adjustments identified relating to Alameda Other Investments               1.7
                                           workstream for six specific entities


07/22/2023                  EM             Recalculate historical cash balances for FTX Japan KK based on excel                  2.8
                                           transaction listings provided by bank
07/22/2023                  JCL            Review non-QuickBooks account balance analysis and develop review questions           1.0
                                           for non-QuickBooks team
07/23/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party        0.4
                                           Payable with specific entity
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/23/2023               CC                Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party         0.5
                                           Receivable with specific entity
07/23/2023                  DL             Prepare July round of digital assets adjusting journal entries                         1.8
07/23/2023                  EM             Analyze updated transaction history and correspondence from specific entity to         1.1
                                           reconstruct historical cash balances
07/24/2023                  AP             Prepare summary and timeline of all NFT unstructured data sources                      0.8
07/24/2023                  AP             Prepare documentation for NFT approach, assumptions and limitations                    2.2
07/24/2023                  AP             Prepare documentation to exclude NFT references in QuickBooks from digital             1.5
                                           assets balance sheet
07/24/2023                  AP             Research Relativity for unstructured data related to NFT holdings and                  1.8
                                           transactions
07/24/2023                  AP             Working session with A. Patti, B. Mackay, R. Self (AlixPartners) re: NFT tables        0.2
                                           on FTX.com and FTX.us
07/24/2023                  AP             Working session with A. Patti, R. Self (AlixPartners) re: summary of NFTs held         0.3
                                           by Alameda
07/24/2023                  AP             Working session with J. Chin, A. Patti (AlixPartners) re: discuss Other                1.7
                                           Investments Master File formatting and inclusion of additional fields
07/24/2023                  AP             Working session with M. Cervi, J. Chin, A. Patti (AlixPartners) re: update on          0.5
                                           progress of the Other Investments Master File and next steps
07/24/2023                 BFM             Prepare additional demonstratives for meeting re: historical FTT wallet balances       2.0
                                           vs on-exchange customer balances
07/24/2023                 BFM             Review on exchange activity to identify funder of internal account re: Alameda         1.6
                                           involvement in FTX loan to specific entity
07/24/2023                 BFM             Working session with A. Patti, B. Mackay, R. Self (AlixPartners) re: NFT tables        0.2
                                           on FTX.com and FTX.us
07/24/2023                 BFM             Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,           1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  BAR            Perform test procedures for research upload for master summary database for            2.1
                                           purposes of supporting the financial statement reconstruction workstream
07/24/2023                  BAR            Review issues related to multi selection criteria for master summary database for      1.2
                                           purposes of supporting the financial statement reconstruction workstream
07/24/2023                  CAS            Analyze admin account user balances in regard to how they relate to the financial      2.0
                                           statement reconstruction
07/24/2023                  CAS            Continue to analyze admin account user balances in regard to how they relate to        1.4
                                           the financial statement reconstruction
07/24/2023                  CX             Update Key Person functionality in master summary database template for                1.3
                                           purposes of supporting the financial statement reconstruction workstream
07/24/2023                  CX             Update query for inserting records in the master summary database template for         1.1
                                           purposes of supporting the financial statement reconstruction workstream - still
                                           overwriting the first record
07/24/2023                  CC             Prepare a matrix to summarize variances in intercompany cash transfers between         1.8
                                           bank account owner's view and counterparty's view
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/24/2023               CC                Update leadsheet with proposed adjustments re: FTX Trading Ltd's                         1.2
                                           Intercompany Payable with specific entity
07/24/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                         0.5
                                           Intercompany Payable with FTX Canada Inc
07/24/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                         0.4
                                           Intercompany Receivable with FTX Canada Inc
07/24/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                         0.3
                                           Intercompany Receivable with specific entity
07/24/2023                  CC             Update leadsheet with proposed adjustments re: West Realm Shires Services                2.5
                                           Inc's Related Party Payable with FTX Trading Ltd
07/24/2023                  CC             Update leadsheet with proposed adjustments re: West Realm Shires Services                1.8
                                           Inc's Related Party Receivable with FTX Trading Ltd
07/24/2023                  DS             Working session with D. Schwartz, J. LaBella (AlixPartners) re: to prepare               0.9
                                           agenda and goals for in person working session
07/24/2023                  DS             Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                        1.5
                                           (AlixPartners) re: to review presentation of July adjusted historical balance sheet
07/24/2023                  DS             Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,             1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  DS             Working session with D. Schwartz, E. Mostoff, J. LaBella, K. Vasiliou                    1.2
                                           (AlixPartners) re: approach for Other Assets general ledger detail validation
07/24/2023                  DS             Working session with D. Schwartz, J. LaBella, J. Xu, K. Wessel, T. Shen                  0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, other
                                           investments and investment in subsidiaries workstreams
07/24/2023                  DS             Working session with D. Schwartz, J. LaBella, M. Cervi, T. Yamada, T. Toaso              1.7
                                           (AlixPartners) re: scoping of non-QuickBooks testing, work plan, team
                                           assignment
07/24/2023                  DJW            Investigate historic disposition of Serum on the Solana blockchain in support of         1.3
                                           the historic balance recreation
07/24/2023                  DJW            Continue to investigate historic disposition of Serum on the Solana blockchain in        1.9
                                           support of the historic balance recreation
07/24/2023                  DJW            Review the analysis of Debtors' historic transactions on the Solana blockchain in        2.6
                                           support of the historic balance recreation workstream
07/24/2023                  DJW            Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,             1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  DJW            Continue to review the analysis of Debtors' historic transactions on the Solana          1.1
                                           blockchain in support of the historic balance recreation workstream
07/24/2023                  DL             Meeting with F. Liang, O. Braat (AlixPartners) re: investigating investments in          0.9
                                           digital assets
07/24/2023                  DL             Prepare adjusting journal entries for debtors' historical digital assets and             2.9
                                           customer liabilities balances
07/24/2023                  DL             Provide guidance re: investigating Alameda's holding in future tokens                    0.8
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/24/2023               DL                Update debtors' historical balances of holding of assets in the Solana blockchain      2.8
07/24/2023               DL                Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,           1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  DL             Working session with E. Mostoff, F. Liang (AlixPartners) re: source and process        0.6
                                           documentation for calculation of Cottonwood employee token grant liability
07/24/2023                  EM             Analyze updated transaction history and correspondence from specific entity to         2.4
                                           reconstruct historical cash balances
07/24/2023                  EM             Compare historical QuickBooks cash balance adjustments to bank account                 0.9
                                           balance listing for accuracy check
07/24/2023                  EM             Document assumptions and process re: specific entity account balances to               0.7
                                           support reconstruction of historical cash balances
07/24/2023                  EM             Prepare adjusting journal entries for historical QuickBooks cash balances              1.6
07/24/2023                  EM             Update historical cash balance reconstruction workpaper with latest QuickBooks         1.2
                                           data to support adjustments to historical cash balances
07/24/2023                  EM             Update historical cash balance reconstruction workpaper with updated asset             0.3
                                           matrix to support historical cash balance reconstruction
07/24/2023                  EM             Update historical cash balance reconstruction workpaper with updated entity            0.4
                                           listing to support historical cash balance reconstruction
07/24/2023                  EM             Working session with D. Schwartz, E. Mostoff, J. LaBella, K. Vasiliou                  1.2
                                           (AlixPartners) re: approach for Other Assets general ledger detail validation
07/24/2023                  EM             Working session with E. Mostoff, F. Liang (AlixPartners) re: source and process        0.6
                                           documentation for calculation of Cottonwood employee token grant liability
07/24/2023                  GG             Analyze data present in NFT table in the FTX.com database                              2.9
07/24/2023                  GG             Analyze the NFT transfers data in the FTX.com database                                 2.2
07/24/2023                  GG             Analyze the NFT fills table on the FTX.com exchange                                    2.4
07/24/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: review in-progress           1.3
                                           items from the FTX investments tracker including two specific entities

07/24/2023                  JC             Draft the adjusted journal entries and workpaper for specific fund                     1.8
07/24/2023                  JC             Update the Other Investments QuickBooks investments with corresponding                 2.7
                                           information from the FTX investment tracker
07/24/2023                  JC             Working session with J. Chin, A. Patti (AlixPartners) re: discuss Other                1.7
                                           Investments Master File formatting and inclusion of additional fields
07/24/2023                  JC             Working session with M. Cervi, J. Chin, A. Patti (AlixPartners) re: update on          0.5
                                           progress of the Other Investments Master File and next steps
07/24/2023                  JRB            Update Azure Devops workstream planner using the master summary database               1.9
                                           for purposes of supporting the financial statement reconstruction workstream
07/24/2023                  JRB            Update user interfaces using the master summary database for purposes of               2.2
                                           supporting the financial statement reconstruction workstream
07/24/2023                   JX            Search Relativity for additional loan information for non-Alameda entities             1.7
07/24/2023                   JX            Verify sample of on-chain loan related transactions                                    1.7
07/24/2023                   JX            Verify completeness of loan balances via additional claim reports                      3.0
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07/24/2023               JX                Working session with D. Schwartz, J. LaBella, J. Xu, K. Wessel, T. Shen                  0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, other
                                           investments and investment in subsidiaries workstreams
07/24/2023                  JCL            Analyze dollar size of non-QuickBooks account balances to scope accounts                 0.7
                                           necessitating further review to support historical financial statements
07/24/2023                  JCL            Working session with D. Schwartz, J. LaBella (AlixPartners) re: to prepare               0.9
                                           agenda and goals for in person working session
07/24/2023                  JCL            Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                        1.5
                                           (AlixPartners) re: to review presentation of July adjusted historical balance sheet
07/24/2023                  JCL            Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,             1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  JCL            Working session with D. Schwartz, E. Mostoff, J. LaBella, K. Vasiliou                    1.2
                                           (AlixPartners) re: approach for Other Assets general ledger detail validation
07/24/2023                  JCL            Working session with D. Schwartz, J. LaBella, J. Xu, K. Wessel, T. Shen                  0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, other
                                           investments and investment in subsidiaries workstreams
07/24/2023                  JCL            Working session with D. Schwartz, J. LaBella, M. Cervi, T. Yamada, T. Toaso              1.7
                                           (AlixPartners) re: scoping of non-QuickBooks testing, work plan, team
                                           assignment
07/24/2023                  JKL            Update the QuickBooks backend data by parsing the Batch 6 JSON data with all             1.8
                                           26 instances downloaded using the Encabulator tool
07/24/2023                  KV             Summarize the nature of the in scope Other Asset accounts                                1.1
07/24/2023                  KV             Investigate the prepayment recorded for Coachella and verifying its accuracy in          2.8
                                           the books
07/24/2023                  KV             Review nature of accounts rolling up to other assets to include/not include into         2.9
                                           the scoping analysis of Other Assets
07/24/2023                  KV             Review prepayments general ledger breakdown to understand recording process              0.9
                                           (booking and monthly reversals to record appropriate expense)
07/24/2023                  KV             Working session with D. Schwartz, E. Mostoff, J. LaBella, K. Vasiliou                    1.2
                                           (AlixPartners) re: approach for Other Assets general ledger detail validation
07/24/2023                 KHW             Analyze digital address/wallet population attribution to relevant silos for              1.0
                                           purposes of calculating historical quarterly balances for digital assets
07/24/2023                 KHW             Analyze updated historical quarterly balances for crypto collateral outstanding          1.3
                                           for development of necessary entries for historical quarterly balance sheet
                                           adjustment
07/24/2023                 KHW             Review updated historical quarterly balances for third-party loan payables               2.1
                                           incorporating incremental lender statement data for purposes of determining
                                           necessary adjusting journal entries for historical periods
07/24/2023                 KHW             Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                        1.5
                                           (AlixPartners) re: to review presentation of July adjusted historical balance sheet
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07/24/2023              KHW                Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,         1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                 KHW             Working session with D. Schwartz, J. LaBella, J. Xu, K. Wessel, T. Shen              0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, other
                                           investments and investment in subsidiaries workstreams
07/24/2023                  LS             Execute updated QuickBooks backend data download code                                1.2
07/24/2023                 LMG             Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,         1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: review in-progress         1.3
                                           items from the FTX investments tracker including two specific entities

07/24/2023                  MC             Finalize Agile Fund A investment adjustment                                          0.3
07/24/2023                  MC             Finalize Efficient Frontier investment adjustment                                    0.3
07/24/2023                  MC             Research specific investment to support balance and adjustments                      1.5
07/24/2023                  MC             Review status of specific investment adjustment                                      0.3
07/24/2023                  MC             Review updates to status model for adjustments in the other investments              0.6
                                           workstream
07/24/2023                  MC             Finalize Pintu investment adjustment                                                 0.3
07/24/2023                  MC             Update legal entity organization chart mapping for balance sheet model purposes      1.5
07/24/2023                  MC             Working session with D. Schwartz, J. LaBella, M. Cervi, T. Yamada, T. Toaso          1.7
                                           (AlixPartners) re: scoping of non-QuickBooks testing, work plan, team
                                           assignment
07/24/2023                  MC             Working session with M. Cervi, J. Chin, A. Patti (AlixPartners) re: update on        0.5
                                           progress of the Other Investments Master File and next steps
07/24/2023                  MJ             Review BDO valuation report for intangibles for purposes of historical asset         0.4
                                           price valuation
07/24/2023                  MJ             Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,         1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  QB             Classify transactions as cash or non-cash in remaining intercompany general          1.0
                                           ledger accounts for purposes of determining cash vs. non-cash balances in
                                           outstanding accounts
07/24/2023                  QB             Meeting with F. Liang, O. Braat (AlixPartners) re: investigating investments in      0.9
                                           digital assets
07/24/2023                  QB             Create extract of intercompany general ledger accounts for purposes of               2.7
                                           determining cash vs. non-cash balances in outstanding accounts
07/24/2023                  QB             Update formatting of general ledger data validation intercompany tracker             0.3
07/24/2023                  RS             Continue preparing NFT summary for Alameda held NFTs                                 1.7
07/24/2023                  RS             Investigate general ledger detail validation for 'Reclass' journal entries in        2.5
                                           particular account
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                         HOURS
07/24/2023               RS                Prepare NFT summary for Alameda held NFTs                                                  2.1
07/24/2023               RS                Working session with A. Patti, B. Mackay, R. Self (AlixPartners) re: NFT tables            0.2
                                           on FTX.com and FTX.us
07/24/2023                   RS            Working session with A. Patti, R. Self (AlixPartners) re: summary of NFTs held             0.3
                                           by Alameda
07/24/2023                 SYW             Finalize leadsheet and proposed adjusting journal entries for intangible asset, net        2.9
07/24/2023                 SYW             Perform general ledger detailed validation re: sponsorship entries                         2.6
07/24/2023                 SYW             Update general ledger detailed validation leadsheets for binary flag                       2.1
07/24/2023                  SZ             Update agreement reviewed for investments in the A&M tracker relating to                   1.8
                                           Other Investment workstream
07/24/2023                   SZ            Update payment methods for investments in the A&M tracker relating to Other                1.6
                                           Investment workstream
07/24/2023                   SZ            Update payment verification information for investments in the A&M tracker                 1.9
                                           relating to Other Investment workstream
07/24/2023                   SZ            Research blockchain data for wallet transactions relating to Other Investments             1.4
                                           workstream for specific entities

07/24/2023                  TY             Update the master balance sheet model with entity IDs and account mapping                  1.4
07/24/2023                  TY             Working session with D. Schwartz, J. LaBella, M. Cervi, T. Yamada, T. Toaso                1.7
                                           (AlixPartners) re: scoping of non-QuickBooks testing, work plan, team
                                           assignment
07/24/2023                   TS            Create cross referencing linkages in intercompany adjusting journal entry                  0.7
                                           workbook from adjusting journal entries to the review procedures performed to
                                           assist with the investment in subsidiaries workstream
07/24/2023                   TS            Evaluate the QuickBooks accounting of specific entity's acquisition of other               0.9
                                           specific entity to assist with the investment in subsidiaries workstream
07/24/2023                   TS            Prepare documentation of support source files for the early buyouts of the FTT             0.6
                                           payable pursuant to the share purchase agreement of specific transaction to assist
                                           with the investment in subsidiaries workstream
07/24/2023                   TS            Prepare reconciliation of the FTT obligations as per the share purchase                    2.1
                                           agreement, the FTT payout made to the specific entity shareholders, and the on-
                                           exchange transfer of FTT tokens to assist with the investment in subsidiaries
                                           workstream
07/24/2023                   TS            Review the share purchase agreement and the operational expense invoices                   1.0
                                           relating to specific entity's acquisition of other specific entity to assist with the
                                           investment in subsidiaries workstream
07/24/2023                   TS            Validate transfer of digital assets from Paper Bird to specific entity to assist with      0.4
                                           the investment in subsidiaries workstream
07/24/2023                   TS            Working session with D. Schwartz, J. LaBella, J. Xu, K. Wessel, T. Shen                    0.5
                                           (AlixPartners) re: update and staffing plan on Alameda loans payable, other
                                           investments and investment in subsidiaries workstreams
07/24/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: reviewing the                       0.6
                                           documentation of the adjusting journal entries for intercompany
07/24/2023                   TT            Incorporate adjusting journal entries related to cash analyses into model                  1.4
07/24/2023                   TT            Incorporate adjusting journal entries related to digital asset analyses into model         1.3
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/24/2023               TT                Incorporate adjusting journal entries related to intercompany balance analyses           1.5
                                           into model
07/24/2023                   TT            Working session with D. Schwartz, J. LaBella, K. Wessel, T. Toaso                        1.5
                                           (AlixPartners) re: to review presentation of July adjusted historical balance sheet
07/24/2023                   TT            Working session with D. Schwartz, J. LaBella, M. Cervi, T. Yamada, T. Toaso              1.7
                                           (AlixPartners) re: scoping of non-QuickBooks testing, work plan, team
                                           assignment
07/24/2023                   TP            Review debtor wallet data to validation association with debtor entities for use in      1.6
                                           the recreation of the historical financial statements
07/24/2023                   TP            Working session with B. Mackay, D. Schwartz, D. White, F. Liang, J. LaBella,             1.1
                                           K. Wessel, L. Goldman, M. Jacques, T. Phelan (AlixPartners) re: discuss
                                           historical FTT balances on the blockchain, wallets, and FTX exchanges and
                                           scenario analysis of FTT valuation for balance sheet presentation
07/24/2023                  XS             Analyze adjusted balance sheet with zeroed out accounts re: investment in                0.8
                                           subsidiaries
07/24/2023                  XS             Update test of trial balance sheet for Alameda Ltd with adjustments in review            1.1
                                           periods re: investment in subsidiaries
07/24/2023                  XS             Update test of trial balance sheet for Cotton Wood with adjustments in review            1.1
                                           periods re: investment in subsidiaries
07/24/2023                  XS             Update test of trial balance sheet for FTX Trading with adjustments in review            1.8
                                           periods re: investment in subsidiaries
07/24/2023                  XS             Update test of trial balance sheet for Paper Bird with adjustments in review             0.8
                                           periods re: investment in subsidiaries
07/24/2023                  XS             Update working paper of adjustments to specific intercompany balance to further          0.8
                                           elaborate adjustments re: investment in subsidiaries
07/24/2023                  XS             Update working paper of adjustments to specific intercompany balance to further          1.1
                                           elaborate adjustments re: investment in subsidiaries
07/24/2023                  XS             Update working paper of adjustments to specific intercompany balance to further          0.9
                                           elaborate adjustments re: investment in subsidiaries
07/24/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: reviewing the                     0.6
                                           documentation of the adjusting journal entries for intercompany
07/24/2023                  ZC             Update adjusting journal entries relating to other investment workstream                 1.8
07/24/2023                  ZC             Update loan claims relating to Alameda Loan workstream                                   0.8
07/24/2023                  ZC             Continue to update loan claims relating to Alameda Loan workstream                       1.9
07/25/2023                  AS             Working session with R. Gordon et al (A&M) with A. Searles, B. Mackay, D.                0.6
                                           Schwartz, J. LaBella, J. Somerville, M. Jacques (AlixPartners) re: historical
                                           intercompany contract records of the Debtors and historical intercompany cash
                                           analysis
07/25/2023                  AP             Update other investments completeness tracker for all remaining open venture             1.5
                                           investments requiring further research
07/25/2023                  AP             Record all documented Alameda NFT purchases and sales with source in NFT                 1.3
                                           summary workpaper
07/25/2023                  AP             Research Deltec bond holding positions recorded in Other Investments tracker             2.2
07/25/2023                  AP             Research Alameda's Bored Ape transactions on open source websites                        1.5
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07/25/2023               AP                Research Relativity for unstructured data related to NFT holdings and                  1.2
                                           transactions
07/25/2023                  AP             Continue to update other investments completeness tracker for all remaining            0.8
                                           open venture investments requiring further research
07/25/2023                  AP             Working session with M. Cervi, J. Chin, A. Patti (AlixPartners) re: review and         1.4
                                           assign remaining open items in the Other Investments Master File
07/25/2023                 BFM             Review on exchange data for evidence of collateral received in relation to             1.1
                                           Alameda loan receivables
07/25/2023                 BFM             Review on-exchange historical activity of administrative accounts on .com              2.2
                                           exchange
07/25/2023                 BFM             Review on-exchange historical activity of null user_id accounts on .com                2.6
07/25/2023                 BFM             Summarize activity and funding of administrative accounts on .com exchange             2.6
07/25/2023                 BFM             Working session with R. Gordon et al (A&M) with A. Searles, B. Mackay, D.              0.6
                                           Schwartz, J. LaBella, J. Somerville, M. Jacques (AlixPartners) re: historical
                                           intercompany contract records of the Debtors and historical intercompany cash
                                           analysis
07/25/2023                  BAR            Research third party exchange balance information and confirmation using               1.9
                                           Brainspace
07/25/2023                  BAR            Test functionality for creating new research entries for master summary database       1.6
                                           for purposes of supporting the financial statement reconstruction workstream
07/25/2023                  BAR            Update user documentation for master summary database for purposes of                  1.3
                                           supporting the financial statement reconstruction workstream
07/25/2023                  CAS            Analyze admin account user balances in regard to how they relate to the financial      1.6
                                           statement reconstruction
07/25/2023                  CAS            Continue to analyze admin account user balances in regard to how they relate to        2.2
                                           the financial statement reconstruction
07/25/2023                  CX             Update Entities pop form functionality in master summary database template for         1.7
                                           purposes of supporting the financial statement reconstruction workstream
07/25/2023                  CX             Analyze new VBA and approach to data inserting processes in the master                 1.3
                                           summary database template for purposes of supporting the financial statement
                                           reconstruction workstream
07/25/2023                  CX             Update master summary database search tool store procedure for purposes of             0.8
                                           supporting the financial statement reconstruction workstream
07/25/2023                  CC             Summarize imbalance in intercompany accounts for entities using QuickBooks             1.2
07/25/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       0.7
                                           Intercompany Payable with FTX Digital Holdings Pte Ltd
07/25/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       1.3
                                           Intercompany Payable with specific entity
07/25/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       0.3
                                           Intercompany Receivable with specific entity
07/25/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       0.8
                                           Intercompany Receivable with FTX Digital Holdings Pte Ltd
07/25/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,         1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
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07/25/2023               CC                Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,         3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                  DS             Consolidate open items for preparation of agenda for A&M coordination meeting          0.6

07/25/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,         1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
07/25/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,         3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                  DS             Working session with R. Gordon et al (A&M) with A. Searles, B. Mackay, D.              0.6
                                           Schwartz, J. LaBella, J. Somerville, M. Jacques (AlixPartners) re: historical
                                           intercompany contract records of the Debtors and historical intercompany cash
                                           analysis
07/25/2023                  DL             Perform accounts balance check to ensure accuracy of adjusting journal entries         2.6
                                           into the master balance sheet
07/25/2023                  DL             Prepare additional adjusting journal entries for Alameda Silo's digital assets at      1.8
                                           individual token level
07/25/2023                  DL             Prepare additional adjusting journal entries for DOTCOM's digital assets and           1.9
                                           customer liabilities at individual token level for FTT, SRM, MAPS, FIDA
07/25/2023                  DL             Review digital assets and customer liabilities adjusting journal entries before        1.9
                                           submission to master balance sheet
07/25/2023                  EM             Seach Relativity for Bank Of Cyprus bank statements to support historical cash         0.9
                                           balance reconstruction
07/25/2023                  EM             Search Relativity for Eurobank bank statements to support historical cash              0.7
                                           balance reconstruction
07/25/2023                  EM             Prepare adjusting journal entries for non-QuickBooks cash balances                     2.9
07/25/2023                  EM             Continue preparing adjusting journal entries for non-QuickBooks cash balances          1.2
07/25/2023                  EM             Reconcile non-QuickBooks adjusting journal entries to source data for review of        0.8
                                           historical cash balance reconstruction
07/25/2023                  GG             Compare the NFTs table to the deposits table on the FTX.com exchange                   2.7
07/25/2023                  GG             Compare the NFTs table to the withdrawals table on the FTX.com exchange                2.1
07/25/2023                  GS             Summarize particular entity investigation in master summary database to assist         1.4
                                           with financial statement reconstruction related to Stargate
07/25/2023                  JC             Draft the adjusted journal entries and workpaper for specific investment               2.7
07/25/2023                  JC             Prepare analysis of findings related to specific entity                                1.4
07/25/2023                  JC             Review specific entity acquisition agreement and correspondence with FTX               1.8
07/25/2023                  JC             Review status of open items from Other Investments master file pending                 0.4
                                           exchange verification
07/25/2023                  JC             Working session with M. Cervi, J. Chin, A. Patti (AlixPartners) re: review and         1.4
                                           assign remaining open items in the Other Investments Master File
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/25/2023               JRB               Test application functionality of master summary database units for purposes of          1.1
                                           supporting the financial statement reconstruction workstream
07/25/2023                  JRB            Update data import processes using the master summary database for purposes              2.2
                                           of supporting the financial statement reconstruction workstream
07/25/2023                  JRB            Update Devops production tracker using the master summary database for                   1.7
                                           purposes of supporting the financial statement reconstruction workstream
07/25/2023                  JRB            Update source type matrices using the master summary database for purposes of            1.0
                                           supporting the financial statement reconstruction workstream
07/25/2023                   JX            Calculate adjustment for specific entity digital asset account relating to other         1.9
                                           specific entity
07/25/2023                   JX            Calculate adjustment for specific entity Loans Payable account                           1.7
07/25/2023                   JX            Collect information to validate specific entity Loans Payable account                    1.1
07/25/2023                   JX            Search Relativity for documents related to digital assets held with specific entity      2.6
07/25/2023                   JX            Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: testing                0.5
                                           procedure of Non-QuickBooks accounts
07/25/2023                   JX            Continue to calculate adjustment for specific entity Loans Payable account               2.0
07/25/2023                  JCL            Review current intercompany pairings to identify substantial intercompany                0.8
                                           balances for purposes of prioritizing out of balance accounts
07/25/2023                  JCL            Review current schedule of identified crypto holdings in wallets as assigned to          1.3
                                           silos
07/25/2023                  JCL            Review workpapers prepared supporting non-QuickBooks entity FTX Japan and                1.3
                                           other specific entities to prepare follow up questions re: scope and level of
                                           analyses
07/25/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,           1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
07/25/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,           3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                  JCL            Working session with R. Gordon et al (A&M) with A. Searles, B. Mackay, D.                0.6
                                           Schwartz, J. LaBella, J. Somerville, M. Jacques (AlixPartners) re: historical
                                           intercompany contract records of the Debtors and historical intercompany cash
                                           analysis
07/25/2023                  JLS            Draft commentary to accompany restatements of the intercompany accounts for              0.4
                                           Cottonwood Grove for draft of the balance sheet
07/25/2023                  JLS            Map adjusting journal entries for draft of balance sheet to counterparty IDs to          0.4
                                           automate intercompany summaries
07/25/2023                  JLS            Prepare presentation re: summary of intercompany account reconstruction                  1.5
                                           methodology and progress
07/25/2023                  JLS            Prepare comments re: adjusting journal entries made with relation to specific            1.4
                                           entity transaction
07/25/2023                  JLS            Update general ledger data verification analysis to reflect restatements made in         0.6
                                           prior adjustments to balance sheet
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07/25/2023               JLS               Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
07/25/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                  JLS            Working session with R. Gordon et al (A&M) with A. Searles, B. Mackay, D.                 0.6
                                           Schwartz, J. LaBella, J. Somerville, M. Jacques (AlixPartners) re: historical
                                           intercompany contract records of the Debtors and historical intercompany cash
                                           analysis
07/25/2023                  JLS            Continue to prepare presentation re: summary of intercompany account                      1.8
                                           reconstruction methodology and progress
07/25/2023                  JKL            Create the delta reports for comparing two versions of the QuickBooks backend             1.5
                                           source data extracted in May (Batch 5) and July (Batch 6)
07/25/2023                  JKL            Create the delta reports for comparing two versions of the QuickBooks                     1.3
                                           reconstructed journals based on the underlying source data extracted in May
                                           (Batch 5) and July (Batch 6)
07/25/2023                  KV             Meeting with C. Wong, K. Vasiliou, T. Shen, X. Su (AlixPartners) re: Status of            0.5
                                           specific entity adjusting journal entries and assistance required for the testing of
                                           remaining other assets and other liability balances
07/25/2023                  KV             Re-scoping of accounts for the other assets workstream                                    2.9
07/25/2023                  KV             Review specific entity adjusting journal entries impacting FTX Shares                     1.9
                                           Receivable Accounts
07/25/2023                  KV             Review work performed on Property Deposits and linking into work performed                2.6
                                           on Other Assets
07/25/2023                 KHW             Develop token-level adjusting journal entries for historical quarterly crypto             1.4
                                           collateral receivable balances for financial statement reconstruction purposes to
                                           enable valuation scenario analysis
07/25/2023                 KHW             Validate newly identified third-party loans outstanding in historical periods for         1.2
                                           purposes of determining necessary adjustments to third-party loan payable
                                           historical quarterly balances
07/25/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
07/25/2023                 KHW             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                  MC             Review status of specific investment adjustment                                           0.3
07/25/2023                  MC             Review updates to status model for adjustments in the other investments                   0.8
                                           workstream
07/25/2023                  MC             Create organization chart to be used in relation to balance sheet model                   2.4
07/25/2023                  MC             Working session with M. Cervi, J. Chin, A. Patti (AlixPartners) re: review and            1.4
                                           assign remaining open items in the Other Investments Master File
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07/25/2023               MC                Working session with M. Cervi, T. Yamada (AlixPartners) re: documentation of               0.8
                                           entity matrix process
07/25/2023                  MB             Prepare insider transfer adjusting journal entries to facilitate financial statement       1.5
                                           reconstruction
07/25/2023                  MB             Continue preparing insider transfer adjusting journal entries to facilitate financial      1.7
                                           statement reconstruction
07/25/2023                  MJ             Develop process for booking intercompany accounting of historical balances                 1.2
                                           between silos for Q4 2020 through Q3 2022
07/25/2023                  MJ             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,             1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
07/25/2023                  MJ             Working session with R. Gordon et al (A&M) with A. Searles, B. Mackay, D.                  0.6
                                           Schwartz, J. LaBella, J. Somerville, M. Jacques (AlixPartners) re: historical
                                           intercompany contract records of the Debtors and historical intercompany cash
                                           analysis
07/25/2023                  QB             Classify transactions as cash or non-cash in remaining intercompany general                1.3
                                           ledger accounts for purposes of determining cash vs. non-cash balances in
                                           outstanding accounts
07/25/2023                  QB             Investigate intercompany transaction on exchange for purposes of reconstructing            0.8
                                           historical financial statements
07/25/2023                  QB             Investigate digital token investments for purposes of reconstructing historical            1.1
                                           financial statements
07/25/2023                  QB             Update formatting of general ledger data validation intercompany tracker                   0.9
07/25/2023                  QB             Update intercompany transaction tracker to reflect transactions verified on                0.8
                                           exchange
07/25/2023                   RS            Investigate general ledger detail validation for 'Reclass' journal entries in              1.8
                                           particular account
07/25/2023                   RS            Prepare NFT summary for Alameda held NFTs                                                  1.3
07/25/2023                   RS            Working session with C. Wong, R. Self (AlixPartners) re: investigation into                0.4
                                           general ledger detail validation for 'Reclass' and 'FTX accountant adjusting
                                           journal entry' journal entries
07/25/2023                  RB             Prepare analysis summary for on chain blockchain confirmation methodology                  1.7
                                           used crypto investments confirmations
07/25/2023                 SYW             Meeting with C. Wong, K. Vasiliou, T. Shen, X. Su (AlixPartners) re: Status of             0.5
                                           specific entity adjusting journal entries and assistance required for the testing of
                                           remaining other assets and other liability balances
07/25/2023                 SYW             Draft email re: next steps for specific entity FTT leadsheet and validation of             0.5
                                           Other Asset and Other Liabilities account balances
07/25/2023                 SYW             Perform general ledger detailed analysis for categorization of out of scope                1.2
                                           accounts
07/25/2023                 SYW             Perform general ledger detailed validation re: West Realm Shires Inc stock                 1.5
                                           option workbook
07/25/2023                 SYW             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,             1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
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07/25/2023              SYW                Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                 SYW             Working session with C. Wong, R. Self (AlixPartners) re: investigation into               0.4
                                           general ledger detail validation for 'Reclass' and 'FTX accountant adjusting
                                           journal entry' journal entries
07/25/2023                 SYW             Working session with C. Wong, T. Toaso (AlixPartners) re: review leadsheets               0.5
                                           submitted for general ledger detailed validation
07/25/2023                   SZ            Check the cryptocurrency transactions verification status on the exchange team            1.6
                                           tracker to verify additional transactions
07/25/2023                   SZ            Consolidate the review status of FTX Investment Tracker to review remaining               0.7
                                           unclosed investments
07/25/2023                   SZ            Continue to resolve unclosed investment review relating to Other Investment               1.5
                                           workstream
07/25/2023                   SZ            Prepare supporting documents of proposed adjusting journal entries relating to            1.8
                                           Other Investment workstream for specific investments
07/25/2023                   SZ            Prepare supporting documents of proposed adjusting journal entries relating to            1.8
                                           Other Investment workstream for specific investments
07/25/2023                  TY             Update counterparty information of non-QuickBooks entities in the master                  1.6
                                           balance sheet model
07/25/2023                  TY             Update non-QuickBooks account review leadsheet to incorporate internal                    1.0
                                           feedback
07/25/2023                  TY             Update non-QuickBooks account review process documentation based on                       1.5
                                           internal feedback
07/25/2023                  TY             Update the FTX entity matrix review process documentation based on internal               2.2
                                           feedback
07/25/2023                  TY             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: testing                 0.5
                                           procedure of Non-QuickBooks accounts
07/25/2023                  TY             Working session with M. Cervi, T. Yamada (AlixPartners) re: documentation of              0.8
                                           entity matrix process
07/25/2023                   TS            Meeting with C. Wong, K. Vasiliou, T. Shen, X. Su (AlixPartners) re: Status of            0.5
                                           specific entity adjusting journal entries and assistance required for the testing of
                                           remaining other assets and other liability balances
07/25/2023                   TS            Analyze the financial impacts of the proposed adjustments to balance sheets of            1.9
                                           Alameda Research, Paper Bird, Cottonwood Grove and FTX Trading Ltd to
                                           assist with the investment in subsidiaries workstream
07/25/2023                   TS            Document the review procedures performed for the real estate deposits account             1.1
                                           and FTX shares receivable account to assist with the Other Assets workstream
07/25/2023                   TS            Prepare documentation of review procedures completed for the validation of the            2.3
                                           specific account balance related to the specific entity acquisition
07/25/2023                   TS            Update draft adjusting journal entries for the correction of loan payable balances        0.8
                                           recorded by Alameda Research and Paper Bird to assist with the investment in
                                           subsidiaries workstream
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/25/2023               TS                Verify the accounting of operational costs incurred by the investor on behalf of          0.7
                                           the investee in relation to the acquisition transaction of specific entity to assist
                                           with the investment in subsidiaries workstream
07/25/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: quality review of the              0.4
                                           draft adjusting journal entries from the investment in subsidiaries workstream
07/25/2023                   TT            Incorporate adjusting journal entries related to intercompany balance analyses            1.5
                                           into model
07/25/2023                   TT            Analyze intercompany transactions to determine net balances of receivable or              1.7
                                           payable
07/25/2023                   TT            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            1.0
                                           K. Wessel, M. Jacques, T. Toaso (AlixPartners) re: review approach for
                                           validating intercompany and related party balances
07/25/2023                   TT            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville,            3.0
                                           K. Wessel, T. Toaso (AlixPartners) re: review approach for validating
                                           intercompany and related party balances re: general ledger detailed validation
                                           analysis
07/25/2023                   TT            Working session with C. Wong, T. Toaso (AlixPartners) re: review leadsheets               0.5
                                           submitted for general ledger detailed validation
07/25/2023                   TP            Analyze Solana block chain signature data related to debtor accounts for use in           2.6
                                           the recreation of the historical financial statements
07/25/2023                   TP            Analyze Solana block chain transactional data related to debtor accounts for use          2.6
                                           in the recreation of the historical financial statements
07/25/2023                   TP            Review debtor wallet data to validation association with debtor entities for use in       2.2
                                           the recreation of the historical financial statements
07/25/2023                  XS             Meeting with C. Wong, K. Vasiliou, T. Shen, X. Su (AlixPartners) re: Status of            0.5
                                           specific entity adjusting journal entries and assistance required for the testing of
                                           remaining other assets and other liability balances
07/25/2023                  XS             Analyze journal entries associated with a specific loan between Paper Bird and            1.2
                                           Alameda
07/25/2023                  XS             Prepare review summary notes for general ledger detail validation re: investment          0.8
                                           in subsidiaries
07/25/2023                  XS             Prepare working paper of balance sheet for inter company receivables and                  1.5
                                           payables re: investment in subsidiaries
07/25/2023                  XS             Review specific account in general ledger detail validation working paper to              0.9
                                           confirm the proposed adjustments were accurately recorded re: investment in
                                           subsidiaries
07/25/2023                  XS             Review specific accounts in general ledger detail validation working paper to             1.4
                                           confirm the proposed adjustments were accurately recorded

07/25/2023                  XS             Review specific accounts in general ledger detail validation working paper to             1.8
                                           confirm the proposed adjustments were accurately recorded

07/25/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: quality review of the              0.4
                                           draft adjusting journal entries from the investment in subsidiaries workstream
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Re:                 Financial Statement Reconstruction
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                      HOURS
07/25/2023               ZC                Review documents from Relativity relating to Alameda Non-QuickBooks testing             1.5
                                           workstream for specific entity
07/25/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing             1.2
                                           workstream for specific entity
07/25/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing             1.2
                                           workstream for specific entity
07/25/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing             1.4
                                           workstream for specific entity
07/25/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing             0.6
                                           workstream for specific entity
07/25/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing             1.9
                                           workstream for specific entity
07/25/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing             1.7
                                           workstream for specific entity
07/25/2023                  ZC             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: testing               0.5
                                           procedure of Non-QuickBooks accounts
07/26/2023                  AS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                         0.5
                                           (AlixPartners) re: special investigation completeness tracker to support the
                                           financial statement reconstruction workstream
07/26/2023                  AS             Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: workstream          0.4
                                           status updates related to intercompany accounts to support the financial
                                           statement reconstruction work
07/26/2023                  AS             Prepare for upcoming call re: special investigations completeness tracker to            0.4
                                           support the reconstruction of financial statements
07/26/2023                  AW             Reconstruct the journals for all entities in scope using the QuickBooks backend         2.7
                                           data
07/26/2023                  AW             Recreate the balance sheet for all entities in scope using the QuickBooks               1.9
                                           backend data
07/26/2023                  AP             Create chronology to track FTX NFT exchange launch and Alameda NFT                      2.5
                                           activity
07/26/2023                  AP             Prepare documentation for balance sheet adjusting journal entries related to            2.2
                                           Alameda NFT balances
07/26/2023                  AP             Update other investments completeness tracker for all remaining open venture            1.5
                                           investments requiring further research
07/26/2023                  AP             Working session with A. Patti, R. Self (AlixPartners) re: Alameda's NFT                 0.4
                                           documentation
07/26/2023                  AP             Working session with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti, C. Chen             0.8
                                           (AlixPartners) re: review open questions on remaining open items on the Other
                                           Investments Master File
07/26/2023                  AV             Working session with A. Vanderkamp, C. Wong, D. Schwartz, M. Birtwell                   0.3
                                           (AlixPartners) re: review deed support sent by Nardello re: real estate properties
                                           and next steps
07/26/2023                  AV             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                         0.5
                                           (AlixPartners) re: special investigation completeness tracker to support the
                                           financial statement reconstruction workstream
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/26/2023               BFM               Attend working session with B. Mackay, C. Cipione, D. Schwartz, J. LaBella, K.          2.8
                                           Wessel (AlixPartners) re: internal exchange account treatment in historical
                                           financial statements
07/26/2023                 BFM             Review .com and .us exchange data tables related to NFTs to understand                  1.3
                                           structures and links
07/26/2023                 BFM             Review .com exchange activity for account specific to Alameda Systems Inc for           0.3
                                           Matrix
07/26/2023                 BFM             Review calculated historical balances for administrative accounts for insight into      1.6
                                           shortfall
07/26/2023                 BFM             Working session with B. Mackay, D. Schwartz (AlixPartners) re: to review                0.5
                                           historical transfers between Alameda and FTX Exchange entities to analyze
                                           historical treatment of cash transfers
07/26/2023                 BFM             Working session with B. Mackay, D. Schwartz (AlixPartners), K. Kearney                  0.5
                                           (A&M) re: to discuss historical transfers between Alameda and FTX Exchange
                                           entities and discuss appropriate treatment
07/26/2023                 BFM             Working session with B. Mackay, D. Schwartz, L. Goldman (AlixPartners), K.              0.6
                                           Kearney (A&M) re: to discuss potential historical calculations of Korean friend,
                                           historical cash movements between Alameda and other entities, and relevant
                                           documents related to treatment of customer cash in historical financial statements
07/26/2023                  BAR            Review intercompany contract analysis file to identify differences between              1.7
                                           contracts data
07/26/2023                  BAR            Test updated functions for loading research records for master summary database         1.6
                                           for purposes of supporting the financial statement reconstruction workstream

07/26/2023                  CAS            Attend working session with B. Mackay, C. Cipione, D. Schwartz, J. LaBella, K.          2.8
                                           Wessel (AlixPartners) re: internal exchange account treatment in historical
                                           financial statements
07/26/2023                  CAS            Analyze admin account user balances in regard to how they relate to the financial       2.3
                                           statement reconstruction
07/26/2023                  CAS            Working session with C. Cipione, F. Liang, J. LaBella, K. Wessel (AlixPartners)         1.3
                                           re: discuss approach of carrying admin/insider accounts balances on FTX.COM
                                           exchange for DOTCOM silo
07/26/2023                  CX             Update dropdown menu functionality in master summary database template for              0.9
                                           purposes of supporting the financial statement reconstruction workstream
07/26/2023                  CX             Update investigation drop box functionality in master summary database                  0.8
                                           template for purposes of supporting the financial statement reconstruction
07/26/2023                  CX             Update the Relativity Import functionality in the master summary database               0.7
                                           template for purposes of supporting the financial statement reconstruction
                                           workstream
07/26/2023                  CX             Update documentation of new functions added for master summary database                 1.6
                                           template for purposes of supporting the financial statement reconstruction
                                           workstream
07/26/2023                  CC             Review US T-Bill investment activities made by Alameda Research Ltd                     1.8
07/26/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                        0.4
                                           Intercompany Payable with specific entity
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/26/2023               CC                Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          0.8
                                           Payable with specific entity
07/26/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          1.3
                                           Payable with West Realm Shires Inc
07/26/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          0.5
                                           Receivable with specific entity
07/26/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          0.3
                                           Receivable with Paper Bird Inc
07/26/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party          1.4
                                           Receivable with West Realm Shires Inc
07/26/2023                  CC             Working session with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti, C. Chen             0.8
                                           (AlixPartners) re: review open questions on remaining open items on the Other
                                           Investments Master File
07/26/2023                  CC             Working session with C. Chen, M. Cervi, T. Yamada, T. Toaso (AlixPartners)              0.7
                                           re: procedures to adjust intercompany balance between entities using
                                           QuickBooks and entities not using QuickBooks
07/26/2023                  DS             Review contracts provided by A&M to determine impact on calculated historical           1.4
                                           intercompany balances
07/26/2023                  DS             Working session with A. Vanderkamp, C. Wong, D. Schwartz, M. Birtwell                   0.3
                                           (AlixPartners) re: review deed support sent by Nardello re: real estate properties
                                           and next steps
07/26/2023                  DS             Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.              1.4
                                           Toaso (AlixPartners) re: treatment of other balance sheet accounts affected by
                                           specific entity restatement
07/26/2023                  DS             Attend working session with B. Mackay, C. Cipione, D. Schwartz, J. LaBella, K.          2.8
                                           Wessel (AlixPartners) re: internal exchange account treatment in historical
                                           financial statements
07/26/2023                  DS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                         0.5
                                           (AlixPartners) re: special investigation completeness tracker to support the
                                           financial statement reconstruction workstream
07/26/2023                  DS             Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: workstream          0.4
                                           status updates related to intercompany accounts to support the financial
                                           statement reconstruction work
07/26/2023                  DS             Working session with B. Mackay, D. Schwartz (AlixPartners) re: to review                0.5
                                           historical transfers between Alameda and FTX Exchange entities to analyze
                                           historical treatment of cash transfers
07/26/2023                  DS             Working session with B. Mackay, D. Schwartz (AlixPartners), K. Kearney                  0.5
                                           (A&M) re: to discuss historical transfers between Alameda and FTX Exchange
                                           entities and discuss appropriate treatment
07/26/2023                  DS             Working session with B. Mackay, D. Schwartz, L. Goldman (AlixPartners), K.              0.6
                                           Kearney (A&M) re: to discuss potential historical calculations of Korean friend,
                                           historical cash movements between Alameda and other entities, and relevant
                                           documents related to treatment of customer cash in historical financial statements
07/26/2023                  DJW            Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re: crypto          2.8
                                           tracing SRM sent to authorities by FTX
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                        HOURS
07/26/2023               DJW               Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                   1.7
                                           analysis of SRM minting
07/26/2023                 DJW             Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                   2.2
                                           calculating historical wallet balances for SRM
07/26/2023                  DJW            Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                   1.3
                                           timestamp calculations on Solana blockchain
07/26/2023                  DL             Review digital assets/customer liabilities adjusting journal entries prepared for         2.3
                                           July version of balance sheet
07/26/2023                  DL             Prepare adjusting journal entries for historical digital assets/customer liabilities      2.7
                                           balances
07/26/2023                  DL             Update digital assets/customer liabilities workpapers to break down balances by           2.9
                                           token level
07/26/2023                  DL             Working session with C. Cipione, F. Liang, J. LaBella, K. Wessel (AlixPartners)           1.3
                                           re: discuss approach of carrying admin/insider accounts balances on FTX.COM
                                           exchange for DOTCOM silo
07/26/2023                  EM             Analyze reduction in accounts payable liabilities against payments in cash                2.9
                                           database to support reconstruction of historical liability balances
07/26/2023                  EM             Create SQL column mapping for QuickBooks, non-QuickBooks, and adjustment                  1.4
                                           data to support historical financial statement reconstruction
07/26/2023                  EM             Identify bank accounts for further investigation to support completion analysis           0.6
                                           for historical cash balance reconstruction
07/26/2023                  EM             Update completion overview documentation for cash workstream with list of                 0.1
                                           blockers and necessary inputs to completion
07/26/2023                  EM             Update completion overview documentation for cash workstream with list of                 0.1
                                           necessary tasks to completion
07/26/2023                  EM             Update completion overview documentation for cash workstream with summary                 0.1
                                           of adjustments made to historical cash balances
07/26/2023                  EM             Working session with E. Mostoff, T. Toaso (AlixPartners) re: adjusted balance             1.5
                                           sheet model import to SQL
07/26/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: review Investments in           1.1
                                           Subsidiaries adjusted journal entries that affect the Other Investments General
                                           Ledger Account
07/26/2023                  JC             Analyze adjusted journal entries from the Investments in Subsidiaries                     1.6
                                           workstream that affect Other Investments
07/26/2023                  JC             Review the investment agreement for specific entity                                       0.4
07/26/2023                  JC             Review the QuickBooks journal entries for specific entity                                 0.3
07/26/2023                  JC             Review the QuickBooks journal entries for specific entity                                 1.9
07/26/2023                  JC             Update the Other Investments master file for items reviewed by other                      1.3
                                           workstreams
07/26/2023                  JC             Working session with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti, C. Chen               0.8
                                           (AlixPartners) re: review open questions on remaining open items on the Other
                                           Investments Master File
07/26/2023                  JRB            Test application functionality of master summary database for purposes of                 1.2
                                           supporting the financial statement reconstruction workstream
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DATE                PROFESSIONAL                                  DESCRIPTION OF SERVICES                                        HOURS
07/26/2023               JRB               Update document search functionality using the master summary database for               2.0
                                           purposes of supporting the financial statement reconstruction workstream
07/26/2023                  JRB            Update reporting functionality using the master summary database for purposes            2.5
                                           of supporting the financial statement reconstruction workstream
07/26/2023                   JX            Calculate adjustments for Accounts Receivable balances of specific entity                3.0

07/26/2023                   JX            Search Relativity for Accounts Receivable balances of specific entity                    2.6
07/26/2023                   JX            Search Relativity for documents relating to specific entity                              0.4
07/26/2023                   JX            Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: status of              0.5
                                           non-QuickBooks account validation process
07/26/2023                  JCL            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.4
                                           Toaso (AlixPartners) re: treatment of other balance sheet accounts affected by
                                           specific entity restatement
07/26/2023                  JCL            Working session with J. LaBella, M. Cervi, T. Toaso (AlixPartners) re: Model             1.0
                                           considerations to consolidate liquidity entities for historical periods
07/26/2023                  JCL            Attend working session with B. Mackay, C. Cipione, D. Schwartz, J. LaBella, K.           2.8
                                           Wessel (AlixPartners) re: internal exchange account treatment in historical
                                           financial statements
07/26/2023                  JCL            Meeting with A. Searles, A. Vanderkamp, D. Schwartz, J. LaBella                          0.5
                                           (AlixPartners) re: special investigation completeness tracker to support the
                                           financial statement reconstruction workstream
07/26/2023                  JCL            Meeting with A. Searles, D. Schwartz, J. LaBella (AlixPartners) re: workstream           0.4
                                           status updates related to intercompany accounts to support the financial
                                           statement reconstruction work
07/26/2023                  JCL            Review current model of QuickBooks and non-QuickBooks trial balances to                  0.8
                                           identify which accounts will require elimination in preparation of consolidated
                                           FTX group balance sheet
07/26/2023                  JCL            Working session with C. Cipione, F. Liang, J. LaBella, K. Wessel (AlixPartners)          1.3
                                           re: discuss approach of carrying admin/insider accounts balances on FTX.COM
                                           exchange for DOTCOM silo
07/26/2023                  JLS            Review intercompany contract analysis provided by A&M                                    1.1
07/26/2023                  JLS            Update general ledger data verification analysis for financing contract received in      1.2
                                           A&M contract analysis
07/26/2023                  JLS            Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.4
                                           Toaso (AlixPartners) re: treatment of other balance sheet accounts affected by
                                           specific entity restatement
07/26/2023                  JLS            Analyze mark-to-market ending balances for intercompany loan accounts                    2.2
                                           denominated in FTT and associated with specific entity transaction
07/26/2023                  JLS            Build framework for consolidation of intercompany analyses to balance existing           1.1
                                           QuickBooks intercompany balances
07/26/2023                  JLS            Prepare discussion materials summarizing restatements by account due to the              2.1
                                           specific entity restatement
07/26/2023                  KV             Extract general ledger Transactional breakdowns for Net Assets accounts                  2.9
07/26/2023                  KV             Investigate transaction to reclassify specific amount of specific entity's deposits      1.7
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07/26/2023               KV                Build data quality screening scripts for QuickBooks data used in forensic               0.4
                                           investigation workstreams
07/26/2023                  KV             Prepare template for team to complete for entries processed for each workstream,        1.0
                                           future entries to book, and any expected blockers
07/26/2023                  KV             Re-scoping of accounts for the other assets workstream                                  2.9
07/26/2023                 KHW             Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.              1.4
                                           Toaso (AlixPartners) re: treatment of other balance sheet accounts affected by
                                           specific entity restatement
07/26/2023                 KHW             Attend working session with B. Mackay, C. Cipione, D. Schwartz, J. LaBella, K.          2.8
                                           Wessel (AlixPartners) re: internal exchange account treatment in historical
                                           financial statements
07/26/2023                 KHW             Update schedule of corrected loan payable balances by lending counterparty,             0.9
                                           borrowing entity, and token type for historical quarter-end dates beginning Q4
                                           2020 for purposes of historical financial statement recreation
07/26/2023                 KHW             Validate legal entity borrower for population of third-party crypto loans               0.8
                                           outstanding in historical quarter-end dates beginning in Q4 2020 for purposes of
                                           recording adjusting entries to historical balance sheet
07/26/2023                 KHW             Working session with C. Cipione, F. Liang, J. LaBella, K. Wessel (AlixPartners)         1.3
                                           re: discuss approach of carrying admin/insider accounts balances on FTX.COM
                                           exchange for DOTCOM silo
07/26/2023                 LMG             Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re: crypto          2.8
                                           tracing SRM sent to authorities by FTX
07/26/2023                 LMG             Working session with B. Mackay, D. Schwartz, L. Goldman (AlixPartners), K.              0.6
                                           Kearney (A&M) re: to discuss potential historical calculations of Korean friend,
                                           historical cash movements between Alameda and other entities, and relevant
                                           documents related to treatment of customer cash in historical financial statements
07/26/2023                 LMG             Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                 1.7
                                           analysis of SRM minting
07/26/2023                 LMG             Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                 2.2
                                           calculating historical wallet balances for SRM
07/26/2023                 LMG             Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                 1.3
                                           timestamp calculations on Solana blockchain
07/26/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: review Investments in         1.1
                                           Subsidiaries adjusted journal entries that affect the Other Investments General
                                           Ledger Account
07/26/2023                  MC             Working session with J. LaBella, M. Cervi, T. Toaso (AlixPartners) re: Model            1.0
                                           considerations to consolidate liquidity entities for historical periods
07/26/2023                  MC             Research unstructured data on relativity related to Panama entity Alameda               1.3
                                           Services Inc. for financial statement reconstruction
07/26/2023                  MC             Review status update for Other Investment workstream                                    0.5
07/26/2023                  MC             Review update related to specific FTT transaction to assist with preparation of         0.2
                                           related adjustment
07/26/2023                  MC             Working session with C. Chen, M. Cervi, T. Yamada, T. Toaso (AlixPartners)              0.7
                                           re: procedures to adjust intercompany balance between entities using
                                           QuickBooks and entities not using QuickBooks
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07/26/2023               MC                Working session with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti, C. Chen               0.8
                                           (AlixPartners) re: review open questions on remaining open items on the Other
                                           Investments Master File
07/26/2023                  MC             Working session with M. Cervi, T. Toaso (AlixPartners) re: legal entity hierarchy         0.3
                                           scheme for model consolidations
07/26/2023                  MC             Continue to research unstructured data on relativity related to Panama entity             2.0
                                           Alameda Services Inc. for financial statement reconstruction
07/26/2023                  MB             Working session with A. Vanderkamp, C. Wong, D. Schwartz, M. Birtwell                     0.3
                                           (AlixPartners) re: review deed support sent by Nardello re: real estate properties
                                           and next steps
07/26/2023                  MB             Prepare insider transfer adjusting journal entries to facilitate financial statement      1.8
                                           reconstruction
07/26/2023                  MB             Review property records provided by Nardello to facilitate financial statement            1.6
                                           reconstruction journal entries
07/26/2023                  MJ             Review historical records of Serum coin for dates of minting, use, and ownership          0.7
07/26/2023                  QB             Classify transactions in additional general ledger accounts as cash or non-cash           1.3
                                           for purposes of determining cash vs. non-cash balances in outstanding accounts
07/26/2023                  QB             Investigate digital token investments for purposes of reconstructing historical           1.5
                                           financial statements
07/26/2023                  QB             Meeting with C. Wong, O. Braat (AlixPartners) re: investigating investments in            0.5
                                           digital assets for purposes of reconstructing historical financial statements
07/26/2023                  QB             Create extract of additional intercompany general ledger account data                     1.5
07/26/2023                  QB             Continue to investigate digital token investments for purposes of reconstructing          2.1
                                           historical financial statements
07/26/2023                   RS            Investigate general ledger detail validation for 'Reclass' journal entries in             1.0
                                           particular account
07/26/2023                   RS            Prepare NFT summary for Alameda held NFTs                                                 0.3
07/26/2023                   RS            Working session with A. Patti, R. Self (AlixPartners) re: Alameda's NFT                   0.4
                                           documentation
07/26/2023                  RB             Analyze debtor entity loans to specific entity on chain to determine blockchain           1.1
                                           confirmation of repayment
07/26/2023                 SYW             Working session with A. Vanderkamp, C. Wong, D. Schwartz, M. Birtwell                     0.3
                                           (AlixPartners) re: review deed support sent by Nardello re: real estate properties
                                           and next steps
07/26/2023                 SYW             Draft email re: deed support sent by Nardello for real estate properties and next         0.3
                                           steps
07/26/2023                 SYW             Meeting with C. Wong, O. Braat (AlixPartners) re: investigating investments in            0.5
                                           digital assets for purposes of reconstructing historical financial statements
07/26/2023                 SYW             Prepare intercompany and related party imbalance matrix showing net                       3.0
                                           receivable/payable positions for each entity pairing
07/26/2023                 SYW             Update intercompany and related party imbalance matrix showing net                        3.0
                                           receivable/payable positions for each entity pairing to include proposed
                                           adjustments already posted and determine updated imbalance positions
07/26/2023                   SZ            Check the cryptocurrency transactions verification status on the exchange team            0.7
                                           tracker to verify additional transactions
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                        HOURS
07/26/2023               SZ                Consolidate current status and findings relating to equity investments for Other          0.3
                                           Investments workstream
07/26/2023                   SZ            Consolidate the review status of FTX Investment Tracker to prepare outstanding            2.0
                                           questions relating to specific entities
07/26/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment            1.1
                                           workstream with cash and Relativity database
07/26/2023                   SZ            Update investments from the FTX Investment tracker relating to Other                      1.8
                                           Investment workstream
07/26/2023                   SZ            Working session with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti, C. Chen               0.8
                                           (AlixPartners) re: review open questions on remaining open items on the Other
                                           Investments Master File
07/26/2023                  TY             Investigate the transaction counterparty of intercompany and related party                2.6
                                           transactions for non-QuickBooks entities through unstructured document search
07/26/2023                  TY             Review the transaction counterparty of intercompany and related party                     1.3
                                           transactions for non-QuickBooks entities based on the account descriptions
07/26/2023                  TY             Working session with C. Chen, M. Cervi, T. Yamada, T. Toaso (AlixPartners)                0.7
                                           re: procedures to adjust intercompany balance between entities using
                                           QuickBooks and entities not using QuickBooks
07/26/2023                  TY             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: status of               0.5
                                           non-QuickBooks account validation process
07/26/2023                   TS            Document review procedures performed for the QuickBooks accounts under the                1.6
                                           general ledger data validation to assist with the investment in subsidiaries
                                           workstream
07/26/2023                   TS            Document review procedures performed for the QuickBooks journal entries of                2.1
                                           specific account to assist with the Other Liabilities workstream

07/26/2023                   TS            Draft status update to AlixPartners project team re: the investment in subsidiaries       0.2
                                           workstream
07/26/2023                   TS            Draft status update to AlixPartners project team re: the Other Assets workstream          0.3

07/26/2023                   TS            Prepare overview of investigation for adjusting journal entries for intercompany          1.2
                                           balances to assist with the Other Investments workstream
07/26/2023                   TS            Summarize quantity of FTT tokens and the corresponding quarter-end prices for             0.8
                                           the relevant adjusting journal entries to assist with the investment in subsidiaries
                                           workstream
07/26/2023                   TS            Update the draft adjusting journal entries of intercompany balances in                    1.4
                                           accordance of the audit work paper of Cottonwood Grove to assist with the
                                           investment in subsidiaries workstream
07/26/2023                   TS            Working session with M. Cervi, T. Shen, S. Zhou, J. Chin, A. Patti, C. Chen               0.8
                                           (AlixPartners) re: review open questions on remaining open items on the Other
                                           Investments Master File
07/26/2023                   TT            Analyze entity ownership structure for intercompany eliminations                          1.1
07/26/2023                   TT            Construct intercompany elimination mechanics in model for financial statement             1.6
                                           reconstruction
07/26/2023                   TT            Summarize adjusted balance sheet for output and discussion                                0.9
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07/26/2023               TT                Working session with D. Schwartz, J. LaBella, J. Somerville, K. Wessel, T.               1.4
                                           Toaso (AlixPartners) re: treatment of other balance sheet accounts affected by
                                           specific entity restatement
07/26/2023                   TT            Working session with J. LaBella, M. Cervi, T. Toaso (AlixPartners) re: Model             1.0
                                           considerations to consolidate liquidity entities for historical periods
07/26/2023                   TT            Working session with C. Chen, M. Cervi, T. Yamada, T. Toaso (AlixPartners)               0.7
                                           re: procedures to adjust intercompany balance between entities using
                                           QuickBooks and entities not using QuickBooks
07/26/2023                   TT            Working session with E. Mostoff, T. Toaso (AlixPartners) re: adjusted balance            1.5
                                           sheet model import to SQL
07/26/2023                   TT            Working session with M. Cervi, T. Toaso (AlixPartners) re: legal entity hierarchy        0.3
                                           scheme for model consolidations
07/26/2023                   TP            Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re: crypto           2.8
                                           tracing SRM sent to authorities by FTX
07/26/2023                   TP            Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                  1.7
                                           analysis of SRM minting
07/26/2023                   TP            Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                  2.2
                                           calculating historical wallet balances for SRM
07/26/2023                   TP            Working Session with D. White, L. Goldman, T. Phelan (AlixPartners) re:                  1.3
                                           timestamp calculations on Solana blockchain
07/26/2023                  XS             Analyze journal entries of specific accounts at preliminary investigation re: other      0.9
                                           assets
07/26/2023                  XS             Analyze subsequent measurement of equity investment by investors in                      1.8
                                           compliance with US GAAP and SEC materials re: investment in subsidiaries
07/26/2023                  XS             Extract journal entries of specific general ledger accounts to reconcile with            0.8
                                           Balance Sheet re: other assets workstream
07/26/2023                  XS             Extract journal entries of specific general ledger accounts to reconcile with            0.8
                                           Balance Sheet re: other assets workstream
07/26/2023                  XS             Reconcile loans receivable booked by Cottonwood and loan payable booked by               1.5
                                           Alameda to confirm inter company balances at review periods re: investment in
                                           subsidiaries in specific entity
07/26/2023                  XS             Research handbooks and memos of equity method investment and joint ventures              0.5
                                           re: investment in subsidiaries
07/26/2023                  XS             Review specific accounts in general ledger detail validation working paper to            1.5
                                           confirm the proposed adjustments have reversed a specific set of journal entries


07/26/2023                  XS             Validate a specific general ledger account in comparison to the terms of a               0.8
                                           specific lease re: other liabilities
07/26/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing              1.7
                                           workstream for specific entity
07/26/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing              1.5
                                           workstream for specific entity
07/26/2023                  ZC             Continue to review documents from Relativity relating to Alameda Non-                    1.3
                                           QuickBooks testing workstream for specific entity
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07/26/2023               ZC                Review documents from Relativity relating to Alameda Non-QuickBooks testing            0.8
                                           workstream for specific entity
07/26/2023                  ZC             Continue to review documents from Relativity relating to Alameda Non-                  1.4
                                           QuickBooks testing workstream for specific entity
07/26/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing            1.9
                                           workstream for specific entity
07/26/2023                  ZC             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: status of            0.5
                                           non-QuickBooks account validation process
07/27/2023                  AW             Review the delta report comparing the QuickBooks backend tables between                1.5
                                           batches 5 and 6
07/27/2023                  AW             Review the delta report comparing the reconstructed journals based on the              2.1
                                           QuickBooks backend tables between batches 5 and 6
07/27/2023                  AW             Reconcile the recreated balance sheet (QuickBooks backend data) against the            2.3
                                           web-scraped frontend reports
07/27/2023                  AW             Working session with A. Walker, K. Vasiliou (AlixPartners) re: Amending the            0.5
                                           SQL code to extract both sides of journal entries from Access
07/27/2023                  AP             Research internet sources for unstructured data related to NFT holdings and            1.3
                                           transactions
07/27/2023                  AP             Review all investment agreements that include references to NFT purchases              1.8
07/27/2023                  AP             Research Relativity for unstructured data related to NFT holdings and                  2.2
                                           transactions
07/27/2023                  AP             Update other investments completeness tracker for all remaining open venture           1.5
                                           investments requiring further research
07/27/2023                 BFM             Working session with B. Mackay, D. Schwartz (AlixPartners) re: to discuss              0.4
                                           treatment of PaperBird account and impact on accounting for specific entity
                                           acquisition
07/27/2023                 BFM             Search Relativity re: NFTs held by Alameda on .com or .us exchanges                    0.9
07/27/2023                 BFM             Create transaction-level dataset of NFTs utilizing additional information from         2.4
                                           NFT data tables on .com and .us exchange
07/27/2023                 BFM             Identify NFT transactions on .us exchange involving Alameda                            0.5
07/27/2023                 BFM             Review .com exchange activity for activity in Alameda main account on behalf           1.4
                                           of Alameda Systems Inc re: market making agreement assignment
07/27/2023                  BAR            Prepare intercompany contract analysis data for Financing Agreements, Asset            1.8
                                           Transfers, and Software Agreements
07/27/2023                  BAR            Prepare intercompany contract analysis data for Service Agreements, Cost Plus          1.3
                                           Agreements, and Government Agreements
07/27/2023                  BAR            Finalize data for standardized intercompany agreement file                             1.1
07/27/2023                  CAS            Analyze admin account user balances in regard to how they relate to the financial      2.2
                                           statement reconstruction
07/27/2023                  CAS            Continue to analyze admin account user balances in regard to how they relate to        1.4
                                           the financial statement reconstruction
07/27/2023                  CX             Set up data parsing for specific files for purposes of supporting the financial        2.8
                                           statement reconstruction workstream
07/27/2023                  CX             Update file parsing process for master summary database for purposes of                2.1
                                           supporting the financial statement reconstruction workstream
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/27/2023               CC                Perform detailed general ledger validation for FTX Vault Trust Company's               0.4
                                           intercompany accounts
07/27/2023                  CC             Perform detailed general ledger validation for specific entity's intercompany          1.6
                                           accounts
07/27/2023                  CC             Prepare a summary of current status related to cash intercompany balance               0.3
                                           adjustments
07/27/2023                  CC             Review imbalance in intercompany accounts between FTX Trading Ltd and                  0.8
                                           specific entity
07/27/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's Related Party         0.9
                                           Payable with Paper Bird Inc
07/27/2023                  CC             Working session with C. Chen, C. Wong (AlixPartners) re: investigating                 1.1
                                           imbalances in intercompany receivable and payable accounts
07/27/2023                  CC             Working session with C. Chen, M. Cervi, T. Yamada (AlixPartners) re: review            0.5
                                           accounting records related to cash transfers between entities using QuickBooks
                                           and entities not using QuickBooks
07/27/2023                  CC             Working session with C. Chen, T. Kang (AlixPartners) re: cash transfers to             0.4
                                           acquired entities prior to acquisition effective date
07/27/2023                  DS             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.               0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
07/27/2023                  DS             Working session with B. Mackay, D. Schwartz (AlixPartners) re: to discuss              0.4
                                           treatment of PaperBird account and impact on accounting for specific entity
                                           acquisition
07/27/2023                  DS             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                   0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                  DS             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                   0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                  DS             Working session with D. Schwartz, J. Somerville (AlixPartners) re: consolidation       0.6
                                           of variance matrix and general ledger data for final intercompany balances
07/27/2023                  DJW            Continue to investigate Serum token historic lifecycle and ownership by debtors        2.3
                                           in support of the historic balance recreation workstream
07/27/2023                  DJW            Investigate Serum token historic lifecycle in support of the historic balance          0.8
                                           recreation workstream
07/27/2023                  DJW            Investigate Serum token historic lifecycle and ownership by Debtors in support         2.1
                                           of the historic balance recreation workstream
07/27/2023                  DJW            Continue to investigate Serum token historic lifecycle in support of the historic      1.1
                                           balance recreation workstream
07/27/2023                  DL             Perform accounts balance check to ensure accuracy of adjusting journal entries         1.8
                                           into the master balance sheet
07/27/2023                  DL             Review digital assets/customer liabilities adjusting journal entries prepared for      2.9
                                           July version of balance sheet
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/27/2023               DL                Working session with F. Liang, T. Phelan (AlixPartners) re: discuss using                1.8
                                           SnapshotBlob table in the AWS database as a source for Alameda's third-party
                                           exchange accounts balances
07/27/2023                  EM             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                 0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
07/27/2023                  EM             Working session with E. Mostoff, J. LaBella (AlixPartners) re: analysis of               0.4
                                           historical accounts payable balances
07/27/2023                  EM             Perform review on historical balance sheet adjustment SQL model                          0.9
07/27/2023                  EM             Perform unstructured Relativity search for specific entity banking data to support       0.4
                                           historical cash balance reconstruction
07/27/2023                  EM             Working session with E. Mostoff, T. Toaso (AlixPartners) re: adjusted balance            0.4
                                           sheet model import to SQL
07/27/2023                  GG             Analyze NFT ownership data on the FTX.com exchange based on the NFT fills                2.9
                                           table
07/27/2023                  GG             Create a script to determine daily NFT ownership on the FTX.com exchange                 2.9
07/27/2023                  JC             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                 0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
07/27/2023                  JC             Working session with M. Cervi, J. Chin (AlixPartners) re: review specific entity         0.4
                                           adjusted journal entries
07/27/2023                   JC            Draft the adjusted journal entries and workpaper for specific entity                     2.6
07/27/2023                  JRB            Update user functionality of admin features using the master summary database            2.5
                                           for purposes of supporting the financial statement reconstruction workstream
07/27/2023                   JX            Search Relativity for participant margin deposits of Silvergate for specific entity      2.8
07/27/2023                   JX            Verify balance of custodial funds due to customers for FTX Turkey                        2.5
07/27/2023                   JX            Verify balance of custodial funds due to customers for specific entity                   1.7
07/27/2023                   JX            Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: daily status           0.5
                                           check-in of non-QuickBooks account validation process
07/27/2023                  JCL            Working session with E. Mostoff, J. LaBella (AlixPartners) re: analysis of               0.4
                                           historical accounts payable balances
07/27/2023                  JCL            Meeting with J. LaBella, K. Vasiliou, K. Wessel (AlixPartners) re: discussing the        0.3
                                           approach for verifying Other Assets, sampling of Prepayments and potential
                                           risks arising
07/27/2023                  JCL            Review updated balance sheet to verify that impacts of new adjusting journal             1.2
                                           entries are resulting in expected balances
07/27/2023                  JCL            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                     0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                  JCL            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                     0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                  JLS            Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                 0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
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07/27/2023               JLS               Correspond with data analytics team to arrange database extract of intercompany        1.1
                                           contract analysis shared by A&M
07/27/2023                  JLS            Draft correspondence to AlixPartners historical financial statement team               0.3
                                           summarizing contents of A&M contract analysis
07/27/2023                  JLS            Prepare adjusting journal entries to restate Investment in Subsidiary balance for      0.7
                                           West Realm Shires Inc
07/27/2023                  JLS            Prepare for follow-up call re: adjusting entries made due to specific entity           0.4
                                           transaction
07/27/2023                  JLS            Prepare project plan for finalization of intercompany account balance matrix           0.7
07/27/2023                  JLS            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                   0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                  JLS            Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                   0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                  JLS            Working session with D. Schwartz, J. Somerville (AlixPartners) re: consolidation       0.6
                                           of variance matrix and general ledger data for final intercompany balances
07/27/2023                  JKL            Prepare email summarizing the results of the latest delta reports for comparing        0.5
                                           QuickBooks backend data snapshots extracted in May and July
07/27/2023                  KV             Complete template for entries processed for each workstream, future entries to         0.6
                                           book, and any expected blockers
07/27/2023                  KV             Investigate Cottonwood Grove OXY Prepayment balance                                    2.2
07/27/2023                  KV             Investigate the Accounts Receivable balances within Alameda Research LTD               1.8
                                           consisting of employee loans
07/27/2023                  KV             Meeting with J. LaBella, K. Vasiliou, K. Wessel (AlixPartners) re: discussing the      0.3
                                           approach for verifying Other Assets, sampling of Prepayments and potential
                                           risks arising
07/27/2023                  KV             Meeting with K. Vasiliou, K. Wessel (AlixPartners) re: discussing the approach         0.3
                                           for verifying Other Assets, sampling of Prepayments and potential risks arising
07/27/2023                  KV             Update scoping for other assets                                                        2.1
07/27/2023                  KV             Working session with A. Walker, K. Vasiliou (AlixPartners) re: Amending the            0.5
                                           SQL code to extract both sides of journal entries from Access
07/27/2023                 KHW             Incorporate adjusting journal entries for third-party liabilities into master          0.7
                                           adjusted balance sheet for historical financial statement recreation
07/27/2023                 KHW             Meeting with J. LaBella, K. Vasiliou, K. Wessel (AlixPartners) re: discussing the      0.3
                                           approach for verifying Other Assets, sampling of Prepayments and potential
                                           risks arising
07/27/2023                 KHW             Meeting with K. Vasiliou, K. Wessel (AlixPartners) re: discussing the approach         0.3
                                           for verifying Other Assets, sampling of Prepayments and potential risks arising
07/27/2023                 KHW             Perform quality control review of adjusting journal entries to correct historical      1.4
                                           quarter-end third-party loan payable balances
07/27/2023                 KHW             Perform quality control review of adjusting journal entries to record historical       1.2
                                           quarter-end crypto collateral receivable balances
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                        HOURS
07/27/2023              KHW                Prepare leadsheet to validate completeness for third-party loan population at each        0.4
                                           historical quarter-end date in preparation for finalizing adjusting journal entries

07/27/2023                  MC             Working session with M. Cervi, J. Chin (AlixPartners) re: review specific entity          0.4
                                           adjusted journal entries
07/27/2023                  MC             Adjust model legal entity organization chart per discussion on model design               2.8
07/27/2023                  MC             Research Corporate & Trust Services (Caribbean) Limited entity ownership of               0.8
                                           Norton Hall
07/27/2023                  MC             Research specific legal entity to understand proper accounting treatment                  0.4
07/27/2023                  MC             Working session with C. Chen, M. Cervi, T. Yamada (AlixPartners) re: review               0.5
                                           accounting records related to cash transfers between entities using QuickBooks
                                           and entities not using QuickBooks
07/27/2023                  MB             Prepare insider transfer adjusting journal entries to facilitate financial statement      2.7
                                           reconstruction
07/27/2023                  MB             Review property records provided by Nardello to facilitate financial statement            0.2
                                           reconstruction journal entries
07/27/2023                  MJ             Review the historical balance sheets for the periods Q2 2020 through Q3 2022              1.1
                                           for all silos and legal entities with a focus on intercompany balances
07/27/2023                  QB             Update formatting of general ledger data validation intercompany tracker for              3.0
                                           reporting purposes
07/27/2023                   RS            Investigate general ledger detail validation for 'Reclass' journal entries in             1.2
                                           particular account
07/27/2023                  RS             Prepare NFT summary for Alameda held NFTs                                                 2.5
07/27/2023                 SYW             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                  0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
07/27/2023                 SYW             Perform general ledger detailed analysis for categorization of out of scope               2.0
                                           accounts
07/27/2023                 SYW             Perform general ledger detailed validation to review for completeness against             1.2
                                           earlier version of historical balance sheet
07/27/2023                 SYW             Prepare intercompany and related party imbalance matrix showing net                       3.0
                                           receivable/payable positions for each entity pairing
07/27/2023                 SYW             Working session with C. Chen, C. Wong (AlixPartners) re: investigating                    1.1
                                           imbalances in intercompany receivable and payable accounts
07/27/2023                 SYW             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                      0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                 SYW             Working session with C. Wong, D. Schwartz, J. LaBella, J. Somerville                      0.5
                                           (AlixPartners) re: Walkthrough of intercompany and related party imbalance
                                           matrix
07/27/2023                   SK            Working session with C. Chen, T. Kang (AlixPartners) re: cash transfers to                0.4
                                           acquired entities prior to acquisition effective date
07/27/2023                   SZ            Consolidate current status and findings relating to equity investments for Other          0.4
                                           Investments workstream
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FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                 DESCRIPTION OF SERVICES                                         HOURS
07/27/2023               SZ                Reconcile the FTX investment trackers for unclosed investments relating to               0.7
                                           Other Investment workstream
07/27/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment           1.6
                                           workstream with cash and Relativity database
07/27/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment           1.8
                                           workstream with cash and Relativity database for specific account

07/27/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment           2.0
                                           workstream with cash and Relativity database for specific accounts



07/27/2023                  TY             Investigate the intercompany cash transfer activities involving non-QuickBooks           3.0
                                           entities to confirm the nature of the transactions
07/27/2023                  TY             Investigate the transaction counterparty of intercompany and related party               2.0
                                           transactions for non-QuickBooks entities through unstructured document search
07/27/2023                  TY             Working session with C. Chen, M. Cervi, T. Yamada (AlixPartners) re: review              0.5
                                           accounting records related to cash transfers between entities using QuickBooks
                                           and entities not using QuickBooks
07/27/2023                  TY             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: daily status           0.5
                                           check-in of non-QuickBooks account validation process
07/27/2023                   TS            Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                 0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
07/27/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: the reconciliation of the         0.6
                                           specific entity adjusting journal entries against the general ledger detail
07/27/2023                   TS            Assess accounting impacts imposed by the specific entity-related adjusting               1.6
                                           journal entries to general ledger accounts reviewed under other workstreams to
                                           assist with the review of investment in subsidiaries
07/27/2023                   TS            Categorize adjusting journal entries relating to the acquisition of specific entity      0.8
                                           into defined group to assist with the investment in subsidiaries workstream
07/27/2023                   TS            Document the supporting source files for adjusting journal entries for specific          0.5
                                           intercompany balances to assist with the Other Investments workstream
07/27/2023                   TS            Identify the accounting entries on the FTX group ledgers associated with the             0.9
                                           prior accounting of the specific transaction to assist with the investment in
                                           subsidiaries workstream
07/27/2023                   TS            Review the FTX Group intercompany contractual arrangement analysis to                    2.1
                                           reconcile with the specific entity acquisition workbook to assist with the
                                           investment in subsidiaries workstream
07/27/2023                   TS            Summarize rationale and supporting sources for adjusting journal entries relating        1.3
                                           to digital assets and intercompany balances to assist with the investment in
                                           subsidiaries workstream
07/27/2023                   TT            Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                 0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/27/2023               TT                Construct intercompany elimination mechanics in model for financial statement             1.2
                                           reconstruction
07/27/2023                   TT            Summarize adjusted balance sheet for output and discussion                                1.6
07/27/2023                   TT            Working session with E. Mostoff, T. Toaso (AlixPartners) re: adjusted balance             0.4
                                           sheet model import to SQL
07/27/2023                   TP            Analyze ERC20 based SRM minting process and time line for use in the                      1.7
                                           recreation of the historical financial statements
07/27/2023                   TP            Analyze SPL based SRM minting process and time line for use in the recreation             2.1
                                           of the historical financial statements
07/27/2023                   TP            Working session with F. Liang, T. Phelan (AlixPartners) re: discuss using                 1.8
                                           SnapshotBlob table in the AWS database as a source for Alameda's third-party
                                           exchange accounts balances
07/27/2023                  XS             Working session with C. Wong, D. Schwartz, E. Mostoff, J. Somerville, T.                  0.5
                                           Shen, X. Su, T. Toaso, J. Chin (AlixPartners) re: review latest FTT specific
                                           entity Adjusted journal entries and how they affect multiple workstreams
07/27/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: the reconciliation of the          0.6
                                           specific entity adjusting journal entries against the general ledger detail
07/27/2023                  XS             Analyze cash flows between Alameda and Paper Bird from Dec 2021 to 2022                   1.8
                                           related to specific entity through journal entries and general ledger re: investment
                                           in subsidiaries
07/27/2023                  XS             Analyze a specific journal entry of a payment made in cryptocurrency from                 1.8
                                           Alameda to shareholders re: investment in subsidiaries
07/27/2023                  XS             Reconcile adjusted balances of specific general ledger account booked by FTX              0.8
                                           Trading with Quarter-end month-to-month value re: investment in subsidiaries
07/27/2023                  XS             Review specific accounts in general ledger detail validation working paper to             1.8
                                           confirm the proposed adjustments have reversed a specific set of journal entries

07/27/2023                  XS             Update digital asset request for cryptocurrency payment re: investment in                 0.6
                                           subsidiaries - specific entity
07/27/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing               1.9
                                           workstream for specific entity
07/27/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing               1.8
                                           workstream for specific entity
07/27/2023                  ZC             Continue to review documents from Relativity relating to Alameda Non-                     1.2
                                           QuickBooks testing workstream for specific entity
07/27/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing               1.6
                                           workstream for specific entity
07/27/2023                  ZC             Continue to review documents from Relativity relating to Alameda Non-                     0.6
                                           QuickBooks testing workstream for specific entity
07/27/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing               1.2
                                           workstream for specific entity
07/27/2023                  ZC             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: daily status            0.5
                                           check-in of non-QuickBooks account validation process
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                     HOURS
07/28/2023               AS                Meeting with A. Searles, D. Schwartz (AlixPartners) re: status of special              0.3
                                           investigation completeness tracker to support the financial statement
                                           reconstruction workstream and preparation for meeting next week to go through
                                           the balance sheet with A&M
07/28/2023                  AP             Prepare reconciliation of FTX NFT exchange data to list of unstructured data           1.1
                                           sources
07/28/2023                  AP             Document process, procedures, assumptions and limitations for NFT workstream           2.1

07/28/2023                  AP             Document use of FTX NFT exchange data to reconcile Alameda exchange                    1.5
                                           accounts to list of known Alameda owned NFTs
07/28/2023                  AP             Working session with A. Patti, B. Mackay, R. Self, T. Phelan (AlixPartners) re:        1.0
                                           Alameda NFT exchange tables
07/28/2023                  AP             Working session with A. Patti, R. Self (AlixPartners) re: reviewing Alameda's          0.8
                                           NFT tables on FTX.us
07/28/2023                  AV             Working session with A. Vanderkamp, M. Birtwell, T. Toaso (AlixPartners) re:           0.7
                                           entry of insider transfer adjusting journal entries for July balance sheet update
07/28/2023                 BFM             Working session with A. Patti, B. Mackay, R. Self, T. Phelan (AlixPartners) re:        1.0
                                           Alameda NFT exchange tables
07/28/2023                 BFM             Working session with B. Mackay, T. Phelan (AlixPartners) re: reconciliation of         0.8
                                           NFTs held on exchange and in wallets historically
07/28/2023                  BAR            Additional research import function testing for master summary database for            1.1
                                           purposes of supporting the financial statement reconstruction workstream
07/28/2023                  BAR            Working session with B. Robison, J. Berg (AlixPartners) re: to review relativity       1.0
                                           research upload functionality for master summary for purposes of supporting the
                                           financial statement reconstruction workstream
07/28/2023                  CX             Parse master summary database template header columns with json lines table in         2.3
                                           Databricks
07/28/2023                  CX             Continue parsing master summary database template header columns with json             2.7
                                           lines table in Databricks
07/28/2023                  CC             Working session with C. Chen, J. Chin (AlixPartners) re: discuss analysis              0.4
                                           process for Deltec bond, deposit, and equities investments
07/28/2023                  CC             Working session with C. Chen, J. Xu, Z. Chen (AlixPartners) re: adjustment             0.4
                                           made to other investments account of specific entity
07/28/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       0.2
                                           Intercompany Payable with FTX Exchange FZE
07/28/2023                  CC             Update leadsheet with proposed adjustments re: FTX Trading Ltd's                       0.4
                                           Intercompany Receivable with specific entity
07/28/2023                  CC             Update leadsheet with proposed adjustments re: West Realm Shires Services              0.8
                                           Inc's Related Party Payable with specific entity
07/28/2023                  CC             Update leadsheet with proposed adjustments re: West Realm Shires Services              1.8
                                           Inc's Related Party Payable with FTX Digital Markets Ltd
07/28/2023                  CC             Update leadsheet with proposed adjustments re: West Realm Shires Services              0.7
                                           Inc's Related Party Receivable with specific entity
07/28/2023                  CC             Update leadsheet with proposed adjustments re: West Realm Shires Services              1.4
                                           Inc's Related Party Receivable with FTX Digital Markets Ltd
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                     HOURS
07/28/2023               CC                Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re:                 0.4
                                           Intercompany/related party imbalance matrix status update
07/28/2023                  DS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: status of special               0.3
                                           investigation completeness tracker to support the financial statement
                                           reconstruction workstream and preparation for meeting next week to go through
                                           the balance sheet with A&M
07/28/2023                  DS             Prepare topics for meeting with A&M re: coordination on historical and petition         0.8
                                           date balance sheet
07/28/2023                  DS             Prepare matrix templates to present Sam coins and locked coins at different             1.3
                                           historical values for reconstructed balance sheet
07/28/2023                  DS             Review emails re: impact of specific entity FTT transaction on historical               1.7
                                           financial statements
07/28/2023                  DS             Working session with D. Schwartz, J. LaBella, T. Toaso (AlixPartners) re: to            1.0
                                           review draft July historical balance sheet
07/28/2023                  DS             Working session with C. Wong, D. Schwartz, J. Somerville (AlixPartners) re:             0.5
                                           Priorities for the following week re: intercompany workstream
07/28/2023                  DS             Working session with D. Schwartz, F. Liang, J. LaBella, T. Phelan                       0.5
                                           (AlixPartners) re: discuss status on preparing debtors' historical balances of
                                           assets held on Solana Chain and using Snapshot Blob table as source for third-
                                           party exchanges balances
07/28/2023                  DL             Research FTX Ventures' investment in Euler token by reviewing blockchain data           2.5
                                           and contracts
07/28/2023                  DL             Research Alameda's investment in SECRET token                                           2.4
07/28/2023                  DL             Research Alameda's investments in SOL                                                   1.4
07/28/2023                  DL             Update debtors' digital investment workbook                                             1.5
07/28/2023                  DL             Working session with D. Schwartz, F. Liang, J. LaBella, T. Phelan                       0.5
                                           (AlixPartners) re: discuss status on preparing debtors' historical balances of
                                           assets held on Solana Chain and using Snapshot Blob table as source for third-
                                           party exchanges balances
07/28/2023                  EM             Analyze journal entries recorded in specific account against analysis performed         0.9
                                           on specific entity acquisition to support reconstruction of specific account group

07/28/2023                  EM             Analyze journal entries recorded in specific account against analysis performed         0.4
                                           on specific entity acquisition to support reconstruction of specific account group

07/28/2023                  EM             Compare adjusted historical balance sheet SQL model output against excel                1.6
                                           model to identify review items
07/28/2023                  EM             Perform review on adjusted balance sheet SQL model to support historical                0.9
                                           financial statement reconstruction
07/28/2023                  EM             Prepare questions for bankruptcy advisors re: historical banking data                   1.1
07/28/2023                  EM             Search QuickBooks attachments inventory for statements of FTX Digital                   0.4
                                           Markets Ltd bank accounts to support reconstruction of historical cash balances
07/28/2023                  EM             Update historical cash balance reconstruction workpaper with summary of bank            1.6
                                           accounts considered complete
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/28/2023               EM                Working session with E. Mostoff, J. LaBella (AlixPartners), J. Lee, L. Ryan, E.       0.4
                                           Hoffer (A&M), A. Toobin, F. Weinberg (S&C), M. Cilia (FTX) re: updates
                                           around banking data workstreams
07/28/2023                  GG             Analyze NFT ownership data on the FTX.com exchange based on the NFT                   2.9
                                           transfers table
07/28/2023                  GG             Analyze trading of a specific set of accounts on the FTX.com exchange to              2.9
                                           determine NFT ownership
07/28/2023                  GG             Update the script producing NFT ownership data on the FTX.com exchange                2.2
07/28/2023                  JC             Working session with C. Chen, J. Chin (AlixPartners) re: discuss analysis             0.4
                                           process for Deltec bond, deposit, and equities investments
07/28/2023                  JC             Search Relativity related to specific loan                                            1.6
07/28/2023                  JC             Gather investment agreements for token investments above three million in value       2.1
07/28/2023                  JC             Review the loan agreement between FTX Trading and specific entity related to          0.8
                                           specific investment
07/28/2023                  JC             Update the Other Investments master file with latest adjusted journal entries         2.6
07/28/2023                  JC             Update the summary memo of remaining tasks for the Other Investments                  0.9
                                           workstream
07/28/2023                  JRB            Update Relativity ingestion using the master summary database for purposes of         2.5
                                           supporting the financial statement reconstruction workstream
07/28/2023                  JRB            Test reporting functions of master summary database for purposes of supporting        2.3
                                           the financial statement reconstruction workstream
07/28/2023                  JRB            Working session with B. Robison, J. Berg (AlixPartners) re: to review relativity      1.0
                                           research upload functionality for master summary for purposes of supporting the
                                           financial statement reconstruction workstream
07/28/2023                   JX            Working session with C. Chen, J. Xu, Z. Chen (AlixPartners) re: adjustment            0.4
                                           made to other investments account of specific entity
07/28/2023                   JX            Calculate adjustments for participant margin deposit account of Signature Bank        1.4
                                           for specific entity
07/28/2023                   JX            Calculate adjustments for participant margin deposit account of Silvergate for        0.9
                                           specific entity
07/28/2023                   JX            Search Relativity for participant margin deposits of Signature Bank for specific      1.7
07/28/2023                  JCL            Review cash balances to identify remaining cash account balances missing              1.0
                                           supporting bank statements
07/28/2023                  JCL            Working session with D. Schwartz, J. LaBella, T. Toaso (AlixPartners) re: to          1.0
                                           review draft July historical balance sheet
07/28/2023                  JCL            Working session with D. Schwartz, F. Liang, J. LaBella, T. Phelan                     0.5
                                           (AlixPartners) re: discuss status on preparing debtors' historical balances of
                                           assets held on Solana Chain and using Snapshot Blob table as source for third-
                                           party exchanges balances
07/28/2023                  JCL            Working session with E. Mostoff, J. LaBella (AlixPartners), J. Lee, L. Ryan, E.       0.4
                                           Hoffer (A&M), A. Toobin, F. Weinberg (S&C), M. Cilia (FTX) re: updates
                                           around banking data workstreams
07/28/2023                  JLS            Consolidate cash and non-cash intercompany analyses from cash intercompany            2.2
                                           restatement to prepare final balances for Alameda Research LLC and
                                           Cottonwood Grove pairing
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07/28/2023               JLS               Consolidate cash and non-cash intercompany analyses from source QuickBooks                0.5
                                           balances to prepare final balances for Alameda Research LLC and Cottonwood
                                           Grove pairing
07/28/2023                  JLS            Consolidate cash and non-cash intercompany analyses from verified general                 1.2
                                           ledger data to prepare final balances for Alameda Research LLC and
                                           Cottonwood Grove pairing
07/28/2023                  JLS            Prepare adjusting journal entries for Investment in Subsidiary restatement in             1.1
                                           draft balance sheet for FTX Trading Ltd
07/28/2023                  JLS            Review intercompany imbalance matrix analysis                                             0.7
07/28/2023                  JLS            Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re:                   0.4
                                           Intercompany/related party imbalance matrix status update
07/28/2023                  JLS            Working session with C. Wong, D. Schwartz, J. Somerville (AlixPartners) re:               0.5
                                           Priorities for the following week re: intercompany workstream
07/28/2023                  KV             Investigate Donations Receivable balances in other assets                                 1.2
07/28/2023                  KV             Investigate sponsorship of sporting event                                                 1.7
07/28/2023                  MC             Review completeness status update on other investments workstream                         0.2
07/28/2023                  MC             Update tracker of adjustments related to investments workstream                           0.3
07/28/2023                  MC             Revise organization chart to be used in relation to balance sheet model                   1.7
07/28/2023                  MB             Prepare insider transfer adjusting journal entries to facilitate financial statement      1.9
                                           reconstruction
07/28/2023                  MB             Working session with A. Vanderkamp, M. Birtwell, T. Toaso (AlixPartners) re:              0.7
                                           entry of insider transfer adjusting journal entries for July balance sheet update
07/28/2023                  MB             Working session with M. Birtwell, T. Toaso (AlixPartners) re: entry of insider            0.4
                                           transfer adjusting journal entries for July balance sheet update
07/28/2023                  QB             Investigate digital token investments for purposes of reconstructing historical           2.6
                                           financial statements
07/28/2023                  QB             Update formatting of general ledger data validation intercompany tracker for              1.0
                                           reporting purposes
07/28/2023                   RS            Search Relativity for accounting treatment for NFTs                                       1.2
07/28/2023                   RS            Investigate general ledger detail validation for 'Reclass' journal entries in             1.3
                                           particular account
07/28/2023                   RS            Working session with A. Patti, B. Mackay, R. Self, T. Phelan (AlixPartners) re:           1.0
                                           Alameda NFT exchange tables
07/28/2023                   RS            Working session with A. Patti, R. Self (AlixPartners) re: reviewing Alameda's             0.8
                                           NFT tables on FTX.us
07/28/2023                 SYW             Perform general ledger detailed validation for specific account                           1.0

07/28/2023                 SYW             Perform general ledger detailed validation for specific account                           1.2

07/28/2023                 SYW             Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re:                   0.4
                                           Intercompany/related party imbalance matrix status update
07/28/2023                 SYW             Working session with C. Wong, D. Schwartz, J. Somerville (AlixPartners) re:               0.5
                                           Priorities for the following week re: intercompany workstream
07/28/2023                   SK            Import a list of all known effective dates for Debtor entities to assist with             1.6
                                           financial statement reconstruction
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                        HOURS
07/28/2023               SK                Investigate bank data combined table records where the transaction occurred                2.4
                                           after the effective date for the corresponding Debtor entity to assist with financial
                                           statement reconstruction
07/28/2023                  SK             Update cash database intercompany results to label transactions that occurred              2.9
                                           after the effective date of the counter party Debtor entity to assist with financial
                                           statement reconstruction
07/28/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other              1.6
                                           Investments workstream for specific entity
07/28/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other              1.9
                                           Investments workstream for specific entity
07/28/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other              1.8
                                           Investments workstream for specific entity
07/28/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other              1.8
                                           Investments workstream for specific entity
07/28/2023                  TY             Document the review status, remaining tasks, and potential roadblocks for non-             1.3
                                           QuickBooks workstream to meet the August delivery timeline
07/28/2023                  TY             Review testing of non-QuickBooks accounts                                                  2.0
07/28/2023                  TS             Working session with T. Shen, X. Su (AlixPartners) re: updating the new                    0.2
                                           specific entity workbook
07/28/2023                   TS            Update review procedures for specific acquisition to assist with the Investment in         1.9
                                           Subsidiaries workstream
07/28/2023                   TS            Draft overview of the specific acquisition and contractual arrangements to assist          1.7
                                           with the investment in subsidiaries workstream
07/28/2023                   TS            Summarize QuickBooks accounts of FTX Trading Ltd and Alameda Research                      1.1
                                           which are affected by the proposed adjusting journal entries to assist with the
                                           investment in subsidiaries workstream
07/28/2023                   TS            Summarize QuickBooks accounts of Paper Bird Inc and Cottonwood Grove                       0.8
                                           which are affected by the proposed adjusting journal entries to assist with the
                                           investment in subsidiaries workstream
07/28/2023                   TT            Summarize adjusted balance sheet for output and discussion                                 1.0
07/28/2023                   TT            Working session with D. Schwartz, J. LaBella, T. Toaso (AlixPartners) re: to               1.0
                                           review draft July historical balance sheet
07/28/2023                   TT            Working session with A. Vanderkamp, M. Birtwell, T. Toaso (AlixPartners) re:               0.7
                                           entry of insider transfer adjusting journal entries for July balance sheet update
07/28/2023                   TT            Working session with M. Birtwell, T. Toaso (AlixPartners) re: entry of insider             0.4
                                           transfer adjusting journal entries for July balance sheet update
07/28/2023                   TP            Analyze ERC20 based SRM minting process and time line for use in the                       1.8
                                           recreation of the historical financial statements
07/28/2023                   TP            Analyze SPL based SRM minting process and time line for use in the recreation              1.9
                                           of the historical financial statements
07/28/2023                   TP            Working session with A. Patti, B. Mackay, R. Self, T. Phelan (AlixPartners) re:            1.0
                                           Alameda NFT exchange tables
07/28/2023                   TP            Working session with B. Mackay, T. Phelan (AlixPartners) re: reconciliation of             0.8
                                           NFTs held on exchange and in wallets historically
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DATE                PROFESSIONAL                                   DESCRIPTION OF SERVICES                                    HOURS
07/28/2023               TP                Working session with D. Schwartz, F. Liang, J. LaBella, T. Phelan                     0.5
                                           (AlixPartners) re: discuss status on preparing debtors' historical balances of
                                           assets held on Solana Chain and using Snapshot Blob table as source for third-
                                           party exchanges balances
07/28/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: updating the new               0.2
                                           specific entity workbook
07/28/2023                  XS             Update workpaper with detailed adjustments in review periods proposed to              1.2
                                           Alameda re: investment in subsidiaries
07/28/2023                  XS             Update workpaper with detailed original journal entries and related adjustments       1.7
                                           in review periods booked by Cotton Wood re: investment in subsidiaries
07/28/2023                  XS             Update workpaper with detailed original journal entries and related adjustments       1.8
                                           in review periods booked by FTX Trading re: investment in subsidiaries
07/28/2023                  XS             Update workpaper with detailed original journal Entries and related adjustments       1.5
                                           in review periods booked by Paper Bird re: investment in subsidiaries
07/28/2023                  XS             Update workpaper with detailed original journal entries in review periods booked      1.8
                                           by Alameda re: investment in subsidiaries
07/28/2023                  XS             Update workpaper with proposed adjustments in review periods of Cotton Wood           1.8
                                           re: investment in subsidiaries
07/28/2023                  ZC             Working session with C. Chen, J. Xu, Z. Chen (AlixPartners) re: adjustment            0.4
                                           made to other investments account of specific entity
07/28/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.6
                                           workstream for specific entity
07/28/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.8
                                           workstream for specific entity
07/28/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.5
                                           workstream for specific entity
07/28/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.7
                                           workstream for specific entity
07/28/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           0.7
                                           workstream for specific entity
07/29/2023                  EM             Analyze account opening information re: all debtor-owned Klarpay accounts to          0.7
                                           support completion analysis for historical cash balance reconstruction
07/29/2023                  EM             Analyze available banking data for potentially incomplete Signature accounts to       1.4
                                           support completion analysis of historical cash balance reconstruction
07/29/2023                  EM             Analyze available documentation re: specific entity bank accounts to support          0.5
                                           completion analysis for historical financial statement reconstruction
07/29/2023                  EM             Search Relativity for Signature bank account opening documentation                    0.6
07/29/2023                  EM             Perform unstructured Relativity search for account opening documentation re:          0.2
                                           specific entity Signet account to support historical financial statement
07/29/2023                  EM             Perform unstructured Relativity search for account opening documentation re:          0.3
                                           FTX Digital Markets Signet account to support historical financial statement
                                           reconstruction
07/29/2023                  EM             Perform unstructured Relativity search for account opening documentation re:          0.2
                                           specific entity Signet account to support historical financial statement
                                           reconstruction
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John J. Ray III
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/29/2023               EM                Perform unstructured Relativity search for banking data re: FTX Japan KK SBI             0.6
                                           Trust account to support historical cash balance reconstruction
07/29/2023                  EM             Prepare questions for bankruptcy advisors re: historical banking data                    0.8
07/29/2023                  EM             Update bank account balance listing for specific entity to support historical cash       0.5
                                           balance reconstruction
07/29/2023                  EM             Update bank account balance listing for FTX Japan KK to support historical               0.4
                                           cash balance reconstruction
07/29/2023                  EM             Update bank account balance listing for FTX Switzerland GmbH to support                  0.2
                                           historical cash balance reconstruction
07/29/2023                   TS            Prepare summaries of the intended contractual arrangements in the specific entity        2.1
                                           workbook to assist with the investment in subsidiaries workstream
07/29/2023                   TS            Prepare summaries of the effectuation status of the specific entity-related              1.4
                                           agreements between FTX Trading, Alameda Research, Paper Bid and
                                           Cottonwood Grove to assist with the investment in subsidiaries workstream
07/29/2023                   TS            Summarize QuickBooks prior accounting recorded and the corresponding                     1.9
                                           reversal entries in the specific entity workbook to assist with the investment in
                                           subsidiaries workstream
07/29/2023                   TS            Summarize verification result of the on-exchange FTT transfers related to the            0.8
                                           specific entity shareholders payouts to assist with the investment in subsidiaries
                                           workstream
07/30/2023                  EM             Update bank account balance listing for specific entity to support reconstruction        0.2
                                           of historical cash balances
07/30/2023                  EM             Update bank account balance listing for FTX Switzerland to support historical            0.3
                                           cash balance reconstruction
07/30/2023                  EM             Update bank account tracker with summary of completeness for each bank                   2.4
                                           account analyzed in historical financial statement reconstruction
07/30/2023                   TS            Working session with T. Shen, X. Su (AlixPartners) re: review comments to the            0.3
                                           draft specific entity workbook
07/30/2023                   TS            Draft rationale of proposed adjusting journal entries for the conclusion section of      1.2
                                           the specific entity workbook to assist with the investment in subsidiaries
07/30/2023                   TS            Reconcile balance sheet account-level financial impacts to the individual                1.1
                                           adjusting journal entries to ensure completeness and consistency to assist with
                                           the investment in subsidiaries workstream
07/30/2023                   TS            Update the specific entity workbook to include additional general ledger                 1.3
                                           accounts subject to accounting adjustments to assist with the investment in
                                           subsidiaries workstream
07/30/2023                  XS             Working session with T. Shen, X. Su (AlixPartners) re: review comments to the            0.3
                                           draft specific entity workbook
07/30/2023                  XS             Update workpaper with adjustments proposed to Paper Bird in review periods re:           1.5
                                           investment in subsidiaries
07/31/2023                  AS             Meeting with A. Searles, D. Schwartz (AlixPartners) re: upcoming financial               0.2
                                           statement reconstruction meeting with A&M
07/31/2023                  AS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz (AlixPartners) re:                   0.4
                                           updating the special investigation completeness tracker to support the financial
                                           statement reconstruction work
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               AP                Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                    0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  AP             Document use of FTX NFT exchange data to reconcile Alameda exchange                    1.9
                                           accounts to list of known Almeda owned NFTs
07/31/2023                  AP             Prepare FTX NFT exchange data summary of process and procedures completed              1.6

07/31/2023                  AP             Continue to prepare FTX NFT exchange data summary of process and                       1.1
                                           procedures completed
07/31/2023                  AP             Update other investments completeness tracker for all remaining open venture           1.3
                                           investments requiring further research
07/31/2023                  AP             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti               0.6
                                           (AlixPartners) re: walk through of investigation on Alameda's historical holding
                                           of NFTs
07/31/2023                  AP             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti               0.6
                                           (AlixPartners) re: walk through of latest historical digital assets and customer
                                           liabilities balances for debtors
07/31/2023                  AP             Working Session with J. Chin, A. Patti (AlixPartners) re: discuss the addition of      0.2
                                           new tabs to the Other Investments Master file including the adjusted journal
                                           entry workpapers
07/31/2023                  AV             Meeting with A. Searles, A. Vanderkamp, D. Schwartz (AlixPartners) re:                 0.4
                                           updating the special investigation completeness tracker to support the financial
                                           statement reconstruction work
07/31/2023                  AV             Update special investigation completeness tracker for impact of special                2.3
                                           investigations on historical balance sheets to support the financial statement
                                           reconstruction work
07/31/2023                 BFM             Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.              0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
07/31/2023                 BFM             Calculate historical quarter-end intercompany balances for on-exchange transfers       2.2
07/31/2023                 BFM             Identify initial payment by Alameda on .us exchange to specific entity re: NFTs        0.7

07/31/2023                 BFM             Summarize historical quarter-end intercompany balances for on-exchange                 1.9
                                           transfers
07/31/2023                 BFM             Summarize on-exchange data for evidence of collateral received in relation to          1.3
                                           Alameda loan receivables
07/31/2023                  BAR            Call with B. Robison, C. Xu, J. Berg (AlixPartners) re: to review open items for       0.5
                                           master summary for purposes of supporting the financial statement
                                           reconstruction workstream
07/31/2023                  BAR            Update functionality review for master summary database for purposes of                1.1
                                           supporting the financial statement reconstruction workstream
07/31/2023                  BAR            Review updates to user documentation for master summary database for                   0.8
                                           purposes of supporting the financial statement reconstruction workstream
07/31/2023                  BAR            Test updated import of Relativity research data for master summary database for        0.6
                                           purposes of supporting the financial statement reconstruction workstream
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Re:                 Financial Statement Reconstruction
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                        HOURS
07/31/2023               CAS               Review cash reconciliations to FTX.com to support the financial statement                  1.8
                                           reconstruction
07/31/2023                  CAS            Continue to review cash reconciliations to FTX.com to support the financial                1.3
                                           statement reconstruction
07/31/2023                  CX             Call with B. Robison, C. Xu, J. Berg (AlixPartners) re: to review open items for           0.5
                                           master summary for purposes of supporting the financial statement
                                           reconstruction workstream
07/31/2023                  CX             Compile debit, credit, and atm summary data for the master summary database                2.7
                                           by parsing the transaction detail table
07/31/2023                  CX             Analyze results of parsing specific files                                                  2.8
07/31/2023                  CC             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                        0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  CC             Prepare a reconciliation of imbalance in FTX Trading's and specific entity's               2.1
                                           intercompany accounts
07/31/2023                  CC             Review cash flows between FTX Digital Markets Ltd and FTX Trading Ltd to                   1.2
                                           determine intercompany adjusting journal entries
07/31/2023                  CC             Review cash flows between West Realm Shires Services Inc and West Realm                    0.8
                                           Shires Inc to determine intercompany adjusting journal entries
07/31/2023                  CC             Review imbalance in FTX Trading's and specific entity's intercompany accounts              0.6
07/31/2023                  CC             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville              1.0
                                           (AlixPartners) re: strategy for investigating imbalance in intercompany accounts
                                           for historical financial statements reconstruction
07/31/2023                  CC             Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re: review             0.6
                                           imbalance in intercompany accounts between Alameda Research Llc and West
                                           Realm Shires Services for historical financial statements reconstruction purposes
07/31/2023                  CC             Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re:                    0.5
                                           templates for investigating imbalance in intercompany accounts for entities using
                                           QuickBooks
07/31/2023                  CC             Working session with C. Chen, E. Mostoff (AlixPartners) re: bank statements of             0.2
                                           acquired entities that are prior to their acquisition effective dates
07/31/2023                  CC             Working session with C. Chen, J. Xu (AlixPartners) re: verification of non-                0.4
                                           QuickBooks accounts
07/31/2023                  CC             Working session with C. Chen, R. Self (AlixPartners) re: investigation into                0.3
                                           general ledger detail validation for 'Reclass' journal entries
07/31/2023                  CC             Working session with C. Chen, T. Kang (AlixPartners) re: update queries to                 0.3
                                           identify cash transfers to acquired entities prior to the acquisition effective dates
07/31/2023                  CC             Working session with C. Chen, T. Toaso (AlixPartners) re: review intercompany              0.3
                                           adjusting journal entries involving non-QuickBooks entities
07/31/2023                  CC             Working session with C. Chen, T. Toaso (AlixPartners) re: status of                        0.4
                                           intercompany adjusting journal entries involving non-QuickBooks entities
07/31/2023                  CC             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: daily status             0.2
                                           check-in to discuss non-QuickBooks account validation process
07/31/2023                  DS             Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.                  0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               DS                Meeting with A. Searles, D. Schwartz (AlixPartners) re: upcoming financial              0.2
                                           statement reconstruction meeting with A&M
07/31/2023                  DS             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                     0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  DS             Working session with D. Schwartz, M. Birtwell (AlixPartners) re: impact of              0.1
                                           Nardello's real estate property research on financial statement reconstruction PPE
                                           balances
07/31/2023                  DS             Meeting with A. Searles, A. Vanderkamp, D. Schwartz (AlixPartners) re:                  0.4
                                           updating the special investigation completeness tracker to support the financial
                                           statement reconstruction work
07/31/2023                  DS             Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville           1.0
                                           (AlixPartners) re: strategy for investigating imbalance in intercompany accounts
                                           for historical financial statements reconstruction
07/31/2023                  DS             Working session with C. Wong, D. Schwartz, R. Self (AlixPartners) re: Follow            0.5
                                           ups for general ledger detailed validation analysis re: MLB Sponsorship and
                                           $195M reclass entries
07/31/2023                  DS             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti                0.6
                                           (AlixPartners) re: walk through of investigation on Alameda's historical holding
                                           of NFTs
07/31/2023                  DS             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti                0.6
                                           (AlixPartners) re: walk through of latest historical digital assets and customer
                                           liabilities balances for debtors
07/31/2023                  DS             Working Session with D. Schwartz, J. LaBella, J. Somerville, M. Cervi, J. Chin          0.5
                                           (AlixPartners) re: discuss the Non-QuickBooks intercompany and related party
                                           accounts and matrix deliverable
07/31/2023                  DL             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                     0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  DL             Call with F. Liang, O. Braat (AlixPartners) re: investigating token investments         0.3
                                           for purposes of reconstructing historical financial statements
07/31/2023                  DL             Prepare summaries in advance of call on digital assets and customer liabilities         1.4
                                           workstream
07/31/2023                  DL             Review pointer data re: calculating Alameda's third-party exchanges balances            0.8
07/31/2023                  DL             Update debtors' digital investment workbook                                             1.2
07/31/2023                  DL             Update work steps/approach on investigating debtors' historical investments in          1.6
                                           tokens (SAFT/TPA)
07/31/2023                  DL             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti                0.6
                                           (AlixPartners) re: walk through of investigation on Alameda's historical holding
                                           of NFTs
07/31/2023                  DL             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti                0.6
                                           (AlixPartners) re: walk through of latest historical digital assets and customer
                                           liabilities balances for debtors
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/31/2023               DL                Working session with F. Liang, L. Jia (AlixPartners) re: identifying codes and           0.9
                                           data in AWS to reconstruct Alameda's historical balances in third-party exchange
                                           accounts
07/31/2023                  EM             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                      0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  EM             Analyze bank statements for FTX Trading GmbH to support historical cash                  0.5
                                           balance reconstruction
07/31/2023                  EM             Analyze completeness of FTX Japan Holdings KK banking data to support                    0.2
                                           historical cash balance reconstruction
07/31/2023                  EM             Analyze completeness of FTX Japan KK bank accounts to support historical                 0.3
                                           cash balance reconstruction
07/31/2023                  EM             Analyze updated bank transaction listings for specific entity to support historical      1.3
                                           cash balance reconstruction
07/31/2023                  EM             Compare AlixPartners bank account listing to bankruptcy advisor listing to               0.7
                                           identify items for follow up
07/31/2023                  EM             Perform review on adjusted balance sheet SQL model to support historical                 1.2
                                           financial statement reconstruction
07/31/2023                  EM             Perform Relativity search for account opening documentation re: FTX Turkey               0.3
                                           bank accounts to support historical cash balance reconstruction
07/31/2023                  EM             Perform unstructured Relativity search for specific entity bank statements to            0.6
                                           support historical cash balance reconstruction
07/31/2023                  EM             Prepare questions for bankruptcy advisors re: historical banking data                    0.4
07/31/2023                  EM             Update bank account tracker with data re: accounting opening of Silvergate bank          0.6
                                           accounts
07/31/2023                  EM             Working session with C. Chen, E. Mostoff (AlixPartners) re: bank statements of           0.2
                                           acquired entities that are prior to their acquisition effective dates
07/31/2023                  EM             Working session with E. Mostoff, T. Toaso (AlixPartners) re: continue quality            0.4
                                           control of adjusted balance sheet SQL model
07/31/2023                  EM             Working session with E. Mostoff, T. Toaso (AlixPartners) re: quality control of          0.5
                                           adjusted balance sheet SQL model
07/31/2023                  EM             Working session with E. Mostoff, T. Yamada (AlixPartners) re: translation of             0.1
                                           FTX Japan KK bank statement
07/31/2023                  JC             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                      0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  JC             Working Session with M. Cervi, J. Chin (AlixPartners) re: discuss the Deltec US          0.9
                                           Bond investment and specific loan
07/31/2023                  JC             Continue updating the Other Investments master file with latest adjusted journal         2.8
                                           entries
07/31/2023                  JC             Review Alameda Ventures Limited intercompany investments from the general                1.4
                                           ledger detail validation
07/31/2023                  JC             Update the Other Investments master file format with additional tabs of                  1.9
                                           information
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               JC                Working Session with D. Schwartz, J. LaBella, J. Somerville, M. Cervi, J. Chin         0.5
                                           (AlixPartners) re: discuss the Non-QuickBooks intercompany and related party
                                           accounts and matrix deliverable
07/31/2023                  JC             Working Session with J. Chin, A. Patti (AlixPartners) re: discuss the addition of      0.2
                                           new tabs to the Other Investments Master file including the adjusted journal
                                           entry workpapers
07/31/2023                  JRB            Call with B. Robison, C. Xu, J. Berg (AlixPartners) re: to review open items for       0.5
                                           master summary for purposes of supporting the financial statement
                                           reconstruction workstream
07/31/2023                  JRB            Test import functions of master summary database for purposes of supporting            1.3
                                           the financial statement reconstruction workstream
07/31/2023                  JRB            Update reporting tools of master summary database for purposes of supporting           2.8
                                           the financial statement reconstruction workstream
07/31/2023                   JX            Search Relativity for information related to specific account of specific entity       1.6
07/31/2023                   JX            Search Relativity for information related to specific entity                           2.6
07/31/2023                   JX            Verify balance of advances to third party account of specific entity                   1.0
07/31/2023                   JX            Verify balance of other liabilities account of specific entity                         1.9
07/31/2023                   JX            Working session with C. Chen, J. Xu (AlixPartners) re: verification of non-            0.4
                                           QuickBooks accounts
07/31/2023                   JX            Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: daily status         0.2
                                           check-in to discuss non-QuickBooks account validation process
07/31/2023                  JCL            Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.              0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
07/31/2023                  JCL            Review summary of remaining tasks to complete prepared by financial statement          1.2
                                           reconstruction team
07/31/2023                  JCL            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville          1.0
                                           (AlixPartners) re: strategy for investigating imbalance in intercompany accounts
                                           for historical financial statements reconstruction
07/31/2023                  JCL            Working Session with D. Schwartz, J. LaBella, J. Somerville, M. Cervi, J. Chin         0.5
                                           (AlixPartners) re: discuss the Non-QuickBooks intercompany and related party
                                           accounts and matrix deliverable
07/31/2023                  JLS            Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.              0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
07/31/2023                  JLS            Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                    0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  JLS            Prepare final intercompany reconciliation between Alameda Research LLC and             1.6
                                           Cottonwood Grove
07/31/2023                  JLS            Prepare final intercompany reconciliation between Alameda Research LTD and             1.7
                                           Cottonwood Grove
07/31/2023                  JLS            Prepare status update of intercompany balance reconciliation workstream                0.4
07/31/2023                  JLS            Prepare guidance on non-QuickBooks intercompany matrix                                 0.2
07/31/2023                  JLS            Reconcile restatements related to specific entity transaction with general ledger      0.7
                                           data verification analysis
07/31/2023                  JLS            Review intercompany reconciliation analyses for comments on methodology                0.6
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Re:                 Financial Statement Reconstruction
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/31/2023               JLS               Update general ledger data verification analysis for West Realm Shires Inc/West        0.4
                                           Realm Shires Services Inc intercompany balance
07/31/2023                  JLS            Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville          1.0
                                           (AlixPartners) re: strategy for investigating imbalance in intercompany accounts
                                           for historical financial statements reconstruction
07/31/2023                  JLS            Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re: review         0.6
                                           imbalance in intercompany accounts between Alameda Research Llc and West
                                           Realm Shires Services for historical financial statements reconstruction purposes
07/31/2023                  JLS            Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re:                0.5
                                           templates for investigating imbalance in intercompany accounts for entities using
                                           QuickBooks
07/31/2023                  JLS            Working Session with D. Schwartz, J. LaBella, J. Somerville, M. Cervi, J. Chin         0.5
                                           (AlixPartners) re: discuss the Non-QuickBooks intercompany and related party
                                           accounts and matrix deliverable
07/31/2023                  JLS            Consolidate cash and general ledger analysis for intercompany reconciliation           1.5
                                           between Alameda Research LLC and Cottonwood Grove
07/31/2023                  KV             Create adjusting journal entries for the Fortune Media Prepayment balance              1.3
07/31/2023                  KV             Documentation of evidence on specific entity loan from FTXT                            1.6
07/31/2023                  KV             Investigate Fortune Media Prepayment balance                                           1.8
07/31/2023                  KV             Meeting with K. Vasiliou, X. Su (AlixPartners) re: Explanation of the testing          0.5
                                           approach for prepayments and other assets and tasks to be performed by the Asia
                                           team
07/31/2023                  KV             Verification of Fortune Media Prepayment balance                                       2.4
07/31/2023                  KV             Verifying the sponsorship of sporting event prepayment balance relating to the         0.6
                                           branding upgrade fee
07/31/2023                 KHW             Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.              0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
07/31/2023                 KHW             Prepare materials supporting historical third-party loan balances for in-person        0.6
                                           meetings with A&M to coordinate historical vs. petition date balance sheet
                                           reconstruction methodologies
07/31/2023                 KHW             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti               0.6
                                           (AlixPartners) re: walk through of investigation on Alameda's historical holding
                                           of NFTs
07/31/2023                 KHW             Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti               0.6
                                           (AlixPartners) re: walk through of latest historical digital assets and customer
                                           liabilities balances for debtors
07/31/2023                   LJ            Working session with F. Liang, L. Jia (AlixPartners) re: identifying codes and         0.9
                                           data in AWS to reconstruct Alameda's historical balances in third-party exchange
                                           accounts
07/31/2023                  MC             Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.              0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
07/31/2023                  MC             Working Session with M. Cervi, J. Chin (AlixPartners) re: discuss the Deltec US        0.9
                                           Bond investment and specific loan
07/31/2023                  MC             Review latest tracker file for adjusting journal entries related to Other              0.5
                                           Investments workstream
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                    HOURS
07/31/2023               MC                Working Session with D. Schwartz, J. LaBella, J. Somerville, M. Cervi, J. Chin          0.5
                                           (AlixPartners) re: discuss the Non-QuickBooks intercompany and related party
                                           accounts and matrix deliverable
07/31/2023                  MB             Working session with D. Schwartz, M. Birtwell (AlixPartners) re: impact of              0.1
                                           Nardello's real estate property research on financial statement reconstruction PPE
                                           balances
07/31/2023                  MB             Reconcile Nardello property research against financial statement reconstruction         0.8
                                           analyses
07/31/2023                  QB             Call with C. Wong, O. Braat (AlixPartners) re: investigating intercompany               0.4
                                           balances for purposes of reconstructing historical financial statements
07/31/2023                  QB             Call with F. Liang, O. Braat (AlixPartners) re: investigating token investments         0.3
                                           for purposes of reconstructing historical financial statements
07/31/2023                  QB             Investigate an intercompany payment for purposes of reconstructing historical           0.9
                                           financial statements
07/31/2023                  QB             Continue to investigate digital token investments for purposes of reconstructing        1.7
                                           historical financial statements
07/31/2023                  QB             Investigate digital token investments for purposes of reconstructing historical         1.5
                                           financial statements
07/31/2023                  QB             Update formatting of general ledger data validation intercompany tracker for            2.8
                                           reporting purposes
07/31/2023                   RS            Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                     0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                   RS            Investigate general ledger detailed validation entries categorized as 'FTX              1.2
                                           accountant adjusting journal entry' and 'reclass'
07/31/2023                   RS            Working session with C. Chen, R. Self (AlixPartners) re: investigation into             0.3
                                           general ledger detail validation for 'Reclass' journal entries
07/31/2023                   RS            Working session with C. Wong, D. Schwartz, R. Self (AlixPartners) re: Follow            0.5
                                           ups for general ledger detailed validation analysis re: MLB Sponsorship and
                                           $195M reclass entries
07/31/2023                   RS            Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti                0.6
                                           (AlixPartners) re: walk through of investigation on Alameda's historical holding
                                           of NFTs
07/31/2023                   RS            Working session with D. Schwartz, F. Liang, K. Wessel, R. Self, A. Patti                0.6
                                           (AlixPartners) re: walk through of latest historical digital assets and customer
                                           liabilities balances for debtors
07/31/2023                 SYW             Call with C. Wong, O. Braat (AlixPartners) re: investigating intercompany               0.4
                                           balances for purposes of reconstructing historical financial statements
07/31/2023                 SYW             Perform general ledger detailed validation to review workbook for all open items        1.7
07/31/2023                 SYW             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                     0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                 SYW             Prepare waterfall intercompany position analysis between Alameda Research               2.2
                                           LLC and West Realm Shires Services Inc
07/31/2023                 SYW             Review real estate properties support sent by Nardello                                  1.4
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                        HOURS
07/31/2023              SYW                Working session with C. Chen, C. Wong, D. Schwartz, J. LaBella, J. Somerville              1.0
                                           (AlixPartners) re: strategy for investigating imbalance in intercompany accounts
                                           for historical financial statements reconstruction
07/31/2023                 SYW             Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re: review             0.6
                                           imbalance in intercompany accounts between Alameda Research Llc and West
                                           Realm Shires Services for historical financial statements reconstruction purposes
07/31/2023                 SYW             Working session with C. Chen, C. Wong, J. Somerville (AlixPartners) re:                    0.5
                                           templates for investigating imbalance in intercompany accounts for entities using
                                           QuickBooks
07/31/2023                 SYW             Working session with C. Wong, D. Schwartz, R. Self (AlixPartners) re: Follow               0.5
                                           ups for general ledger detailed validation analysis re: MLB Sponsorship and
                                           $195M reclass entries
07/31/2023                   SK            Working session with C. Chen, T. Kang (AlixPartners) re: update queries to                 0.3
                                           identify cash transfers to acquired entities prior to the acquisition effective dates
07/31/2023                   SZ            Prepare adjusting journal entries with supports and reasons relating to Other              2.0
                                           Investments workstream for specific balance sheet account

07/31/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment             1.8
                                           workstream with cash and Relativity database for specific account
07/31/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment             1.6
                                           workstream with cash and Relativity database for specific account

07/31/2023                   SZ            Reconcile the remaining balance sheets accounting relating to Other Investment             1.9
                                           workstream with cash and Relativity database for specific account

07/31/2023                  TY             Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                        0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                  TY             Develop intercompany transaction matrix for non-QuickBooks entity                          2.6
07/31/2023                  TY             Review intercompany transaction matrix for non-QuickBooks entity to                        0.9
                                           summarize the next steps
07/31/2023                  TY             Review several specific non-QuickBooks accounts associated with FTX                        2.6
                                           Australia Pty Ltd.
07/31/2023                  TY             Review several specific non-QuickBooks accounts associated with specific entity            1.9

07/31/2023                  TY             Review several specific non-QuickBooks accounts associated with specific entity            1.3

07/31/2023                  TY             Working session with E. Mostoff, T. Yamada (AlixPartners) re: translation of               0.1
                                           FTX Japan KK bank statement
07/31/2023                  TY             Working session with J. Xu, T. Yamada, C. Chen (AlixPartners) re: daily status             0.2
                                           check-in to discuss non-QuickBooks account validation process
07/31/2023                  TY             Working session with T. Yamada, T. Toaso (AlixPartners) re: updated chart of               0.1
                                           accounts in the master balance sheet model
07/31/2023                   TT            Analyze cash transfers between Debtor entities                                             2.1
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                  HOURS
07/31/2023               TT                Document intercompany transfers between Alameda entities for intercompany             1.2
                                           balance analysis
07/31/2023                   TT            Attend meeting with B. Mackay, D. Schwartz, J. LaBella, J. Somerville, K.             0.6
                                           Wessel, M. Cervi, T. Toaso (AlixPartners) re: prepare for meeting with A&M
07/31/2023                   TT            Working Session with C. Chen, D. Schwartz, E. Mostoff, F. Liang, J.                   0.3
                                           Somerville, R. Self, T. Yamada, T. Toaso, J. Chin (AlixPartners) re: discuss the
                                           potential benefits of referring to the A&M contract document
07/31/2023                   TT            Working session with C. Chen, T. Toaso (AlixPartners) re: review intercompany         0.3
                                           adjusting journal entries involving non-QuickBooks entities
07/31/2023                   TT            Working session with C. Chen, T. Toaso (AlixPartners) re: status of                   0.4
                                           intercompany adjusting journal entries involving non-QuickBooks entities
07/31/2023                   TT            Working session with E. Mostoff, T. Toaso (AlixPartners) re: continue quality         0.4
                                           control of adjusted balance sheet SQL model
07/31/2023                   TT            Working session with E. Mostoff, T. Toaso (AlixPartners) re: quality control of       0.5
                                           adjusted balance sheet SQL model
07/31/2023                   TT            Working session with T. Yamada, T. Toaso (AlixPartners) re: updated chart of          0.1
                                           accounts in the master balance sheet model
07/31/2023                   TP            Analyze ERC20 based SRM minting process and time line for use in the                  2.1
                                           recreation of the historical financial statements
07/31/2023                   TP            Analyze Solana block chain signature data related to debtor accounts for use in       2.3
                                           the recreation of the historical financial statements
07/31/2023                   TP            Analyze Solana block chain transactional data related to debtor accounts for use      2.6
                                           in the recreation of the historical financial statements
07/31/2023                   TP            Analyze SPL based SRM minting process and time line for use in the recreation         1.9
                                           of the historical financial statements
07/31/2023                  XS             Meeting with K. Vasiliou, X. Su (AlixPartners) re: Explanation of the testing         0.5
                                           approach for prepayments and other assets and tasks to be performed by the Asia
                                           team
07/31/2023                  XS             Prepare summary for Nardello work on real estate properties after comparison          0.8
                                           with review notes re: real estate properties
07/31/2023                  XS             Reconcile real estate property purchase data provided by Nardello with internal       1.2
                                           workpaper re: real estate properties
07/31/2023                  XS             Review deeds of conveyance provided by Nardello re: real estate properties            1.8
07/31/2023                  XS             Review documents of property records provided by Nardello re: real estate             1.9
                                           properties
07/31/2023                  XS             Search for documents on Relativity related to information provided by Nardello        1.2
                                           re: real estate properties
07/31/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.6
                                           workstream for specific entity
07/31/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.8
                                           workstream for specific entity
07/31/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           0.8
                                           workstream for specific entity
07/31/2023                  ZC             Review documents from Relativity relating to Alameda Non-QuickBooks testing           1.2
                                           workstream for specific entity
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Re:                 Financial Statement Reconstruction
Code:               20008100P00001.1.15

DATE               PROFESSIONAL                             DESCRIPTION OF SERVICES                 HOURS
Total Professional Hours                                                                            3,375.9
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Re:                                    Financial Statement Reconstruction
Code:                                  20008100P00001.1.15

PROFESSIONAL                                                                RATE     HOURS              FEES
Matthew Jacques                                                             $1,280      18.1   $     23,168.00
Charles Cipione                                                             $1,220      44.9         54,778.00
Matthew Evans                                                               $1,220       1.3          1,586.00
David J White                                                               $1,140      51.8         59,052.00
John C LaBella                                                              $1,115     114.3        127,444.50
Lilly M Goldman                                                             $1,115      14.3         15,944.50
Thomas Hofner                                                               $1,115       3.7          4,125.50
Tao Shen                                                                    $1,070     111.1        118,877.00
Mark Cervi                                                                  $1,020     103.4        105,468.00
Adam Searles                                                                 $950       15.4         14,630.00
Anne Vanderkamp                                                              $950        7.7          7,315.00
Brent Robison                                                                $950       62.2         59,090.00
Edward Boyle                                                                 $950       16.9         16,055.00
Steven Hanzi                                                                 $950       38.9         36,955.00
Todd Toaso                                                                   $950      103.7         98,515.00
Travis Phelan                                                                $950       98.9         93,955.00
Dana Schwartz                                                                $880      107.8         94,864.00
Jiayan Xu                                                                    $880      140.2        123,376.00
Kurt H Wessel                                                                $880      103.3         90,904.00
Leslie I Morrison                                                            $880        2.1          1,848.00
Ganesh Gopalakrishnan                                                        $860       77.0         66,220.00
Alexander Patti                                                              $825       85.1         70,207.50
John L Somerville                                                            $825      103.3         85,222.50
Bennett F Mackay                                                             $805       87.2         70,196.00
Matthew Birtwell                                                             $805       21.0         16,905.00
Takahiro Yamada                                                              $805       63.2         50,876.00
Lewis Beischer                                                               $805       13.4         10,787.00
Jeffrey R Berg                                                               $735       58.6         43,071.00
Ryan Backus                                                                  $725       13.1          9,497.50
Chuanqi Chen                                                                 $605      143.4         86,757.00
Di Liang                                                                     $605      163.3         98,796.50
Seen Yung Wong                                                               $605      142.8         86,394.00
Aidan Walker                                                                 $585       45.2         26,442.00
Jo-Kuang Liao                                                                $585        9.4          5,499.00
Katerina Vasiliou                                                            $585      135.0         78,975.00
Leon Schoonderwoerd                                                         $585         6.8          3,978.00
Randi Self                                                                  $585        98.2         57,447.00
Shiying Zhou                                                                $585       143.4         83,889.00
Olivia Braat                                                                $510        75.6         38,556.00
Linna Jia                                                                   $555        15.3          8,491.50
Zifan Chen                                                                  $555        59.3         32,911.50
Chenxi Xu                                                                   $510        76.2         38,862.00
Eric Mostoff                                                                $510       153.1         78,081.00
Griffin Shapiro                                                             $510         1.7            867.00
Sean Thompson                                                               $510         4.3          2,193.00
Shengjia Kang                                                               $510        12.0          6,120.00
Yuqing Tong                                                                 $510        10.8          5,508.00
Allyson Calhoun                                                             $510         0.9            459.00
Jason Chin                                                                  $510       149.8         76,398.00
Si Yu Yao                                                                   $415        69.8         28,967.00
Xiaoyue Su                                                                  $415       177.7         73,745.50
Total Professional Hours and Fees                                                    3,375.9   $   2,490,270.00
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                     HOURS
07/01/2023               MJ                  Review planned avoidance action list                                                    0.3
07/05/2023               AC                  Internal call with A. Calhoun, G. Shapiro (AlixPartners) re: categorizing               0.3
                                             contributions to non-profit organizations
07/05/2023                  AC               Reconcile potential duplicate contributions recorded in different internal FTX          1.9
                                             trackers
07/05/2023                  AV               Analyze specific entity lending activity                                                1.8
07/05/2023                  AV               Analyze proof of claim filed by specific entity                                         1.7
07/05/2023                  AV               Review complaints filed by Debtor                                                       2.8
07/05/2023                  AV               Attend working session with A. Vanderkamp, B. Mackay (AlixPartners) re:                 0.3
                                             proof of claim from specific entity
07/05/2023                 BFM               Attend working session with A. Vanderkamp, B. Mackay (AlixPartners) re:                 0.3
                                             proof of claim from specific entity
07/05/2023                   GS              Internal call with A. Calhoun, G. Shapiro (AlixPartners) re: categorizing               0.3
                                             contributions to non-profit organizations
07/05/2023                  GS               Prepare political donation population for addition to master summary database           0.3
07/05/2023                  GS               Research parent organizations of recipients of charitable contributions                 1.3
07/05/2023                  GS               Research recipients of contributions to identify non-profit recipients                  2.8
07/05/2023                  ME               Analyze Insider's trading activity in specific coins                                    1.7
07/05/2023                  ME               Analyze Insider's fiat and crypto transfers                                             1.4
07/06/2023                  AC               Identify parent organization of potential non-profit contribution recipients            2.2
07/06/2023                  AC               Identify potential contributions from documents of interest to non-profit               2.7
07/06/2023                  AC               Search Relativity for information re: contributions to specific individual              0.4
07/06/2023                  AC               Working session with A. Calhoun, G. Shapiro (AlixPartners) re: researching              0.4
                                             recipients of contributions to identify parent organizations
07/06/2023                  AV               Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro (AlixPartners) re:             0.3
                                             purchase of Stargate tokens by Alameda
07/06/2023                 AV                Review analyses of crypto transfers to insiders                                         2.6
07/06/2023                 AV                Review analyses of Stargate token purchase                                              0.8
07/06/2023                 AV                Review analyses re: North Dimension website hosting services                            0.7
07/06/2023                 AV                Review updated analysis of transfers to insiders                                        1.4
07/06/2023                 BFM               Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro (AlixPartners) re:             0.3
                                             purchase of Stargate tokens by Alameda
07/06/2023                 BFM               Review exchange activity re: aircraft purchases                                         0.4
07/06/2023                 BFM               Review exchange activity re: Stargate token purchase                                    0.8
07/06/2023                 DJW               Review draft insider transfer pleadings                                                 1.3
07/06/2023                  GS               Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro (AlixPartners) re:             0.3
                                             purchase of Stargate tokens by Alameda
07/06/2023                  GS               Prepare population of charitable contributions aggregated by parent organization        0.4
07/06/2023                  GS               Research contributions to assign contribution categories                                2.9
07/06/2023                  GS               Research recipients of contributions to identify non-profit organizations               2.1
07/06/2023                  GS               Research recipients of contributions to identify parent organizations                   2.9
07/06/2023                  GS               Update contribution tracker with contribution categories for non-profit recipients      2.6
07/06/2023                  GS               Working session with A. Calhoun, G. Shapiro (AlixPartners) re: researching              0.4
                                             recipients of contributions to identify parent organizations
               Case 22-11068-JTD                     Doc 2274-2              Filed 08/30/23              Page 265 of 296




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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                       DESCRIPTION OF SERVICES                                       HOURS
07/07/2023               AC                  Create table of potential contributions identified to non-profit recipients receiving      2.8
                                             at least $100,000 in total
07/07/2023                  AC               Search Relativity for information about contributions to specific entity                   1.8
07/07/2023                  AC               Summarize total contributions to non-profit recipients by tie-out status                   0.8
07/07/2023                  AC               Update table of contributions to non-profit recipients receiving at least $100,000         0.5
                                             in total to include currency/coin
07/07/2023                  AC               Write email summarizing potential contributions to non-profit recipients                   0.6
                                             receiving at least $100,000 in total
07/07/2023                  AC               Working session with A. Calhoun, A. Vanderkamp, G. Shapiro (AlixPartners)                  0.1
                                             re: Draft email to S&C summarizing contributions identified to non-profit
                                             recipients
07/07/2023                  AV               Attend meeting with A. Vanderkamp, D. White, G. Shapiro (AlixPartners) re:                 0.2
                                             purchase of Stargate tokens by Alameda
07/07/2023                  AV               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:               0.4
                                             insider transfers update
07/07/2023                  AV               Participate in call to discuss outcome of specific entity hearing and next steps           0.2

07/07/2023                  AV               Review analyses of Stargate token purchases                                                1.2
07/07/2023                  AV               Review analyses of transfers to Insider                                                    1.4
07/07/2023                  AV               Review charitable contribution analysis updates                                            1.3
07/07/2023                  AV               Review updates to specific entity analysis in preparation for meeting                      1.3
07/07/2023                  AV               Working session with A. Calhoun, A. Vanderkamp, G. Shapiro (AlixPartners)                  0.1
                                             re: Draft email to S&C summarizing contributions identified to non-profit
                                             recipients
07/07/2023                 BFM               Summarize exchange activity and blockchain activity re: Stargate token purchase            0.5
07/07/2023                 DJW               Attend meeting with A. Vanderkamp, D. White, G. Shapiro (AlixPartners) re:                 0.2
                                             purchase of Stargate tokens by Alameda
07/07/2023                  DJW              Plan forensic investigations of company crypto asset transfers to insiders                 1.9
07/07/2023                  EM               Analyze data re: known specific entity bank accounts to support document                   0.6
                                             production for specific entity preference claim
07/07/2023                  EM               Research cash database transactions for data re: payments to website hosting               0.9
                                             services for North Dimension investigation
07/07/2023                   GS              Attend meeting with A. Vanderkamp, D. White, G. Shapiro (AlixPartners) re:                 0.2
                                             purchase of Stargate tokens by Alameda
07/07/2023                   GS              Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:               0.4
                                             insider transfers update
07/07/2023                   GS              Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: political donations to       0.4
                                             state-level recipients
07/07/2023                  GS               Prepare population of charitable contributions aggregated by parent organization           0.7
07/07/2023                  GS               Summarize findings related to payments to specific entity for website hosting              0.4
07/07/2023                  GS               Working session with A. Calhoun, A. Vanderkamp, G. Shapiro (AlixPartners)                  0.1
                                             re: Draft email to S&C summarizing contributions identified to non-profit
                                             recipients
07/07/2023                  JCL              Review documents and prior emails related to North Dimension bank account                  0.3
                                             activity
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                        HOURS
07/07/2023               MB                  Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:              0.4
                                             insider transfers update
07/07/2023                  MB               Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: political donations to      0.4
                                             state-level recipients
07/07/2023                  MJ               Review emails and approach to analysis of Insider digital asset and cash activity         0.2

07/07/2023                   ST              Analyze banking information relating to a capital contribution to WRSS re:                0.6
                                             insider transfers
07/07/2023                   ST              Analyze general ledger data re: insider option exercises re: insider transfers            0.4
07/07/2023                   ST              Analyze general ledger data relating to a capital contribution to WRSS re: insider        0.9
                                             transfers
07/07/2023                   ST              Search Relativity re: capital contribution to WRSS re: insider transfers                  0.8
07/07/2023                   ST              Search Relativity re: insider option exercises re: insider transfers                      0.6
07/07/2023                   ST              Summarize insider transfers relating to a capital contribution to WRSS                    1.2
07/07/2023                   ST              Update insider bonuses work paper with information on purchases of FTX equity             0.2
                                             re: insider transfers
07/08/2023                  AV               Review cash database queries re: specific entity                                          0.4
07/09/2023                  ST               Review specific entity draft complaint                                                    2.1
07/10/2023                  AS               Plan a call to discuss update on work to support avoidance action re: specific            0.2
                                             FTX insider
07/10/2023                  AS               Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: status updates to               0.2
                                             workstreams including insider transfers, specific entity and FTX insider
                                             avoidance actions
07/10/2023                  AS               Review list of potential adversary complaints                                             0.5
07/10/2023                  AS               Working session with A. Calhoun, A. Searles, A. Vanderkamp, G. Shapiro, M.                0.3
                                             Birtwell (AlixPartners), D. O'Hara (S&C), E. Downing (S&C), B. Harsch
                                             (S&C) re: update on charitable contribution population
07/10/2023                  AS               Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. White, M. Birtwell                  0.7
                                             (AlixPartners) re: update on work to support adversary complaint re: specific
                                             FTX insider and next steps to send support to counsel
07/10/2023                  AC               Analyze source documents for identification of charitable contributions                   0.5
07/10/2023                  AC               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson                      0.4
                                             (AlixPartners) re: provide status updates on charitable contributions, insider
                                             transfers, and other special investigations workstreams
07/10/2023                  AC               Search Relativity for information about specific identified from exchange                 1.6
                                             activity
07/10/2023                  AC               Working session with A. Calhoun, A. Searles, A. Vanderkamp, G. Shapiro, M.                0.3
                                             Birtwell (AlixPartners), D. O'Hara (S&C), E. Downing (S&C), B. Harsch
                                             (S&C) re: update on charitable contribution population
07/10/2023                  AC               Working session with A. Calhoun, G. Shapiro (AlixPartners) re: analyze source             0.4
                                             documents for identification of charitable contributions
07/10/2023                  AC               Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:               0.4
                                             analyze source documents for identification of charitable contributions
07/10/2023                  AV               Analyze fiat transfers to Insider                                                         1.6
07/10/2023                  AV               Analyze specific entity document review process                                           1.3
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/10/2023               AV                  Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.2
                                             political donations made by insider
07/10/2023                  AV               Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: status updates to             0.2
                                             workstreams including insider transfers, specific entity and FTX insider
                                             avoidance actions
07/10/2023                  AV               Review analyses of payments to specific entity                                          0.4
07/10/2023                  AV               Review analysis of crypto transfers to insiders                                         0.7
07/10/2023                  AV               Analyze specific entity term sheets                                                     1.1
07/10/2023                  AV               Review updated specific entity analyses in preparation for call                         0.4
07/10/2023                  AV               Working session with A. Calhoun, A. Searles, A. Vanderkamp, G. Shapiro, M.              0.3
                                             Birtwell (AlixPartners), D. O'Hara (S&C), E. Downing (S&C), B. Harsch
                                             (S&C) re: update on charitable contribution population
07/10/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: response to          1.1
                                             S&C's follow up questions on insider complaint
07/10/2023                  AV               Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. White, M. Birtwell                0.7
                                             (AlixPartners) re: update on work to support adversary complaint re: specific
                                             FTX insider and next steps to send support to counsel
07/10/2023                 BFM               Working session with B. Mackay, S. Thompson (AlixPartners) re: review of                0.2
                                             possible avoidance action complaint relating to the acquisition of specific entity
07/10/2023                 BFM               Review draft complaint re: specific entity                                              1.1
07/10/2023                 BFM               Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. White, M. Birtwell                0.7
                                             (AlixPartners) re: update on work to support adversary complaint re: specific
                                             FTX insider and next steps to send support to counsel
07/10/2023                  DJW              Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. White, M. Birtwell                0.7
                                             (AlixPartners) re: update on work to support adversary complaint re: specific
                                             FTX insider and next steps to send support to counsel
07/10/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson                    0.4
                                             (AlixPartners) re: provide status updates on charitable contributions, insider
                                             transfers, and other special investigations workstreams
07/10/2023                   GS              Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.2
                                             political donations made by insider
07/10/2023                  GS               Prepare support packages for political donation by insider                              0.7
07/10/2023                  GS               Research specific entity for connection to charitable contributions by FTX              0.8
                                             Foundation
07/10/2023                   GS              Research transfers related to businesses owned by insider                               1.3
07/10/2023                   GS              Working session with A. Calhoun, A. Searles, A. Vanderkamp, G. Shapiro, M.              0.3
                                             Birtwell (AlixPartners), D. O'Hara (S&C), E. Downing (S&C), B. Harsch
                                             (S&C) re: update on charitable contribution population
07/10/2023                   GS              Working session with A. Calhoun, G. Shapiro (AlixPartners) re: analyze source           0.4
                                             documents for identification of charitable contributions
07/10/2023                   GS              Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:             0.4
                                             analyze source documents for identification of charitable contributions
07/10/2023                   GS              Working session with G. Shapiro, M. Birtwell (AlixPartners) re: insider transfers       0.2
                                             for salary payments
07/10/2023                   GS              Summarize findings on FTX debit card payments to specific entity                        0.7
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07/10/2023               MJB                 Perform research for valuation                                                          1.1
07/10/2023               MB                  Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson                    0.4
                                             (AlixPartners) re: provide status updates on charitable contributions, insider
                                             transfers, and other special investigations workstreams
07/10/2023                  MB               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.2
                                             political donations made by insider
07/10/2023                  MB               Working session with A. Calhoun, A. Searles, A. Vanderkamp, G. Shapiro, M.              0.3
                                             Birtwell (AlixPartners), D. O'Hara (S&C), E. Downing (S&C), B. Harsch
                                             (S&C) re: update on charitable contribution population
07/10/2023                  MB               Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:             0.4
                                             analyze source documents for identification of charitable contributions
07/10/2023                  MB               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: insider transfers       0.2
                                             for salary payments
07/10/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: summary of             1.0
                                             insider transfers relating to WRSS capital contribution
07/10/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: response to          1.1
                                             S&C's follow up questions on insider complaint
07/10/2023                  MB               Meeting with A. Searles, A. Vanderkamp, B. Mackay, D. White, M. Birtwell                0.7
                                             (AlixPartners) re: update on work to support adversary complaint re: specific
                                             FTX insider and next steps to send support to counsel
07/10/2023                  MJ               Review detailed trading and circulation reports related to traded and transacted        0.7
                                             FTT from 2019 through 2022 for purposes of forensic analysis
07/10/2023                   ST              Analyze general ledger data relating to insider transfers in connection to a WRSS       1.4
                                             capital contribution
07/10/2023                   ST              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson                    0.4
                                             (AlixPartners) re: provide status updates on charitable contributions, insider
                                             transfers, and other special investigations workstreams
07/10/2023                   ST              Review analysis on salaries paid to insiders                                            0.8
07/10/2023                   ST              Working session with B. Mackay, S. Thompson (AlixPartners) re: review of                0.2
                                             possible avoidance action complaint relating to the acquisition of specific entity
07/10/2023                   ST              Working session with M. Birtwell, S. Thompson (AlixPartners) re: summary of             1.0
                                             insider transfers relating to WRSS capital contribution
07/10/2023                   ST              Analyze .COM exchange activity relating to specific entity                              1.3
07/10/2023                   ST              Analyze general ledger data relating to payments made by specific entity                1.4
07/10/2023                   ST              Analyze transfers to a specific individual in connection to the specific entity         1.0
                                             acquisition
07/10/2023                   ST              Create summary schedule of payments made in connection share purchase                   0.6
                                             agreements in the acquisition of specific entity
07/10/2023                  ST               Prepare comments on the specific entity complaint                                       2.1
07/11/2023                  AS               Continue review of Insider complaint to help support other investigation                0.9
                                             workstreams
07/11/2023                  AS               Meeting with A. Searles, M. Birtwell (AlixPartners) re: status of investigative         0.4
                                             workstreams including charitable contributions, insider transfers and avoidance
                                             action priorities
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07/11/2023               AS                  Working session with A. Searles, A. Vanderkamp, M. Birtwell (AlixPartners) re:          0.5
                                             review complaint listing to prioritize special investigations workplan
07/11/2023                  AC               Search Relativity for information related to non-tied-out charitable contributions      1.4
07/11/2023                  AV               Analyze flow of funds in the specific entity acquisition                                1.2
07/11/2023                  AV               Assess requests re: Insider exchange activity                                           0.4
07/11/2023                  AV               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.3
                                             insider transfers updates
07/11/2023                  AV               Review analysis of charitable donations                                                 0.2
07/11/2023                  AV               Review specific entity loan term sheets                                                 1.6
07/11/2023                  AV               Review updated analysis of transfers to insiders                                        0.6
07/11/2023                  AV               Working session with A. Searles, A. Vanderkamp, M. Birtwell (AlixPartners) re:          0.5
                                             review complaint listing to prioritize special investigations workplan
07/11/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: review of            0.5
                                             Insider complaint workplan
07/11/2023                  DJW              Prepare workplan to support adversary complaint re: specific FTX insider                2.1
                                             transfers
07/11/2023                   GS              Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.3
                                             insider transfers updates
07/11/2023                  GS               Research specific entity for connection to North Dimension website                      0.6
07/11/2023                  MB               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.3
                                             insider transfers updates
07/11/2023                  MB               Meeting with A. Searles, M. Birtwell (AlixPartners) re: status of investigative         0.4
                                             workstreams including charitable contributions, insider transfers and avoidance
                                             action priorities
07/11/2023                  MB               Review special investigations workplan                                                  0.8
07/11/2023                  MB               Update insider transfer schedules to include specific entities                          0.5
07/11/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: salaries paid          0.2
                                             to insiders re: insider transfers
07/11/2023                  MB               Prepare summary email for progress made on insider transfers week of 7/10/23            0.4
07/11/2023                  MB               Working session with A. Searles, A. Vanderkamp, M. Birtwell (AlixPartners) re:          0.5
                                             review complaint listing to prioritize special investigations workplan
07/11/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: review of            0.5
                                             Insider complaint workplan
07/11/2023                  MJ               Review detailed update to insider transfers schedule                                    0.3
07/11/2023                  ST               Analyze general ledger data relating to salaries paid to insiders                       1.6
07/11/2023                  ST               Working session with M. Birtwell, S. Thompson (AlixPartners) re: salaries paid          0.2
                                             to insiders re: insider transfers
07/11/2023                   ST              Update summary of insider transfers relating to specific entity                         1.0
07/11/2023                   ST              Summarize commingling of funds in the context of payments made in the                   0.8
                                             acquisition of specific entity
07/12/2023                  AC               Search Relativity for information related to non-tied-out charitable contributions      2.2
07/12/2023                  AC               Working session with A. Calhoun, G. Shapiro (AlixPartners) re: reviewing                0.7
                                             charitable contribution tie outs
07/12/2023                  AC               Working session with A. Calhoun, G. Shapiro (AlixPartners) re: tracing funding          0.5
                                             of Insider's property purchase in specific location
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07/12/2023               AC                  Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:             0.2
                                             tracing cryptocurrency deposits funding Insider's property purchase in specific
                                             location
07/12/2023                  AV               Analyze specific entity documents identified to date                                    0.8
07/12/2023                  AV               Prepare analysis summarizing specific entity loan term sheets                           1.6
07/12/2023                  AV               Review analysis of specific entity transactions                                         0.3
07/12/2023                  AV               Review updated analysis of crypto transfers to insiders                                 1.2
07/12/2023                  AV               Update specific entity term sheet summary                                               0.6
07/12/2023                  AV               Review specific loan term sheets                                                        2.7
07/12/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: Insider              0.7
                                             complaint workplan
07/12/2023                 BFM               Review trading on .com for Insider re: liquidation event                                1.9
07/12/2023                  GS               Prepare additional support packages for political donations by insider                  1.1
07/12/2023                  GS               Research business ventures by insider                                                   0.8
07/12/2023                  GS               Research properties owned by insider                                                    1.0
07/12/2023                  GS               Research purchase of property by insider                                                2.3
07/12/2023                  GS               Working session with A. Calhoun, G. Shapiro (AlixPartners) re: reviewing                0.7
                                             charitable contribution tie outs
07/12/2023                   GS              Working session with A. Calhoun, G. Shapiro (AlixPartners) re: tracing funding          0.5
                                             of Insider's property purchase in specific location
07/12/2023                   GS              Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:             0.2
                                             tracing cryptocurrency deposits funding Insider's property purchase in specific
                                             location
07/12/2023                  MB               Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:             0.2
                                             tracing cryptocurrency deposits funding Insider's property purchase in specific
                                             location
07/12/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: Insider              0.7
                                             complaint workplan
07/12/2023                  QB               Investigate exchange activity for specific entity insiders                              0.5
07/12/2023                  ST               Analyze .COM exchange data across Insider's accounts to identify possible               0.7
                                             purposes
07/12/2023                   ST              Analyze general ledger data to identify possible purposes for Insider's on-             0.8
                                             exchange activity
07/12/2023                  ST               Search Relativity to identify purposes for Insider's exchange transfer activity         1.4
07/12/2023                  ST               Search Relativity to identify purposes for Insider's exchange withdrawal activity       1.3
07/12/2023                  ST               Summarize Insider's exchange activity including the purposes of transactions            2.0
07/13/2023                  AS               Working Session with A. Calhoun, A. Searles, G. Shapiro, M. Birtwell                    0.5
                                             (AlixPartners) re: charitable contribution tie out status summary
07/13/2023                  AC               Prepare summary table of contributions to non-profit organizations                      2.5

07/13/2023                  AC               Search Relativity for information related to non-tied-out charitable contributions      2.9
07/13/2023                  AC               Search Relativity to identify duplicative charitable contributions                      1.8
07/13/2023                  AC               Working Session with A. Calhoun, A. Searles, G. Shapiro, M. Birtwell                    0.5
                                             (AlixPartners) re: charitable contribution tie out status summary
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07/13/2023               AC                  Working Session with A. Calhoun, M. Birtwell (AlixPartners) re: charitable                0.4
                                             contribution tie out status summary
07/13/2023                  AV               Analyze scenarios for specific entity trading activity claim                              1.8
07/13/2023                  AV               Review draft insider complaint                                                            1.5
07/13/2023                  AV               Research and respond to questions re: specific entity document review                     0.7
07/13/2023                  AV               Continue revieing draft insider complaint                                                 1.6
07/13/2023                  AV               Working session with A. Vanderkamp, K. Wessel, M. Birtwell (AlixPartners) re:             0.5
                                             review of lending activity to facilitate investigations into three specific entities
                                             preference claims
07/13/2023                  AV               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:              0.5
                                             consolidating transfers relevant to Insider complaint
07/13/2023                  AV               Working session with A. Vanderkamp and M. Birtwell (AlixPartners) re: Insider             0.4
                                             complaint workplan
07/13/2023                  GS               Prepare population of all contributions made by insider                                   2.9
07/13/2023                  GS               Research properties owned by insider to identify documents listing addresses              2.4

07/13/2023                   GS              Update listing of donations by insider to reflect refunded donations                      0.6
07/13/2023                   GS              Working Session with A. Calhoun, A. Searles, G. Shapiro, M. Birtwell                      0.5
                                             (AlixPartners) re: charitable contribution tie out status summary
07/13/2023                   GS              Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:              0.5
                                             consolidating transfers relevant to Insider complaint
07/13/2023                   GS              Working session with G. Shapiro, M. Birtwell (AlixPartners) re: preparing                 0.3
                                             summary of transfers received by Insider
07/13/2023                   GS              Working session with G. Shapiro, M. Birtwell (AlixPartners) re: researching               0.8
                                             properties owned by Insider
07/13/2023                   GS              Working session with G. Shapiro, M. Birtwell, S. Thompson (AlixPartners) re:              0.2
                                             bonuses paid to Insider from Debtor v. non-Debtor entities
07/13/2023                 KHW               Working session with A. Vanderkamp, K. Wessel, M. Birtwell (AlixPartners) re:             0.5
                                             review of lending activity to facilitate investigations into three specific entities
                                             preference claims
07/13/2023                  MC               Review slides developed for backstop liquidation analysis                                 0.2
07/13/2023                  MB               Working Session with A. Calhoun, A. Searles, G. Shapiro, M. Birtwell                      0.5
                                             (AlixPartners) re: charitable contribution tie out status summary
07/13/2023                  MB               Working Session with A. Calhoun, M. Birtwell (AlixPartners) re: charitable                0.4
                                             contribution tie out status summary
07/13/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: summarize                0.5
                                             share pledge agreements intended to collateralize founder loans
07/13/2023                  MB               Working session with A. Vanderkamp, K. Wessel, M. Birtwell (AlixPartners) re:             0.5
                                             review of lending activity to facilitate investigations into three specific entities
                                             preference claims
07/13/2023                  MB               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:              0.5
                                             consolidating transfers relevant to Insider complaint
07/13/2023                  MB               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: preparing                 0.3
                                             summary of transfers received by Insider
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07/13/2023               MB                  Working session with G. Shapiro, M. Birtwell (AlixPartners) re: researching              0.8
                                             properties owned by Insider
07/13/2023                  MB               Working session with G. Shapiro, M. Birtwell, S. Thompson (AlixPartners) re:             0.2
                                             bonuses paid to Insider from Debtor v. non-Debtor entities
07/13/2023                  MB               Working session with A. Vanderkamp and M. Birtwell (AlixPartners) re: Insider            0.4
                                             complaint workplan
07/13/2023                  ME               Identify off market OTC trades                                                           1.2
07/13/2023                  ME               Search counterparties to off market OTC trades                                           0.8
07/13/2023                  QB               Prepare list of users and accounts to pull full account details for specific entity      0.2
07/13/2023                  QB               Investigate exchange activity for specific entity insiders                               1.1
07/13/2023                  QB               Review list of specific entity insiders for accuracy                                     1.4
07/13/2023                  ST               Analyze differences in general ledger records in insider transfers in petition-date      1.8
                                             v. post-petition date QuickBooks data
07/13/2023                   ST              Search Relativity re: share pledge agreements intended to be used as collateral          1.2
                                             for founder loans
07/13/2023                   ST              Working session with M. Birtwell, S. Thompson (AlixPartners) re: summarize               0.5
                                             share pledge agreements intended to collateralize founder loans
07/13/2023                   ST              Analyze bonuses paid to Insider                                                          0.8
07/13/2023                   ST              Analyze salaries paid to Insider                                                         1.4
07/13/2023                   ST              Summarize bonuses and salaries paid to Insider                                           1.6
07/13/2023                   ST              Working session with G. Shapiro, M. Birtwell, S. Thompson (AlixPartners) re:             0.2
                                             bonuses paid to Insider from Debtor v. non-Debtor entities
07/13/2023                  ST               Update summary of Insider's exchange activity                                            1.3
07/14/2023                  AS               Meeting with A. Searles, D. Schwartz (AlixPartners) re: resources to support             0.1
                                             additional avoidance actions to be filed
07/14/2023                  AS               Meeting with A. Searles, M. Birtwell (AlixPartners) re: resources to assist with         0.1
                                             completion of the avoidance actions to be filed
07/14/2023                  AS               Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: complaints to be               0.2
                                             filed and impact of specific entity
07/14/2023                  AS               Meeting with A. Searles, D. Schwartz (AlixPartners) re: follow-up response               0.1
                                             from counsel related to North Dimension website
07/14/2023                  AS               Working Session with A. Calhoun, A. Searles, M. Birtwell (AlixPartners) re:              0.3
                                             draft email to S&C about charitable contribution tie out status deliverable
07/14/2023                  AC               Call with A. Calhoun, B. Mackay, M. Birtwell, O. Braat (AlixPartners) re:                0.8
                                             specific entity insiders
07/14/2023                  AC               Call with A. Calhoun, O. Braat (AlixPartners) re: OTC activity for specific entity       0.5
                                             insiders avoidance action
07/14/2023                  AC               Prepare summary table of contributions to non-profit organizations                       1.2

07/14/2023                  AC               Working Session with A. Calhoun, M. Birtwell (AlixPartners) re: charitable               1.0
                                             contribution tie out status deliverable
07/14/2023                  AC               Working Session with A. Calhoun, A. Searles, M. Birtwell (AlixPartners) re:              0.3
                                             draft email to S&C about charitable contribution tie out status deliverable
07/14/2023                  AV               Analyze specific entity transactions                                                     2.2
07/14/2023                  AV               Review updated analysis of transfers to insiders                                         1.6
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07/14/2023               AV                  Review updated crypto transfers to insiders analyses                                   1.8
07/14/2023               AV                  Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: complaints to be             0.2
                                             filed and impact of specific entity
07/14/2023                  AV               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.2
                                             insider transfers related to specific entity
07/14/2023                  AV               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.1
                                             exchange withdrawals by Insider
07/14/2023                 BFM               Call with A. Calhoun, B. Mackay, M. Birtwell, O. Braat (AlixPartners) re:              0.8
                                             specific entity insiders
07/14/2023                  DS               Meeting with A. Searles, D. Schwartz (AlixPartners) re: resources to support           0.1
                                             additional avoidance actions to be filed
07/14/2023                  DS               Meeting with A. Searles, D. Schwartz (AlixPartners) re: follow-up response             0.1
                                             from counsel related to North Dimension website
07/14/2023                   GS              Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: documenting              0.3
                                             exclusions of insider transfers from SOFA schedules
07/14/2023                   GS              Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: population of            0.2
                                             excluded insider transfers
07/14/2023                  GS               Prepare detailed schedule of fiat transfers to insider                                 0.4
07/14/2023                  GS               Prepare population of excluded insider transfers from SOFA schedules                   1.6
07/14/2023                  GS               Review excluded insider transfers from SOFA schedules                                  1.5
07/14/2023                  GS               Review talking points related to North Dimension website                               0.8
07/14/2023                  GS               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.2
                                             insider transfers related to specific entity
07/14/2023                   GS              Working session with G. Shapiro, M. Birtwell (AlixPartners) re: fiat transfers to      0.1
                                             Insider
07/14/2023                   GS              Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.1
                                             exchange withdrawals by Insider
07/14/2023                  MB               Call with A. Calhoun, B. Mackay, M. Birtwell, O. Braat (AlixPartners) re:              0.8
                                             specific entity insiders
07/14/2023                  MB               Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: documenting              0.3
                                             exclusions of insider transfers from SOFA schedules
07/14/2023                  MB               Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: population of            0.2
                                             excluded insider transfers
07/14/2023                  MB               Meeting with A. Searles, M. Birtwell (AlixPartners) re: resources to assist with       0.1
                                             completion of the avoidance actions to be filed
07/14/2023                  MB               Review special investigations workplan                                                 0.5
07/14/2023                  MB               Working Session with A. Calhoun, M. Birtwell (AlixPartners) re: charitable             1.0
                                             contribution tie out status deliverable
07/14/2023                  MB               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.2
                                             insider transfers related to specific entity
07/14/2023                  MB               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: fiat transfers to      0.1
                                             Insider
07/14/2023                  MB               Internal call with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.1
                                             exchange withdrawals by Insider
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John J. Ray III
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125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                     HOURS
07/14/2023               MB                  Working Session with A. Calhoun, A. Searles, M. Birtwell (AlixPartners) re:             0.3
                                             draft email to S&C about charitable contribution tie out status deliverable
07/14/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: develop                0.1
                                             method for the analysis of off-exchange-transfers to Insider re: insider transfers
07/14/2023                  QB               Call with A. Calhoun, B. Mackay, M. Birtwell, O. Braat (AlixPartners) re:               0.8
                                             specific entity insiders
07/14/2023                  QB               Call with A. Calhoun, O. Braat (AlixPartners) re: OTC activity for specific entity      0.5
                                             insiders avoidance action
07/14/2023                  QB               Prepare list of accounts/users for specific entity insiders                             0.9
07/14/2023                  QB               Investigate transactions involving specific entity insiders                             1.7
07/14/2023                  QB               Investigate exchange activity for specific entity insiders                              0.5
07/14/2023                  ST               Analyze blockchain transactions to identify purposes for off-exchange-transfers         1.6
                                             made to Insider
07/14/2023                   ST              Analyze OTC exchange data to identify purposes for off-exchange-transfers               1.4
                                             made to Insider
07/14/2023                   ST              Search Relativity to identify purposes for off-exchange-transfers made to Insider       1.5
07/14/2023                   ST              Summarize analysis of off-exchange-transfers made to Insider                            0.9
07/14/2023                   ST              Working session with M. Birtwell, S. Thompson (AlixPartners) re: develop                0.1
                                             method for the analysis of off-exchange-transfers to Insider re: insider transfers
07/17/2023                  AC               Identify non-profit organizations receiving at least $1mm in contributions              0.6

07/17/2023                  AC               Meeting with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners), B. Harsch              0.4
                                             (S&C), D. O'Hara (S&C), E. Downing (S&C), P. Lavin (S&C) re: charitable
                                             contributions next steps
07/17/2023                  AC               Search Relativity for information related to non-tied-out charitable contributions      1.1
07/17/2023                  AC               Search Relativity for internal FTX communication around prioritizing certain            1.5
                                             customer withdrawals near the petition date
07/17/2023                  AV               Respond to questions from S&C and FTI re: specific entity preference claim              0.7
07/17/2023                  AV               Prepare for meeting with S&C re: special Investigations updates                         0.4
07/17/2023                  AV               Review analyses re: FTX Earn                                                            0.6
07/17/2023                  AV               Review analyses re: specific entity transactions                                        0.7
07/17/2023                  AV               Review analyses re: payments to insider                                                 0.8
07/17/2023                  AV               Review analyses re: charitable contributions                                            1.1
07/17/2023                  AV               Review analyses re: specific entity preference claim                                    1.4
07/17/2023                  AV               Review identified slack channels for discussion of customer withdrawals                 1.3
07/17/2023                  AV               Review Special Investigations workstream status                                         1.4
07/17/2023                  AV               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.5
                                             document searches related to Insider
07/17/2023                  AV               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:           0.6
                                             salary payments to Insider through FTX Digital Markets
07/17/2023                 BFM               Search Relativity re: FTX Earn                                                          0.8
07/17/2023                 BFM               Review updated term sheet re: specific entity                                           0.4
07/17/2023                 DJW               Investigate crypto asset movements between company, insiders, and specific              1.7
07/17/2023                 DJW               Teleconference to discuss debtor / insider to Polaris off-exchange crypto               0.2
                                             transfers with D. White, S. Hanzi (AlixPartners) re: Special Investigation -
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                       HOURS
07/17/2023               EM                  Analyze cash database for transactions with specific entity to support request           0.4
                                             from counsel
07/17/2023                   GS              Draft narrative for Nifty Island token purchase on behalf of insider                     0.7
07/17/2023                   GS              Meeting with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners), B. Harsch               0.4
                                             (S&C), D. O'Hara (S&C), E. Downing (S&C), P. Lavin (S&C) re: charitable
                                             contributions next steps
07/17/2023                   GS              Research properties owned by insider                                                     1.5
07/17/2023                   GS              Research slack channels used for customer exchange withdrawal support                    0.6
07/17/2023                   GS              Review purchase agreements for properties owned by insider                               1.0
07/17/2023                   GS              Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.5
                                             document searches related to Insider
07/17/2023                   GS              Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.6
                                             salary payments to Insider through FTX Digital Markets
07/17/2023                   GS              Attend meeting with G. Shapiro, M. Birtwell (AlixPartners) re: exchange                  0.9
                                             withdrawals by Insider
07/17/2023                   GS              Working session with G. Shapiro, M. Birtwell, T. Kang (AlixPartners) re: bank            0.2
                                             account information for exchange withdrawals by Insider
07/17/2023                  MB               Meeting with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners), B. Harsch               0.4
                                             (S&C), D. O'Hara (S&C), E. Downing (S&C), P. Lavin (S&C) re: charitable
                                             contributions next steps
07/17/2023                  MB               Prepare listing of Insider exchange fiat withdrawals to facilitate insider               0.4
                                             complaint
07/17/2023                  MB               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.5
                                             document searches related to Insider
07/17/2023                  MB               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners) re:            0.6
                                             salary payments to Insider through FTX Digital Markets
07/17/2023                  MB               Attend meeting with G. Shapiro, M. Birtwell (AlixPartners) re: exchange                  0.9
                                             withdrawals by Insider
07/17/2023                  MB               Working session with G. Shapiro, M. Birtwell, T. Kang (AlixPartners) re: bank            0.2
                                             account information for exchange withdrawals by Insider
07/17/2023                  MJ               Review correspondence and analysis related to specific entity trading of FTT for         0.3
                                             purposes of special investigations
07/17/2023                  QB               Analyze exchange activity for specific entity insiders                                   0.4
07/17/2023                  SK               Working session with G. Shapiro, M. Birtwell, T. Kang (AlixPartners) re: bank            0.2
                                             account information for exchange withdrawals by Insider
07/17/2023                  SRH              Review previous threads / findings related to specific entity investigative efforts      1.3
                                             provided by interested party re: Special Investigations - specific entity
07/17/2023                  SRH              Teleconference to discuss debtor / insider to Polaris off-exchange crypto                0.2
                                             transfers with D. White, S. Hanzi (AlixPartners) re: Special Investigation -
07/18/2023                  AS               Working session with A. Searles, M. Birtwell (AlixPartners) re: special                  0.3
                                             investigations workplan
07/18/2023                  AS               Working session with A. Calhoun, A. Searles (AlixPartners) re: Draft email to            0.3
                                             S&C summarizing exchange and off-exchange activity related to VSHFLILFHQWLW\
                                             donations
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                      HOURS
07/18/2023               AC                  Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:              0.5
                                             slack channels related to customer exchange withdrawal support
07/18/2023                  AC               Summarize tie-out progress on charitable contributions                                  0.5
07/18/2023                  AC               Working session with A. Calhoun, A. Searles (AlixPartners) re: Draft email to           0.3
                                             S&C summarizing exchange and off-exchange activity related to VSHFLILFHQWLW\
                                             donations
07/18/2023                  AC               Working session with A. Calhoun, M. Birtwell (AlixPartners) re: Draft email to          0.7
                                             S&C summarizing exchange and off-exchange activity related to VSHFLILFHQWLW\
                                             donations
07/18/2023                  AV               Complete follow up items after call                                                     0.2
07/18/2023                  AV               Analyze Nardello report re: insider                                                     0.6
07/18/2023                  AV               Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell                   0.4
                                             (AlixPartners) re: FTX Earn structure
07/18/2023                 AV                Review analysis related to specific entity preference claim                             0.5
07/18/2023                 BFM               Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell                   0.4
                                             (AlixPartners) re: FTX Earn structure
07/18/2023                  DJW              Investigate crypto asset movements between company, insiders, and specific              0.9
07/18/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:              0.5
                                             slack channels related to customer exchange withdrawal support
07/18/2023                   GS              Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell                   0.4
                                             (AlixPartners) re: FTX Earn structure
07/18/2023                   GS              Attend meeting with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: tying           1.0
                                             out charitable contributions
07/18/2023                   GS              Research properties owned by insider                                                    1.0
07/18/2023                   GS              Research slack channels related to customer withdrawal support                          0.4
07/18/2023                   GS              Update population of donations by insider with bank account information                 1.6
07/18/2023                   GS              Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: population of             0.4
                                             donations by Insider
07/18/2023                  MB               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:              0.5
                                             slack channels related to customer exchange withdrawal support
07/18/2023                  MB               Attend meeting with A. Vanderkamp, B. Mackay, G. Shapiro, M. Birtwell                   0.4
                                             (AlixPartners) re: FTX Earn structure
07/18/2023                  MB               Attend meeting with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: tying           1.0
                                             out charitable contributions
07/18/2023                  MB               Working session with A. Searles, M. Birtwell (AlixPartners) re: special                 0.3
                                             investigations workplan
07/18/2023                  MB               Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: population of             0.4
                                             donations by Insider
07/18/2023                  MB               Working session with A. Calhoun, M. Birtwell (AlixPartners) re: Draft email to          0.7
                                             S&C summarizing exchange and off-exchange activity related to VSHFLILFHQWLW\
                                             donations
07/18/2023                   QB              Investigate exchange accounts/activity for specific entity insider                      0.4
07/18/2023                  SRH              Adapt Debtor to Insider crypto transfer analysis to use specific entity associated      2.5
                                             wallet addresses re: Special Investigations - specific entity
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                    HOURS
07/18/2023               SRH                 Update crypto transfer analysis to identify off-exchange transactions bi-              2.4
                                             directionally between debtor / insider and in-scope wallets re: Special
                                             Investigations - specific entity
07/18/2023                  SRH              Create process to populate a list of sending wallet addresses for deposits on BTC      2.9
                                             and ETH blockchains re: Special Investigations - specific entity
07/18/2023                  YXS              Attend meeting with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: tying          1.0
                                             out charitable contributions
07/18/2023                  YXS              Update payment tie-out status for individual donations in charitable donation          1.6
                                             tracking master file
07/19/2023                  AS               Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: status of outstanding        0.2
                                             request items from counsel re: special investigations
07/19/2023                  AS               Meeting with A. Searles, J. LaBella (AlixPartners) re: debrief of call with CEO        0.2
                                             and CFO re: workstream support package and next steps
07/19/2023                  AS               Working session with A. Searles, M. Birtwell (AlixPartners) re: special                0.1
                                             investigations workplan
07/19/2023                  AC               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                       1.0
                                             (AlixPartners) re: tying out charitable contributions
07/19/2023                  AV               Meeting with A. Searles, A. Vanderkamp (AlixPartners) re: status of outstanding        0.2
                                             request items from counsel re: special investigations
07/19/2023                  AV               Review analyses of charitable contributions                                            1.3
07/19/2023                  AV               Review analyses of crypto transfers to insiders                                        1.6
07/19/2023                  AV               Review analyses re: specific entity preference claims                                  0.9
07/19/2023                  AV               Review analysis of transfers to specific entity                                        1.3
07/19/2023                  AV               Review status updates on Special Investigation requests from S&C                       1.7
07/19/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: special             0.1
                                             investigations workplan
07/19/2023                 BFM               Calculate spot trading gains for Insider                                               2.0
07/19/2023                 BFM               Search Relativity re: specific individual                                              1.2
07/19/2023                 BFM               Prepare updated exhibits for dispute re: specific entity                               1.3
07/19/2023                 BFM               Summarize spot trading gains for Insider                                               1.8
07/19/2023                 BFM               Attend meeting with B. Mackay, D. White, L. Goldman, S. Hanzi (AlixPartners)           0.3
                                             re: specific entity
07/19/2023                 BFM               Attend working session with B. Mackay, L. Goldman (AlixPartners) re: Insider           1.2
                                             trading gains
07/19/2023                  DJW              Investigate crypto asset movements between company, insiders, and specific             2.2
07/19/2023                  DJW              Attend meeting with B. Mackay, D. White, L. Goldman, S. Hanzi (AlixPartners)           0.3
                                             re: specific entity
07/19/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                       1.0
                                             (AlixPartners) re: tying out charitable contributions
07/19/2023                   GS              Research structure of FTX Earn program                                                 2.0
07/19/2023                   GS              Review donations by insider for booking dates of loans in relation to petition         0.3
                                             date
07/19/2023                  GS               Update charitable contribution tracker with bank account information                   0.7
07/19/2023                  GS               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: purposes of            0.9
                                             transfers to Insider
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07/19/2023               JCL                 Meeting with A. Searles, J. LaBella (AlixPartners) re: debrief of call with CEO          0.2
                                             and CFO re: workstream support package and next steps
07/19/2023                 LMG               Attend meeting with B. Mackay, D. White, L. Goldman, S. Hanzi (AlixPartners)             0.3
                                             re: specific entity
07/19/2023                 LMG               Attend working session with B. Mackay, L. Goldman (AlixPartners) re: Insider             1.2
                                             trading gains
07/19/2023                  MB               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                         1.0
                                             (AlixPartners) re: tying out charitable contributions
07/19/2023                  MB               Review specific entity transfers work                                                    2.0
07/19/2023                  MB               Working session with A. Searles, M. Birtwell (AlixPartners) re: special                  0.1
                                             investigations workplan
07/19/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: special               0.1
                                             investigations workplan
07/19/2023                  MB               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: purposes of              0.9
                                             transfers to Insider
07/19/2023                  ME               Calculate specific entity new value claim                                                1.0
07/19/2023                  ME               Reconstruct specific entity coin pricing for dispute work                                0.8
07/19/2023                  ME               Review specific entity dispute and appendices                                            0.7
07/19/2023                  QB               Analyze specific entity insiders activity on the OTC portal                              1.2
07/19/2023                  QB               Prepare data to be used in specific entity analysis                                      0.6
07/19/2023                  ST               Review corporate documentation relating to call options on FTT reconciling               2.1
                                             information with on exchange activity
07/19/2023                  SRH              Review previous threads / findings related to specific entity investigative efforts      1.9
                                             provided by interested party re: Special Investigations - specific entity
07/19/2023                  SRH              Trace crypto transfers across wallets that received / sent to specific entity            2.4
                                             associated FTX accounts re: Special Investigation - specific entity
07/19/2023                  SRH              Attend meeting with B. Mackay, D. White, L. Goldman, S. Hanzi (AlixPartners)             0.3
                                             re: specific entity
07/19/2023                  YXS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                         1.0
                                             (AlixPartners) re: tying out charitable contributions
07/19/2023                  YXS              Analyze data in newly provided FTX Foundation Transferwise/Evolve bank                   0.6
                                             statement
07/19/2023                  YXS              Update payment tie-out status for individual donations in charitable donation            1.8
                                             tracking master file
07/19/2023                  YXS              Continue to update payment tie-out status for individual donations in charitable         1.3
                                             donation tracking master file
07/20/2023                  AS               Working session with A. Searles, D. Schwartz, M. Birtwell (AlixPartners) re:             0.1
                                             special investigations workplan
07/20/2023                  AC               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                         0.6
                                             (AlixPartners) re: high priority charitable contributions
07/20/2023                  AV               Review analyses of transfers to insider                                                  2.4
07/20/2023                  AV               Review analyses of transfers to specific entity                                          0.8
07/20/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: master                0.2
                                             summary database entries for special investigations
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/20/2023               BFM                 Working session with B. Mackay, M. Birtwell (AlixPartners) re: specific entity       0.5
                                             exchange queries to identify potential insider accounts
07/20/2023                 BFM               Calculate futures trading losses for Insider                                         1.9
07/20/2023                 BFM               Review stablecoin movements on exchange re: specific entity                          1.3
07/20/2023                 BFM               Update exhibits for dispute re: specific entity                                      2.3
07/20/2023                 BFM               Review stablecoin movements on the blockchain re: specific entity                    1.3
07/20/2023                 BFM               Attend working session with B. Mackay, L. Goldman (AlixPartners) re: specific        0.4
                                             entity
07/20/2023                 BFM               Attend working session with B. Mackay, L. Goldman (AlixPartners) re: Insider         0.8
                                             trading gains
07/20/2023                  DS               Working session with A. Searles, D. Schwartz, M. Birtwell (AlixPartners) re:         0.1
                                             special investigations workplan
07/20/2023                  DJW              Investigate crypto asset movements between company, insiders, and specific           1.7
07/20/2023                  DJW              Review specific insider crypto transactions with Debtors on the blockchain           0.6
07/20/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                     0.6
                                             (AlixPartners) re: high priority charitable contributions
07/20/2023                   GS              Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: third party bank       0.1
                                             statements
07/20/2023                  GS               Prepare population of charitable contributions                                       0.2
07/20/2023                  GS               Research contribution recipients to categorize contributions                         2.8
07/20/2023                  GS               Research source documents for charitable contributions to tie out contributions      3.0
07/20/2023                  GS               Working session with G. Shapiro, C. Shen (AlixPartners) re: categorization of        0.2
                                             contributions
07/20/2023                 LMG               Attend working session with B. Mackay, L. Goldman (AlixPartners) re: specific        0.4
                                             entity
07/20/2023                 LMG               Attend working session with B. Mackay, L. Goldman (AlixPartners) re: Insider         0.8
                                             trading gains
07/20/2023                  MC               Analyze operating license valuation on ASC 805 valuation reports for specific        1.8
                                             entity
07/20/2023                  MC               Research FTX share obligations for Alameda and Paper Bird related to specific        2.8
                                             entity shareholders
07/20/2023                  MB               Working session with B. Mackay, M. Birtwell (AlixPartners) re: specific entity       0.5
                                             exchange queries to identify potential insider accounts
07/20/2023                  MB               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                     0.6
                                             (AlixPartners) re: high priority charitable contributions
07/20/2023                  MB               Internal call with G. Shapiro, M. Birtwell (AlixPartners) re: third party bank       0.1
                                             statements
07/20/2023                  MB               Working session with A. Searles, D. Schwartz, M. Birtwell (AlixPartners) re:         0.1
                                             special investigations workplan
07/20/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: master            0.2
                                             summary database entries for special investigations
07/20/2023                   ST              Review corporate documents pertaining to loans issued by specific entity             2.7
07/20/2023                   ST              Analyze bank information to identify payments by third parties to FTX relating       2.8
                                             to loans
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                    HOURS
07/20/2023               SRH                 Investigate crypto withdrawals and deposits from ETH wallets re: Special               2.5
                                             Investigations - specific entity
07/20/2023                  SRH              Perform debtor / insider to in-scope crypto transfer analysis re: Special              1.6
                                             Investigations - specific entity
07/20/2023                  YXS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                       0.6
                                             (AlixPartners) re: high priority charitable contributions
07/20/2023                  YXS              Update recipient organization categories of potential payments captured in             1.0
                                             charitable donations workstream
07/20/2023                  YXS              Update payment tie-out status for individual donations in charitable donation          1.8
                                             tracking master file
07/20/2023                  YXS              Working session with G. Shapiro, C. Shen (AlixPartners) re: categorization of          0.2
                                             contributions
07/21/2023                  AS               Update avoidance action list to share with A&M                                         0.5
07/21/2023                  AS               Attend meeting with A. Searles, G. Shapiro, M. Birtwell, C. Shen (AlixPartners)        0.5
                                             re: charitable contribution summary
07/21/2023                 AV                Review Special Investigations workstream status                                        1.3
07/21/2023                 BFM               Calculate trading losses on Insider OTC trades                                         0.6
07/21/2023                 BFM               Identify payer of FTX Earn payments on .US and .com exchange                           1.9
07/21/2023                 BFM               Working session with B. Mackay, M. Birtwell (AlixPartners) re: Insider OTC             0.3
                                             activity profiling
07/21/2023                   GS              Attend meeting with A. Searles, G. Shapiro, M. Birtwell, C. Shen (AlixPartners)        0.5
                                             re: charitable contribution summary
07/21/2023                   GS              Internal call with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: charitable      0.1
                                             contributions by conduit entities
07/21/2023                  GS               Prepare summary of charitable contributions population                                 2.7
07/21/2023                  GS               Research contributions to universities to resolve inconsistencies between sources      0.9
07/21/2023                  GS               Update donor information in charitable contribution tracker                            2.2
07/21/2023                  GS               Update tie out notes in charitable contributions population                            1.8
07/21/2023                  MC               Draft email re: ASC 805 valuation reports for specific entity                          0.6
07/21/2023                  MC               Continue analyzing operating license valuation for specific entity                     0.5
07/21/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: status update         0.2
                                             on the tracing of loan payments relating to three specific entities
07/21/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: workplan for          0.2
                                             identifying accounts that interacted with specific entity
07/21/2023                  MB               Analyze charitable contributions made to universities for recovery                     1.0

07/21/2023                  MB               Attend meeting with A. Searles, G. Shapiro, M. Birtwell, C. Shen (AlixPartners)        0.5
                                             re: charitable contribution summary
07/21/2023                  MB               Internal call with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: charitable      0.1
                                             contributions by conduit entities
07/21/2023                  MB               Working session with B. Mackay, M. Birtwell (AlixPartners) re: Insider OTC             0.3
                                             activity profiling
07/21/2023                  MJ               Review background supporting files for specific transactions                           0.3

07/21/2023                   ST              Review corporate documents pertaining to loans issued by specific entity               1.4
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                       HOURS
07/21/2023               ST                  Working session with M. Birtwell, S. Thompson (AlixPartners) re: status update            0.2
                                             on the tracing of loan payments relating to three specific entities
07/21/2023                   ST              Review corporate documents pertaining to loans issued by specific entity                  0.4
07/21/2023                   ST              Working session with M. Birtwell, S. Thompson (AlixPartners) re: workplan for             0.2
                                             identifying accounts that interacted with specific entity
07/21/2023                   ST              Analyze bank information to identify payments by third parties to FTX relating            0.8
                                             to loans
07/21/2023                   ST              Review corporate documents pertaining to loans issued by ItBit - Paxos                    1.3
07/21/2023                  SRH              Investigate crypto withdrawals and deposits from ETH wallets re: Special                  2.8
                                             Investigations - specific entity
07/21/2023                  SRH              Trace crypto transfers across wallets that received / sent to specific entity             2.7
                                             associated FTX accounts re: Special Investigation - specific entity
07/21/2023                  SRH              Review Nardello reports related to specific entities, including associated citations      2.3
                                             re: special investigation into other entity
07/21/2023                  YXS              Attend meeting with A. Searles, G. Shapiro, M. Birtwell, C. Shen (AlixPartners)           0.5
                                             re: charitable contribution summary
07/21/2023                  YXS              Internal call with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: charitable         0.1
                                             contributions by conduit entities
07/21/2023                  YXS              Update non-profit recipients list with newly identified organizational umbrellas          0.9
07/22/2023                   GS              Update charitable contribution summary with additional contributions to                   2.5
                                             individuals associated with institutions
07/23/2023                  MJ               Review correspondence, underlying documents and data related to the specific              0.4
                                             entity FTT holdings at period end dates
07/24/2023                  AC               Working session with A. Calhoun, B. Mackay, S. Thompson (AlixPartners) re:                0.9
                                             analysis of off-exchange transactions between Alameda and specific entity in
                                             connection to short-term loan
07/24/2023                  AC               Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:              0.4
                                             analysis of payments made to specific entity wallets by debtors
07/24/2023                  AC               Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:              0.5
                                             analysis of short-term loan between specific entity and Alameda
07/24/2023                  AC               Working session with A. Calhoun, S. Thompson (AlixPartners) re: workplan for              0.4
                                             analysis of transactions between Alameda and specific entity
07/24/2023                  AC               Draft email to S&C re: specific entity one-day loan                                       0.4
07/24/2023                  AC               Prepare charitable contributions workstream plan                                          1.1
07/24/2023                  AV               Review analyses of specific entity lending activity per S&C request re: avoidance         1.2
                                             actions
07/24/2023                 BFM               Working session with A. Calhoun, B. Mackay, S. Thompson (AlixPartners) re:                0.9
                                             analysis of off-exchange transactions between Alameda and specific entity in
                                             connection to short-term loan
07/24/2023                 BFM               Perform additional review of on-exchange representation of historical FTX Earn            1.2
                                             payments
07/24/2023                  EM               Review request re: specific entity asset transfers to support investigative               0.3
                                             workstreams
07/24/2023                   GS              Prepare support for Debtor-funded donations made through conduit entities                 1.0
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07/24/2023               GS                  Internal call with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: population          0.4
                                             of round-trip exchange transfers by Insider
07/24/2023                  GS               Working session with G. Shapiro, C. Shen (AlixPartners) re: follow-up on round-            0.2
                                             trip exchange transfers by Insider
07/24/2023                   GS              Working session with G. Shapiro, C. Shen (AlixPartners) re: review of potential            0.2
                                             round-trip exchange transfers by Insider
07/24/2023                   GS              Working session with G. Shapiro, C. Shen (AlixPartners) re: review of potential            0.4
                                             round-trip exchange transfers by Insider
07/24/2023                  MB               Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:               0.4
                                             analysis of payments made to specific entity wallets by debtors
07/24/2023                  MB               Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:               0.5
                                             analysis of short-term loan between specific entity and Alameda
07/24/2023                  MB               Review special investigations workplan for week of 7/24/23                                 0.7
07/24/2023                  MB               Internal call with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: population          0.4
                                             of round-trip exchange transfers by Insider
07/24/2023                  QB               Update specific entity insiders exchange account data                                      2.9
07/24/2023                  QB               Create extract of exchange activity for specific entity insiders with updated list of      1.3
                                             accounts
07/24/2023                   ST              Analyze fiat transactions between specific entity and Alameda                              1.3
07/24/2023                   ST              Analyze exchange transactions between specific entity and Alameda                          1.7
07/24/2023                   ST              Analyze off-exchange transfers between specific entity and Alameda                         1.5
07/24/2023                   ST              Prepare work paper summarizing transactions between specific entity and                    1.8
07/24/2023                   ST              Working session with A. Calhoun, B. Mackay, S. Thompson (AlixPartners) re:                 0.9
                                             analysis of off-exchange transactions between Alameda and specific entity in
                                             connection to short-term loan
07/24/2023                   ST              Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:               0.4
                                             analysis of payments made to specific entity wallets by debtors
07/24/2023                   ST              Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:               0.5
                                             analysis of short-term loan between specific entity and Alameda
07/24/2023                   ST              Working session with A. Calhoun, S. Thompson (AlixPartners) re: workplan for               0.4
                                             analysis of transactions between Alameda and specific entity
07/24/2023                  SRH              Investigate crypto flows between accounts off-exchange re: specific entity                 2.6
07/24/2023                  YXS              Analyze pattern of Insider's transactions on exchange                                      2.4
07/24/2023                  YXS              Internal call with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: population          0.4
                                             of round-trip exchange transfers by Insider
07/24/2023                  YXS              Working session with G. Shapiro, C. Shen (AlixPartners) re: follow-up on round-            0.2
                                             trip exchange transfers by Insider
07/24/2023                  YXS              Working session with G. Shapiro, C. Shen (AlixPartners) re: review of potential            0.2
                                             round-trip exchange transfers by Insider
07/24/2023                  YXS              Working session with G. Shapiro, C. Shen (AlixPartners) re: round-trip                     0.4
                                             exchange transfers by Insider
07/25/2023                  AS               Prepare response re: Insider bank transaction listing                                      0.1
07/25/2023                  AC               Working session with A. Calhoun, S. Thompson (AlixPartners) re: analysis of                0.9
                                             transactions between Alameda and specific entity in connection to a short-term
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DATE                PROFESSIONAL                                      DESCRIPTION OF SERVICES                                 HOURS
07/25/2023               AC                  Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson, C.            0.3
                                             Shen (AlixPartners) re: exchange pricing data
07/25/2023                 AV                Review analysis of source of funds for transfers to insiders                        0.7
07/25/2023                 BFM               Attend meeting with B. Mackay, G. Shapiro, M. Birtwell, R. Backus, C. Shen          0.4
                                             (AlixPartners) re: off-exchange round-trip transfers by Insider
07/25/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson, C.            0.3
                                             Shen (AlixPartners) re: exchange pricing data
07/25/2023                   GS              Prepare support for Debtor-funded donations made by conduit entities                2.0
07/25/2023                   GS              Attend meeting with B. Mackay, G. Shapiro, M. Birtwell, R. Backus, C. Shen          0.4
                                             (AlixPartners) re: off-exchange round-trip transfers by Insider
07/25/2023                   GS              Working session with G. Shapiro, C. Shen (AlixPartners) re: document searches       0.2
                                             related to properties owned by Insider
07/25/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: forensic           0.3
                                             analysis of BTC loan from Alameda to specific entity
07/25/2023                  MB               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson, C.            0.3
                                             Shen (AlixPartners) re: exchange pricing data
07/25/2023                  MB               Attend meeting with B. Mackay, G. Shapiro, M. Birtwell, R. Backus, C. Shen          0.4
                                             (AlixPartners) re: off-exchange round-trip transfers by Insider
07/25/2023                  ME               Research FTX Earn program documents and materials                                   1.3
07/25/2023                  QB               Review exchange activity for specific entity insiders                               1.1
07/25/2023                  QB               Review OTC accounts and activity for specific entity insiders                       1.2
07/25/2023                  RB               Attend meeting with B. Mackay, G. Shapiro, M. Birtwell, R. Backus, C. Shen          0.4
                                             (AlixPartners) re: off-exchange round-trip transfers by Insider
07/25/2023                   ST              Analyze transactions between Alameda and specific entity on the Arbitrum chain      1.3
                                             to identify loan related transactions
07/25/2023                   ST              Analyze transactions between Alameda and specific entity on the Avalanche           1.4
                                             chain to identify loan related transactions
07/25/2023                   ST              Analyze transactions between Alameda and specific entity on the Ethereum            1.3
07/25/2023                   ST              Analyze transactions between Alameda and specific entity on the Ethereum            1.2
                                             chain to identify loan related transactions
07/25/2023                   ST              Analyze transactions between Alameda and specific entity on the Polygon chain       1.1
                                             to identify loan related transactions
07/25/2023                   ST              Working session with A. Calhoun, S. Thompson (AlixPartners) re: analysis of         0.9
                                             transactions between Alameda and specific entity in connection to a short-term
07/25/2023                   ST              Working session with M. Birtwell, S. Thompson (AlixPartners) re: forensic           0.3
                                             analysis of BTC loan from Alameda to specific entity
07/25/2023                   ST              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson, C.            0.3
                                             Shen (AlixPartners) re: exchange pricing data
07/25/2023                  SRH              Investigate crypto flows between accounts across exchanges (US / COM) re:           2.7
                                             specific entity
07/25/2023                  YXS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, S. Thompson, C.            0.3
                                             Shen (AlixPartners) re: exchange pricing data
07/25/2023                  YXS              Perform investigation of specific property purchase by Insider                      1.8
07/25/2023                  YXS              Identify new specific set of charitable donations to review                         2.3
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DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                  HOURS
07/25/2023               YXS                 Attend meeting with B. Mackay, G. Shapiro, M. Birtwell, R. Backus, C. Shen          0.4
                                             (AlixPartners) re: off-exchange round-trip transfers by Insider
07/25/2023                  YXS              Working session with G. Shapiro, C. Shen (AlixPartners) re: document searches       0.2
                                             related to properties owned by Insider
07/26/2023                  AS               Review correspondence re: donations to specific entity                              0.2

07/26/2023                  AS               Meeting with A. Searles, M. Birtwell (AlixPartners) re: approach to call with       0.1
                                             counsel re: additional support for contributions workstream
07/26/2023                  AC               Working session with A. Calhoun, S. Thompson (AlixPartners) re: tracing of on-      0.2
                                             chain transactions to deposits on the FTX exchange
07/26/2023                  AC               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.            0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  AV               Analyze Voyager term sheets and invoices                                            2.7

07/26/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: review of        0.5
                                             specific entity analyses per S&C request
07/26/2023                  AV               Review analyses related to charitable contributions                                 1.3
07/26/2023                  AV               Review Nardello findings re: real estate property purchases and ownership           0.6
07/26/2023                  AV               Review updates to crypto transfers to insiders analyses                             1.1
07/26/2023                  AV               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.            0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                 BFM               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.            0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  BAR              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.            0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  EM               Perform unstructured Relativity search for documents of interest re: specific       0.4
                                             entity
07/26/2023                  ER               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.            0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  GG               Analyze insider trade data from FTX.com exchange                                    2.9
07/26/2023                  GG               Analyze insider trade data from FTX.us exchange                                     2.6
07/26/2023                  GG               Create a script for identifying insider trades on the FTX.com and FTX.us            2.9
                                             exchanges
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07/26/2023               GS                  Attend meeting with G. Shapiro, M. Birtwell (AlixPartners), B. Harsch, D.             0.3
                                             O'Hara, J. Rosenfeld, Z. Flegenheimer (S&C) re: donations made by conduit
                                             entities
07/26/2023                  GS               Prepare population of round-trip exchange transfers by insider                        0.7
07/26/2023                  GS               Prepare support for political donations made by conduit entities                      0.6
07/26/2023                  GS               Research recipients of charitable contributions to identify parent organizations      1.8
07/26/2023                  GS               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: tracing               0.3
                                             donations made by conduit entities
07/26/2023                   GS              Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: shared       1.0
                                             charitable contributions working file
07/26/2023                   GS              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.              0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                   GS              Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: round-       0.4
                                             trip exchange transfers by Insider
07/26/2023                  JC               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.              0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  JRB              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.              0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                 LMG               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.              0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                   LJ              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.              0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: review of          0.5
                                             specific entity analyses per S&C request
07/26/2023                  MB               Attend meeting with G. Shapiro, M. Birtwell (AlixPartners), B. Harsch, D.             0.3
                                             O'Hara, J. Rosenfeld, Z. Flegenheimer (S&C) re: donations made by conduit
                                             entities
07/26/2023                  MB               Working session with G. Shapiro, M. Birtwell (AlixPartners) re: tracing               0.3
                                             donations made by conduit entities
07/26/2023                  MB               Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: shared       1.0
                                             charitable contributions working file
07/26/2023                  MB               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.              0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
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07/26/2023               MB                  Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: round-         0.4
                                             trip exchange transfers by Insider
07/26/2023                  MB               Meeting with A. Searles, M. Birtwell (AlixPartners) re: approach to call with           0.1
                                             counsel re: additional support for contributions workstream
07/26/2023                  QB               Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.                0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                   RS              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.                0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                   ST              Investigate loans from specific entity to Alameda                                       1.7
07/26/2023                   ST              Analyze transactions between Alameda and specific entity on the Arbitrum chain          1.5
07/26/2023                   ST              Analyze transactions between Alameda and specific entity on the Avalanche               0.9
07/26/2023                   ST              Analyze transactions between Alameda and specific entity on the Ethereum                1.2
07/26/2023                   ST              Update workpaper on off-exchange transactions between Alameda and specific              1.4
                                             entity on the Ethereum chain
07/26/2023                   ST              Working session with A. Calhoun, S. Thompson (AlixPartners) re: tracing of on-          0.2
                                             chain transactions to deposits on the FTX exchange
07/26/2023                   ST              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.                0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  SRH              Investigate ownership of wallet addresses re: specific entity                           2.4
07/26/2023                  YXS              Continue to tie out specific set of charitable donations using financial databases      1.5
07/26/2023                  YXS              Create non-profit recipient working file to be used by AlixPartners and S&C             0.9
07/26/2023                  YXS              Tie out specific set of charitable donations using financial databases                  1.5
07/26/2023                  YXS              Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: shared         1.0
                                             charitable contributions working file
07/26/2023                  YXS              Attend meeting with A. Calhoun, A. Vanderkamp, B. Mackay, B. Robison, E.                0.7
                                             Roth, G. Shapiro, L. Jia, L. Goldman, M. Birtwell, O. Braat, R. Self, S.
                                             Thompson, J. Berg, J. Chin, C. Shen (AlixPartners) re: researching properties
                                             owned by Insider using Brainspace
07/26/2023                  YXS              Working session with G. Shapiro, M. Birtwell, C. Shen (AlixPartners) re: round-         0.4
                                             trip exchange transfers by Insider
07/27/2023                  AC               Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:            0.2
                                             revise workpaper on transactions between specific entity and Alameda
07/27/2023                  AC               Working session with A. Calhoun, S. Thompson (AlixPartners) re: analysis of             0.6
                                             payments between specific entity and Alameda in connection to a short-term loan
07/27/2023                  AC               Attend meeting with A. Calhoun, G. Shapiro, C. Shen (AlixPartners) re:                  0.4
                                             background information on investigation workstreams
07/27/2023                  AC               Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                        0.6
                                             (AlixPartners), B. Harsch, D. O'Hara, P. Lavin (S&C) re: next steps for
                                             charitable contributions investigation
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/27/2023               AC                  Prepare information for S&C request related to potential charitable contribution       0.2
                                             to specific entity
07/27/2023                  AC               Review source documents for potential charitable contribution to specific entity       0.4

07/27/2023                  AC               Working session with A. Calhoun, C. Shen (AlixPartners) re: background                 0.3
                                             information on investigation workstreams
07/27/2023                  AC               Working session with A. Calhoun, C. Shen (AlixPartners) re: charitable                 0.3
                                             contributions update
07/27/2023                  AC               Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:            0.3
                                             charitable contributions
07/27/2023                  AV               Prepare summary of specific entity term sheets for S&C                                 2.1

07/27/2023                  AV               Continue to prepare summary of specific entity term sheets for S&C                     1.3

07/27/2023                  AV               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.          0.2
                                             Mayberry, P. Lavin (S&C) re: loans to Alameda from specific entity
07/27/2023                  AV               Review analyses re: political donations                                                0.7
07/27/2023                  AV               Review specific entity term sheets per S&C's request                                   2.1

07/27/2023                 BFM               Prepare data extract of trading data on .com, .us, and OTC portal for insiders         1.1
07/27/2023                  CX               Attend meeting with C. Xu, G. Shapiro (AlixPartners) re: OCR of third party            0.2
                                             bank statements involving charitable contributions
07/27/2023                  GG               Analyze insider trade data from the OTC portal database                                2.3
07/27/2023                  GS               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.          0.2
                                             Mayberry, P. Lavin (S&C) re: loans to Alameda from specific entity
07/27/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, C. Shen (AlixPartners) re:                 0.4
                                             background information on investigation workstreams
07/27/2023                   GS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                       0.6
                                             (AlixPartners), B. Harsch, D. O'Hara, P. Lavin (S&C) re: next steps for
                                             charitable contributions investigation
07/27/2023                   GS              Attend meeting with C. Xu, G. Shapiro (AlixPartners) re: OCR of third party            0.2
                                             bank statements involving charitable contributions
07/27/2023                  GS               Prepare supporting detail for contributions to entities acting as fiscal sponsors      0.9
07/27/2023                  GS               Prepare supporting transfer detail for round-trip exchange transfers by insider        1.4

07/27/2023                  GS               Research third party bank statements to compile listing of statements                  0.9
07/27/2023                  GS               Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:            0.3
                                             charitable contributions
07/27/2023                  MJB              Review BDO valuation schedules                                                         0.3
07/27/2023                  MB               Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:           0.2
                                             revise workpaper on transactions between specific entity and Alameda
07/27/2023                  MB               Attend meeting with A. Vanderkamp, G. Shapiro, M. Birtwell (AlixPartners), K.          0.2
                                             Mayberry, P. Lavin (S&C) re: loans to Alameda from specific entity
07/27/2023                  MB               Analyze third party repository bank statements for non-debtor entities to              0.5
                                             facilitate contributions workstreams
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                   HOURS
07/27/2023               MB                  Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                     0.6
                                             (AlixPartners), B. Harsch, D. O'Hara, P. Lavin (S&C) re: next steps for
                                             charitable contributions investigation
07/27/2023                  MB               Review prior work performed on Majority Forward to assist A&M in preference          1.4
                                             claims
07/27/2023                  MB               Working session with A. Calhoun, G. Shapiro, M. Birtwell (AlixPartners) re:          0.3
                                             charitable contributions
07/27/2023                  MB               Working session with C. Shen, M. Birtwell (AlixPartners) re: Charitable              1.0
                                             donations tracking exercise
07/27/2023                  MB               Working session with C. Shen, M. Birtwell (AlixPartners) re: review non-profit       0.6
                                             recipient working file
07/27/2023                  MB               Review charitable contribution tracker for reporting on tranches to facilitate       0.5
                                             recovery efforts
07/27/2023                  QB               Research background of Sam coins to prepare internal memo                            0.7
07/27/2023                  RS               Search Relativity for specific entity term sheets and invoices                       2.5
07/27/2023                  ST               Compose email summarizing analysis of a short-term loan between Alameda and          0.2
                                             specific entity
07/27/2023                   ST              Review interactions between off-exchange and exchange transactions between           2.3
                                             Alameda and specific entity
07/27/2023                   ST              Update workpaper on off-exchange transactions between Alameda and specific           2.6
                                             entity
07/27/2023                   ST              Working session with A. Calhoun, M. Birtwell, S. Thompson (AlixPartners) re:         0.2
                                             revise workpaper on transactions between specific entity and Alameda
07/27/2023                   ST              Working session with A. Calhoun, S. Thompson (AlixPartners) re: analysis of          0.6
                                             payments between specific entity and Alameda in connection to a short-term loan
07/27/2023                  SRH              Trace crypto flows off-exchange programmatically via the blockchain re:              2.9
07/27/2023                  YXS              Attend meeting with A. Calhoun, G. Shapiro, C. Shen (AlixPartners) re:               0.4
                                             background information on investigation workstreams
07/27/2023                  YXS              Attend meeting with A. Calhoun, G. Shapiro, M. Birtwell, C. Shen                     0.6
                                             (AlixPartners), B. Harsch, D. O'Hara, P. Lavin (S&C) re: next steps for
                                             charitable contributions investigation
07/27/2023                  YXS              Update shared non-profit recipient working file with new tie-out information         1.0
07/27/2023                  YXS              Working session with A. Calhoun, C. Shen (AlixPartners) re: background               0.3
                                             information on investigation workstreams
07/27/2023                  YXS              Working session with A. Calhoun, C. Shen (AlixPartners) re: charitable               0.3
                                             contributions update
07/27/2023                  YXS              Working session with C. Shen, M. Birtwell (AlixPartners) re: Charitable              1.0
                                             donations tracking exercise
07/27/2023                  YXS              Working session with C. Shen, M. Birtwell (AlixPartners) re: review non-profit       0.6
                                             recipient working file
07/28/2023                  AV               Update summary of specific term sheets per S&C's request                             1.4

07/28/2023                  AV               Review analysis of insider exchange withdrawals                                      2.2
07/28/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: analysis of       0.2
                                             Ellison Prime Trust bank account activity
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                       HOURS
07/28/2023               AV                  Analyze commingling of funds in FTX Digital Markets accounts for the purpose            1.6
                                             of the Insider complaint
07/28/2023                 LMG               Working session with L. Goldman, S. Hanzi (AlixPartners) re: identifying                1.0
                                             owners for wallet addresses re: specific entity
07/28/2023                  MB               Reconcile Nardello's properties work to AlixPartners' insider transfers work            0.5

07/28/2023                  MB               Review Insider account activity for use of funds analysis                               1.0
07/28/2023                  MB               Review charitable contributions workplan                                                0.4
07/28/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: analysis of          0.2
                                             Ellison Prime Trust bank account activity
07/28/2023                  MB               Working session with C. Shen, M. Birtwell (AlixPartners) re: FTX Foundation             0.5
                                             Bank Transaction Listing Reconciliation
07/28/2023                  MB               Working session with C. Shen, M. Birtwell (AlixPartners) re: Continue review of         0.4
                                             FTX Foundation Bank Transaction Listing Reconciliation
07/28/2023                   RS              Search Relativity for specific entity term sheets and invoices                          1.5
07/28/2023                  SRH              Working session with L. Goldman, S. Hanzi (AlixPartners) re: identifying                1.0
                                             owners for wallet addresses re: specific entity
07/28/2023                  SRH              Investigate crypto flows between accounts across exchanges (US / COM) re:               2.8
                                             specific entity
07/28/2023                  YXS              Reconcile Evolve statement file against charitable donation master file to add net      2.1
                                             new donations
07/28/2023                  YXS              Tie out specific set of charitable donations using financial databases                  2.0
07/28/2023                  YXS              Working session with C. Shen, M. Birtwell (AlixPartners) re: FTX Foundation             0.5
                                             Bank Transaction Listing Reconciliation
07/28/2023                  YXS              Working session with C. Shen, M. Birtwell (AlixPartners) re: Continue review of         0.4
                                             FTX Foundation Bank Transaction Listing Reconciliation
07/31/2023                  AS               Meeting with A. Searles, A. Vanderkamp, M. Birtwell (AlixPartners) re: status           0.4
                                             of special investigative workstreams including insider transfers and political &
                                             charitable contributions
07/31/2023                  AC               Working session with A. Calhoun, M. Birtwell (AlixPartners) re: charitable              0.1
                                             contributions recipient listing
07/31/2023                  AV               Working session with A. Vanderkamp, K. Wessel (AlixPartners) re: overview of            0.3
                                             BSA/AML requirements for the purpose of an interim report

07/31/2023                  AV               Analyze documents identified in third party Relativity database relating to             1.1
                                             payments to insiders and charitable contributions
07/31/2023                  AV               Meeting with A. Searles, A. Vanderkamp, M. Birtwell (AlixPartners) re: status           0.4
                                             of special investigative workstreams including insider transfers and political &
                                             charitable contributions
07/31/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: conduit              0.4
                                             bank statements to facilitate charitable and political contribution recovery
07/31/2023                  AV               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: continue             0.7
                                             conduit bank statements to facilitate charitable and political contribution
07/31/2023                 BFM               Review .com exchange FTT trading to identify largest counterparties for Insider's       0.7
                                             selling of FTT
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Re:                 Special Investigations
Code:               20008100P00001.1.16

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                      HOURS
07/31/2023               DJW                 Analyze off-book insider transfers by Debtor of crypto assets                          2.7
07/31/2023               EM                  Analyze account linkage between FTX Trading Ltd Signet accounts to support             0.9
                                             investigative workstreams
07/31/2023                 KHW               Working session with A. Vanderkamp, K. Wessel (AlixPartners) re: overview of           0.3
                                             BSA/AML requirements for the purpose of an interim report

07/31/2023                  MB               Working session with M. Birtwell, S. Thompson (AlixPartners) re: status update         0.4
                                             on investigation of loans to Alameda from two specific entities
07/31/2023                  MB               Meeting with A. Searles, A. Vanderkamp, M. Birtwell (AlixPartners) re: status          0.4
                                             of special investigative workstreams including insider transfers and political &
                                             charitable contributions
07/31/2023                  MB               Prepare summary of conduit entity bank statement activity to facilitate political      0.2
                                             and charitable recovery efforts
07/31/2023                  MB               Review conduit bank statements to determine source of funding for charitable           2.6
                                             and political donations
07/31/2023                  MB               Review OCR results of conduit statements to facilitate political and charitable        0.2
                                             contribution recovery
07/31/2023                  MB               Review specific entity flow of funds package for quality and accuracy                  1.0

07/31/2023                  MB               Working session with A. Calhoun, M. Birtwell (AlixPartners) re: charitable             0.1
                                             contributions recipient listing
07/31/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: conduit             0.4
                                             bank statements to facilitate charitable and political contribution recovery
07/31/2023                  MB               Working session with A. Vanderkamp, M. Birtwell (AlixPartners) re: continue            0.7
                                             conduit bank statements to facilitate charitable and political contribution
07/31/2023                   ST              Review corporate documentation re: lending activity between specific entity and        1.4
                                             Alameda
07/31/2023                   ST              Working session with M. Birtwell, S. Thompson (AlixPartners) re: status update         0.4
                                             on investigation of loans to Alameda from two specific entities
07/31/2023                   ST              Analyze documentation pertaining to interest payments on loans from itBit to           0.8
                                             Alameda
07/31/2023                   ST              Analyze on-chain activity re: lending activity between itBit and Alameda               1.2
07/31/2023                   ST              Analyze OTC exchange data to identify loan from itBit to Alameda                       0.5
07/31/2023                   ST              Perform searches in ESI re: lending activity between itBit and Alameda                 1.0
07/31/2023                   ST              Prepare workpaper summarizing loans from itBit to Alameda                              2.1
07/31/2023                   ST              Review corporate documentation re: lending activity between itBit and Alameda          0.9
Total Professional Hours                                                                                                          588.8
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Re:                                  Special Investigations
Code:                                20008100P00001.1.16

PROFESSIONAL                                                        RATE      HOURS                FEES
Matthew Jacques                                                     $1,280       2.5     $      3,200.00
Marc J Brown                                                        $1,220       1.4            1,708.00
Matthew Evans                                                       $1,220       8.9           10,858.00
David J White                                                       $1,140      16.5           18,810.00
John C LaBella                                                      $1,115       0.5              557.50
Lilly M Goldman                                                     $1,115       4.4            4,906.00
Mark Cervi                                                          $1,020       5.9            6,018.00
Adam Searles                                                         $950        8.0            7,600.00
Anne Vanderkamp                                                      $950       99.7           94,715.00
Brent Robison                                                        $950        0.7              665.00
Steven Hanzi                                                         $950       40.2           38,190.00
Dana Schwartz                                                        $880        0.3              264.00
Kurt H Wessel                                                        $880        0.8              704.00
Ganesh Gopalakrishnan                                                $860       10.7            9,202.00
Bennett F Mackay                                                     $805       32.7           26,323.50
Matthew Birtwell                                                     $805       52.2           42,021.00
Ezra Roth                                                            $735        0.7              514.50
Jeffrey R Berg                                                       $735        0.7              514.50
Ryan Backus                                                          $725        0.4              290.00
Randi Self                                                           $585        4.7            2,749.50
Yue Shen                                                             $585       36.2           21,177.00
Olivia Braat                                                         $510       18.1            9,231.00
Linna Jia                                                            $555        0.7              388.50
Chenxi Xu                                                            $510        0.2              102.00
Eric Mostoff                                                         $510        3.5            1,785.00
Griffin Shapiro                                                      $510       94.8           48,348.00
Sean Thompson                                                        $510       91.1           46,461.00
Shengjia Kang                                                        $510        0.2              102.00
Allyson Calhoun                                                      $510       51.4           26,214.00
Jason Chin                                                           $510        0.7              357.00
Total Professional Hours and Fees                                              588.8     $    423,976.00
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New York, New York 10004
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Re:                 Travel Time
Code:               20008100P00001.1.31

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                HOURS
07/08/2023                DL                  Travel from New York, NY to Washington, DC (meetings with engagement             4.5
                                              team)
07/08/2023                    ST              Travel from New York, NY to Washington, DC (meetings with engagement             3.4
                                              team)
07/09/2023                    AC              Travel from Chicago, IL to Washington, DC (meetings with engagement team,        8.1
                                              includes delays)
07/09/2023                   CC               Travel from Houston, TX to Washington, DC (meetings with engagement team)        4.3
07/09/2023                   JCL              Travel from Medford, OR to Washington, DC (meetings with engagement team)        6.0
07/09/2023                   KV               Travel from London, England to Washington, DC (meetings with engagement         13.0
                                              team)
07/09/2023                    MC              Travel from Los Angeles, CA to Washington, DC (meetings with engagement          8.0
                                              team)
07/09/2023                    RS              Travel from Dallas, TX to Washington, DC (meetings with engagement team,         5.0
                                              includes delays)
07/09/2023                   SYW              Travel from New York, NY to Washington, DC (meetings with engagement             4.0
                                              team)
07/10/2023                    DS              Travel from New York, NY to Washington, DC (meetings with engagement             4.0
                                              team)
07/10/2023                    EM              Travel from New York, NY to Washington, DC (meetings with engagement             3.1
                                              team)
07/10/2023                    GS              Travel from Boston, MA to Washington, DC (meetings with engagement team)         3.9
07/10/2023                    JC              Travel from New York, NY to Washington, DC (meetings with engagement             1.8
                                              team)
07/10/2023                    JLS             Travel from New York, NY to Washington, DC (meetings with engagement             4.3
                                              team)
07/10/2023                    QB              Travel from New York, NY to Washington, DC (meetings with engagement             3.9
                                              team)
07/10/2023                    RS              Continue travel from Dallas, TX to Washington, DC (meetings with engagement      5.5
                                              team, includes delays)
07/10/2023                    TT              Travel from New York, NY to Washington, DC (meetings with engagement             5.0
                                              team)
07/10/2023                    TP              Travel from Dallas, TX to Washington, DC (meetings with engagement team)         4.5
07/12/2023                   JCL              Travel from Washington, DC to Medford, OR (return from meetings with             6.0
                                              engagement team)
07/13/2023                    AC              Travel from Washington, DC to Chicago, IL (return from meetings with             4.3
                                              engagement team)
07/13/2023                    CC              Travel from Washington, DC to Houston, TX (return from meetings with             3.9
                                              engagement team)
07/13/2023                    DL              Travel from Washington, DC to New York, NY (return from meetings with            5.0
                                              engagement team)
07/13/2023                    EM              Travel from Washington, DC to New York, NY (return from meetings with            3.5
                                              engagement team)
07/13/2023                    GS              Travel from Washington, DC to Boston, MA (return from meetings with              6.4
                                              engagement team)
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Re:                 Travel Time
Code:               20008100P00001.1.31

DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                  HOURS
07/13/2023                JC                  Travel from Washington, DC to New York, NY (return from meetings with             2.4
                                              engagement team)
07/13/2023                    JLS             Travel from Washington, DC to New York, NY (return from meetings with             3.0
                                              engagement team)
07/13/2023                    KV              Travel from Washington, DC to London, England (return from meetings with          4.0
                                              engagement team)
07/13/2023                    MC              Travel from Washington, DC to Los Angeles, CA (return from meetings with          8.0
                                              engagement team)
07/13/2023                    QB              Travel from Washington, DC to New York, NY (return from meetings with             3.7
                                              engagement team)
07/13/2023                    RS              Travel from Washington, DC to Dallas, TX (return from meetings with               5.5
                                              engagement team)
07/13/2023                    ST              Travel from Washington, DC to New York, NY (return from meetings with             3.4
                                              engagement team)
07/13/2023                   SYW              Travel from Washington, DC to New York, NY (return from meetings with             4.0
                                              engagement team)
07/13/2023                    TT              Travel from Washington, DC to New York, NY (return from meetings with             5.0
                                              engagement team)
07/14/2023                    DS              Travel from Washington, DC to New York, NY (return from meetings with             8.0
                                              engagement team, includes delays)
07/14/2023                    KV              Continue travel from Washington, DC to London, England (return from meetings      9.0
                                              with engagement team)
07/14/2023                    TP              Travel from Washington, DC to Dallas, TX (return from meetings with               6.0
                                              engagement team)
07/23/2023                    AC              Travel from Toronto, ON to Boston, MA (meetings with engagement team)             4.5
07/23/2023                   CAS              Travel from Dallas, TX to Boston, MA (meetings with engagement team)              4.0
07/23/2023                    CC              Travel from Houston, TX to Boston, MA (meetings with engagement team)             4.3
07/23/2023                    DL              Travel from New York, NY to Boston, MA (meetings with engagement team)            4.0
07/23/2023                    EM              Travel from New York, NY to Boston, MA (meetings with engagement team)            3.9
07/23/2023                   JRB              Travel from Dallas, TX to Boston, MA (meetings with engagement team)              5.1
07/23/2023                   JCL              Travel from Medford, OR to Boston, MA (meetings with engagement team)             5.0
07/23/2023                    KV              Travel from London, England to Boston, MA (meetings with engagement team)        12.0
07/23/2023                    MC              Travel from Los Angeles, CA to Boston, MA (meetings with engagement team)         8.0
07/23/2023                    RS              Travel from Dallas, TX to Boston, MA (meetings with engagement team)              6.0
07/23/2023                     ST             Travel from New York, NY to Boston, MA (meetings with engagement team)            2.6
07/23/2023                   YXS              Travel from New York, NY to Boston, MA (meetings with engagement team)            3.5
07/24/2023                    AS              Travel from New York, NY to Boston, MA (meetings with engagement team)            3.0
07/24/2023                    AP              Travel from Chicago, IL to Boston, MA (meetings with engagement team)             2.0
07/24/2023                    AV              Travel from Chicago, IL to Boston, MA (meetings with engagement team)             4.0
07/24/2023                   BFM              Travel from Washington, DC to Boston, MA (meetings with engagement team)          1.7
07/24/2023                    DS              Travel from New York, NY to Boston, MA (meetings with engagement team)            4.0
07/24/2023                    JC              Travel from New York, NY to Boston, MA (meetings with engagement team)            2.2
07/24/2023                    JLS             Travel from New York, NY to Boston, MA (meetings with engagement team)            3.6
07/24/2023                   LMG              Travel from Washington, DC to Boston, MA (meetings with engagement team)          3.0
07/24/2023                    QB              Travel from New York, NY to Boston, MA (meetings with engagement team)            3.5
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John J. Ray III
Chief Executive Officer
FTX Trading Ltd. and its affiliated debtors-in-possession
c/o Sullivan & Cromwell LLP
125 Broad Street
New York, New York 10004
Attn: FTX Mail Room


Re:                 Travel Time
Code:               20008100P00001.1.31

DATE                PROFESSIONAL                                     DESCRIPTION OF SERVICES                                HOURS
07/24/2023               SYW                  Travel from New York, NY to Boston, MA (meetings with engagement team)           4.0
07/24/2023                TT                  Travel from New York, NY to Boston, MA (meetings with engagement team)           2.5
07/24/2023                TP                  Travel from Dallas, TX to Boston, MA (meetings with engagement team)             5.0
07/25/2023                RB                  Travel from New York, NY to Boston, MA (meetings with engagement team)           4.1
07/26/2023                AS                  Travel from Boston, MA to New York, NY (return from meetings with                2.5
                                              engagement team)
07/26/2023                    MB              Travel from Silver Spring, MD to Boston, MA (meetings with engagement team)      4.8
07/26/2023                    TT              Travel from Boston, MA to New York, NY (return from meetings with                2.5
                                              engagement team)
07/27/2023                    AP              Travel from Boston, MA to Chicago, IL (return from meetings with engagement      3.0
                                              team)
07/27/2023                    AV              Travel from Boston, MA to Chicago, IL (return from meetings with engagement      1.0
                                              team)
07/27/2023                    CC              Travel from Boston, MA to Houston, TX (return from meetings with engagement      4.2
                                              team)
07/27/2023                    DS              Travel from Boston, MA to New York, NY (return from meetings with                8.0
                                              engagement team, includes delays)
07/27/2023                    DL              Travel from Boston, MA to New York, NY (return from meetings with                4.2
                                              engagement team)
07/27/2023                    EM              Travel from Boston, MA to New York, NY (return from meetings with                4.9
                                              engagement team)
07/27/2023                    JC              Travel from Boston, MA to New York, NY (return from meetings with                4.8
                                              engagement team, includes delays)
07/27/2023                   JRB              Travel from Boston, MA to Dallas, TX (return from meetings with engagement       9.4
                                              team)
07/27/2023                   JCL              Travel from Boston, MA to San Francisco, CA (return from meetings with           5.0
                                              engagement team)
07/27/2023                    JLS             Travel from Boston, MA to New York, NY (return from meetings with                4.3
                                              engagement team)
07/27/2023                    KV              Travel from Boston, MA to London, England (return from meetings with             6.0
                                              engagement team)
07/27/2023                   KHW              Travel from Boston, MA to Washington, DC (return from meetings with              2.8
                                              engagement team)
07/27/2023                   LMG              Travel from Boston, MA to Washington, DC (return from meetings with              5.0
                                              engagement team, includes delays)
07/27/2023                    MC              Travel from Boston, MA to Los Angeles, CA (return from meetings with             9.0
                                              engagement team)
07/27/2023                    RS              Travel from Boston, MA to Dallas, TX (return from meetings with engagement       6.0
                                              team)
07/27/2023                    ST              Travel from Boston, MA to New York, NY (return from meetings with                5.4
                                              engagement team, includes delays)
07/27/2023                    TP              Travel from Boston, MA to Dallas, TX (return from meetings with engagement       9.4
                                              team)
07/27/2023                   YXS              Travel from Boston, MA to New York, NY (return from meetings with                5.0
                                              engagement team)
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DATE                PROFESSIONAL                                    DESCRIPTION OF SERVICES                                HOURS
07/28/2023               BFM                  Travel from Boston, MA to Washington, DC (return from meetings with             2.1
                                              engagement team)
07/28/2023                   CAS              Travel from Boston, MA to Dallas, TX (return from meetings with engagement      4.0
                                              team)
07/28/2023                    KV              Continue travel from Boston, MA to London, England (return from meetings        6.0
                                              with engagement team)
07/28/2023                    MB              Travel from Boston, MA to Silver Spring, MD (return from meetings with          3.8
                                              engagement team)
07/28/2023                    QB              Travel from Boston, MA to New York, NY (return from meetings with               4.8
                                              engagement team)
07/28/2023                    ST              Continue travel from Boston, MA to New York, NY (return from meetings with      3.4
                                              engagement team, includes delays)
07/28/2023                   SYW              Travel from Boston, MA to New York, NY (return from meetings with               4.0
                                              engagement team)
07/30/2023                    RB              Travel from Boston, MA to New York, NY (return from meetings with               3.8
                                              engagement team)
07/31/2023                JCL                 Travel from San Francisco, CA to New York, NY (meetings with A&M)               5.0
07/31/2023               KHW                  Travel from Washington, DC to New York, NY (meetings with A&M)                  3.0
07/31/2023                MC                  Travel from Los Angeles, CA to New York, NY (meetings with A&M)                 8.0
Total Professional Hours                                                                                                    444.0
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Re:                                  Travel Time
Code:                                20008100P00001.1.31

PROFESSIONAL                                                        RATE      HOURS                 FEES
Charles Cipione                                                     $1,220       8.0     $       9,760.00
John C LaBella                                                      $1,115      27.0            30,105.00
Lilly M Goldman                                                     $1,115       8.0             8,920.00
Mark Cervi                                                          $1,020      41.0            41,820.00
Adam Searles                                                         $950        5.5             5,225.00
Anne Vanderkamp                                                      $950        5.0             4,750.00
Todd Toaso                                                           $950       15.0            14,250.00
Travis Phelan                                                        $950       24.9            23,655.00
Dana Schwartz                                                        $880       24.0            21,120.00
Kurt H Wessel                                                        $880        5.8             5,104.00
Alexander Patti                                                      $825        5.0             4,125.00
John L Somerville                                                    $825       15.2            12,540.00
Bennett F Mackay                                                     $805        3.8             3,059.00
Matthew Birtwell                                                     $805        8.6             6,923.00
Jeffrey R Berg                                                       $735       14.5            10,657.50
Ryan Backus                                                          $725        7.9             5,727.50
Chuanqi Chen                                                         $605       16.7            10,103.50
Di Liang                                                             $605       17.7            10,708.50
Seen Yung Wong                                                       $605       16.0             9,680.00
Katerina Vasiliou                                                    $585       50.0            29,250.00
Randi Self                                                           $585       28.0            16,380.00
Yue Shen                                                             $585        8.5             4,972.50
Olivia Braat                                                         $510       15.9             8,109.00
Eric Mostoff                                                         $510       15.4             7,854.00
Griffin Shapiro                                                      $510       10.3             5,253.00
Sean Thompson                                                        $510       18.2             9,282.00
Allyson Calhoun                                                      $510       16.9             8,619.00
Jason Chin                                                           $510       11.2             5,712.00
Total Professional Hours and Fees                                              444.0     $     333,664.50
Less 50% Travel Time                                                                         (166,832.25)
Total Professional Fees                                                                  $     166,832.25
